                 Case: 22-1976            Document: 4          Page: 1       Filed: 08/09/2022




                               UNITED STATES COURT OF APPEALS
                                  FOR THE FEDERAL CIRCUIT

MASIMO CORPORATION,
Patent Owner/Appellant
                                                                               Appeal Nos. 2022-19721
v.                                                                                         2022-1973
                                                                                           2022-1975
                                                                                           2022-1976
APPLE INC.,
Petitioner/Appellee

Proceeding Nos.: IPR2020-01713, IPR2020-01716, IPR2020-01733 and IPR2020-01737
___________________________________________

                             NOTICE FORWARDING CERTIFIED LIST

         A Notice of Appeal to the United States Court of Appeals for the Federal Circuit was timely

filed June 28, 2022, in the United States Patent and Trademark Office in connection with the above

identified Inter Partes Review proceedings. Pursuant to 35 U.S.C. § 143, a Certified List is this day

being forwarded to the Federal Circuit.



                                      Respectfully submitted,

Date: August 9, 2022




                                          Under Secretary of Commerce for Intellectual Property and
                                          Director of the United States Patent and Trademark Office



1 Appeal No. 2022-1972 (Lead) is consolidated with Appeal Nos. 2022-1973, 2022-1975 and 2022-1976 pursuant to

Court Order (Dkt. No. 2) and Note to File (Dkt. No. 3) dated July 5, 2022.
              Case: 22-1976        Document: 4           Page: 2   Filed: 08/09/2022




                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing NOTICE

FORWARDING CERTIFIED LIST has been served, via electronic mail, on counsel for Appellant

and Appellee this 9th day of August, 2022, as follows:

  PATENT OWNER:                                             PETITIONER:

  Joseph R. Re                                               Lauren Ann Degnan
  Jeremiah Helm                                              Ashley Bolt
  Stephen C. Jensen                                          Christopher Dryer
  Jarom D. Kesler                                            Walter Karl Renner
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          Case: 22-1976        Document: 4        Page: 3         Filed: 08/09/2022




                       U.S. DEPARTMENT OF COMMERCE
                      United States Patent and Trademark Office


                                                                        August 9, 2022
                                                                        (Date)


THIS IS TO CERTIFY that the attached document is a list of the papers that comprise the
record before the Patent Trial and Appeal Board (PTAB) for the Inter Partes Review proceeding
identified below.


                                      APPLE INC.,
                                       Petitioner,

                                             v.

                              MASIMO CORPORATION,
                                   Patent Owner.

                                   Case: IPR2020-01713
                                Patent No. 10,624,564 B1
                               By authority of the

                               DIRECTOR OF THE UNITED STATES
                               PATENT AND TRADEMARK OFFICE




                                                   Certifying Officer
              Case: 22-1976       Document: 4      Page: 4      Filed: 08/09/2022

Prosecution History ~ IPR2020-01713


 Date          Document
 9/30/2020     Petition for Inter Partes Review
 9/30/2020     Petitioner’s Power of Attorney
 10/20/2020    Patent Owner’s Mandatory Notices
 11/10/2020    Notice of Filing Date Accorded to Petition
 1/22/2021     Petitioner’s Exhibit List
 2/10/2021     Patent Owner’s Notice of Waiver of Preliminary Response
 5/5/2021      Decision - Institution of Inter Partes Review
 5/5/2021      Scheduling Order
 5/19/2021     Patent Owner’s Objections to Admissibility of Petitioner’s Evidence Submitted Before
               Trial Institution
 6/9/2021      Petitioner’s Motion to Submit Supplemental Information
 6/14/2021     Order - Motion to Submit Supplemental Information
 6/21/2021     Petitioner’s Submission of Supplemental Information
 6/29/2021     Notice of Deposition - Kenny, Ph.D.
 8/4/2021      Patent Owner’s Response to Petition
 8/4/2021      Patent Owner’s Exhibit List
 8/11/2021     Petitioner’s Objections to Evidence
 9/13/2021     Petitioner’s Updated Mandatory Notice
 10/27/2021    Petitioner’s Reply to Patent Owner’s Response
 11/3/2021     Patent Owner’s Objections to Admissibility of Petitioner’s Evidence
 11/17/2021    Notice of Deposition - Kenny, Ph.D.
 12/8/2021     Patent Owner’s Sur-Reply
 12/8/2021     Patent Owner’s Updated Exhibit List
 12/29/2021    Petitioner’s Request for Oral Hearing
 12/29/2021    Patent Owner’s Request for Oral Argument
 1/5/2022      Order: Setting Oral Argument
 1/21/2022     Patent Owner’s Mandatory Notice Updating Counsel Information
 2/4/2022      Patent Owner’s Demonstratives for Oral Argument
 2/4/2022      Patent Owner’s Certificate of Service for Demonstratives
 2/4/2022      Petitioner’s Updated Exhibit List
 3/15/2022     Oral Hearing Transcript
 5/2/2022      Final Written Decision
          Case: 22-1976        Document: 4        Page: 5         Filed: 08/09/2022




                       U.S. DEPARTMENT OF COMMERCE
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                                                                        August 9, 2022
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                                      APPLE INC.,
                                       Petitioner,

                                             v.

                              MASIMO CORPORATION,
                                   Patent Owner.

                                   Case: IPR2020-01716
                                 Patent No. 10,702,194 B1
                               By authority of the

                               DIRECTOR OF THE UNITED STATES
                               PATENT AND TRADEMARK OFFICE




                                                   Certifying Officer
              Case: 22-1976       Document: 4       Page: 6     Filed: 08/09/2022

Prosecution History ~ IPR2020-01716


 Date          Document
 9/30/2020     Petition for Inter Partes Review
 9/30/2020     Petitioner’s Power of Attorney
 10/20/2020    Patent Owner’s Mandatory Notices
 11/10/2020    Notice of Filing Date Accorded to Petition
 1/22/2021     Petitioner’s Exhibit List
 2/10/2021     Patent Owner’s Notice of Waiver of Preliminary Response
 5/5/2021      Decision - Institution of Inter Partes Review
 5/5/2021      Scheduling Order
 5/19/2021     Patent Owner’s Objections to Admissibility of Petitioner’s Evidence Submitted
               Before Trial Institution
 6/9/2021      Petitioner’s Motion to Submit Supplemental Information
 6/14/2021     Order - Motion to Submit Supplemental Information
 6/21/2021     Petitioner’s Submission of Supplemental Information
 7/2/2021      Notice of Stipulation Modifying Due Dates 1-3
 7/2/2021      Notice of Deposition - Kenny, Ph.D.
 8/6/2021      Patent Owner’s Response to Petition
 8/6/2021      Patent Owner’s Exhibit List
 8/13/2021     Petitioner’s Objections to Evidence
 9/30/2021     Notice of Deposition - Madisetti, Ph.D.
 11/1/2021     Petitioner’s Reply to Patent Owner’s Response
 11/8/2021     Patent Owner’s Objections to Admissibility of Petitioner’s Evidence Served with
               Petitioner’s Reply
 11/17/2021    Notice of Deposition - Kenny, Ph.D.
 12/13/2021    Patent Owner’s Sur-Reply to Petitioner’s Reply
 12/13/2021    Patent Owner’s Updated Exhibit List
 12/14/2021    Petitioner’s Updated Mandatory Notices
 12/29/2021    Petitioner’s Request for Oral Hearing
 12/29/2021    Patent Owner’s Request for Oral Argument
 1/5/2022      Order - Setting Oral Argument
 1/6/2022      Patent Owner’s Authorized Corrected Sur-Reply to Reply
 1/10/2022     Petitioner’s Updated Mandatory Notices
 1/21/2022     Patent Owner’s Mandatory Notice Updating Counsel Information
 2/4/2022      Patent Owner’s Demonstratives for Oral Argument
 2/4/2022      Patent Owner’s Certificate of Service for Demonstratives
 2/4/2022      Petitioner’s Updated Exhibit List
 3/15/2022     Oral Hearing Transcript
 4/28/2022     Final Written Decision
          Case: 22-1976        Document: 4        Page: 7         Filed: 08/09/2022




                       U.S. DEPARTMENT OF COMMERCE
                      United States Patent and Trademark Office


                                                                        August 9, 2022
                                                                        (Date)


THIS IS TO CERTIFY that the attached document is a list of the papers that comprise the
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                                      APPLE INC.,
                                       Petitioner,

                                             v.

                              MASIMO CORPORATION,
                                   Patent Owner.

                                   Case: IPR2020-01733
                                 Patent No. 10,702,195 B1
                               By authority of the

                               DIRECTOR OF THE UNITED STATES
                               PATENT AND TRADEMARK OFFICE




                                                   Certifying Officer
              Case: 22-1976       Document: 4       Page: 8     Filed: 08/09/2022

Prosecution History ~ IPR2020-01733


 Date          Document
 9/30/2020     Petition for Inter Partes Review
 9/30/2020     Petitioner’s Power of Attorney
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 11/8/2021     Petitioner’s Reply to Patent Owner’s Response
 11/16/2021    Patent Owner’s Objections to Admissibility of Petitioner’s Evidence Served with
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 12/29/2021    Patent Owner’s Request for Oral Argument
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 2/4/2022      Patent Owner’s Demonstratives for Oral Argument
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 2/4/2022      Petitioner’s Updated Exhibit List
 3/15/2022     Oral Hearing Transcript
 4/28/2022     Final Written Decision
          Case: 22-1976        Document: 4        Page: 9         Filed: 08/09/2022




                       U.S. DEPARTMENT OF COMMERCE
                      United States Patent and Trademark Office


                                                                        August 9, 2022
                                                                        (Date)


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identified below.


                                      APPLE INC.,
                                       Petitioner,

                                             v.

                              MASIMO CORPORATION,
                                   Patent Owner.

                                   Case: IPR2020-01737
                                Patent No. 10,709,366 B1
                               By authority of the

                               DIRECTOR OF THE UNITED STATES
                               PATENT AND TRADEMARK OFFICE




                                                   Certifying Officer
              Case: 22-1976      Document: 4       Page: 10      Filed: 08/09/2022

Prosecution History ~ IPR2020-01737


 Date          Document
 9/30/2020     Petition for Inter Partes Review
 9/30/2020     Petitioner’s Power of Attorney
 10/20/2020    Patent Owner’s Mandatory Notices
 11/19/2020    Notice of Filing Date Accorded to Petition
 1/22/2021     Petitioner’s Exhibit List
 2/19/2021     Patent Owner’s Notice of Waiver of Preliminary Response
 5/12/2021     Decision - Institution of Inter Partes Review
 5/12/2021     Scheduling Order
 5/26/2021     Patent Owner’s Objections to Petitioner’s Evidence Submitted Before Trial
               Institution
 6/9/2021      Petitioner’s Motion to File Supplemental Information
 6/14/2021     Order - Motion to Submit Supplemental Information
 6/21/2021     Petitioner’s Submission of Supplemental Information
 7/2/2021      Notice of Stipulation Modifying Due Dates 1-3
 7/2/2021      Notice of Deposition - Kenny, Ph.D.
 8/12/2021     Patent Owner’s Response to Petition
 8/12/2021     Patent Owner’s Exhibit List
 8/19/2021     Petitioner’s Objections to Evidence
 9/30/2021     Notice of Deposition - Madisetti, Ph.D.
 11/12/2021    Petitioner’s Reply to Patent Owner’s Response
 11/19/2021    Patent Owner’s Objections to Admissibility of Petitioner’s Evidence Served with
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 12/22/2021    Patent Owner’s Sur-Reply to Reply
 12/22/2021    Patent Owner’s Updated Exhibit List
 12/29/2021    Petitioner’s Request for Oral Hearing
 12/29/2021    Patent Owner’s Request for Oral Argument
 1/5/2022      Order - Setting Oral Argument
 1/10/2022     Petitioner’s Updated Mandatory Notices
 1/21/2022     Patent Owner’s Mandatory Notice Updating Counsel Information
 2/4/2022      Patent Owner’s Demonstratives for Oral Argument
 2/4/2022      Patent Owner’s Certificate of Service for Demonstratives
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 3/15/2022     Oral Hearing Transcript
 5/4/2022      Final Written Decision
       Case: 22-1976    Document: 4    Page: 11   Filed: 08/09/2022

Trials@uspto.gov                                             Paper 31
571-272-7822                                      Entered: May 2, 2022



       UNITED STATES PATENT AND TRADEMARK OFFICE

                            ____________

        BEFORE THE PATENT TRIAL AND APPEAL BOARD



                             APPLE INC.,
                              Petitioner,

                                  v.

                       MASIMO CORPORATION,
                            Patent Owner.

                           IPR2020-01713
                         Patent 10,624,564 B1



Before JOSIAH C. COCKS, ROBERT L. KINDER, and
AMANDA F. WIEKER, Administrative Patent Judges.
KINDER, Administrative Patent Judge.



                             JUDGMENT
                        Final Written Decision
            Determining All Challenged Claims Unpatentable
                          35 U.S.C. § 318(a)
          Case: 22-1976     Document: 4       Page: 12   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

                             I. INTRODUCTION

                                A. Background
      Apple Inc. (“Petitioner”) filed a Petition requesting an inter partes
review of claims 1–30 (“challenged claims”) of U.S. Patent No. 10,624,564
B1 (Ex. 1001, “the ’564 patent”). Paper 2 (“Pet.”). Masimo Corporation
(“Patent Owner”) waived filing a Preliminary Response. Paper 6. We
instituted an inter partes review of all challenged claims 1–30 on all asserted
grounds of unpatentability, pursuant to 35 U.S.C. § 314. Paper 7 (“Inst.
Dec.”).
      After institution, Patent Owner filed a Response (Paper 14, “PO
Resp.”) to the Petition, Petitioner filed a Reply (Paper 18, “Pet. Reply”), and
Patent Owner filed a Sur-reply (Paper 21, “Sur-reply”). An oral hearing was
held on February 9, 2022, and a transcript of the hearing is included in the
record. Paper 30 (“Tr.”).
      We issue this Final Written Decision pursuant to 35 U.S.C. § 318(a)
and 37 C.F.R. § 42.73. For the reasons set forth below, Petitioner has met
its burden of showing, by a preponderance of the evidence, that challenged
claims 1–30 of the ’564 patent are unpatentable.

                            B. Related Proceedings
      Masimo Corporation v. Apple Inc., Civil Action No. 8:20-cv-00048
(C.D. Cal.) (filed Jan. 9, 2020);
      Apple Inc. v. Masimo Corporation, IPR2020-01520 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,258,265 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01521 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,292,628 B1);


                                          2
       Case: 22-1976     Document: 4       Page: 13   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

      Apple Inc. v. Masimo Corporation, IPR2020-01523 (PTAB Sept. 9,
2020) (challenging claims of U.S. Patent No. 8,457,703 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01524 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,433,776 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01526 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 6,771,994 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01536 (PTAB Aug. 31,
2020) (challenging claims 1–29 of U.S. Patent No. 10,588,553 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01537 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,588,553 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01538 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,588,554 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01539 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,588,554 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01714 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,631,765 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01715 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,631,765 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01716 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,702,194 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01722 (PTAB Oct. 2,
2020) (challenging claims of U.S. Patent No. 10,470,695 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01723 (PTAB Oct. 2,
2020) (challenging claims of U.S. Patent No. 10,470,695 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01733 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,702,195 B1); and

                                       3
        Case: 22-1976      Document: 4       Page: 14   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

      Apple Inc. v. Masimo Corporation, IPR2020-01737 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,709,366 B1).
Pet. 3; Paper 3, 1, 3–4.
      Patent Owner further identifies certain pending patent applications, as
well as other issued and abandoned applications, that claim priority to, or
share a priority claim with, the ’564 patent. Paper 3, 1–2.

                             C. The ’564 Patent
      The ’564 patent is titled “Multi-Stream Data Collection System for
Noninvasive Measurement of Blood Constituents,” and issued on April 21,
2020, from U.S. Patent Application No. 16/725,292, filed December 23,
2019. Ex. 1001, codes (21), (22), (45), (54). The ’564 patent claims priority
through a series of continuation and continuation-in-part applications to
Provisional Application Nos. 61/086,060, 61/086,108, 61/086,063, and
61/086,057, each filed on August 4, 2008, as well as 61/091,732, filed on
August 25, 2008, and 61/078,228 and 61/078,207, both filed on July 3,
2008. Id. at codes (60), (63).
      The ’564 patent discloses a two-part data collection system including
a noninvasive sensor that communicates with a patient monitor. Id. at 2:47–
51. The sensor includes a sensor housing, an optical source, and several
photodetectors, and is used to measure a blood constituent or analyte, e.g.,
oxygen or glucose. Id. at 2:38–46, 3:4–6. The patient monitor includes a
display and a network interface for communicating with a handheld
computing device. Id. at 2:54–57.




                                         4
        Case: 22-1976     Document: 4       Page: 15   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

      Figure 1 of the ’564 patent is reproduced below.




Figure 1 illustrates a block diagram of data collection system 100 including
sensor 101 and monitor 109. Id. at 11:56–67. Sensor 101 includes
emitter 104 and detectors 106. Id. at 12:1–5. Emitter 104 emits light that is
attenuated or reflected by the patient’s tissue at measurement site 102. Id. at
14:11–16. Detectors 106 capture and measure the light attenuated or
reflected from the tissue. Id. In response to the measured light,
detectors 106 output detector signal 107 to monitor 109 through front-end
interface 108. Id. at 14:16–19, 36–42. Sensor 101 also may include tissue
shaper 105, which may be in the form of a convex surface that: (1) reduces
the thickness of the patient’s measurement site; and (2) provides more
surface area from which light can be detected. Id. at 11:7–23.
      Monitor 109 includes signal processor 110 and user interface 112. Id.
at 15:27–29. “[S]ignal processor 110 includes processing logic that
                                        5
        Case: 22-1976     Document: 4       Page: 16   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

determines measurements for desired analytes . . . based on the signals
received from the detectors 106.” Id. at 15:32–35. User interface 112
presents the measurements to a user on a display, e.g., a touch-screen
display. Id. at 15:57–61. In response to user input or device orientation,
user interface 112 can “reorient its display indicia.” Id. at 15:63–67. The
monitor may be connected to storage device 114 and network interface 116.
Id. at 16:4–22. In some embodiments, the monitor, including the display, is
attached to the patient by a strap. Id. at 17:56–59, 18:16–19.
      The ’564 patent describes various examples of sensor devices.
Figures 14D and 14F, reproduced below, illustrate sensor devices.




Figure 14D illustrates a detector submount and Figure 14F illustrates
portions of a detector shell. Id. at 6:54–57. As shown in Figure 14D,
multiple detectors 1410c are located within housing 1430 and under
transparent cover 1432, on which protrusion 605b is disposed. Id. at 36:40–
47. Figure 14F illustrates detector shell 306f including detectors 1410c on
substrate 1400c. Id. at 37:20–21. In some embodiments, the detector shell
includes walls to separate individual photodiode arrays and to “prevent or

                                        6
        Case: 22-1976     Document: 4       Page: 17   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

reduce mixing of light signals.” Id. at 22:46–53. Substrate 1400c is
enclosed by shielding enclosure 1490 and noise shield 1403, which include
window 1492a and window 1492b, respectively, placed above
detectors 1410c. Id. at 22:20–36.
      Figures 4A and 4B, reproduced below, illustrate an alternative
example of a tissue contact area of a sensor device.




Figures 4A and 4B illustrate arrangements of protrusion 405 including
measurement site contact area 470. Id. at 23:30–36. “[M]easurement site
contact area 470 can include a surface that molds body tissue of a
measurement site.” Id. “For example, the measurement site contact
area 470 can be generally curved and/or convex with respect to the
measurement site.” Id. at 23:53–55. The measurement site contact area
includes windows 420–423 that “mimic or approximately mimic a
configuration of, or even house, a plurality of detectors.” Id. at 23:61–24:8.

                            D. Illustrative Claim
      Of the challenged claims, claim 1 is independent. Claim 1 is
illustrative and is reproduced below.
           1. [pre] A user-worn physiological measurement device
      comprising:

                                        7
        Case: 22-1976      Document: 4       Page: 18   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

             [a] one or more emitters configured to emit light into tissue
      of a user;
            [b] at least four detectors arranged on a substrate;
             [c] a cover comprising a protruding convex surface,
      wherein the protruding convex surface extends over all of the at
      least four detectors arranged on the substrate, wherein at least a
      portion of the protruding convex surface is rigid;
            [d] one or more processors configured to: receive one or
      more signals from at least one of the at least four detectors, the
      one or more signals responsive to at least a physiological
      parameter of the user; and process the one or more signals to
      determine measurements of the physiological parameter;
            [e] a network interface configured to communicate with a
      mobile phone;
            [f] a touch-screen display configured to provide a user
            interface,
                  [g] wherein: the user interface is configured to
            display indicia responsive to the measurements of the
            physiological parameter, and
                  [h] an orientation of the user interface is
            configurable responsive to a user input;
             [i] a wall that surrounds at least the at least four detectors,
      wherein the wall operably connects to the substrate and the
      cover;
             [j] a storage device configured to at least temporarily store
      at least the measurements of the physiological parameter; and
           [k] a strap configured to position the physiological
      measurement device on the user.
Ex. 1001, 44:63–45:29 (bracketed lettering [pre]–[k] added).

                            E. Applied References
      Petitioner relies upon the following references:


                                         8
           Case: 22-1976   Document: 4       Page: 19    Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

            Sherman et al., U.S. Patent No. 4,941,236, filed July 6, 1989,
      issued July 17, 1990 (Ex. 1013, “Sherman”);
            Ali et al., U.S. Patent No. 6,584,336 B1, filed March 1, 2000,
      issued June 24, 2003 (Ex. 1019, “Ali”);
            Rantala et al., U.S. Patent No. 6,912,413 B2, filed September
      12, 2003, issued June 28, 2005 (Ex. 1022, “Rantala”);
            Ohsaki et al., U.S. Patent Application Publication No.
      2001/0056243 A1, filed May 11, 2001, published December 27, 2001
      (Ex. 1009, “Ohsaki”);
             Aizawa, U.S. Patent Application Publication No. 2002/0188210
      A1, filed May 23, 2002, published December 12, 2002 (Ex. 1006,
      “Aizawa”); and
            Goldsmith et al., U.S. Patent Application Publication No.
      2007/0093786 A1, filed July 31, 2006, published April 26, 2007
      (Ex. 1011, “Goldsmith”).
Pet. 10.
      Petitioner also submits, inter alia, a Declaration of Dr. Thomas W.
Kenny, Ph.D. (Ex. 1003) and a Second Declaration of Dr. Kenny (Ex. 1050).
Patent Owner submits, inter alia, the Declaration of Dr. Vijay K. Madisetti
(Ex. 2004). The parties also provide deposition testimony from Dr. Kenny
and Dr. Madisetti, including from this proceeding and others. Exs. 1053–
1056, 2006–2009, 2027.

                    F. Asserted Grounds of Unpatentability
      We instituted an inter partes review based on the following grounds.
Inst. Dec. 10–11, 42.
 Claim(s) Challenged        35 U.S.C. §                 References/Basis
 1–10, 13–30                    103            Aizawa, Ohsaki, Goldsmith
                                               Aizawa, Ohsaki, Goldsmith,
 11                             103
                                               Sherman

                                         9
          Case: 22-1976     Document: 4      Page: 20    Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

    Claim(s) Challenged       35 U.S.C. §               References/Basis
                                               Aizawa, Ohsaki, Goldsmith,
    12                            103
                                               Rantala
                                               Aizawa, Ohsaki, Goldsmith,
    1–10, 13–30                   103
                                               Ali
                                               Aizawa, Ohsaki, Goldsmith,
    11                            103
                                               Ali, Sherman
                                               Aizawa, Ohsaki, Goldsmith,
    12                            103
                                               Ali, Rantala
                                II. DISCUSSION

                               A. Claim Construction
         For petitions filed on or after November 13, 2018, a claim “shall be
construed using the same claim construction standard that would be used to
construe the claim in a civil action under 35 U.S.C. [§] 282(b).” 37 C.F.R.
§ 42.100(b) (2020). Accordingly, we construe the claims according to the
standard set forth in Phillips v. AWH Corp., 415 F.3d 1303 (Fed. Cir. 2005).
Based on our analysis of Petitioner’s challenges presented, we find that one
claim term requires express construction.
         Petitioner raises the issue of the proper scope of the claim term
“processor” from claim 1 to a person of ordinary skill in the art. Pet. 51.
Petitioner submits “[t]he ’564 patent does not define ‘processor,’” but argues
that a person of ordinary skill in the art would understand the term to mean
“part of a computer system that operates on data,” consistent with the
definition provided in Merriam-Webster’s Collegiate Dictionary. 1 Id.;
Ex. 1012, 5.



1
 Petitioner adds page numbers 1–6 to Exhibit 1012. We refer to the added
page numbers when citing to Exhibit 1012 in this Decision.
                                        10
         Case: 22-1976    Document: 4      Page: 21   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

      In our Institution Decision, we observed that the claim language
provides an understanding of the functions of the claimed one or more
processers, which are “configured to:” “receive one or more signals” and
“process the one or more signals to determine measurements of the
physiological parameter.” Inst. Dec. 11–12 (quoting Ex. 1001, 45:6–12).
We noted that “[t]he Specification describes several distinct processors, but
it also describes a ‘signal processor’ as the device used for processing
signals.” Id. at 12; see, e.g., Ex. 1001, 9:50–55, 14:36–42, 15:27–56, 33:36–
47.
      Patent Owner does not object to our initial claim construction, and
submits that claim terms should be given their ordinary and customary
meaning, consistent with the Specification. PO Resp. 7.
      Based on the final record, we maintain our initial interpretation of the
term “processor” as meaning “part of a computer system that operates on
data.” See Ex. 1012, 5. This definition is consistent with the general
operation of the signal processor in the ’564 patent, where the signal
processor is described to include “processing logic that determines
measurements . . . based on the signals received from the detectors.”
Ex. 1001, 15:31–35; 15:35–39 (“signal processor 110 can be implemented
using one or more microprocessors or subprocessors . . . digital signal
processors, application specific integrated circuits (ASICs), field
programmable gate arrays (FPGAs), combinations of the same”).
      Based on our analysis of the issues in dispute, we conclude that no
further claim terms require express construction. Nidec Motor Corp. v.
Zhongshan Broad Ocean Motor Co. Matal, 868 F.3d 1013, 1017 (Fed. Cir.
2017).

                                      11
          Case: 22-1976    Document: 4      Page: 22    Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

                              B. Principles of Law
        A claim is unpatentable under 35 U.S.C. § 103(a) if “the differences
between the subject matter sought to be patented and the prior art are such
that the subject matter as a whole would have been obvious at the time the
invention was made to a person having ordinary skill in the art to which said
subject matter pertains.” KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 406
(2007). The question of obviousness is resolved on the basis of underlying
factual determinations, including (1) the scope and content of the prior art;
(2) any differences between the claimed subject matter and the prior art;
(3) the level of skill in the art; and (4) objective evidence of
nonobviousness. 2 Graham v. John Deere Co., 383 U.S. 1, 17–18 (1966).
When evaluating a combination of teachings, we must also “determine
whether there was an apparent reason to combine the known elements in the
fashion claimed by the patent at issue.” KSR, 550 U.S. at 418 (citing In re
Kahn, 441 F.3d 977, 988 (Fed. Cir. 2006)). Whether a combination of
elements would have produced a predictable result weighs in the ultimate
determination of obviousness. Id. at 416–417.
        In an inter partes review, the petitioner must show with particularity
why each challenged claim is unpatentable. Harmonic Inc. v. Avid Tech.,
Inc., 815 F.3d 1356, 1363 (Fed. Cir. 2016); 37 C.F.R. § 42.104(b). The
burden of persuasion never shifts to Patent Owner. Dynamic Drinkware,
LLC v. Nat’l Graphics, Inc., 800 F.3d 1375, 1378 (Fed. Cir. 2015). To
prevail, Petitioner must support its challenge by a preponderance of the
evidence. 35 U.S.C. § 316(e); 37 C.F.R. § 42.1(d).


2
    The parties have not presented objective evidence of non-obviousness.
                                       12
        Case: 22-1976      Document: 4         Page: 23   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

      We analyze the challenges presented in the Petition in accordance
with the above-stated principles.

                      C. Level of Ordinary Skill in the Art
      Petitioner identifies the appropriate level of skill in the art as that
possessed by a person having “a Bachelor of Science degree in an academic
discipline emphasizing the design of electrical, computer, or software
technologies, in combination with training or at least one to two years of
related work experience with capture and processing of data or information.”
Pet. 8 (citing Ex. 1003 ¶¶ 21–22). “Additional education in a relevant field
or industry experience may compensate for one of the other aspects of
the . . . characteristics stated above.” Id.
      Patent Owner makes several observations regarding Petitioner’s
identified level of skill in the art but, “[f]or this proceeding, [Patent Owner]
nonetheless applies Petitioner’s asserted level of skill.” PO Resp. 7–8.
      We adopt Petitioner’s assessment as set forth above, which appears
consistent with the level of skill reflected in the Specification and prior art.

               D. Obviousness over the Combined Teachings of
                        Aizawa, Ohsaki, and Goldsmith
      Petitioner contends that claims 1–10 and 13–30 of the ’564 patent
would have been obvious over the combined teachings of Aizawa, Ohsaki,
and Goldsmith. Pet. 10–91; see also Pet. Reply 7–37. Patent Owner
disagrees. PO Resp. 9–51; see also Sur-reply 1–27.
      Based on our review of the parties’ arguments and the cited evidence
of record, we determine that Petitioner has met its burden of showing by a
preponderance of the evidence that claims 1–10 and 13–30 are unpatentable.



                                        13
        Case: 22-1976      Document: 4      Page: 24   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

                        1. Overview of Aizawa (Ex. 1006)

      Aizawa is a U.S. patent application publication titled “Pulse Wave
Sensor and Pulse Rate Detector,” and discloses a pulse wave sensor that
detects light output from a light emitting diode and reflected from a patient’s
artery. Ex. 1006, codes (54), (57).
      Figure 1(a) of Aizawa is reproduced below.




Figure 1(a) is a plan view of a pulse wave sensor. Id. ¶ 23. As shown in
Figure 1(a), pulse wave sensor 2 includes light emitting diode (“LED”) 21,
four photodetectors 22 symmetrically disposed around LED 21, and
holder 23 for storing LED 21 and photodetectors 22. Id. Aizawa discloses
that, “to further improve detection efficiency, . . . the number of the
photodetectors 22 may be increased.” Id. ¶ 32, Fig. 4(a). “The same effect
can be obtained when the number of photodetectors 22 is 1 and a plurality of
light emitting diodes 21 are disposed around the photodetector 22.” Id. ¶ 33.
      Figure 1(b) of Aizawa is reproduced below.




                                       14
        Case: 22-1976      Document: 4       Page: 25   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1




Figure 1(b) is a sectional view of the pulse wave sensor. Id. ¶ 23. As shown
in Figure 1(b), pulse wave sensor 2 includes drive detection circuit 24 for
detecting a pulse wave by amplifying the outputs of photodetectors 22. Id.
Arithmetic circuit 3 computes a pulse rate from the detected pulse wave and
transmitter 4 transmits the pulse rate data to an “unshown display.” Id. The
pulse rate detector further includes outer casing 5 for storing pulse wave
sensor 2, acrylic transparent plate 6 mounted to detection face 23a of
holder 23, and attachment belt 7. Id.
      Aizawa discloses that LED 21 and photodetectors 22 “are stored in
cavities 23b and 23c formed in the detection face 23a” of the pulse wave
sensor. Id. ¶ 24. Detection face 23a “is a contact side between the holder 23
and a wrist 10, respectively, at positions where the light emitting face 21s of
the light emitting diode 21 and the light receiving faces 22s of the
photodetectors 22 are set back from the above detection face 23a.” Id.
Aizawa discloses that “a subject carries the above pulse rate detector 1 on
the inner side of his/her wrist 10 . . . in such a manner that the light emitting
face 21s of the light emitting diode 21 faces down (on the wrist 10 side).”
Id. ¶ 26. Furthermore, “the above belt 7 is fastened such that the acrylic


                                        15
        Case: 22-1976      Document: 4    Page: 26   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

transparent plate 6 becomes close to the artery 11 of the wrist 10. Thereby,
adhesion between the wrist 10 and the pulse rate detector 1 is improved.”
Id. ¶¶ 26, 34.

                        2. Overview of Ohsaki (Ex. 1009)
      Ohsaki is a U.S. patent application publication titled “Wristwatch-type
Human Pulse Wave Sensor Attached on Back Side of User’s Wrist,” and
discloses “an optical sensor for detecting [a] pulse wave of a human body.”
Ex. 1009, code (54), ¶ 3. Figure 1 of Ohsaki is reproduced below.




Figure 1 illustrates a cross-sectional view of pulse wave sensor 1 attached on
the back side of user’s wrist 4. Id. ¶¶ 12, 16. Pulse wave sensor 1 includes
detecting element 2 and sensor body 3. Id. ¶ 16.




                                     16
        Case: 22-1976     Document: 4      Page: 27   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

      Figure 2 of Ohsaki, reproduced below, illustrates further detail of
detecting element 2.




Figure 2 illustrates a mechanism for detecting a pulse wave. Id. ¶ 13.
Detecting element 2 includes package 5, light emitting element 6, light
receiving element 7, and translucent board 8. Id. ¶ 17. Light emitting
element 6 and light receiving element 7 are arranged on circuit board 9
inside package 5. Id. ¶¶ 17, 19.
      “[T]ranslucent board 8 is a glass board which is transparent to light,
and attached to the opening of the package 5. A convex surface is formed
on the top of the translucent board 8.” Id. ¶ 17. “[T]he convex surface of
the translucent board 8 is in intimate contact with the surface of the user’s
skin,” preventing detecting element 2 from slipping off the detecting
position of the user’s wrist. Id. ¶ 25. By preventing the detecting element
from moving, the convex surface suppresses “variation of the amount of the
reflected light which is emitted from the light emitting element 6 and
reaches the light receiving element 7 by being reflected by the surface of the
user’s skin.” Id. Additionally, the convex surface prevents penetration by
“noise such as disturbance light from the outside.” Id.

                                      17
         Case: 22-1976      Document: 4    Page: 28   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

        Sensor body 3 is connected to detecting element 2 by signal line 13.
Id. ¶ 20. Signal line 13 connects detecting element 2 to drive circuit 11,
microcomputer 12, and a monitor display (not shown). Id. Drive circuit 11
drives light emitting element 6 to emit light toward wrist 4. Id. Detecting
element 2 receives reflected light which is used by microcomputer 12 to
calculate pulse rate. Id. “The monitor display shows the calculated pulse
rate.” Id.

                         3. Overview of Goldsmith (Ex. 1011)

        Goldsmith is a U.S. patent application publication titled “Watch
Controller for a Medical Device,” and discloses a watch controller device
that communicates with an infusion device to “provid[e] convenient
monitoring and control of the infusion pump device.” Ex. 1011, codes (54),
(57).
        Goldsmith’s Figure 9A and 9B are reproduced below.




Figure 9A and Figure 9B are respective front and rear views of a combined
watch and controller device. Id. ¶¶ 30–31. As shown in Figure 9A, watch

                                      18
        Case: 22-1976     Document: 4      Page: 29   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

controller 900 includes housing 905, transparent member 950, display 910,
input devices 925a–c, scroll wheel 930, and wrist band 940. Id. ¶¶ 85–86.
Figure 9B shows rear-side cover 960, and a rear view of housing 905, scroll
wheel 930, and wrist band 940. Id.
      Goldsmith discloses the watch controller may interact with one or
more devices, such as infusion pumps or analyte monitors. Id. ¶ 85; see also
id. ¶ 88 (“The analyte sensing device 1060 may be adapted to receive data
from a sensor, such as a transcutaneous sensor.”). Display 910 “may display
at least a portion of whatever information and/or graph is being displayed on
the infusion device display or on the analyte monitor display,” such as, e.g.,
levels of glucose. Id. ¶ 86. The display is customizable in a variety of
configurations including user-customizable backgrounds, languages, sounds,
font (including font size), and wall papers. Id. ¶¶ 102, 104. Additionally,
the watch controller may communicate with a remote station, e.g., a
computer, to allow data downloading. Id. ¶ 89 (including wireless). The
remote station may also include a cellular telephone to be “used as a conduit
for remote monitoring and programming.” Id.

                        4. Independent Claim 1

      Petitioner contends that claim 1 would have been obvious over the
combined teachings of Aizawa, Ohsaki, and Goldsmith. Pet. 10–63. Below,
we set forth how the combination of prior art references teaches or suggests
the claim limitations that are not disputed by the parties. For those
limitations and reasons for combining the references that are disputed, we
examine each of the parties’ contentions and then provide our analysis.



                                      19
        Case: 22-1976     Document: 4      Page: 30   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

             i. “[pre] A user-worn physiological measurement device
                comprising”
      The cited evidence supports Petitioner’s undisputed contention that
Aizawa satisfies the subject matter of the preamble. 3 Pet. 41–42; see, e.g.,
Ex. 1006 ¶ 26, code (57) (“a subject carries the above pulse rate detector 1
on the inner side of his/her wrist”), Fig. 2 (depicting a user wearing a pulse
wave sensor on the inner side of his/her wrist); see also Ex. 1003 ¶ 98. 4

             ii. “[a] one or more emitters configured to emit light into
                 tissue of a user”
      The cited evidence supports Petitioner’s undisputed contention that
Aizawa discloses an emitter, LED 21, that emits light into a user’s tissue.
Pet. 42–43; see, e.g., Ex. 1006 ¶ 23 (“LED 21 . . . for emitting light having a
wavelength of a near infrared range”), ¶ 27 (explaining that light is emitted
toward the wrist), Fig. 1(b) (depicting LED 21 facing user wrist 10), Fig. 2
(depicting a pulse wave sensor worn on a user’s wrist).

             iii. “[b] at least four detectors arranged on a substrate;”
      The cited evidence supports Petitioner’s undisputed contention that
Aizawa discloses at least four detectors. Pet. 23–25, 44–46; see, e.g.,



3
 Whether the preamble is limiting need not be resolved because Petitioner
shows sufficiently that the preamble’s subject matter is satisfied by the art.
4
  Petitioner further contends that the subject matter of the preamble is taught
by the combination of Aizawa, Ohsaki, and Goldsmith. Pet. 41–42 (arguing
that it would have been obvious to incorporate the pulse wave sensor of
Aizawa (as modified by Ohsaki) into the wrist-worn watch controller device
in Figures 9A and 9B of Goldsmith, to realize a user-worn physiological
measurement device). Because Figure 2 of Aizawa teaches a user-worn
physiological measurement device, further analysis of the combination of
Aizawa, Ohsaki, and Goldsmith is not necessary for the preamble.
                                      20
         Case: 22-1976    Document: 4      Page: 31   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

Ex. 1006 ¶¶ 9, 23 (“four phototransistors 22”), Figs. 1(a)–1(b); Ex. 1003
¶¶ 43–45, 64–67. Petitioner contends that pulse wave sensor depicted in
Figure 1(a) of Aizawa, reproduced below, discloses four photodetectors 22.
Pet. 44; see, e.g., Ex. 1006 ¶ 27 (“[F]our photodetectors 22 are disposed
around the light emitting diode 21.”).




Petitioner’s Annotated Figure 1(a) of Aizawa depicts four photodetectors 22,
identified by blue arrows and blue shading.
      Relying on a cross-section view of Figure 1(b) of the pulse wave
detector of Aizawa, Petitioner further contends photodetectors 22 are
secured on a substrate illustrated in Petitioner’s annotated Figure 1(b).
Pet. 24, 45. Petitioner’s annotated Figure 1(b) of Aizawa is reproduced
below.




                                      21
        Case: 22-1976     Document: 4       Page: 32   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1




Annotated Figure 1(b) depicts a structure, identified by Petitioner with
brown highlight and the added label “Substrate,” arranged in proximity to
photodetectors 22. Pet. 45. Petitioner concedes that Aizawa “does not label
or describe” a substrate, but contends a person of ordinary skill in the art
(“POSITA”) would have understood that “Aizawa’s photodetectors are
secured to the [physiological measure device] . . . through such a substrate”
depicted in annotated Figure 1(b). Pet. 24. Dr. Thomas W. Kenny testifies
that “[a] POSITA would have understood that the substrate provides
physical support and electrical connectivity and is connected to the holder
23.” Ex. 1003 ¶ 71; see also Pet. 24 (citing to testimony of Dr. Kenny). On
the current record, Petitioner has sufficiently shown that the structure
identified in annotated Figure 1(b) of Aizawa is a substrate, and that
photodetectors 22 are arranged on the substrate.
      Petitioner further contends that if Aizawa is found not to disclose a
substrate, then Ohsaki teaches this feature. Pet. 25. Similar to the device of
Aizawa, Ohsaki teaches a pulse wave sensor comprising a light emitting
                                       22
        Case: 22-1976        Document: 4      Page: 33   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

element 6 (e.g., a LED) and a light receiving element (e.g., a photodetector).
Ex. 1009 ¶ 17. “The light emitting element 6 and light receiving element 7
are . . . arranged on the circuit board 9.” Id. Relying on the testimony of
Dr. Kenny, Petitioner contends a POSITA would have modified the pulse
wave sensor of Aizawa to include a substrate, such as circuit board 9 of
Ohsaki, to secure the photodetectors of Aizawa and enable the detectors to
send signals to other elements in the device. Pet. 25 (citing Ex. 1003 ¶¶ 72–
73; Ex. 1006 ¶¶ 2–5, 8–16, 23, 27–29, 32–33, Figs. 1, 2, 3, 4(a); Ex. 1009
¶ 17, Fig. 2).
       The cited evidence, including the unrebutted testimony of Dr. Kenny,
sufficiently supports Petitioner’s stated reasoning.

                 iv. “[c] a cover comprising a protruding convex surface,
                      wherein the protruding convex surface extends over all of
                     the at least four detectors arranged on the substrate,
                     wherein at least a portion of the protruding convex surface
                    is rigid”
Petitioner’s Undisputed Contentions

       Petitioner contends that Aizawa discloses a cover, i.e., a “transparent
plate positioned between the photodetectors and the wrist.” Pet. 12 (citing
Ex. 1006 ¶ 34). Patent Owner does not dispute this contention, and we agree
with Petitioner. Aizawa discloses that “acrylic transparent plate 6 is
provided on the detection face 23a of the holder 23 to improve adhesion to
the wrist 10.” Ex. 1006 ¶ 34, Fig. 1(b) (depicting transparent plate 6
between sensor 2 and wrist 10).
       Petitioner also contends that Ohsaki teaches a wrist-worn sensor that
includes a “translucent board” having a convex surface that contacts the
user’s skin. Pet. 15, 21. Patent Owner does not dispute this contention, and

                                         23
        Case: 22-1976       Document: 4     Page: 34    Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

we agree with Petitioner. Ohsaki discloses that sensor 1 includes detecting
element 2 and sensor body 3, and is “worn on the back side of the user’s
wrist.” Ex. 1009 ¶ 16. Ohsaki discloses that detecting element 2 includes
package 5 and “translucent board 8[,which] is a glass board which is
transparent to light, and [is] attached to the opening of the package 5. A
convex surface is formed on the top of the translucent board 8.” Id. ¶ 17.
As seen in Ohsaki’s Figure 2, translucent board 8 has a single protruding
convex surface, which is placed between a user’s tissue and a light receiving
element (e.g., photodetector) 7 when the sensor is worn. Id. at Fig. 2. As
also seen in Figure 2, the board 8 is operably connected to the walls of
sensor package 5. Id. ¶ 17 (“The translucent board 8 is . . . attached to the
opening of the package 5.”), Fig. 2.
       Claim 1 further requires that “at least a portion of the protruding
convex surface is rigid.” Petitioner contends that Ohsaki’s Figure 2 depicts
the user’s tissue in intimate contact with the convex surface of the cover and
the cover is sufficiently rigid to cause the skin to deform. Pet. 15, 48 (The
“convex surface . . . causes the user’s skin to deform . . . due to the rigidity
of the convex surface.”). Patent Owner does not dispute this contention, and
we agree with Petitioner. Ohsaki’s Figure 2 depicts the user’s tissue 4
deforming and conforming to the shape of the protruding convex surface
when the sensor is worn by the user. Ex. 1009 ¶ 17 (“The translucent board
8 is a glass board.”), Fig. 2.

Petitioner’s Disputed Contentions

      Petitioner further contends that a person of ordinary skill in the art
“would have found it obvious to modify Aizawa’s sensor to include a cover
having a protruding convex surface,” so as to [1] improve adhesion between
                                       24
         Case: 22-1976      Document: 4       Page: 35    Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

the user’s wrist and the sensor’s surface, [2] improve detection efficiency,
and [3] protect the elements within sensor housing. Pet. 20–23 (citing, e.g.,
Ex. 1003 ¶¶ 67–70; Ex. 1009 ¶ 25). Petitioner contends that Ohsaki’s
convex surface is in “intimate contact” with the user’s skin, which prevents
slippage of the sensor and increases signal strength because “variation of the
amount of the reflected light . . . that reaches the light receiving element 7 is
suppressed” and because “the pulse wave can be detected without being
affected by the movement of the user’s wrist 4,” as compared to a sensor
with a flat surface. Id. at 21–22 (citing, e.g., Ex. 1003 ¶ 68; quoting
Ex. 1009 ¶¶ 15, 17, 25, Figs. 1, 2, 4A, 4B). Accordingly, Petitioner
contends that a person of ordinary skill in the art would have modified
Aizawa’s sensor to include a cover with a protruding convex surface, as
taught by Ohsaki, that is “between a surface of the sensor and the user’s
wrist.” Pet. 20–22 (citing, e.g., Ex. 1003 ¶¶ 67–70).
       Petitioner contends this modification would have been “nothing more
than the use of a known technique to improve similar devices in the same
way,” i.e., “when Ohsaki’s PMD is worn ‘the convex surface of the
translucent board . . . is in intimate contact with the . . . user’s skin’; this
contact prevents slippage, which increases the strength of the obtainable
signals.” Pet. 20–21 (citing Ex. 1003 ¶¶ 67–68).
       To illustrate its proposed modification, Petitioner includes two
annotated versions of Aizawa’s Figure 1(b), both of which are reproduced
below. Pet. 19–23 (citing Ex. 1003 ¶¶ 66–70).




                                         25
        Case: 22-1976      Document: 4      Page: 36   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1




Petitioner’s annotated figure on the left depicts Aizawa’s sensor, modified to
include a flat “acrylic transparent plate” (illustrated with blue outline);
Petitioner’s annotated figure on the right depicts Aizawa’s sensor, modified
to include a “cover with protruding convex surface” (illustrated with blue
outline).

Patent Owner’s Arguments

      Patent Owner argues that a person of ordinary skill in the art would
not have been motivated to modify Aizawa’s sensor to include Ohsaki’s
convex cover. PO Resp. 16–46;5 Sur-reply 3–25.
      First, Patent Owner argues “Ohsaki’s rectangular board would be
incompatible with Aizawa’s circular sensor arrangement” and that the
proposed modification “eliminates the longitudinal shape that Ohsaki
specifically identifies as important for the benefit of reducing slipping.” PO
Resp. 16–18 (emphases omitted). This argument is premised on Patent


5
 Patent Owner further argues, “[t]o the extent Petitioner contends a [person
of ordinary skill in the art] would use Ohsaki’s rectangular board on
Aizawa’s circular sensor . . . , that argument is unsupported and incorrect.”
PO Resp. 23 (emphasis omitted). We do not read the Petition as making
such a contention. We understand Petitioner to propose, in essence,
changing Aizawa’s circular flat cover into a circular convex cover. See, e.g.,
Pet. 22–23.
                                       26
        Case: 22-1976     Document: 4      Page: 37   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

Owner’s contention that Ohsaki’s convex cover must be rectangular, with
the cover’s long direction aligned with the length of the user’s forearm, to
avoid interacting with bones in the wrist and forearm. Id. at 18–23 (citing,
e.g., Ex. 2004 ¶¶ 48–55; Ex. 1009 ¶¶ 6, 19, 23–25); see also Sur-reply 3–11.
According to Patent Owner, Ohsaki teaches that “aligning the sensor’s
longitudinal direction with the circumferential direction of the user’s arm
undesirably results in ‘a tendency [for Ohsaki’s sensor] to slip off.’” PO
Resp. 19 (emphasis omitted) (alteration in original) (citing Ex. 1009 ¶ 19).
      Thus, Patent Owner contends that Petitioner’s proposed modification
would “chang[e] Ohsaki’s rectangular board into a circular shape,” which
“would eliminate the advantages discussed above” because it “cannot be
placed in any longitudinal direction and thus [could not] coincide with the
longitudinal direction of the user’s wrist.” Id. at 20–21 (emphases omitted)
(citing Ex. 2004 ¶¶ 50–51). Patent Owner presents annotated Figures
depicting what it contends is Ohsaki’s disclosed sensor placement as
compared to that of the proposed modification, reproduced below.




Patent Owner’s annotated Figure on the left depicts a rectangular sensor
placed between a user’s radius and ulna, while Patent Owner’s annotated

                                      27
        Case: 22-1976      Document: 4      Page: 38   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

Figure on the right depicts a circular sensor placed across a user’s radius and
ulna. Based on these annotations, Patent Owner argues that the proposed
“circular shape would press on the user’s arm in all directions and thus
[would not] avoid [the] undesirable interaction with the user’s bone
structure,” such that a skilled artisan “would have understood that any such
change would eliminate Ohsaki’s benefit of preventing slipping.” PO
Resp. 21–23 (citing, e.g., Ex. 2004 ¶¶ 48–55).
      Patent Owner additionally argues that “changing Aizawa’s circular
sensor to accommodate Ohsaki’s longitudinal structure would result in less
consistent measurements” and would “disrupt Aizawa’s circular symmetry.”
Id. at 2. This argument is premised on Patent Owner’s contention that
Ohsaki’s convex cover must be rectangular. Id. at 23 (citing Ex. 2004 ¶ 57).
According to Patent Owner, “placing Ohsaki’s rectangular board onto
Aizawa’s circular sensor would result in undesirable asymmetrical pressure
and inconsistent contact at the peripheral edge where Aizawa’s detectors are
located,” which would “create air gaps over some of Aizawa’s peripherally
arrayed detectors, but not others, which could result in degraded optical
signals.” Id. at 24–25 (emphasis omitted) (citing Ex. 2004 ¶¶ 58–59). Thus,
Patent Owner argues that a person of ordinary skill in the art “would not
have been motivated to use Ohsaki’s rectangular board with Aizawa’s
circular sensor.” Id. at 25 (citing Ex. 2004 ¶¶ 58–59).
      Second, Patent Owner argues that Ohsaki requires its sensor be placed
on the back of the user’s wrist to achieve any benefits, but that such a
location would have been unsuitable for Aizawa’s sensor. PO Resp. 25–26.
Specifically, Patent Owner argues that Aizawa’s sensor must be worn on the
palm side of the wrist, close to radial and ulnar arteries, which is the side

                                       28
        Case: 22-1976     Document: 4      Page: 39   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

opposite from where Ohsaki’s sensor is worn. Id. at 26–32 (citing, e.g.,
Ex. 1006 ¶¶ 2, 7, 9, 26, 27, 36; Ex. 2004 ¶¶ 60–67). According to Patent
Owner, Ohsaki teaches that the sensor’s convex surface has a tendency to
slip when placed on the palm side of the wrist, i.e., in the location taught by
Aizawa. Id. at 32–35 (citing, e.g., Ex. 1009 ¶¶ 19, 23–24; Ex. 2004 ¶¶ 68–
80). Thus, Patent Owner argues that a person of ordinary skill in the art
“would not have been motivated to use Ohsaki’s longitudinal board—
designed to be worn on the back side of a user’s wrist—with Aizawa’s palm-
side sensor.” Id. at 35 (emphases omitted). Similarly, Patent Owner argues
that Aizawa teaches away from the proposed modification because Aizawa
teaches that its flat acrylic plate improves adhesion on the palm side of the
wrist, while Ohsaki teaches that its convex board “has a tendency to slip” on
the palm side of the wrist. Id. at 35–38 (citing, e.g., Ex. 2004 ¶¶ 75–78).
      Third, Patent Owner argues that a person of ordinary skill in the art
would not have placed Ohsaki’s convex cover over Aizawa’s peripheral
detectors because the convex cover would condense light toward the center
and away from Aizawa’s detectors, which would decrease optical signal
strength. PO Resp. 38–44 (citing, e.g., Ex. 2004 ¶¶ 79–88). Patent Owner
also contends that Petitioner and Dr. Kenny admitted as much in a related
proceeding. Id. at 39–40 (citing, e.g., Ex. 2019, 45; Ex. 2020, 69–70).
Patent Owner also relies on Figure 14B of the ’564 patent to support its
position. Id. at 40 (citing Ex. 1001, 36:12–15, 36:23–25). In light of the
foregoing, Patent Owner argues that a person of ordinary skill in the art
would have understood that the proposed modification would have
decreased signal strength by directing light away from Aizawa’s peripheral
detectors. Id. at 43.

                                      29
        Case: 22-1976     Document: 4      Page: 40   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

      Fourth and finally, Patent Owner argues that a person of ordinary skill
in the art “would have understood that Aizawa’s flat plate would provide
better protection than a convex surface” because it “would be less prone to
scratches.” Id. at 44–46 (citing Ex. 1008 ¶ 106; Ex. 2004 ¶ 90) (emphasis
omitted).

Petitioner’s Reply

      Concerning Patent Owner’s first and second arguments, Petitioner
responds that Ohsaki does not disclose the shape of its protrusion, other than
its convexity as shown in Figures 1 and 2, nor does Ohsaki require a
rectangular shape or placement on the back of the wrist in order to achieve
the disclosed benefits. Pet. Reply 7–20 (citing, e.g., Ex. 1050 ¶¶ 7–30).
Moreover, Petitioner asserts that “even if Ohsaki’s translucent board 8 were
[somehow] understood to be rectangular, obviousness does not require
‘bodily incorporation’ of features from one reference into another”; rather, a
person of ordinary skill in the art “would have been fully capable of
modifying Aizawa to feature a light permeable protruding convex cover to
obtain the benefits” taught by Ohsaki. Id. at 15–16 (citing, e.g., Ex. 1050
¶ 23). Similarly, regarding the location of the sensor, Petitioner asserts,
      [E]ven assuming for the sake of argument that a [person of
      ordinary skill in the art] would have understood Aizawa’s sensor
      as being limited to placement on the backside of the wrist, and
      would have understood Ohsaki’s sensor’s “tendency to slip”
      when arranged on the front side as informing consideration of
      Ohsaki’s teachings with respect to Aizawa, that would have
      further motivated the [person of ordinary skill in the art] to
      implement a light permeable convex cover in Aizawa’s sensor,
      to improve detection efficiency of that sensor when placed on the
      palm side.


                                      30
         Case: 22-1976     Document: 4      Page: 41   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

Id. at 18 (citing, e.g., Ex. 1050 ¶ 25) (emphasis omitted). In other words,
Ohsaki’s disclosure that a convex surface suppresses variation in reflected
light would have motivated an artisan to add such a surface to Aizawa to
improve detection efficiency of that sensor when placed on the palm side.
Id. at 18.
       Concerning Patent Owner’s third argument, Petitioner responds that
adding a convex cover to Aizawa’s sensor would not decrease signal
strength but, instead, “would improve Aizawa’s signal-to-noise ratio by
causing more light backscattered from tissue to strike Aizawa’s
photodetectors than would have with a flat cover” because such a cover
improves light concentration across the entire lens and does not direct it only
towards the center. Id. at 20–21 (citing, e.g., Ex. 1050 ¶¶ 31–34).
       Petitioner asserts that Patent Owner and Dr. Madisetti “ignore[] the
well-known principle of reversibility,” by which “a ray going from P to S
will trace the same route as one from S to P.” Pet. Reply 22 (quoting
Ex. 1051, 84, 92; Ex. 1052, 101, 110; Ex. 1053, 80:20–82:20). When
applied to Aizawa’s sensor, Petitioner contends that any condensing benefit
achieved by a convex cover would thus direct emitted light toward Aizawa’s
peripheral detectors. Id. at 22–24 (citing, e.g., Ex. 1050 ¶¶ 35–43).
Although Dr. Madisetti refused to acknowledge “this basic principle of
reversibility during deposition,” Petitioner contends this core concept of
reversibility is applied in Aizawa. Id. at 24–25 (citing, e.g., Ex. 1006 ¶ 33;
Ex. 1050 ¶ 44; Ex. 1055, 209:19–21).
       Petitioner also asserts that Patent Owner and Dr. Madisetti overlook
the fact that light rays reflected by body tissue will be scattered and diffuse
and will approach the detectors “from various random directions and

                                       31
        Case: 22-1976      Document: 4       Page: 42   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

angles.” Pet. Reply 25–29 (citing, e.g., Ex. 1021, 52, 86, 90; Ex. 1050
¶¶ 42–47; Ex. 1051, 841; Ex. 1052, 101; Ex. 1053, 80:20–82:20). This
scattered and diffuse light, according to Petitioner, means that Ohsaki’s
convex cover cannot “focus all light at the center of the sensor device,” as
Patent Owner argues. Id. at 26. Instead, due to the random nature of this
scattered light, Petitioner asserts that a person of ordinary skill in the art
would have understood that “Ohsaki’s convex cover provides a slight
refracting effect, such that light rays that may have missed the detection area
are instead directed toward that area as they pass through the interface
provided by the cover.” Id. at 27 (citing, e.g., Ex. 1050 ¶ 50). Petitioner
applies this understanding to Aizawa, and asserts that using a cover with a
convex protrusion in Aizawa would “enable backscattered light to be
detected within a circular active detection area.” Id. (citing, e.g., Ex. 1021,
86, 90; Ex. 1050 ¶ 49).
      Petitioner relies upon the following illustration of this alleged effect.
Pet. Reply 30 (citing Ex. 1050 ¶ 54).




                                        32
        Case: 22-1976      Document: 4       Page: 43   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

The above illustration depicts backscattered light with Aizawa’s sensor
reflecting off user tissue in various directions, such that it impinges upon the
peripheral detectors from various random angles and directions. Id.
According to Petitioner, this allows the detector to capture “light rays that
otherwise would have missed the active detection area are instead directed
toward that area.” Id. at 31 (citing Ex. 1050 ¶ 55).
      Petitioner also dismisses Patent Owner’s reliance on Figure 14B of the
’564 patent because it “is not an accurate representation of light that has
been reflected from a tissue measurement site.” Pet. Reply 28 (citing, e.g.,
Ex. 1050 ¶¶ 51–52). According to Petitioner, for example, “[t]he light
rays (1420) shown in FIG. 14B are collimated (i.e., travelling paths parallel
to one another), and each light ray’s path is perpendicular to the detecting
surface.” Id. at 28–29.
      Concerning Patent Owner’s fourth argument, Petitioner responds that
even if a flat surface might be less prone to scratching, that possible
disadvantage would have been weighed against the “known advantages of
applying Ohsaki’s teachings,” and would not negate a motivation to
combine. Id. at 33 (citing, e.g., Ex. 1050 ¶ 60).

Patent Owner’s Sur-reply

      Concerning Patent Owner’s first and second arguments, Patent Owner
reiterates its position that Ohsaki’s purported benefits attach only to a sensor
with a rectangular convex surface that is located on the back of the wrist,
and that “even small changes in sensor orientation or measurement location
result in slippage.” Sur-reply 1, 3–15, 8.
      Concerning Patent Owner’s third argument (that the convex cover
would condense light toward the center and away from Aizawa’s detectors),
                                       33
          Case: 22-1976     Document: 4      Page: 44   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

Patent Owner argues that Dr. Kenny and Petitioner have not overcome their
admissions that a convex lens directs light toward the center. Id. at 15–16,
19–21. Patent Owner asserts that Petitioner’s Reply improperly presents
several new arguments, relying on new evidence, as compared with the
Petition. Id. at 16–19 (regarding reversibility). Moreover, Patent Owner
argues that Petitioner’s discussion of the principle of reversibility is
“irrelevant” because it “assumes conditions that are not present when tissue
scatters and absorbs light.” Id. at 16–17. The random nature of
backscattered light, in Patent Owner’s view, “hardly supports Petitioner’s
argument that light will necessarily travel the same paths regardless of
whether the LEDs and detectors are reversed,” and is irrelevant to the central
issue presented here of “whether changing Aizawa’s flat surface to a convex
surface results in more light on Aizawa’s peripherally located detectors.” Id.
at 18.
         Patent Owner also asserts that Petitioner mischaracterizes Patent
Owner’s position, which is not that Ohsaki’s cover with a convex protrusion
“focuses all light to a single point” at the center of the sensor as Petitioner
characterizes it. Sur-reply 20. Patent Owner’s position, rather, is that
Petitioner has not shown that a person of ordinary skill in the art “would
have been motivated to change Aizawa’s flat surface to a convex surface to
improve signal strength.” Id. In Patent Owner’s view, by arguing that the
convex cover provides only a “slight refracting effect,” Petitioner
undermines its contention that providing such a cover would have improved
detection efficiency. Id. at 20–21 (emphasis omitted).
         Patent Owner also argues that Petitioner’s contention that a convex
cover allows more light collection generally is a new theory not supported

                                        34
        Case: 22-1976      Document: 4      Page: 45   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

by Dr. Kenny’s original declaration. Id. at 20. Moreover, Patent Owner
argues that Petitioner’s theory is “unavailing because it fails to consider the
greater decrease in light at the detectors due to light redirection to a more
central location.” Id. at 21 (emphasis omitted). According to Patent Owner,
any light redirected from the sensor’s edge could not make up for the loss of
signal strength from light redirected away from the detectors and toward the
center. Id.
      Concerning Patent Owner’s fourth argument, Patent Owner argues
that Petitioner does not dispute Patent Owner’s position that a flat cover
would be less prone to scratches and offers “no plausible advantages for its
asserted combination.” Id. at 24. Moreover, Patent Owner argues that the
risk of scratches undermines Petitioner’s argument of adding a convex cover
to protect the elements within the sensor housing. Id. at 25.

Analysis

      As noted above, Petitioner provides three rationales to support its
contention that a person of ordinary skill in the art would have provided “a
light permeable cover with a protruding convex surface,” such as that taught
by Ohsaki, to Aizawa’s sensor: (1) to improve adhesion between the sensor
and the user’s tissue; (2) to improve detection efficiency; and (3) to protect
the elements within the sensor housing. Pet. 20–23 (citing, e.g., Ex. 1003
¶¶ 67–70; Ex. 1009 ¶ 25). As further examined below, we determine all
three rationales are supported by the evidence, and further that any single
rationale standing alone would have been sufficient to establish a basis for
the person of ordinary skill in the art to combine the references as proposed.




                                       35
        Case: 22-1976      Document: 4      Page: 46   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

      Rationales 1 and 2
      The evidence of record persuades us that adding a convex cover, such
as that taught by Ohsaki, would have improved adhesion between the sensor
and the user’s skin, which would have increased the signal strength of the
sensor. Ohsaki teaches as much:
      [T]he convex surface of the translucent board 8 is in intimate
      contact with the surface of the user’s skin. Thereby it is prevented
      that the detecting element 2 slips off the detecting position of the
      user’s wrist 4. If the translucent board 8 has a flat surface, the
      detected pulse wave is adversely affected by the movement of
      the user’s wrist 4 as shown in Fig. 4B. However, in the case that
      the translucent board 8 has a convex surface like the present
      embodiment, the variation of the amount of the reflected light
      which is emitted from the light emitting element 6 and reaches
      the light receiving element 7 by being reflected by the surface of
      the user’s skin is suppressed. It is also prevented that noise such
      as disturbance light from the outside penetrates the translucent
      board 8. Therefore the pulse wave can be detected without being
      affected by the movement of the user’s wrist 4 as shown in FIG.
      4A.

Ex. 1009 ¶ 25 (emphasis added); see also id. ¶ 27 (“detecting element 2 is
stably fixed”).
      We credit Dr. Kenny’s testimony that a person of ordinary skill in the
art would have been motivated by such teachings to apply a cover with a
convex surface to Aizawa to improve that similar device in the same way
and to yield predictable results, i.e., to resist movement of the sensor on the
user’s wrist and to suppress variation. See, e.g., Ex. 1003 ¶¶ 68 (“[T]his
contact between the convex surface and the user’s skin prevents slippage,
which increases the strength of the signals obtainable by Ohsaki’s
[sensor].”), 70, 103 (One of ordinary skill would have understood that this
“would have been used to realize improved adhesion between the user’s
                                       36
         Case: 22-1976     Document: 4      Page: 47   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

wrist and the sensor’s surface, improve detection efficiency.”). We find
persuasive Dr. Kenny’s explanation that the person of ordinary skill in the
art “would have understood that a protruding convex cover would reduce the
adverse effects of user movement on signals obtainable by photodetectors
which are positioned to detect light reflected from user tissue.” Ex. 1050
¶ 13.
        Indeed, Ohsaki expressly compares the performance of a wrist-worn
pulse wave sensor depending on whether translucent board 8 is convex or
flat, and concludes the convex surface results in improved performance over
the flat surface, especially when the user is moving. Ex. 1009, Figs. 4A–4B,
¶¶ 15, 25 (stating that with “a flat surface, the detected pulse wave is
adversely affected by the movement of the user’s wrist 4,” and with “a
convex surface like the present embodiment, the variation of the amount of
the reflected light” collected by the sensor “is suppressed”). Ohsaki also
states that, with a convex surface, “[i]t is also prevented that noise such as
disturbance light from the outside penetrates the translucent board 8.” Id.
¶ 25.
        We also credit Dr. Kenny’s testimony that the proposed modification
would have been within the skill level of an ordinary artisan. For example,
Dr. Kenny testifies that one of ordinary skill in the art would have combined
the teachings of Aizawa and Ohsaki as “[d]oing so would have amounted to
nothing more than the use of a known technique to improve similar devices
in the same way and combining prior art elements according to known
methods to yield predictable results.” Ex. 1003 ¶ 67. In particular, one of
ordinary skill in the art would have recognized that by incorporating
Ohsaki’s convex surface, “‘the convex surface of the translucent board . . . is

                                       37
        Case: 22-1976     Document: 4       Page: 48   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

in intimate contact with the surface of the user’s skin’; this contact between
the convex surface and the user’s skin prevents slippage, which increases the
strength of the signals obtainable by Ohsaki’s [sensor].” Id. ¶ 68 (citing
Ex. 1009 ¶¶ 15, 17, 25, Figs. 1, 2, 4A, 4B).
      In light of Ohsaki’s express disclosure of the benefits of a convex cover,
we credit Dr. Kenny’s testimony that a person of ordinary skill in the art would
have been motivated to modify Aizawa as proposed, and would have had a
reasonable expectation of success in doing so.
      We next address Patent Owner’s first through third arguments, each of
which implicates Petitioner’s first and second asserted rationales of
improved adhesion and detection efficiency.
      Patent Owner’s first argument is premised on the notion that Ohsaki’s
benefits only can be realized with a rectangular convex surface, because
such a shape is required to avoid interacting with bones on the back of the
user’s forearm. PO Resp. 8–25. We disagree. Ohsaki does not disclose the
shape of its convex cover, much less require it be rectangular. In fact,
Ohsaki is silent as to the shape of the convex surface. Ohsaki discloses that
sensor 1 includes detecting element 2, which includes package 5 within
which the sensor components are located. Ex. 1009 ¶ 17. Ohsaki’s convex
surface is located on board 8, which is “attached to the opening of the
package 5.” Id. Ohsaki provides no further discussion regarding the shape
of board 8 or its convex protrusion.
      We disagree with Patent Owner’s suggestion that the shape of the
convex surface can be inferred to be rectangular from Ohsaki’s Figures 1
and 2. PO Resp. 10–11. Ohsaki does not indicate that these figures are
drawn to scale, or reflect precise dimensions or shapes of the convex

                                       38
        Case: 22-1976      Document: 4      Page: 49   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

surface. See, e.g., Ex. 1009 ¶ 13 (“schematic diagram”); see also Pet.
Reply 12–15; Hockerson-Halberstadt, Inc. v. Avia Group Int’l, 222 F.3d
951, 956 (Fed. Cir. 2000) (“[I]t is well established that patent drawings do
not define the precise proportions of the elements and may not be relied on
to show particular sizes if the specification is completely silent on the
issue.”).
       To be clear, Ohsaki describes the shape of detecting element 2 as
rectangular: “[T]he length of the detecting element 2 from the right side to
the left side in FIG. 2 is longer than the length from the upper side to the
lower side.” Ex. 1009 ¶ 19. Ohsaki also describes that detecting element 2
is aligned longitudinally with the user’s forearm: “[I]t is desirable that the
detecting element 2 is arranged so that its longitudinal direction agrees with
the longitudinal direction of the user’s arm,” to avoid slipping off. Id.; see
also id. ¶ 9 (“The light emitting element and the light receiving element are
arranged in the longitudinal direction of the user’s arm.”).
       In light of this disclosed rectangular shape of detecting element 2, it is
certainly possible that Ohsaki’s convex surface may be similarly shaped.
But, it may not be. Contrary to Patent Owner’s argument, Ohsaki neither
describes nor requires detecting element 2 to have the same shape as the
convex surface of board 8. Accord Pet. Reply. 12–13 (noting also that
Ohsaki’s board 8 “is not coextensive with the entire tissue-facing side of
detecting element 2”). We have considered the testimony of both Dr. Kenny
and Dr. Madisetti on this point. Ex. 1050 ¶¶ 8, 11–12, 18–23; Ex. 2004
¶¶ 35–39 (relying on Ohsaki’s Figures 1–2 to support his opinion that the
convex surface is rectangular). Dr. Madisetti’s reliance on the dimensions of
Ohsaki’s figures is unpersuasive. Hockerson-Halberstadt, 222 F.3d at 956.

                                       39
        Case: 22-1976     Document: 4      Page: 50   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

We credit Dr. Kenny’s testimony that Ohsaki does not describe its convex
surface as rectangular, because this testimony is most consistent with
Ohsaki’s disclosure.
      Further, Patent Owner suggests that the convex surface must be
rectangular, in order to avoid interacting with bones in the user’s forearm.
PO Resp. 18–23; Sur-reply 10 (“[A] POSITA would have understood
Ohsaki’s convex board must also have a longitudinal shape oriented up-and-
down the watch-side of the user’s wrist/forearm.”) (emphasis omitted).
Although Ohsaki recognizes that interaction with these bones can cause
problems, see Ex. 1009 ¶¶ 6, 19, we do not agree that the only way to avoid
these bones is by aligning a rectangular cover with the longitudinal direction
of the user’s forearm. For example, in the annotated Figures provided by
Patent Owner, see PO Resp. 21, we discern that the circular sensor that
purports to depict the proposed modification would also avoid the bones in
the forearm if it were slightly smaller. Patent Owner provides no persuasive
explanation to justify the dimensions it provides in this annotated figure, or
to demonstrate that such a large sensor would have been required. Indeed,
we discern that it would have been within the level of skill of an ordinary
artisan to appropriately size a modified sensor to avoid these well-known
anatomical obstacles. “A person of ordinary skill is also a person of
ordinary creativity, not an automaton.” KSR, 550 U.S. at 421. After all, an
artisan must be presumed to know something about the art apart from what
the references disclose. See In re Jacoby, 309 F.2d 513, 516 (CCPA 1962).
      Finally, we do not agree with Patent Owner’s position that Ohsaki’s
advantages apply only to rectangular convex surfaces. As discussed, Patent
Owner has not shown that Ohsaki’s convex surface is rectangular at all.

                                      40
        Case: 22-1976     Document: 4      Page: 51   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

Moreover, even if Ohsaki’s convex surface is rectangular, when discussing
the benefits associated with a convex cover, Ohsaki does not limit those
benefits to a cover of any particular shape. Instead, Ohsaki explains that
“detecting element 2 is arranged on the user’s wrist 4 so that the convex
surface of the translucent board 8 is in intimate contact with the surface of
the user’s skin. Thereby it is prevented that the detecting element 2 slips off
the detecting position of the user’s wrist 4.” Ex. 1009 ¶ 25; Ex. 1050 ¶ 18.
Thus, we agree with Petitioner that Ohsaki’s teaching of a convex surface
would have motivated a person of ordinary skill in the art to add such a
surface to Aizawa’s circular-shaped sensor, to improve adhesion as taught
by Ohsaki. See, e.g., Pet. 20–23. Nothing in Ohsaki’s disclosure limits such
a benefit to a specific shape of the convex surface. Ex. 1050 ¶¶ 10–11, 14–
23.
      Moreover, Ohsaki contrasts the ability to properly receive reflected
light with a convex surface as compared to a flat surface and notes that,
      in the case that the translucent board 8 has a convex surface . . .
      the variation of the amount of the reflected light which is emitted
      from the light emitting element 6 and reaches the light receiving
      element 7 by being reflected by the surface of the user’s skin is
      suppressed. It is also prevented that noise such as disturbance
      light from the outside penetrates the translucent board 8.
      Therefore the pulse wave can be detected without being affected
      by the movement of the user’s wrist 4 as shown in FIG. 4A.

Ex. 1009 ¶ 25; Ex. 1050 ¶¶ 12–13. Again, we agree with Petitioner that
Ohsaki’s teaching of a convex surface would have motivated a person of
ordinary skill in the art to add such a surface to Aizawa’s sensor, to improve
signal strength, as taught by Ohsaki. See, e.g., Pet. 21–23. Again, nothing



                                      41
        Case: 22-1976      Document: 4      Page: 52    Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

in Ohsaki’s disclosure limits such a benefit to the shape of the convex
surface. Ex. 1050 ¶¶ 10–11, 14–23.
      Accordingly, we do not agree that Ohsaki’s disclosed advantages
attach only to a rectangular convex surface, or would have been inapplicable
to the proposed combination of Aizawa and Ohsaki.
      We have also considered Patent Owner’s arguments that Petitioner’s
proposed modification would disrupt Aizawa’s “circular symmetry.” See
PO Resp. 23–25. We do not agree. Rather we agree with Petitioner that the
proposed modification is not a bodily incorporation. That is, Petitioner does
not propose a bodily incorporation of Ohsaki’s rectangular board into
Aizawa’s circular cover. Pet. Reply 15–16. Petitioner proposes modifying
Aizawa only to include a cover with a convex surface. Pet. 20. We agree
with Petitioner that a person of ordinary skill in the art, “is also a person of
ordinary creativity, not an automaton,” and is capable of modifying Aizawa
to, inter alia, minimize any gap when including a cover with a convex
surface. Indeed, a purpose of Petitioner’s proposed modification is to
increase signal strength. See, e.g., Pet. 21–23. We discern that it would
have been within the capability of an ordinarily skilled artisan to eliminate
any gap that would have decreased signal strength or quality. Ex. 1050 ¶ 29.
      We have considered Patent Owner’s second argument, that Ohsaki’s
benefits are realized only when the sensor and convex surface are placed on
the back of the user’s wrist, which is the opposite side of the wrist taught by
Aizawa. PO Resp. 25–38. We do not agree. As an initial matter, Petitioner
does not propose bodily incorporating the references; Petitioner simply
proposes adding a convex cover to Aizawa’s sensor, without discussing
where Aizawa’s sensor is used. See, e.g., Pet. 20. In other words,

                                       42
        Case: 22-1976      Document: 4      Page: 53   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

Petitioner’s proposed modification does not dictate any particular placement,
whether on the palm side or back side of the wrist.
      To be sure, Ohsaki’s Figures 3A–3B compare the performance of
detecting element 2, including its translucent board 8 having a convex
protrusion, and show better performance when the element is attached to the
back side of the wrist versus the front side of the wrist, when the user is in
motion. See Ex. 1009 ¶¶ 23–24, Figs. 3A–3B. However, we do not agree
that these figures support Dr. Madisetti’s conclusion that “Ohsaki indicates a
convex surface only prevents slipping on the back (i.e., watch) side of the
wrist in a specific orientation, but tends to slip when used in different
locations or orientations” such as the palm side of the wrist—particularly in
comparison to a flat surface such as Aizawa’s. Ex. 2004 ¶¶ 60, 73. Instead,
Ohsaki acknowledges that, even when the detecting element is located “on
the front [palm] side of the user’s wrist 4, the pulse wave can be detected
well if the user is at rest.” Ex. 1009 ¶ 23 (emphasis added). Thus, Ohsaki
discloses that, in at least some circumstances, a convex surface located on
the front of the user’s wrist achieves benefits. Id. Notably, Ohsaki’s claims
are not limited to detection during movement or exercise.
      We credit, instead, Dr. Kenny’s testimony that a person of ordinary
skill in the art would have understood from Ohsaki that a convex protrusion
will help prevent slippage, even in the context of Aizawa’s sensor. See
Ex. 1050 ¶¶ 10–11, 24–30. This is because the convex protrusion
“promot[es] ‘intimate contact with the surface of the user’s skin,’” which
“would have increased adhesion and reduced slippage of Aizawa’s sensor
when placed on either side of a user’s wrist or forearm, and additionally



                                       43
          Case: 22-1976      Document: 4     Page: 54   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

would have provided associated improvements in signal quality.” Id. ¶¶ 29–
30 (“additional adhesive effect”).
         Dr. Madisetti testifies that
               [b]ased on Aizawa’s teaching that a flat acrylic plate
         improves adhesion on the palm side of the wrist, and Ohsaki’s
         teaching that a convex surface tends to slip on the palm side of
         the wrist, a [person of ordinary skill in the art] would have come
         to the opposite conclusion from Dr. Kenny: that modifying
         Aizawa’s flat adhesive plate “to include a lens/protrusion . . .
         similar to Ohsaki’s translucent board” would not “improve
         adhesion.”

Ex. 2004 ¶ 78 (emphasis omitted); see also id. ¶ 76. We disagree with this
reading of Aizawa. It is true that Aizawa’s plate 6 is illustrated as having a
flat surface (Ex. 1006, Fig. 1(b)), and that Aizawa states the plate
“improve[s] adhesion” (id. ¶ 13). Aizawa further states: “the above belt 7 is
fastened such that the acrylic transparent plate 6 becomes close to the
artery 11 of the wrist 10,” and “[t]hereby, adhesion between the wrist 10 and
the pulse rate detector 1 is improved.” Id. ¶ 26. These disclosures, however,
indicate the improved adhesion is provided by the acrylic material of plate 6,
not the shape of the surface of the plate, which is never specifically
addressed. See also id. ¶¶ 30, 34 (“Since the acrylic transparent plate 6 is
provided . . . adhesion between the pulse rate detector 1 and the wrist 10 can
be improved.”). Aizawa does not associate this benefit of improved
adhesion with the surface shape of the plate, but rather, with the existence of
an acrylic plate to begin with. Thus, there is no teaching away from using a
convex surface to improve the adhesion of Aizawa’s detector to the user’s
wrist.



                                        44
         Case: 22-1976       Document: 4      Page: 55   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

        We have considered Patent Owner’s third argument that a convex
cover would condense light away from Aizawa’s peripheral detectors, which
Patent Owner alleges would decrease signal strength. PO Resp. 38–44. We
disagree.
        There appears to be no dispute that when emitted light passes through
user tissue, the light diffuses and scatters as it travels. See, e.g., Pet.
Reply 29 (“[R]eflectance type pulse detectors detect light that has been
‘partially reflected, transmitted, absorbed, and scattered by the skin and
other tissues and the blood before it reaches the detector,’” thus, a person of
ordinary skill in the art “would have understood from Aizawa’s FIG. 1(a)
that light that backscatters from the measurement site after diffusing through
tissue reaches the circular active detection area provided by Aizawa’s
detectors from various random directions and angles.”) (quoting Ex. 1021,
86); PO Sur-reply 17 (“Even Petitioner admits that tissue randomly scatters
and absorbs light rays.”).
        The light thus travels at random angles and directions, and no longer
travels in a collimated and perpendicular manner. Exhibit 1051, 6
Figure 4.12, illustrates the difference between diffuse and collimated light,
and is reproduced below:




6
    Eugene Hecht, Optics (2nd ed. 1990).
                                         45
        Case: 22-1976     Document: 4      Page: 56   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1




This figure provides at left a photograph and an illustration showing
incoming collimated light reflecting from a smooth surface, and at right a
photograph and an illustration of incoming collimated light reflecting from a
rough surface. See Ex. 1051, 87–88 (original page numbers). The smooth
surface provides specular reflection, in which the reflected light rays are
collimated like the incoming light rays. See id. The rough surface provides
diffuse reflection, in which the reflected light rays travel in random
directions. See id.; see also Ex. 1050 ¶ 46 (“A [person of ordinary skill in
the art] would have understood that light which backscatters from the
measurement site after diffusing through tissue reaches the active detection
area [provided] from various random directions and angles.”).
      Dr. Kenny testifies that Aizawa “detect[s] light that has been ‘partially
reflected, transmitted, absorbed, and scattered by the skin and other tissues
and the blood before it reaches the detector.’” Ex. 1050 ¶ 46 (quoting


                                      46
        Case: 22-1976     Document: 4      Page: 57   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

Ex. 1021, 86). Dr. Kenny further opines that a convex cover, when added to
Aizawa’s sensor with multiple detectors symmetrically arranged about a
central light source, allows light rays that otherwise would have missed the
detection area to instead be directed toward that area as they pass through
the interface provided by the cover, thus increasing the light-gathering
ability of Aizawa’s sensor. Id. ¶¶ 46–49.
      By contrast Dr. Madisetti testifies that “a convex [surface] condenses
light passing through it towards the center of the sensor and away from the
periphery.” Ex. 2004 ¶ 80; see also id. ¶¶ 80–82, 86. We have considered
this testimony, however, Dr. Madisetti’s opinions largely are premised upon
the behavior of collimated and perpendicular light as depicted in Figure 14B
of the challenged patent. See id. ¶ 82. Dr. Madisetti does not explain how
light would behave when approaching the sensor from various angles, as it
would after being reflected by tissue. Id. ¶¶ 84–88. In other words, even if
Patent Owner is correct that the ’564 patent’s Figure 14B depicts light
condensing toward the center, this is not dispositive to the proposed
modification, because light reflected by a user’s tissue is scattered and
random, and is not collimated and perpendicular as shown in Figure 14B.
Ex. 1001, Fig. 14B.
      Patent Owner and Dr. Madisetti argue that “Petitioner and Dr. Kenny
both admit that a convex cover condenses light towards the center of the
sensor and away from the periphery,” in a different petition filed against a
related patent, i.e., in IPR2020-01520. PO Resp. 39–41; Ex. 2004 ¶¶ 80–83.
The cited portions of the Petition and Dr. Kenny’s declaration from
IPR2020-01520 discuss a decrease in the “mean path length” of a ray of
light when it travels through a convex lens rather than through a flat surface.

                                      47
        Case: 22-1976     Document: 4      Page: 58   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

See, e.g., Ex. 2020 ¶¶ 118–120. We do not agree that this discussion is
inconsistent with Dr. Kenny’s testimony here that, where light is reflected to
the detectors at various random angles and directions, more light will reach
Aizawa’s symmetrically disposed detectors when travelling through the
convex surface than would be reached without such a surface, because light
that might have otherwise missed the detectors now will be captured. See,
e.g., Ex. 1050 ¶¶ 49, 55 (“Ohsaki’s convex cover provides a slight refracting
effect, such that light rays that may have otherwise missed the detection area
are instead directed toward that area”). We do not discern that the
convergence of a single ray of light toward the center, as discussed in
IPR2020-01520, speaks to the aggregate effect on all light that travels
through the convex surface.
      We additionally do not agree with Patent Owner’s argument that
Petitioner’s Reply presents new arguments and evidence that should have
been first presented in the Petition, to afford Patent Owner an adequate
opportunity to respond. See Sur-reply 16–19. The Petition proposed a
specific modification of Aizawa to include a convex protrusion in the cover,
for the purpose of increasing the light gathering ability of Aizawa’s device.
See Pet. 19–23. The Patent Owner Response then challenged that
contention, with several arguments that Petitioner’s proposed convex
protrusion would not operate in the way the Petition alleges it would operate.
See PO Resp. 38–44. This opened the door for Petitioner to provide, in the
Reply, arguments and evidence attempting to rebut the contentions in the
Patent Owner Response. See PTAB Consolidated Trial Practice Guide




                                      48
         Case: 22-1976      Document: 4      Page: 59   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

(Nov. 2019) (“Consolidated Guide”),7 73 (“A party also may submit rebuttal
evidence in support of its reply.”). This is what Petitioner did here. The
Reply does not change Petitioner’s theory for obviousness; rather, the Reply
presents more argument and evidence in support of the same theory for
obviousness presented in the Petition. Compare Pet. 19–23, with Pet.
Reply 20–32.
        Rationale 3
        Petitioner further contends that a person of ordinary skill in the art
would have recognized that a cover with a protruding convex surface, such
as that taught by Ohsaki, would “protect the elements within the sensor
housing” of Aizawa. Pet. 47. We are persuaded that adding a convex cover,
such as that taught by Ohsaki, would also protect the sensor’s internal
components in a manner similar to Aizawa’s flat acrylic plate. Ex. 1003
¶ 70; see also Ex. 1008 ¶ 15 (noting that a cover “protect[s] the LED or
PD”).
        We disagree with Patent Owner’s fourth argument that a person of
ordinary skill in the art would not have modified Aizawa as proposed
because a convex cover would be prone to scratches and because other
alternatives existed. Patent Owner does not explain how the potential
presence of scratches on a convex cover would preclude that cover’s ability
to, nonetheless, protect the internal sensor components in Aizawa, as
Petitioner proposes. That a convex cover may be more prone to scratches
than Aizawa’s flat cover is one of numerous tradeoffs that a person of
ordinary skill in the art would consider in determining whether the benefits


7
    Available at https://www.uspto.gov/TrialPracticeGuideConsolidated.
                                        49
        Case: 22-1976       Document: 4      Page: 60   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

of increased adhesion, signal strength, and protection outweigh the potential
for a scratched cover. Medichem, S.A. v. Rolabo, S.L., 437 F.3d 1157, 1165
(Fed. Cir. 2006). The totality of the final record does not support that the
possibility of scratches alone would have dissuaded a person of ordinary
skill in the art from the proposed modification, to achieve the benefits
identified by Petitioner.
      For the foregoing reasons, we are persuaded by Petitioner’s
contentions.

               v. “[1d] one or more processors configured to: receive one or
                  more signals from at least one of the at least four detectors,
                  the one or more signals responsive to at least a
                  physiological parameter of the user; and process the one or
                 more signals to determine measurements of the physiological
                parameter”
      The cited evidence supports Petitioner’s undisputed contention that
Aizawa discloses one or more processors. Pet. 51–52. According to
Petitioner “a [person of ordinary skill in the art] would have understood that
Aizawa’s drive detection circuit 24 and arithmetic circuit 3 are ‘one or more
processors’ as they receive pulse wave data from the photodetectors and
perform signal amplification and calculations to ‘comput[e] a pulse rate
from the detected pulse wave data.’” Id. at 51 (citing Ex. 1006 ¶¶ 23, 28;
Ex. 1003 ¶¶ 107–108). 8




8
 Petitioner further contends that Goldsmith also discloses a processor.
Pet. 51–52. Because Aizawa teaches components of a computer system that
operate on data, consistent with our construction of the term “processor,”
further analysis of the combination of Aizawa, Ohsaki, and Goldsmith is not
necessary for this particular claim limitation.
                                        50
        Case: 22-1976     Document: 4      Page: 61   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

             vi. “[1e] a network interface configured to communicate with a
                 mobile phone”
      The cited evidence supports Petitioner’s undisputed contention that
Goldsmith discloses a network interface configured to communicate with a
mobile phone. Pet. 32–35, 53; see, e.g., Ex. 1011 ¶ 52 (“The
communications block 595 may be adapted to provide communication via
one or more communications methods, such as RF 596, a USB 597, and IR
598.”). In addition, Petitioner provides persuasive reasoning as to why the
claimed subject matter would have been obvious to one of ordinary skill in
the art. Pet. 35. Petitioner also supports its contentions for this claim with
the testimony of Dr. Kenny. Ex. 1003 ¶¶ 55–60, 75–82, 112.
      Petitioner further provides persuasive rationales for the combination
of certain Goldsmith features with Aizawa and Ohsaki. Pet. 32–41, 35 (“to
incorporate the Aizawa-Ohsaki sensor into Goldsmith’s WCD such that the
sensor would have access to a network interface such as Goldsmith’s
transceiver or communications block to facilitate remote monitoring, as
described in Goldsmith”), 36 (“to incorporate the Aizawa-Ohsaki sensor into
Goldsmith’s WCD in such a way as to enable measured pulse rate data to be
stored in a storage device and retrieved for subsequent use”).
      Patent Owner does not present any argument other than those we have
already considered. PO Resp. 46 (“Petitioner does not argue Goldsmith
cures the deficiencies in its proposed combination of Aizawa and Ohsaki.”).

             vii. “[1f] a touch-screen display configured to provide a user
                  interface”
       The cited evidence supports Petitioner’s undisputed contention that
Goldsmith discloses a touch-screen display configured to provide a user
interface. Pet. 27–32, 53; see, e.g., Ex. 1011 ¶ 86 (“[T]he display is a
                                      51
        Case: 22-1976       Document: 4    Page: 62   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

touchscreen display that may be activated by a user’s hand.”). In addition,
Petitioner provides persuasive reasoning as to why the claimed subject
matter would have been obvious to one of ordinary skill in the art. Pet. 29.
Petitioner also supports its contentions for this claim with the testimony of
Dr. Kenny. Ex. 1003 ¶¶ 59–60, 76–82, 113.

              viii. “[1g] wherein the user interface is configured to display
                    indicia responsive to the measurements of the
                    physiological parameter”
      The cited evidence supports Petitioner’s undisputed contention that
Goldsmith discloses the user interface is configured to display indicia
responsive to the measurements of the physiological parameter. Pet. 27–32,
53–54. According to Petitioner, Goldsmith’s “display 910 displays data
directly from the sensor monitors, and data ‘received from a sensor
transmitter on the patient’s skin.’” Id. at 53 (citing Ex. 1011 ¶¶ 86–87, 102,
Fig. 9A; Ex. 1003 ¶ 115).

              ix. “[1h] an orientation of the user interface is configurable
                  responsive to a user input”
      The cited evidence supports Petitioner’s undisputed contention that
Goldsmith discloses an orientation of the user interface is configurable
responsive to a user input. Pet. 55–59. According to Petitioner, Goldsmith’s
“display can be configured in various different ways to allow the interface to
be consistent with the user’s preferences and to correct the presentation of
information that could be incorrect due to the scaling of graphs or incorrect
resolutions.” Id. at 55–56 (citing Ex. 1011 ¶ 49). Petitioner also supports its
contentions for this claim with the testimony of Dr. Kenny. Ex. 1003
¶¶ 118–123.


                                      52
        Case: 22-1976      Document: 4      Page: 63   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

             x. “[1i] a wall that surrounds at least the at least four
                detectors, wherein the wall operably connects to the
               substrate and the cover”
      The cited evidence supports Petitioner’s undisputed contention that
Aizawa discloses holder 23, which is a wall that surrounds detectors 22, as
well as other elements. Pet. 59–60; see, e.g., Ex. 1006 ¶ 23 (“holder 23 for
storing . . . light emitting diode 21 and the photodetectors 22”), Fig. 1(b).
The cited evidence also supports Petitioner’s undisputed contention that
Aizawa’s wall “connects to the substrate and the cover.” Pet. 60–61 (citing
Ex. 1006 ¶¶ 23, 30). Petitioner also supports its contentions for this claim
with the testimony of Dr. Kenny. Ex. 1003 ¶¶ 124–125.

             xi. “[1j] a storage device configured to at least temporarily
                 store at least the measurements of the physiological
                 parameter”
      The cited evidence supports Petitioner’s undisputed contention that
Goldsmith’s device includes a storage device configured to at least
temporarily store at least the measurements of the physiological parameter.
Pet. 27–32, 61; see, e.g., Ex. 1011 ¶ 95 (“[T]he heart rate or metabolic rate
may be correlated to a level of exercise, such as low, medium or high, to
store in the controller device memory.”). Petitioner also supports its
contentions for this claim with the testimony of Dr. Kenny. Ex. 1003 ¶ 126.

             xii. “[1k] a strap configured to position the physiological
                  measurement device on the user”
      The cited evidence supports Petitioner’s undisputed contention that
Goldsmith’s device includes a strap configured to position the physiological
measurement device on the user. Pet. 27–32, 61–63; see, e.g., Ex. 1011
¶ 85, Figs. 9A, 9B (“[D]evice 900 may include a wrist band 940 so that a
user may wear the watch controller device 900 on his/her wrist.”).
                                       53
        Case: 22-1976     Document: 4      Page: 64   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

             xiii. Summary
      For the foregoing reasons, we determine that Petitioner has met its
burden of demonstrating by a preponderance of the evidence that claim 1
would have been obvious over the cited combination of references.

                        5. Dependent Claims 16 and 17
      Dependent claim 16 ultimately depends from independent claim 1 and
further recites “the protruding convex surface protrudes a height between 1
millimeter and 3 millimeters.” Ex. 1001, 46:26–28.
      Dependent claim 17 ultimately depends from independent claim 1 and
further recites “the protruding convex surface protrudes a height greater than
2 millimeters and less than 3 millimeters.” Id. at 46:30–32.
      Petitioner contends that the sensor rendered obvious by the combined
teachings of Aizawa, Ohsaki, and Goldsmith would have included a cover
with a protruding convex surface. See supra § II.D.4.iv. With respect to
claim 16, Petitioner contends that a person of ordinary skill in the art “would
have found it obvious that a device designed to fit on a user’s wrist would be
on the order of millimeters,” consistent with Ohsaki’s disclosure that the
device is in “intimate contact” with the user’s skin. Pet. 77–78 (citing, e.g.,
Ex. 1003 ¶¶ 146–147). Petitioner also contends that an ordinarily skilled
artisan would have taken user comfort into account when establishing the
dimensions of the device’s convex cover. Id. at 78–79. With these
considerations in mind, Petitioner contends that, “in order to provide a
comfortable cover that prevents slippage, the convex surface should protrude
a height between 1 millimeter and 3 millimeters,” because “there would
have been a finite range of possible protruding heights, and it would have
been obvious to select a protruding height that would have been comfortable
                                      54
        Case: 22-1976       Document: 4       Page: 65   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

to the user.” Id. at 79 (citing, e.g., Ex. 1003 ¶¶ 147–148). With respect to
claim 17, Petitioner incorporates its contentions regarding, inter alia, claim
16. Pet. 79; Ex. 1003 ¶ 149.
       Patent Owner argues that none of the cited references disclose the
claimed height range and that Petitioner relies on hindsight reconstruction.
PO Resp. 47–50 (citing, e.g., Ex. 2004 ¶¶ 93–97). Patent Owner also
characterizes Dr. Kenny’s testimony as conclusory and unsupported. Id. at
50–51. Patent Owner also alleges that the benefit “of reducing the main
optical path lengths” is achieved at these dimensions. Tr. 31:8–15.
       Petitioner is correct that, “[w]hen there . . . are a finite number of
identified, predictable solutions, a person of ordinary skill [in the art] has
good reason to pursue the known options within his or her technical grasp.
If this leads to the anticipated success, it is likely the product . . . of ordinary
skill and common sense.” KSR, 550 U.S. at 421. Petitioner has shown
sufficiently that only a finite number of solutions existed with respect to the
height of a convex protrusion on a tissue-facing sensor, which would have
met the art-recognized goals of both (1) intimate contact between the
sensor’s surface and the user and (2) user comfort. See, e.g., Ex. 1009 ¶¶ 6,
25. Bearing in mind these considerations, we credit Dr. Kenny’s testimony
that it would have been obvious, “in order to provide a comfortable cover
that prevents slippage, [that] the convex surface should protrude a height
between 1 millimeter and 3 millimeters,” as recited in claim 16, and which
further includes the claimed range of 2 to 3 millimeters as recited in claim
17. Ex. 1003 ¶ 148. Further, the record does not support that any new and
unexpected results were achieved at the claimed height greater than 2
millimeters and less than 3 millimeters. See, e.g., Ex. 1001, 23:43–50 (“The

                                         55
        Case: 22-1976      Document: 4      Page: 66    Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

height 430 can be from about 0.5 millimeters to about 3 millimeters, e.g.,
about 2 millimeters. In an embodiment, the dimensions 400, 410, and 430
can be selected such that the measurement site contact area 470 includes an
area of about 80 square millimeters, although larger and smaller areas can be
used for different sized tissue for an adult, an adolescent, or infant, or for
other considerations.”).
      We have considered Patent Owner’s argument, and Dr. Madisetti’s
cited testimony. However, it is not dispositive that none of Aizawa, Ohsaki,
or Goldsmith teaches the claimed range. PO Resp. 48–50; Ex. 2004 ¶¶ 95–
97. Petitioner relies upon the knowledge, ability, and creativity of a person
of ordinary skill in the art, not the teachings of a specific reference. Notably,
Dr. Madisetti does not dispute Dr. Kenny’s position that there were a finite
number of options available for the height of the convex surface. Ex. 2004
¶¶ 95–98. Therefore, we do not agree that Petitioner’s contentions are
rooted in impermissible hindsight. See, e.g., In re McLaughlin, 443 F.2d
1392, 1395 (CCPA 1971) (“Any judgment on obviousness is in a sense
necessarily a reconstruction based upon hindsight reasoning, but so long as it
takes into account only knowledge which was within the level of ordinary
skill at the time the claimed invention was made and does not include
knowledge gleaned only from applicant’s disclosure, such a reconstruction is
proper.”). As for the alleged benefit at the specific ranges described in the
Specification, we agree with Petitioner that other considerations are relevant,
such as user comfort and other attributes, that would have motivated a
person of ordinary skill in the art to design within the claimed ranges. See
Tr. 80:7–14; Ex. 1001, 23:43–50.



                                       56
        Case: 22-1976     Document: 4      Page: 67   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

      Accordingly, for the foregoing reasons, we determine that Petitioner
has met its burden of demonstrating by a preponderance of the evidence that
claims 16 and 17 would have been obvious over the cited combination of
references.

                        6. Dependent Claims 2–10, 13–15, and 18–30

      Petitioner also contends that claims 2–10, 13–15, and 18–30 would
have been obvious based on the same combination of prior art addressed
above. These challenged claims all depend directly or indirectly from
independent claim 1. Petitioner identifies teachings in the prior art
references that teach the limitations of these claims, and provides persuasive
reasoning as to why the claimed subject matter would have been obvious to
one of ordinary skill in the art. Pet. 64–77, 80–91. Petitioner also supports
its contentions for these claims with the testimony of Dr. Kenny. Ex. 1003
¶¶ 129–145, 150–170.
      Patent Owner does not present any arguments for these claims other
than those we have already considered with respect to independent claim 1.
PO Resp. 46–47 (“[T]he Petition fails to establish that independent claim 1
is obvious in view of the cited references of Ground 1 and therefore fails to
establish obviousness of any of the challenged dependent claims.”).
      We have considered the evidence and arguments of record and
determine that Petitioner has demonstrated by a preponderance of the
evidence that claims 2–10, 13–15, and 18–30 would have been obvious over
the combined teachings of Aizawa, Ohsaki, and Goldsmith for the reasons
discussed in the Petition and as supported by the testimony of Dr. Kenny.



                                      57
          Case: 22-1976     Document: 4     Page: 68   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

      For the foregoing reasons, we determine that Petitioner has met its
burden of demonstrating by a preponderance of the evidence that claims 1–
10 and 13–30 would have been obvious over the cited combination of
references.

               E. Obviousness over the Combined Teachings of
                   Aizawa, Ohsaki, Goldsmith, and Sherman
      Petitioner contends that claim 11 of the ’564 patent would have been
obvious over the combined teachings of Aizawa, Ohsaki, Goldsmith, and
Sherman. Pet. 91–95; see also Pet. Reply 37–40. Patent Owner disagrees.
PO Resp. 51–52; see also Sur-reply 27–28.
      Based on our review of the parties’ arguments and the cited evidence
of record, we determine that Petitioner has met its burden of showing by a
preponderance of the evidence that claim 11 is unpatentable.

                          1. Sherman (Ex. 1013)

      Sherman is a patent titled “Magnetic Clasp for Wristwatch Strap,” and
it relates to use of magnetizable material embedded in thermoplastic material
with rows of alternating magnetic poles. Ex. 1013, codes (54), (57).
Sherman discloses a magnetic fastening mechanism for “wrist instruments,”
such as wristwatches. Id. at 1:4–10. Sherman’s system provides “an
improved clasp for a flexible strap which eliminates buckles or other types
of protruding mechanisms” and is “secured, yet easy to engage when
desired.” Id. at 2:1–11. As shown below in Figure 2 of Sherman, the
mechanism includes a pair of flexible strap ends having “permanently
magnetizable material” of opposite polarities in addition to “mutually
nesting uniformly spaced protuberances and indentations.” Id. at 2:43–62,
Fig. 2.
                                       58
        Case: 22-1976      Document: 4     Page: 69   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1




Figure 2 of Sherman depicts an end elevational view showing the wristwatch
and strap with transverse ridges 4a and 5a incorporating magnetic securing
materials. Id.

                        2. Dependent Claim 11
      Claim 11 additionally requires “a magnet configured to be used as a
connecting mechanism.” Ex. 1001, 46:8–9. Petitioner contends that it
would have been obvious for a person of ordinary skill in the art to have
modified the sensor system of Aizawa-Ohsaki-Goldsmith to integrate a
magnetic connection as taught by Sherman. Pet. 93–95.

Petitioner’s Contentions

      Petitioner contends that although Goldsmith generally discloses a
fastener, Goldsmith “provides no details describing the fastener,” but that a
person of ordinary skill in the art “would have been motivated to look to
other wearable, wrist worn devices such as Sherman’s, for details regarding
a mechanism for fastening a monitoring device.” Pet. 93 (citing Ex. 1003
¶ 171). Petitioner contends a person of ordinary skill in the art would have
been motivated to add Sherman’s magnetic connection in order to be more

                                      59
        Case: 22-1976     Document: 4      Page: 70   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

visually appealing, prevent corners from catching upon clothing, and to
prevent broken connectors or accidental snagging. Id. (citing Ex. 1013,
1:11–24; Ex. 1003 ¶ 171).

Patent Owner’s Contentions

      Patent Owner disputes Petitioner’s contentions. Patent Owner argues
that Petitioner’s proposed combination relies on Sherman solely for its
alleged disclosure of a magnetic connector, but Ohsaki already includes a
series of dedicated belts designed to exert a specific pressure on the user’s
wrist. PO Resp. 51 (citing Ex. 1009 ¶ 18). Patent Owner alleges that a
person of ordinary skill in the art would have understood that any advantage
from Ohsaki’s convex board would also require Ohsaki’s specific
attachment arrangement, which includes belts and a cushion to prevent
movement, yet, Petitioner does not explain how Sherman would have
allowed consistent attachment pressure for its sensor as required by Ohsaki.
Id. at 52 (citing Ex. 1009 ¶ 18); see also Sur-reply 27 (“Ohsaki uses specific
dedicated belts to keep sensor body, detecting element, and cushion
aligned.”). Thus, Patent Owner contends that the person of ordinary skill in
the art “would not have been motivated to incorporate Sherman’s magnetic
attachment mechanism into Petitioner’s proposed combination.” PO
Resp. 52 (citing Ex. 2004 ¶ 101); see also Sur-reply 27–28.

Analysis

      We are persuaded by Petitioner’s evidence and argument that a person
of ordinary skill in the art would have been motivated to combine Sherman’s
teaching of a magnetic connection in the existing combination of references.
We find persuasive Dr. Kenny’s testimony that a person of ordinary skill in

                                      60
        Case: 22-1976     Document: 4       Page: 71   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

the art would have understood from Ohsaki itself that a cushion designed to
exert a specific pressure is not required to obtain the benefits described in
relation to Ohsaki’s board. Ex. 1050 ¶¶ 67–69 (noting that Ohsaki’s cushion
is on the back side whereas the modified connection “would be on the front
side”) (citing Ex. 1009, Fig. 1). Further, we are persuaded by Dr. Kenny’s
testimony that “[t]he combination involves nothing more than applying a
known technique to fasten two ends of a strap for attaching a wrist worn
device to a user’s arm.” Ex. 1003 ¶ 174. In light of the totality of the
record, including Dr. Kenny’s testimony, we determine that a person of
ordinary skill in the art would have been motivated to employ Sherman’s
magnetic connector because the pressure range required for Ohsaki’s
benefits could be achieved by any number of connection fastening
mechanisms.
      Further, Patent Owner’s arguments do not persuasively address
Petitioner’s proposed combination. See Pet. 19–23, 91–95. Ohsaki was
relied upon for its teaching that a convex surface protruding into a user’s
skin will, inter alia, prevent slippage. See id.; see also Ex. 1050 ¶ 73;
Ex. 1009, 25, Figs. 4A, 4B. As discussed above, we found persuasive
Dr. Kenny’s testimony that a person of ordinary skill in the art would have
had reason, in view of that teaching, to modify the Aizawa’s sensor’s flat
cover to include a protrusion, so as to improve adhesion between the user’s
wrist and the sensor’s surface, improve detection efficiency, and protect the
elements within the sensor housing. See Ex. 1003 ¶¶ 103–106. The
resulting sensor features Aizawa’s cover modified in view of Ohsaki, but
does not include Ohsaki’s belt connector. Ex. 1050 ¶ 7. Likewise, Patent
Owner does not effectively rebut Dr. Kenny’s testimony that a person of

                                       61
        Case: 22-1976      Document: 4       Page: 72   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

ordinary skill in the art would have integrated a magnetic connector in the
combination of references in view of Sherman for reasons related to
engagement and user comfort. See PO Resp. 51–52; Ex. 1003 ¶¶ 173–174
(“because it provided details of a wrist-worn device fastening mechanism
that addresses the above-noted problems, is easy to engage, and improves
user comfort”); Ex. 1050 ¶¶ 68–69.

                        3. Conclusion

      For the foregoing reasons, we determine that Petitioner has met its
burden of demonstrating by a preponderance of the evidence that claim 11
would have been obvious over the cited combination of references.

              F. Obviousness over the Combined Teachings of
                   Aizawa, Ohsaki, Goldsmith, and Rantala
      Petitioner contends that claim 12 of the ’564 patent would have been
obvious over the combined teachings of Aizawa, Ohsaki, Goldsmith, and
Rantala. Pet. 95–99; see also Pet. Reply 40. Patent Owner disagrees. PO
Resp. 51–52; 9 see also Sur-reply 28.
      Based on our review of the parties’ arguments and the cited evidence
of record, we determine that Petitioner has met its burden of showing by a
preponderance of the evidence that claim 12 is unpatentable.

                        1. Rantala (Exhibit 1022)
      Rantala is a patent titled “Pulse Oximeter,” and it relates to
minimizing the power consumption in a pulse oximeter without



9
 Although Patent Owner’s heading lists Grounds 2 and 3, Patent Owner
only discusses ground 2.
                                        62
        Case: 22-1976     Document: 4      Page: 73   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

compromising on performance. Ex. 1022, codes (54), (57). Figure 1 of
Rantala is reproduced below.




Figure 1 illustrates an exemplary pulse oximeter. Id. at 4:26–27. As
depicted in Figure 1, Rantala’s pulse oximeter includes a control unit 18
connected to a LED Drive 10 that drives LEDs A and B to emit light at
different wavelengths. Id. at 4:47–5:13. Rantala explains that to optimize
and minimize power consumption in the pulse oximeter, control unit 18
changes at least one parameter, such as the pulse width, pulse repetition rate,
and pulse amplitude, of the duty cycle of the pulse train driving the LEDs.
Id. at 5:13–36. Exemplary pulse trains generated by the control unit are
shown in Rantala’s Figures 3a and 4a, reproduced below.




                                      63
        Case: 22-1976     Document: 4      Page: 74      Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1




Figure 3a (top) “illustrates the timing sequence of the detector signal when a
high duty cycle pulse sequence is used,” and Figure 4a (bottom) illustrates
“the timing sequence of the detector signal when a low duty cycle pulse
sequence is used.” Id. at 4:31–32, 38–39. Exemplary pulse trains generated
by the control unit and depicted in Rantala’s Figures 3a and 4a show the
pulse width of the pulse train in Figure 4a being narrower than the pulse
width of the pulse train in Figure 3a. Id. at 6:20–56.

                        2. Dependent Claim 12

      Claim 12 additionally requires “the one or more processors are further
configured to modulate a duty cycle of one or more of the one or more
emitters, and wherein the modulation includes pulse width time slots and off
time slots.” Ex. 1001, 46:11–14. Petitioner contends that it would have
been obvious for a person of ordinary skill in the art to have modified the


                                      64
        Case: 22-1976     Document: 4      Page: 75   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

processors of Aizawa-Ohsaki-Goldsmith to modulate a duty cycle of one or
more of the one or more emitters as taught by Sherman. Pet. 95–99.
      The cited evidence supports Petitioner’s undisputed contention that
Rantala’s device includes one or more processors are further configured to
modulate a duty cycle of one or more of the one or more emitters, and
wherein the modulation includes pulse width time slots and off time slots.
Pet. 95–99; see, e.g., Ex. 1022, 6:22–29 (“The power control scheme of the
present invention uses a high duty cycle pulse train only when the desired
signal-to-noise ratio cannot otherwise be reached, i.e. the situation of
[Figures] 3a to 3d” or “in [Figures] 4a to 4d the pulse oximeter is a narrow
pulse oximeter where the LEDs are activated as briefly as possible in order
to save power.”). Petitioner also supports its contentions for this claim with
the testimony of Dr. Kenny. Ex. 1003 ¶¶ 64, 176–179.
      For the foregoing reasons, we determine that Petitioner has met its
burden of demonstrating by a preponderance of the evidence that claim 12
would have been obvious over the cited combination of references.

     G. Obviousness over the Combined Teachings of Aizawa, Ohsaki,
                             Goldsmith, and Ali
      Petitioner challenges the patentability of claims 1–10 and 13–30 based
on the combination of Aizawa, Ohsaki, Goldsmith, and Ali. Pet. 9, 99–102.
Ali is relied upon to teach limitation [1h] which reads: “an orientation of the
user interface is configurable responsive to a user input.” Petitioner
contends that remaining claim limitations [1a]–[1g] and [1i]–[1k] are
unpatentable for the same reasons raised with respect to the challenge of
claim 1 based on the combination of Aizawa, Ohsaki, and Goldsmith.



                                      65
        Case: 22-1976      Document: 4       Page: 76   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

Pet. 99 (“Prior art mappings and arguments for all claim features other than
[1h] in Ground 4 are the same as in Ground 1.”).

                        1. Overview of Ali

      Ali is a U.S. patent titled “Universal/Upgrading Pulse Oximeter,” and
discloses a portable pulse oximeter unit for measuring a patient’s oxygen
saturation or other related physiological parameters. Ex. 1019, codes (54),
(57). The portable unit includes a display configured to display an image
that is “rotatable, either manually . . . or as a function of orientation.” Id. at
code (57). Figures 8B and 8C of Ali are reproduced below.




Figure 8B (left) depicts the display of the portable pulse oximeter in portrait
mode, and Figure 8C (right) depicts the display of the portable oximeter in
landscape mode. Id. at 11:62–64. The portrait mode and landscape mode
are determined by a gravity-activated tilt sensor or a display mode key. Id.
at 11:64–12:7.

                                        66
        Case: 22-1976      Document: 4     Page: 77   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

                        2. Independent Claim 1 (Aizawa, Ohsaki, Goldsmith,
                           and Ali)

      Petitioner presents undisputed contentions that claim 1 would have
been obvious over the combined teachings of Aizawa, Ohsaki, Goldsmith,
and Ali. Pet. 99–102.
      For this Ground, Patent Owner does not present any argument other
than those we have already considered above with respect to the Ground
based on Aizawa, Ohsaki, and Goldsmith. PO Resp. 52–53 (“Petitioner does
not rely on Ali to fix the deficiencies in Ground 1. The Board should thus
reject Ground 4 for the same reasons as Ground 1.”).
             i. [1a]–[1g] and [1i]–[1k]
      The cited evidence supports Petitioner’s contentions regarding these
limitations. Pet. 41–54, 59–63.
      Petitioner contends claim limitations [1a]–[1g] and [1i]–[1k] are
unpatentable for the same reasons raised with respect to Petitioner’s
challenge based on Aizawa, Ohsaki, and Goldsmith. Pet. 99. The ground
based on Aizawa, Ohsaki, and Goldsmith is addressed supra at
§§ (II)(D)(4)(i)–(xii). For the reasons discussed in these sections,
Petitioner’s stated reasoning with respect to these limitations, and the basis
for combining Aizawa, Ohsaki, and Goldsmith, is sufficiently supported,
including by the testimony of Dr. Kenny.

             ii. “[h] an orientation of the user interface is
                  configurable responsive to a user input”
      The cited evidence supports Petitioner’s undisputed contentions
regarding this limitation and the rationale for combining Ali with Aizawa,
Ohsaki, and Goldsmith. Pet. 99–102.


                                      67
        Case: 22-1976     Document: 4      Page: 78   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

      As noted in our analysis above, Petitioner proposes integrating the
pulse wave sensor of Aizawa (as modified by Ohsaki) into the watch
controller device of Goldsmith, so that the modified sensor can transmit data
to Goldsmith’s touchscreen. Pet. 41. Goldsmith notes a problem in
displaying images as a result of the display of a controller device and
infusion pump having two different resolutions. Ex. 1011 ¶ 49.
Acknowledging the image display problem described in Goldsmith,
Petitioner contends images displayed on the touchscreen user interface of the
pulse wave sensor of Aizawa (as modified by Ohsaki and Goldsmith) “can
be incorrect due to screen formatting, scaling, and resolution issues.”
Pet. 101 (citing Ex. 1011 ¶ 49). Goldsmith further discloses that its display
is customizable with different backgrounds, fonts, wallpapers, or font sizes.
Ex. 1011 ¶¶ 102, 104.
      Figures 8B and 8C of Ali disclose a portable pulse oximeter that
displays images, such as pulse rate data, in portrait mode or alternatively in
landscape mode. Ex. 1019, 11:62–64, 12:8–12. Petitioner contends “to
address problems in displaying graphs and text as described in Goldsmith, a
POSITA would have included Ali’s capability to select user interface
orientation through a user input such that the user may have greater control
over the display and enjoy an improved viewing experience.” Pet. 101–102.
Dr. Kenny testifies:

      Implementing Ali’s capability to select user interface orientation
      in [Aizawa, Ohsaki, and Goldsmith’s physiological
      measurement device] would have been predictable at least
      because it would have involved incorporating a feature that was
      simple to implement and known in the industry. For instance,
      Ali concedes that its user interface orientation selection feature
      can easily be implemented through a software program for
                                      68
        Case: 22-1976      Document: 4      Page: 79   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

      modifying the display of information. . . . Furthermore, this
      combination would have addressed a known issue in
      Goldsmith’s user interface, and would require nothing more than
      applying a known technique, as described by Ali.
Ex. 1003 ¶ 184; also see Pet. 102 (citing Ex. 1003).
      Petitioner’s stated reasoning is sufficiently supported, including by the
unrebutted testimony of Dr. Kenny.
             iii. Summary
      We have considered the evidence and arguments of record, including
those directed to ground 1 addressed above, and we determine that Petitioner
has demonstrated by a preponderance of the evidence that claim 12 would
have been obvious over the combined teachings of Aizawa, Ohsaki,
Goldsmith, and Ali for the reasons discussed in the Petition and as supported
by the testimony of Dr. Kenny.

                        3. Dependent Claims 2–10 and 13–30

      Petitioner also contends that claims 2–10 and 13–30 would have been
obvious based on the same combination of prior art addressed above. These
challenged claims all depend directly or indirectly from independent claim 1.
Petitioner identifies teachings in the prior art references that teach the
limitations of these claims, and provides persuasive reasoning as to why the
claimed subject matter would have been obvious to one of ordinary skill in
the art. Pet. 99–102. Petitioner also supports its contentions for these claims
with the testimony of Dr. Kenny. Ex. 1003 ¶¶ 180–184.
      Patent Owner does not present any arguments for these claims other
than those we have already considered with respect to independent claim 1.
PO Resp. 52–53 (“Petitioner does not rely on Ali to fix the deficiencies in


                                       69
        Case: 22-1976      Document: 4      Page: 80   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

Ground 1. The Board should thus reject Ground 4 for the same reasons as
Ground 1.”).
      We have considered the evidence and arguments of record and
determine that Petitioner has demonstrated by a preponderance of the
evidence that claims 2–10 and 13–30 would have been obvious over the
combined teachings of Aizawa, Ohsaki, Goldsmith, and Ali for the reasons
discussed in the Petition and as supported by the testimony of Dr. Kenny.
      For the foregoing reasons, we determine that Petitioner has met its
burden of demonstrating by a preponderance of the evidence that claims 1–
10 and 13–30 would have been obvious over the cited combination of
references.

     H. Obviousness over the Combined Teachings of Aizawa, Ohsaki,
                       Goldsmith, Ali, and Sherman
      Petitioner presents undisputed contentions that claim 11 would have
been obvious over the combined teachings of Aizawa, Ohsaki, Goldsmith,
Ali, and Sherman. Pet. 102–103.
      Patent Owner does not present any argument for claim 11 other than
those we have already considered above with respect to the Ground based on
Aizawa, Ohsaki, and Goldsmith. PO Resp. 53 (“Grounds 5[–]6 only address
dependent claims and do not fix the deficiencies in Ground 4. The Board
should thus reject Grounds 5[–]6 for the same reasons as Ground 1.”).
      For the reasons discussed above in § II.E, Petitioner identifies
teachings in the prior art references that teach or suggest the limitations of
claim 11, and provides persuasive reasoning as to why the claimed subject
matter would have been obvious to one of ordinary skill in the art. Petitioner
also supports its contentions for this claim with the testimony of Dr. Kenny.

                                       70
        Case: 22-1976      Document: 4      Page: 81   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

Ex. 1003 ¶¶ 185–186. For the same reasons, and having considered the
evidence and arguments of record, including those directed to claim 1 and
addressed above, we determine that Petitioner has demonstrated by a
preponderance of the evidence that claim 11 would have been obvious over
the combined teachings of Aizawa, Ohsaki, Goldsmith, Ali, and Sherman for
the reasons discussed in the Petition and as supported by the testimony of
Dr. Kenny. See, e.g., Ex. 1013, 1:4–24; Ex. 1003 ¶¶ 171–174, 185–186.

     I. Obviousness over the Combined Teachings of Aizawa, Ohsaki,
                        Goldsmith, Ali, and Rantala
      Petitioner presents undisputed contentions that claim 12 would have
been obvious over the combined teachings of Aizawa, Ohsaki, Goldsmith,
Ali, and Rantala. Pet. 102–103.
      Patent Owner does not present any argument for claim 12 other than
those we have already considered with respect to claim 1. PO Resp. 53
(“Grounds 5[–]6 only address dependent claims and do not fix the
deficiencies in Ground 4. The Board should thus reject Grounds 5[–]6 for
the same reasons as Ground 1.”).
      For the reasons discussed above in § II.F, Petitioner identifies
teachings in the prior art references that teach or suggest the limitations of
claim 12, and provides persuasive reasoning as to why the claimed subject
matter would have been obvious to one of ordinary skill in the art. Petitioner
also supports its contentions for this claim with the testimony of Dr. Kenny.
Ex. 1003 ¶¶ 185–186. For the same reasons, and having considered the
evidence and arguments of record, including those directed to claim 1 and
addressed above, we determine that Petitioner has demonstrated by a
preponderance of the evidence that claim 12 would have been obvious over

                                       71
        Case: 22-1976    Document: 4      Page: 82   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

the combined teachings of Aizawa, Ohsaki, Goldsmith, Ali, and Rantala for
the reasons discussed in the Petition and as supported by the testimony of
Dr. Kenny. See, e.g., Ex. 1022, 6:22–29; Ex. 1003 ¶¶ 176–179, 185–186.




                                     72
        Case: 22-1976    Document: 4      Page: 83    Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

                            III. CONCLUSION

       In summary: 10
     Claims       35      Reference(s)/        Claims      Claims Not
                U.S.C.       Basis             Shown         Shown
                   §                         Unpatentable Unpatentable
                         Aizawa, Ohsaki,
 1–10, 13–30      103    Goldsmith           1–10, 13–30
                         Aizawa, Ohsaki,
      11          103    Goldsmith,                  11
                         Sherman
                         Aizawa, Ohsaki,
      12          103    Goldsmith,                  12
                         Rantala
                         Aizawa, Ohsaki,
 1–10, 13–30      103    Goldsmith, Ali      1–10, 13–30
                         Aizawa, Ohsaki,
      11          103    Goldsmith, Ali,             11
                         Sherman
                         Aizawa, Ohsaki,
      12          103    Goldsmith, Ali,             12
                         Rantala
 Overall                                         1–30
 Outcome




10
  Should Patent Owner wish to pursue amendment of the challenged claims
in a reissue or reexamination proceeding subsequent to the issuance of this
decision, we draw Patent Owner’s attention to the April 2019 Notice
Regarding Options for Amendments by Patent Owner Through Reissue or
Reexamination During a Pending AIA Trial Proceeding. See 84 Fed. Reg.
16654 (Apr. 22, 2019). If Patent Owner chooses to file a reissue application
or a request for reexamination of the challenged patent, we remind Patent
Owner of its continuing obligation to notify the Board of any such related
matters in updated mandatory notices. See 37 C.F.R. § 42.8(a)(3), (b)(2).
                                     73
        Case: 22-1976     Document: 4     Page: 84   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

                                  ORDER

      Upon consideration of the record before us, it is:
      ORDERED that claims 1–30 of the ’564 patent have been shown to be
unpatentable;
      FURTHER ORDERED that, because this is a final written decision,
parties to the proceeding seeking judicial review of the decision must
comply with the notice and service requirements of 37 C.F.R. § 90.2.




                                     74
       Case: 22-1976   Document: 4    Page: 85   Filed: 08/09/2022

IPR2020-01713
Patent 10,624,564 B1

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                                 75
       Case: 22-1976    Document: 4    Page: 86   Filed: 08/09/2022
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571-272-7822                                      Entered: April 28, 2022


       UNITED STATES PATENT AND TRADEMARK OFFICE


        BEFORE THE PATENT TRIAL AND APPEAL BOARD


                             APPLE INC.,
                              Petitioner,

                                  v.

                       MASIMO CORPORATION,
                            Patent Owner.


                            IPR2020-01716
                         Patent 10,702,194 B1



Before JOSIAH C. COCKS, ROBERT L. KINDER, and
AMANDA F. WIEKER, Administrative Patent Judges.

WIEKER, Administrative Patent Judge.


                             JUDGMENT
                        Final Written Decision
            Determining All Challenged Claims Unpatentable
                          35 U.S.C. § 318(a)
        Case: 22-1976      Document: 4       Page: 87   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

                            I.   INTRODUCTION

                                 A. Background

      Apple Inc. (“Petitioner”) filed a Petition requesting an inter partes
review of claims 1–30 (“challenged claims”) of U.S. Patent No. 10,702,194
B1 (Ex. 1001, “the ’194 patent”). Paper 2 (“Pet.”). Masimo Corporation
(“Patent Owner”) waived filing a preliminary response. Paper 6 (“PO
Waiver”). We instituted an inter partes review of all challenged claims 1–
30 on all grounds of unpatentability, pursuant to 35 U.S.C. § 314. Paper 7
(“Inst. Dec.”).
      After institution, Patent Owner filed a Response (Paper 15, “PO
Resp.”) to the Petition, Petitioner filed a Reply (Paper 19, “Pet. Reply”), and
Patent Owner filed a Corrected Sur-reply (Paper 28, “PO Sur-reply”). An
oral hearing was held on February 9, 2022, and a transcript of the hearing is
included in the record. Paper 34 (“Tr.”).
      We issue this Final Written Decision pursuant to 35 U.S.C. § 318(a)
and 37 C.F.R. § 42.73. For the reasons set forth below, Petitioner has met
its burden of showing, by a preponderance of the evidence, that challenged
claims 1–30 of the ’194 patent are unpatentable.

                              B. Related Matters

      The parties identify the following matters related to the ’194 patent:
      Masimo Corporation v. Apple Inc., Civil Action No. 8:20-cv-00048
(C.D. Cal.) (filed Jan. 9, 2020);
      Apple Inc. v. Masimo Corporation, IPR2020-01520 (PTAB
Aug. 31, 2020) (challenging claims of U.S. Patent No. 10,258,265 B1);




                                         2
       Case: 22-1976     Document: 4       Page: 88   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

      Apple Inc. v. Masimo Corporation, IPR2020-01521 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,292,628 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01523 (PTAB Sept. 9,
2020) (challenging claims of U.S. Patent No. 8,457,703 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01524 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,433,776 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01526 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 6,771,994 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01536 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,588,553 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01537 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,588,553 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01538 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,588,554 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01539 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,588,554 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01713 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,624,564 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01714 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,631,765 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01715 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,631,765 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01722 (PTAB Oct. 2,
2020) (challenging claims of U.S. Patent No. 10,470,695 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01723 (PTAB Oct. 2,
2020) (challenging claims of U.S. Patent No. 10,470,695 B2);



                                       3
        Case: 22-1976      Document: 4       Page: 89   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

      Apple Inc. v. Masimo Corporation, IPR2020-01733 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,702,195 B1); and
      Apple Inc. v. Masimo Corporation, IPR2020-01737 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,709,366 B1).
Pet. 91; Paper 3, 1–4.
      Patent Owner further identifies the following pending patent
applications, among other issued and abandoned applications, that claim
priority to, or share a priority claim with, the ’194 patent:
      U.S. Patent Application No. 16/834,538;
      U.S. Patent Application No. 16/449,143; and
      U.S. Patent Application No. 16/805,605.
Paper 3, 1–2.

                              C. The ’194 Patent

      The ’194 patent is titled “Multi-Stream Data Collection System for
Noninvasive Measurement of Blood Constituents,” and issued on July 7,
2020, from U.S. Patent Application No. 16/829,536, filed March 25, 2020.
Ex. 1001, codes (21), (22), (45), (54). The ’194 patent claims priority
through a series of continuation and continuation-in-part applications to
Provisional Application Nos. 61/078,228 and 61/078,207, both filed July 3,
2008. Id. at codes (60), (63).
      The ’194 patent discloses a two-part data collection system including
a noninvasive sensor that communicates with a patient monitor. Id. at 2:49–
51. The sensor includes a sensor housing, an optical source, and several
photodetectors, and is used to measure a blood constituent or analyte, e.g.,
oxygen or glucose. Id. at 2:40–46, 3:8–9. The patient monitor includes a



                                         4
        Case: 22-1976     Document: 4       Page: 90   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

display and a network interface for communicating with a handheld
computing device. Id. at 2:56–59.
      Figure 1 of the ’194 patent is reproduced below.




Figure 1 illustrates a block diagram of data collection system 100 including
sensor 101 and monitor 109. Id. at 11:56–67. Sensor 101 includes optical
emitter 104 and detectors 106. Id. at 12:1–5. Emitters 104 emit light that is
attenuated or reflected by the patient’s tissue at measurement site 102. Id. at
14:11–16. Detectors 106 capture and measure the light attenuated or
reflected from the tissue. Id. In response to the measured light,
detectors 106 output detector signals 107 to monitor 109 through front-end
interface 108. Id. at 14:16–19, 36–42. Sensor 101 also may include tissue
shaper 105, which may be in the form of a convex surface that: (1) reduces
the thickness of the patient’s measurement site; and (2) provides more
surface area from which light can be detected. Id. at 11:7–23.
      Monitor 109 includes signal processor 110 and user interface 112. Id.
at 15:27–29. “[S]ignal processor 110 includes processing logic that
determines measurements for desired analytes . . . based on the signals
received from the detectors.” Id. at 15:32–35. User interface 112 presents


                                        5
        Case: 22-1976     Document: 4       Page: 91   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

the measurements to a user on a display, e.g., a touch-screen display. Id. at
15:57–67. The monitor may be connected to storage device 114 and
network interface 116. Id. at 16:4–22.
      The ’194 patent describes various examples of sensor devices.
Figures 14D and 14F, reproduced below, illustrate detector portions of
sensor devices.




Figure 14D illustrates portions of a detector submount and Figure 14F
illustrates portions of a detector shell. Id. at 6:54–57. As shown in
Figure 14D, multiple detectors 1410c are located within housing 1430 and
under transparent cover 1432, on which protrusion 605b (or partially
cylindrical protrusion 605) is disposed. Id. at 35:51–54, 36:45–52.
Figure 14F illustrates a detector shell 306f including detectors 1410c on
substrate 1400c. Id. at 37:25–33. Substrate 1400c is enclosed by shielding
enclosure 1490 and noise shield 1403, which include window 1492a and
window 1492b, respectively, placed above detectors 1410c. Id.
Alternatively, cylindrical housing 1430 may be disposed under noise
shield 1403 and may enclose detectors 1410c. Id. at 37:63–65.




                                        6
        Case: 22-1976     Document: 4       Page: 92   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

      Figures 4A and 4B, reproduced below, illustrate an alternative
example of a tissue contact area of a sensor device.




Figures 4A and 4B illustrate arrangements of protrusion 405 including
measurement contact area 470. Id. at 23:30–36. “[M]easurement site
contact area 470 can include a surface that molds body tissue of a
measurement site.” Id. “For example, . . . measurement site contact area
470 can be generally curved and/or convex with respect to the measurement
site.” Id. at 23:53–55. The measurement site contact area may include
windows 420–423 that “mimic or approximately mimic a configuration of,
or even house, a plurality of detectors.” Id. at 23:61–24:8.

                            D. Illustrative Claim

      Of the challenged claims, claims 1, 20, and 30 are independent.
Claim 1 is illustrative and is reproduced below.
             1. A physiological measurement system comprising:
             [a] a physiological sensor device comprising:
                     [b] one or more emitters configured to emit light
             into tissue of a user;
                   [c] a first set of photodiodes, wherein:




                                        7
       Case: 22-1976    Document: 4       Page: 93   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

                        [d] the first set of photodiodes comprises at
                 least four photodiodes,
                       [e] the photodiodes of the first set of
                 photodiodes are connected to one another in parallel
                 to provide a first signal stream, and
                       [f] each of the photodiodes of the first set of
                 photodiodes has a corresponding window that
                 allows light to pass through to the photodiode;
                 [g] a second set of photodiodes, wherein:
                        [h] the second set of photodiodes comprises
                 at least four photodiodes,
                       [i] the photodiodes of the second set of
                 photodiodes are connected to one another in parallel
                 to provide a second signal stream, and
                       [j] each of the photodiodes of the second set
                 of photodiodes has a corresponding window that
                 allows light to pass through to the photodiode;
                  [k] a wall that surrounds at least the first and second
           sets of photodiodes; and
                   [l] a cover comprising a protruding convex surface,
           wherein the protruding convex surface is above all of the
           photodiodes of the first and second sets of photodiodes,
           wherein at least a portion of the protruding convex surface
           is rigid, and wherein the cover is above the wall; and
           [m] a handheld computing device in wireless
     communication with the physiological sensor device, wherein
     the handheld computing device comprises:
                 [n] one or more processors configured to wirelessly
           receive one or more signals from the physiological sensor
           device, the one or more signals responsive to at least a
           physiological parameter of the user;
                  [o] a touch-screen display configured to provide a
           user interface, wherein:



                                      8
        Case: 22-1976      Document: 4       Page: 94   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

                           [p] the user interface is configured to display
                    indicia responsive to measurements of the
                    physiological parameter, and
                          [q] an orientation of the user interface is
                    configurable responsive to a user input; and
             [r] a storage device configured to at least temporarily store
      at least the measurements of the physiological parameter.
Ex. 1001, 45:2–49 (bracketed identifiers [a]–[r] added). Independent
claim 20 includes limitations substantially similar to limitations [a]–[j] and
[l]–[m] of claim 1. Id. at 47:9–36. Independent claim 30 includes
limitations similar to limitations [a]–[r] of claim 1, and also includes
additional recitations. Id. at 48:38–50:21 (reciting also a “substrate” and
certain “preprocessing electronics”).

                            E. Applied References

      Petitioner relies upon the following references:
            Beyer, Jr., U.S. Patent No. 7,031,728 B2, filed Sept. 21, 2004,
      issued Apr. 18, 2006 (Ex. 1019, “Beyer”);
            Ohsaki et al., U.S. Patent Application Publication
      No. 2001/0056243 A1, filed May 11, 2001, published December 27,
      2001 (Ex. 1014, “Ohsaki”);
            Aizawa, U.S. Patent Application Publication
      No. 2002/0188210 A1, filed May 23, 2002, published December 12,
      2002 (Ex. 1006, “Aizawa”);
            Y. Mendelson, et al., “Measurement Site and Photodetector
      Size Considerations in Optimizing Power Consumption of a Wearable
      Reflectance Pulse Oximeter,” Proceedings of the 25th IEEE EMBS
      Annual International Conference, 3016–3019 (2003) (Ex. 1024,
      “Mendelson-2003”); and
            Y. Mendelson et al., “A Wearable Reflectance Pulse Oximeter
      for Remote Physiological Monitoring,” Proceedings of the 28th IEEE



                                         9
          Case: 22-1976   Document: 4      Page: 95   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

      EMBS Annual International Conference, 912–915 (2006) (Ex. 1010,
      “Mendelson-2006”).
Pet. 2. Petitioner also submits, inter alia, the Declaration of Thomas W.
Kenny, Ph.D. (Ex. 1003), and the Second Declaration of Thomas W. Kenny
(Ex. 1060). Patent Owner submits, inter alia, the Declaration of Vijay K.
Madisetti, Ph.D. (Ex. 2004). The parties also provide deposition testimony
from Dr. Kenny and Dr. Madisetti, including from this and other
proceedings. See Exs. 1053–1054, 1056, 2006–2009, 2020, 2026, 2027.

                           F. Asserted Grounds

      Petitioner asserts that claims 1–30 are unpatentable based upon the
following grounds (Pet. 1–2):
 Claims Challenged         35 U.S.C. §             References/Basis
                                             Aizawa, Mendelson-2003,
 1–18, 20, 22–30                103
                                             Ohsaki, Mendelson-2006
                                             Aizawa, Mendelson-2003,
 19, 21                         103
                                             Ohsaki, Mendelson-2006, Beyer

                             II. DISCUSSION

                          A. Claim Construction

      For petitions filed on or after November 13, 2018, a claim shall be
construed using the same claim construction standard that would be used to
construe the claim in a civil action under 35 U.S.C. § 282(b). 37 C.F.R.
§ 42.100(b) (2019). Petitioner submits that no claim term requires express
construction. Pet. 3. Patent Owner submits that claim terms should be given
their ordinary and customary meaning, consistent with the Specification. PO
Resp. 9–10.




                                      10
          Case: 22-1976    Document: 4      Page: 96   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

        We agree that no claim terms require express construction. Nidec
Motor Corp. v. Zhongshan Broad Ocean Motor Co. Ltd., 868 F.3d 1013,
1017 (Fed. Cir. 2017).

                             B. Principles of Law

        A claim is unpatentable under 35 U.S.C. § 103 if “the differences
between the subject matter sought to be patented and the prior art are such
that the subject matter as a whole would have been obvious at the time the
invention was made to a person having ordinary skill in the art to which said
subject matter pertains.” KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 406
(2007). The question of obviousness is resolved on the basis of underlying
factual determinations, including (1) the scope and content of the prior art;
(2) any differences between the claimed subject matter and the prior art;
(3) the level of skill in the art; and (4) objective evidence of non-
obviousness.1 Graham v. John Deere Co., 383 U.S. 1, 17–18 (1966). When
evaluating a combination of teachings, we must also “determine whether
there was an apparent reason to combine the known elements in the fashion
claimed by the patent at issue.” KSR, 550 U.S. at 418 (citing In re Kahn,
441 F.3d 977, 988 (Fed. Cir. 2006)). Whether a combination of prior art
elements would have produced a predictable result weighs in the ultimate
determination of obviousness. Id. at 416–417.
        In an inter partes review, the petitioner must show with particularity
why each challenged claim is unpatentable. Harmonic Inc. v. Avid Tech.,
Inc., 815 F.3d 1356, 1363 (Fed. Cir. 2016); 37 C.F.R. § 42.104(b). The



1
    Patent Owner does not present objective evidence of non-obviousness.


                                       11
        Case: 22-1976      Document: 4      Page: 97    Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

burden of persuasion never shifts to Patent Owner. Dynamic Drinkware,
LLC v. Nat’l Graphics, Inc., 800 F.3d 1375, 1378 (Fed. Cir. 2015).
      We analyze the challenges presented in the Petition in accordance
with the above-stated principles.

                     C. Level of Ordinary Skill in the Art

      Petitioner identifies the appropriate level of skill in the art as that
possessed by a person having “a Bachelor of Science degree in an academic
discipline emphasizing the design of electrical, computer, or software
technologies, in combination with training or at least one to two years of
related work experience with capture and processing of data or information.”
Pet. 3 (citing Ex. 1003 ¶¶ 20–21). “Alternatively, the person could have also
had a Master of Science degree in a relevant academic discipline with less
than a year of related work experience in the same discipline.” Id.
      Patent Owner makes several observations regarding Petitioner’s
identified level of skill in the art but, “[f]or this proceeding, [Patent Owner]
nonetheless applies Petitioner’s asserted level of skill.” PO Resp. 10 (citing
Ex. 2004 ¶¶ 30–32).
      We adopt Petitioner’s assessment as set forth above, which appears
consistent with the level of skill reflected in the Specification and prior art.

              D. Obviousness over the Combined Teachings of
             Aizawa, Mendelson-2003, Ohsaki, and Mendelson-2006

      Petitioner contends that claims 1–18, 20, and 22–30 of the ’194 patent
would have been obvious over the combined teachings of Aizawa,
Mendelson-2003, Ohsaki, and Mendelson-2006. Pet. 12–72.




                                       12
        Case: 22-1976      Document: 4      Page: 98   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

                     1. Overview of Aizawa (Ex. 1006)
      Aizawa is a U.S. patent application publication titled “Pulse Wave
Sensor and Pulse Rate Detector,” and discloses a pulse wave sensor that
detects light output from a light emitting diode and reflected from a patient’s
artery. Ex. 1006, codes (54), (57).
      Figure 1(a) of Aizawa is reproduced below.




Figure 1(a) is a plan view of a pulse wave sensor. Id. ¶ 23. As shown in
Figure 1(a), pulse wave sensor 2 includes light emitting diode (“LED”) 21,
four photodetectors 22 symmetrically disposed around LED 21, and
holder 23 for storing LED 21 and photodetectors 22. Id. Aizawa discloses
that, “to further improve detection efficiency, . . . the number of the
photodetectors 22 may be increased.” Id. ¶ 32, Fig. 4(a). “The same effect
can be obtained when the number of photodetectors 22 is 1 and a plurality of
light emitting diodes 21 are disposed around the photodetector 22.” Id. ¶ 33.




                                       13
        Case: 22-1976      Document: 4      Page: 99   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

      Figure 1(b) of Aizawa is reproduced below.




Figure 1(b) is a sectional view of the pulse wave sensor. Id. ¶ 23. As shown
in Figure 1(b), pulse wave sensor 2 includes drive detection circuit 24 for
detecting a pulse wave by amplifying the outputs of photodetectors 22. Id.
¶ 23. Arithmetic circuit 3 computes a pulse rate from the detected pulse
wave and transmitter 4 transmits the pulse rate data to an “unshown
display.” Id. The pulse rate detector further includes outer casing 5 for
storing pulse wave sensor 2, acrylic transparent plate 6 mounted to detection
face 23a of holder 23, and attachment belt 7. Id. ¶ 23.
      Aizawa discloses that LED 21 and photodetectors 22 “are stored in
cavities 23b and 23c formed in the detection face 23a” of the pulse wave
sensor. Id. ¶ 24. Detection face 23a “is a contact side between the holder 23
and a wrist 10, respectively, at positions where the light emitting face 21s of
the light emitting diode 21 and the light receiving faces 22s of the
photodetectors 22 are set back from the above detection face 23a.” Id. ¶ 24.
Aizawa discloses that “a subject carries the above pulse rate detector 1 on
the inner side of his/her wrist 10 . . . in such a manner that the light emitting
face 21s of the light emitting diode 21 faces down (on the wrist 10 side).”
Id. ¶ 26. Furthermore, “the above belt 7 is fastened such that the acrylic

                                       14
          Case: 22-1976    Document: 4      Page: 100   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

transparent plate 6 becomes close to the artery 11 of the wrist 10. Thereby,
adhesion between the wrist 10 and the pulse rate detector 1 is improved.”
Id. ¶¶ 26, 34.
                  2. Overview of Mendelson-2003 (Ex. 1024)
         Mendelson-2003 is a journal article titled “Measurement Site and
Photodetector Size Considerations in Optimizing Power Consumption of a
Wearable Reflectance Pulse Oximeter,” which discusses a pulse oximeter
sensor in which “battery longevity could be extended considerably by
employing a wide annularly shaped photodetector ring configuration and
performing SpO2 measurements from the forehead region.” Ex. 1024,
3016.2
      Mendelson-2003 explains that pulse oximetry uses sensors to monitor
oxygen saturation (SpO2), where the sensor typically includes light emitting
diodes (LED) and a silicon photodetector (PD). Id. According to
Mendelson-2003, when designing a pulse oximeter, it is important to offer
“low power management without compromising signal quality.” Id. at 3017.
“However, high brightness LEDs commonly used in pulse oximeters
require[] relatively high current pulses, typically in the range between 100–
200mA. Thus, minimizing the drive currents supplied to the LEDs would
contribute considerably toward the overall power saving in the design of a
more efficient pulse oximeter.” To achieve this goal, Mendelson-2003
discusses previous studies in which
      the driving currents supplied to the LEDs . . . could be lowered
      significantly without compromising the quality of the

2
 Petitioner cites to the native page numbers appearing at the top of
Exhibit 1024, rather than the added page numbering at the bottom of the
pages. We follow Petitioner’s numbering scheme.


                                       15
       Case: 22-1976     Document: 4       Page: 101   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

      [photoplethysmographic signal] by increasing the overall size of
      the PD . . . . Hence, by maximizing the light collected by the
      sensor, a very low power-consuming sensor could be developed,
      thereby extending the overall battery life of a pulse oximeter
      intended for telemedicine applications.
Id.
      Mendelson-2003 discloses the prototype of such a sensor in Figure 1,
which is reproduced below, and served as the basis for the studies evaluated
in Mendelson-2003.




Figure 1 of Mendelson-2003 depicts a sensor configuration showing the
relative positions of its PDs and LEDs. Id. As shown in Figure l, “six PDs
were positioned in a close inner-ring configuration at a radial distance of
6.0mm from the LEDs. The second set of six PDs spaced equally along an
outer-ring, separated from the LEDs by a radius of 10.0mm.” Id.
Mendelson-2003 also explains that “[e]ach cluster of six PDs were wired in
parallel and connected through a central hub to the common summing input
of a current-to-voltage converter.” Id.
      Mendelson-2003 reports the results of the studies as follows:
             Despite the noticeable differences between the PPG
      signals measured from the wrist and forehead, the data plotted in
      Fig. 3 also revealed that considerable stronger PPGs could be
      obtained by widening the active area of the PD which helps to
      collect a bigger proportion of backscattered light intensity. The
      additional increase, however, depends on the area and relative
      position of the PD with respect to the LEDs. For example,


                                      16
       Case: 22-1976     Document: 4       Page: 102   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

      utilizing the outer-ring configuration, the overall increase in the
      average amplitudes of the R and IR PPGs measured from the
      forehead region was 23% and 40%, respectively. Similarly, the
      same increase in PD area produced an increase in the PPG signals
      measured from the wrist, but with a proportional higher increase
      of 42% and 73%.
Id. at 3019.

                     3. Overview of Ohsaki (Ex. 1014)

      Ohsaki is a U.S. patent application publication titled “Wristwatch-type
Human Pulse Wave Sensor Attached on Back Side of User’s Wrist,” and
discloses an optical sensor for detecting a pulse wave of a human body.
Ex. 1014, code (54), ¶ 3. Figure 1 of Ohsaki is reproduced below.




Figure 1 illustrates a cross-sectional view of pulse wave sensor 1 attached on
the back side of user’s wrist 4. Id. ¶¶ 12, 16. Pulse wave sensor 1 includes
detecting element 2 and sensor body 3. Id. ¶ 16.




                                      17
       Case: 22-1976      Document: 4      Page: 103   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

      Figure 2 of Ohsaki, reproduced below, illustrates further detail of
detecting element 2.




Figure 2 illustrates a mechanism for detecting a pulse wave. Id. ¶ 13.
Detecting element 2 includes package 5, light emitting element 6, light
receiving element 7, and translucent board 8. Id. ¶ 17. Light emitting
element 6 and light receiving element 7 are arranged on circuit board 9
inside package 5. Id. ¶¶ 17, 19.
      “[T]ranslucent board 8 is a glass board which is transparent to light,
and attached to the opening of the package 5. A convex surface is formed
on the top of the translucent board 8.” Id. ¶ 17. “[T]he convex surface of
the translucent board 8 is in intimate contact with the surface of the user’s
skin,” preventing detecting element 2 from slipping off the detecting
position of the user’s wrist. Id. ¶ 25. By preventing the detecting element
from moving, the convex surface suppresses “variation of the amount of the
reflected light which is emitted from the light emitting element 6 and
reaches the light receiving element 7 by being reflected by the surface of the


                                      18
       Case: 22-1976     Document: 4       Page: 104   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

user’s skin.” Id. Additionally, the convex surface prevents penetration by
“noise such as disturbance light from the outside.” Id.
      Sensor body 3 is connected to detecting element 2 by signal line 13.
Id. ¶ 20. Signal line 13 connects detecting element 2 to drive circuit 11,
microcomputer 12, and a monitor display (not shown). Id. Drive circuit 11
drives light emitting element 6 to emit light toward wrist 4. Id. Detecting
element 2 receives reflected light which is used by microcomputer 12 to
calculate pulse rate. Id. “The monitor display shows the calculated pulse
rate.” Id.

                       4. Mendelson-2006 (Ex. 1016)

      Mendelson-2006 is a journal article titled “A Wearable Reflectance
Pulse Oximeter for Remote Physiological Monitoring,” and discloses a
wireless wearable pulse oximeter connected to a personal digital assistant
(“PDA”). Ex. 1016, 1.
      Figure 1 of Mendelson-2006 is reproduced below.




                                      19
        Case: 22-1976      Document: 4       Page: 105   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

Figure 1 illustrates a sensor module attached to the skin (top), and a
photograph of a disassembled sensor module and receiver module (bottom).
The sensor module includes an optical transducer, a stack of round printed
circuit boards, and a coin cell battery. Id. at 2.
      Figure 2 of Mendelson-2006 is reproduced below.




Figure 2 depicts a system block diagram of the wearable, wireless, pulse
oximeter including the sensor module (top) and the receiver module
(bottom). Id. The sensor module includes at least one light-emitting diode
(“LED”), a photodetector, signal processing circuitry, an embedded
microcontroller, and an RF transceiver. Id. at 1–2. Mendelson-2006
discloses that a concentric array of discrete photodetectors could be used to
increase the amount of backscattered light detected by a reflectance type
pulse oximeter sensor. Id. at 4. The receiver module includes an embedded
microcontroller, an RF transceiver for communicating with the sensor
module, and a wireless module for communicating with the PDA. Id. at 2.


                                        20
       Case: 22-1976     Document: 4       Page: 106   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

      As a PDA for use with the system, Mendelson-2006 discloses “the HP
iPAQ h4150 PDA because it can support both 802.11b and Bluetooth™
wireless communication” and “has sufficient computational resources.” Id.
at 3. Mendelson-2006 further discloses that
      [t]he use of a PDA as a local terminal also provides a low-cost
      touch screen interface. The user-friendly touch screen of the
      PDA offers additional flexibility. It enables multiple controls to
      occupy the same physical space and the controls appear only
      when needed. Additionally, a touch screen reduces development
      cost and time, because no external hardware is required. . . . The
      PDA can also serve to temporarily store vital medical
      information received from the wearable unit.
Id.
      The PDA is shown in Figure 3 of Mendelson-2006, reproduced below.




Figure 3 illustrates a sample PDA and its graphical user interface (“GUI”).
Id. Mendelson-2006 explains that the GUI allows the user to interact with
the wearable system. Id. “The GUI was configured to present the input and
output information to the user and allows easy activation of various
functions.” Id. “The GUI also displays the subject’s vital signs, activity



                                      21
        Case: 22-1976     Document: 4      Page: 107   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

level, body orientation, and a scrollable PPG waveform that is transmitted by
the wearable device.” Id. For example, the GUI displays numerical oxygen
saturation (“SpO2”) and heart rate (“HR”) values. Id.

                           5. Independent Claim 1

      Petitioner contends that claim 1 would have been obvious over the
combined teachings of Aizawa, Inokawa, Ohsaki, and Mendelson-2006.
Pet. 30–54. Below, we set forth how the combination of prior art references
teaches or suggests the claim limitations that are not disputed by the parties.
For those limitations and reasons for combining the references that are
disputed, we examine each of the parties’ contentions and then provide our
analysis.

                   i.   “A physiological measurement system comprising”

      The cited evidence supports Petitioner’s undisputed contention that
Aizawa discloses the subject matter of the preamble.3 Pet. 30; see, e.g.,
Ex. 1006 ¶ 2 (disclosing “a pulse wave sensor for detecting the pulse wave
of a subject”).

                  ii.   “[a] a physiological sensor device comprising”

      The cited evidence supports Petitioner’s undisputed contention that
Aizawa discloses a physiological sensor device including a pulse rate
detector. Pet. 30–31; see, e.g., Ex. 1006 ¶ 23 (pulse wave sensor 2),
Figs. 1(a)–(b).


3
 Whether the preamble is limiting need not be resolved because Petitioner
shows sufficiently that the preamble’s subject matter is satisfied by the prior
art.


                                      22
       Case: 22-1976      Document: 4       Page: 108     Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

                 iii.   “[b] one or more emitters configured to emit light
                        into tissue of a user”

      The cited evidence supports Petitioner’s undisputed contention that
Aizawa discloses LED 21 that emits light into a user’s tissue. Pet. 31; see,
e.g., Ex. 1006 ¶ 23 (“LED 21 . . . for emitting light having a wavelength of a
near infrared range”), 27 (explaining that light is emitted toward the wrist),
Fig. 1(b) (depicting emitter 21 facing user tissue 10).

                 iv.    “[c] a first set of photodiodes, wherein: [d] the first
                        set of photodiodes comprises at least four
                        photodiodes”
                        and
                        “[g] a second set of photodiodes, wherein: [h] the
                        second set of photodiodes comprises at least four
                        photodiodes”

Petitioner’s Undisputed Contentions
      Petitioner contends that Aizawa discloses a first set of four
photodiodes that are circularly arranged around a central emitter. Pet. 16
(citing, e.g., Ex. 1006 ¶ 23). Petitioner also contends that, in one
embodiment, Aizawa discloses that eight or more detectors may be used to
improve detection efficiency, but does not expressly teach a “second set of
photodiodes,” as claimed. Id. at 17 (citing, e.g., Ex. 1006, Fig. 4(a)); see
also Ex. 1003 ¶¶ 66–67.
      Patent Owner does not dispute these contentions, and we agree with
Petitioner. Aizawa discloses a set of “four phototransistors 22” that are
disposed in a single ring around central emitter 21. Ex. 1006 ¶ 23,
Figs. 1(a)–1(b). Aizawa also discloses that “the number of the
photodetectors 22 may be increased” to further improve detection efficiency,




                                       23
       Case: 22-1976      Document: 4       Page: 109   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

and depicts in Figure 4(a) an embodiment where eight photodetectors 22 are
disposed in a single ring around central emitter 21. Id. ¶ 32.
      Also, according to Petitioner, Mendelson-2003 teaches a sensor that
uses two rings of photodiodes, which improve light collection efficiency,
permit use of lower brightness LEDs, and reduce power consumption.
Pet. 18–19; see also Ex. 1003 ¶¶ 69–70.
      Patent Owner does not dispute these contentions regarding what
Mendelson-2003 discloses, and we agree with Petitioner. Mendelson-2003
teaches an experimental sensor in which “six PDs [(photodetectors)] were
positioned in a close inner-ring configuration . . . [and a] second set of six
PDs [were] spaced equally along an outer-ring.” Ex. 1024, 3017, Fig. 1
(depicting a prototype sensor with a near ring of photodetectors and a far
ring of photodetectors). Based on experiments using the dual-ring sensor, as
compared to sensors using only a near ring or only a far ring, Mendelson-
2003 states that “considerabl[y] stronger PPGs [photoplethysmographic
signals] could be obtained by widening the active area of the PD which helps
to collect a bigger proportion of backscattered light intensity.” Id. at 3019,
Fig. 3. Mendelson-2003 also states that, “by combining both PD sets to
simulate a single large PD area, it is possible to further reduce the driving
currents of the LEDs without compromising the amplitude or quality of the
detected PPGs.” Id. at 3019, Fig. 4. Finally, Mendelson-2003 teaches that
estimated battery life for the dual-ring sensor, as compared to sensors using
only a near ring or only a far ring, “could be extended considerably.” Id. at
3019, Table 1 (battery life of 52.5 days for the dual-ring sensor, compared to
45.8 and 20.3 days for the near ring or far ring sensors, respectively).
Petitioner’s Disputed Contentions



                                       24
       Case: 22-1976     Document: 4       Page: 110   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

      In view of these teachings, Petitioner contends that a person of
ordinary skill in the art would have found it obvious to modify Aizawa to
include an additional ring of detectors, as taught by Mendelson-2003, (i.e., a
“second set”) to “advance[e] Aizawa’s goal of improving detection
efficiency through increased power savings.” Pet. 17–18 (citing, e.g.,
Ex. 1003 ¶ 68), 32–33 (citing, e.g., Ex. 1003 ¶¶ 90–91), 41–42 (citing, e.g.,
Ex. 1003 ¶¶ 100–101). According to Petitioner, “by using Mendelson-
2003’s power-saving (and thus efficiency-enhancing) PD configuration, the
power consumption of a wrist-based pulse sensing device as in Aizawa can
be reduced through use of a less bright and, hence, lower power-consuming
LED.” Id. at 19–20 (citing, e.g., Ex. 1003 ¶ 71).
      Petitioner provides “[a]n example implementation of adding an
additional ring of detectors to Aizawa, as per Mendelson-2003,” which is
reproduced below.




Pet. 20 (citing, e.g., Ex. 1003 ¶ 72). Petitioner’s modified and annotated
figure depicts Aizawa’s sensor with Aizawa’s first set of photodiodes
(depicted as connected by a green ring) and modified to include a second set
of photodiodes as taught by Mendelson-2003 (depicted as connected by a
red ring). Pet. 20–21, 33, 41. Petitioner contends this would have been the

                                      25
        Case: 22-1976      Document: 4       Page: 111    Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

use of a known solution to improve similar systems in the same way, which
“would have led to predictable results without significantly altering or
hindering the functions performed by Aizawa’s sensor,” especially where
Aizawa itself discloses adding extra detectors to improve light collection
efficiency. Id. at 21–22 (citing, e.g., Ex. 1003 ¶ 74).
Patent Owner’s Arguments
      Patent Owner’s arguments address limitations [c]–[e] and [g]–[i]
together. See PO Resp. 55–66. As such, Patent Owner’s arguments, the
parties’ Reply and Sur-reply briefing, and our analyses, are presented below
in connection with limitations [e] and [i]. See infra § II.D.5.v.

                   v.   “[e] the photodiodes of the first set of photodiodes
                        are connected to one another in parallel to provide a
                        first signal stream”
                        and
                        “[i] the photodiodes of the second set of photodiodes
                        are connected to one another in parallel to provide a
                        second signal stream”

Petitioner’s Undisputed Contentions
      Petitioner contends that a signal stream is sent from Aizawa’s set of
photodetectors 23 to drive detection circuit 24, which amplifies the outputs
of the photodetectors. Pet. 16 (citing, e.g., Ex. 1006 ¶ 23; Ex. 1003 ¶ 66).
      Patent Owner does not dispute this contention, and we agree with
Petitioner. Aizawa discloses that “drive detection circuit 24 [is] for
detecting a pulse wave by amplifying the outputs of the photodetectors 22.”
Ex. 1006 ¶ 23.
      Petitioner additionally contends that Mendelson-2003 teaches that
each set of photodiodes, i.e., its near ring and far ring, is wired in parallel,



                                        26
       Case: 22-1976      Document: 4       Page: 112   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

thereby providing a distinct signal stream for each ring. Pet. 18, 34–35
(citing, e.g., Ex. 1024, 3017).
      Patent Owner does not dispute this contention regarding what
Mendelson-2003 discloses, and we agree with Petitioner. Mendelson-2003
teaches that “[e]ach cluster of six PDs were wired in parallel and connected
through a central hub to the common summing input of a current-to-voltage
converter.” Ex. 1024, 3017.
Petitioner’s Disputed Contentions
      In view of these teachings, Petitioner contends that a person of
ordinary skill in the art “would have recognized and/or found it obvious that
the first set of photodiodes [in the modified system of Aizawa and
Mendelson-2003, see supra § II.D.5.iv] are connected to one another in
parallel to provide a first signal stream in the manner claimed,” and “the
photodiodes in the second/outer ring (i.e., second set of photodiodes) . . . are
connected to one another in parallel to provide a second signal stream,” as
taught by Mendelson-2003. Pet. 33–34, 42 (citing, e.g., Ex. 1003 ¶¶ 92–97,
102), 21 (citing, e.g., Ex. 1003 ¶ 73). Petitioner contends this “would have
led to predictable results without significantly altering or hindering the
functions performed by Aizawa’s sensor.” Id. at 21–22 (citing, e.g.,
Ex. 1003 ¶ 74).
      According to Petitioner, this arrangement would have provided known
benefits. Pet. 34–38. For example, Petitioner contends that a person of
ordinary skill in the art “would have known that connecting multiple
photodiodes together in parallel allows the current generated by the multiple
photodiodes in [each] set/ring to be added to one another, thereby resulting
in a larger total current akin to what would be generated from a single, large



                                       27
       Case: 22-1976       Document: 4      Page: 113   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

detector.” Id. at 34. According to Petitioner, this was “a routine and
conventional design choice.” Id. at 35. Further, “monitoring each signal
stream (from each ring of detectors) separately allows the system to
determine when the sensor device is so severely located that its position
should be adjusted,” and can help detect motion artifacts. Id. at 35–36
(citing Ex. 1003 ¶ 95).
      Petitioner also argues that a person of skill in the art would have
known that “the photodiodes in the far ring (i.e., second set of photodiodes)
would receive reflected light having a lower intensity than that received by
the photodiodes in the near ring (i.e., first set of photodiodes) and would
have been motivated and found it obvious to account for this discrepancy,”
e.g., by “keep[ing] each ring separately wired and connected to its own
amplifier . . . to thereby keep the magnitude of the current signals provided
by each ring approximately the same before being combined and transmitted
to the arithmetic circuit 3.” Id. at 36–38 (citing Ex. 1003 ¶¶ 96–97); id. at 42
(citing Ex. 1003 ¶ 102).
Patent Owner’s Arguments
      Patent Owner disputes Petitioner’s contentions that it would have
been obvious (1) to modify Aizawa to include a second set of at least four
photodiodes, and (2) to wire the photodiodes of the first set in parallel to
provide a first signal stream and to wire the photodiodes of the second set in
parallel to provide a second signal stream. PO Resp. 55–66; PO Sur-
reply 24–30.
      First, Patent Owner argues this proposed modification changes
Aizawa’s principle of operation. Specifically, Patent Owner claims that
“Aizawa’s approach monitors different individual detector signals and



                                       28
       Case: 22-1976      Document: 4        Page: 114   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

calculates pulse rate based on each individual photodetector signal” and, in
contrast to the proposed modification, “does not measure aggregated signals
from detectors connected in parallel.” PO Resp. 57 (citing Ex. 1006 ¶¶ 7,
19, 23, 27–29, 32, 36; Ex. 2004 ¶ 102; Ex. 2026, 76:13–22, 79:22–80:3).
According to Patent Owner, the proposed modification “eliminates Aizawa’s
core feature—the ability to monitor pulse using the output of each individual
detector, which Aizawa indicates avoids displacement problems.” Id. at 58–
59 (citing, e.g., Ex. 2004 ¶¶ 104–105).
      Second, Patent Owner argues this proposed modification would have
resulted in increased power consumption. Id. at 59. According to Patent
Owner, Mendelson-2003 states that its power savings is caused by
“increasing the number of detectors and thus the detector area, not the two-
ring structure.” Id. at 59–60 (citing Ex. 1024, 2; Ex. 2004 ¶ 106).
Moreover, Patent Owner argues that Aizawa already discloses a way to
improve detection efficiency—by including eight detectors in a single ring.
Id. at 60 (citing Ex. 1006 ¶ 32, Fig. 4A; Ex. 2004 ¶ 107). In light of this
teaching, Patent Owner argues that adding a second ring is unfounded and
unnecessary, especially where the second ring of detectors “would receive
substantially lower light intensity requiring greater power consumption to
utilize than additional detectors added to the ‘inner’ ring.” Id. at 60–62
(citing, e.g., Ex. 2004 ¶¶ 108–109; Ex. 2026, 55:7–17, 56:6–16, 59:14–60:7,
100:6–101,6, 102:5–17, 112:3–16). “Petitioner never explains why, given
these straightforward options to increase signal strength, a [person of
ordinary skill in the art] would instead add an entire new circle of detectors
farther from the emitter.” Id. at 62.




                                        29
       Case: 22-1976      Document: 4      Page: 115   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

      Third, Patent Owner argues that Mendelson-2003 provides only an
experimental detector configuration, which would fail to provide the alleged
benefits. Specifically, Patent Owner argues that Mendelson-2003 “uses its
particular configuration for specific experiments comparing light intensity
and LED drive currents for detectors arranged different distances from
central emitters,” and “teaches no benefits for this arrangement in practice.”
Id. at 62–63 (citing Ex. 1024, 4; Ex. 2004 ¶¶ 111–112). To the contrary,
Patent Owner alleges that Mendelson-2003 actually prefers a single detector
ring that outputs a single signal stream: “Mendelson 2003 explains it
‘combin[ed] both PD sets to simulate a single large PD area,’ and notes
‘battery longevity could be extended considerably by employing a wide
annular PD,’ which has a single signal stream—not two different signal
streams from two different parallel-connected rings.” Id. at 63 (citing, e.g.,
Ex. 2026. 87:8–88:1, 91:15–92:7).4 Thus, according to Patent Owner, even
if a skilled artisan would have added a second ring of detectors to Aizawa,
they “would not have kept the first and second ring of detectors separate or
separately amplified the aggregated signals”; instead, they would have


4
  Patent Owner also criticizes the Petition’s discussion of Exhibit 1025, U.S.
Patent No. 6,801,799 (“Mendelson ’799”), which is not included in
Petitioner’s identification of the asserted ground of unpatentability. PO
Resp. 63–65; PO Sur-reply 29–30. We discern no error in Petitioner’s
identification of Mendelson ’799. The nature of Petitioner’s reliance on
Mendelson ’799 in support of this ground is explained clearly in the Petition,
even if Mendelson ’799 is not listed as an additional reference in the
identification of the ground. Thus, the Petition complies with 35 U.S.C.
§ 312(a)(3) (stating an IPR petition must “identif[y], in writing and with
particularity . . . the grounds on which the challenge to each claim is based,
and the evidence that supports the grounds for the challenge”).



                                      30
        Case: 22-1976     Document: 4       Page: 116   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

“combin[ed] both PD sets to simulate a single large PD area,” where
“battery longevity could be extended considerably by employing a wide
annular PD.” Id. at 66 (quoting Ex. 1024, 4; citing Ex. 2004 ¶ 116).
      Finally, Patent Owner argues that the proposed combination
“introduces signal processing problems requiring a further redesign for
Aizawa’s sensor” to include a second amplifier to account for signals of
different strengths between the near and far rings. Id. at 65–66 (citing
Ex. 2004 ¶ 115). Patent Owner alleges this demonstrates that a skilled
artisan would not have added a second ring of detectors, as proposed, but
instead would have increased the number of detectors in Aizawa’s single
ring. Id. at 66.
Petitioner’s Reply
      Petitioner replies that Patent Owner mischaracterizes Aizawa’s
principle of operation. Pet. Reply 32–34. Specifically, Petitioner contends
that Aizawa’s detector ring is connected in parallel, or at least that a person
of ordinary skill in the art would have recognized that parallel connection
would have been a known implementation detail, which allows a signal to be
detected even if one of the multiple sensors is displaced on the user. Id. at
33 (citing Ex. 1003 ¶¶ 93–94; Ex. 1060 ¶ 62; Ex. 2026, 72:3–9). Moreover,
Petitioner argues that Aizawa lacks any disclosure of individually
monitoring signals from each photodetector. Id. at 34.
      Petitioner reiterates its position that adding a second ring would
collect a bigger portion of backscattered light, and would have motivated the
proposed combination. Id. at 35 (citing, e.g., Ex. 1060 ¶¶ 65–66). Petitioner
also disputes that such a modification would increase power, noting that it is
the emitters, not the detectors, that consume most power in the system. Id.



                                       31
       Case: 22-1976      Document: 4       Page: 117   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

at 36 (citing, e.g., Ex. 1060 ¶ 67). Moreover, Petitioner contends that by
widening the detection area with a second ring, the system would capture
additional light which would allow a lower brightness, and lower power,
emitter to be used. Id.
      Petitioner disputes Patent Owner’s characterization of Mendelson-
2003 as purely experimental, and alleges that Mendelson-2003 makes clear
that employing two rings outputting two signal streams is equivalent to
employing a wider single ring of detectors, and provides associated benefits.
Id. at 36–38 (citing, e.g., Ex. 1060 ¶ 70).
Patent Owner’s Sur-reply
      Patent Owner reiterates its position that Aizawa concerns individual
monitoring, which Patent Owner alleges is a “key feature of Aizawa’s
sensor,” in order to avoid problems associated with sensor displacement. PO
Sur-reply 24–26. Patent Owner also reiterates its positions that the proposed
modified sensor would consume more power, and that Aizawa’s disclosed
embodiment with eight detectors in a single ring would have been preferred.
Id. at 26–29.
Analysis
      We have considered the parties’ arguments and cited evidence, and
we are persuaded by Petitioner’s contentions. As discussed above, Aizawa
discloses a sensor with a first set of four phototransistors 22 as claimed,
which are disposed in a single ring around central emitter 21. Ex. 1006 ¶ 23,
Figs. 1(a)–1(b). Mendelson-2003 teaches a sensor with a dual-ring
configuration, where a first inner ring includes six photodetectors, and a
second outer ring includes an additional six photodetectors. Ex. 1024, 3017,
Fig. 1. Mendelson-2003 also states that by using this dual-ring



                                       32
       Case: 22-1976      Document: 4         Page: 118   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

configuration to simulate a wide photodetector area, stronger signals could
be obtained, drive currents could be reduced, and battery life could be
extended. Id. at 3019, Fig. 3, Fig. 4.
      In light of these explicit teachings, we are persuaded by Petitioner’s
contention that a person of ordinary skill in the art would have found it
obvious to include a second set of detectors in Aizawa’s sensor, as taught by
Mendelson-2003, to realize the benefits taught by Mendelson-2003, i.e.,
stronger signals with reduced power consumption. Pet. 17–18, 41–42. We
credit Dr. Kenny’s testimony that this would have been the use of a known
solution—a sensor with dual detector rings as taught by Mendelson-2003—
to improve similar systems—Aizawa’s sensor with one detector ring—in the
same way, which “would have led to predictable results without significantly
altering or hindering the functions performed by Aizawa’s sensor,”
especially where Aizawa itself discloses adding extra detectors to improve
light collection efficiency. Ex. 1003 ¶ 74.
      We also credit Dr. Kenny’s testimony that, as taught by Mendelson-
2003, it would have been obvious to connect the photodetectors of each set
in parallel to provide first and second signal streams, respectively, and that
this would have led to predictable results. Ex. 1003 ¶ 74 (predictable), 93–
94 (first set), 102 (second set). Indeed, the two rings taught by Mendelson-
2003 are disclosed as being “wired in parallel and connected through a
central hub to the common summing input of a current-to-voltage
converter.” Ex. 1024, 3017. Dr. Kenny explains numerous advantages
associated the parallel connections taught by Mendelson-2003, such as
monitoring for displacement, accounting for motion artifacts, and




                                         33
       Case: 22-1976      Document: 4      Page: 119   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

compensating for the relative decrease in light that reaches the outer ring,
which cannot be achieved with a single signal stream. Ex. 1003 ¶¶ 95–97.
      We have considered Patent Owner’s arguments but find them to be
misplaced. First, we do not agree that Aizawa discloses the ability to
individually monitor individual detectors as a “key feature” (PO Resp. 56;
PO Sur-reply 25) of its sensor. We discern no persuasive support for this
position in Aizawa. Aizawa does not discuss individual monitoring at all, at
least not clearly, and does not discuss individual monitoring as a solution to
sensor displacement. Rather, Aizawa explains that its sensor includes four
photodetectors 22 and that “reflected light is detected by the plurality of
photodetectors 22.” Ex. 1006 ¶¶ 23, 27. Aizawa also explains that its sensor
includes a “drive detection circuit for detecting a pulse wave by amplifying
the outputs of the photodetectors 22.” Id. ¶ 23. These disclosures indicate
that Aizawa does not monitor each photodetector 22 individually to ascertain
the pulse wave but, rather, utilizes “the outputs” of all of the photodetectors
together.
      This understanding is consistent with Aizawa’s disclosure of sensor
displacement. As Patent Owner correctly notes, Aizawa recognizes a
problem with sensor displacement, in which “no output signal can be
obtained” if the sensor’s detectors are placed away from an artery. Id. ¶ 7.
Aizawa solves this problem by avoiding a “linear[]” detector arrangement,
such that “[e]ven when the attachment position of the sensor is dislocated, a
pulse wave can be detected accurately.” Id. ¶ 9. Indeed, Aizawa is clear
that, in its preferred embodiment, it is the disposition of photodetectors 22 in
“a circle concentric to the light emitting diode 21” that enables accurate




                                      34
       Case: 22-1976      Document: 4      Page: 120   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

pulse detection even when the sensor is dislocated. Id. ¶ 27. Aizawa does
not discuss individual monitoring in relation to sensor dislocation.
      We have examined Patent Owner’s alleged support for the importance
of individual monitoring and find it unavailing. See, e.g., PO Resp. 57
(citing Ex. 1006 ¶¶ 7, 19, 23, 27–29, 32, 36; Ex. 2004 ¶ 102; Ex. 2026,
76:13–22, 79:22–80:3). Patent Owner identifies Figure 3, which depicts a
“diagram of a pulse wave which is the output of a photodetector.” Ex. 1006
¶¶ 19 (emphasis added), 28 (“the above photodetector 22”). Patent Owner
seems to place importance on the use of the article “a” or “the”
photodetector, in the singular. PO Resp. 57; PO Sur-reply 24. However, we
discern no significance in the singular use. In discussing this Figure,
Aizawa does not discuss monitoring an individual photodetector, or describe
that as a “key feature”; instead, Aizawa explains that drive detection circuit
24 amplifies the detected pulse wave and transmits it to arithmetic circuit 3,
which compares it to a threshold value to calculate a pulse rate. Ex. 1006
¶ 28. We discern that this discussion of how the circuits process a signal
from “a” (or “the”) photodetector is merely exemplary of the process; Patent
Owner has not pointed to any persuasive support for its position that this
somehow indicates a “key feature” of Aizawa is individual monitoring. As
noted above, Aizawa plainly discloses that it is the signals from the plurality
of photodetectors that are used to determine a pulse wave. Id. ¶¶ 23, 27.
Nothing in Figure 3 or paragraph 28 clearly contradicts that disclosure.
      We have considered the cited testimony of Dr. Madisetti, which
Patent Owner relies upon as support for its position, but we find it
unavailing as well. Dr. Madisetti’s testimony includes the same citations
presented by Patent Owner, none of which demonstrates individual



                                      35
       Case: 22-1976      Document: 4       Page: 121   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

monitoring. Ex. 2004 ¶ 102. Thus, we determine this testimony to be
conclusory and entitled to little weight.
      We do recognize, as did Dr. Kenny during his deposition, that Aizawa
does not provide extensive discussion of the algorithms through which
Aizawa determines a pulse wave. See, e.g., Ex. 2026, 80:8–18 (“It doesn’t
describe the algorithm in detail. It just says amplifies the signals from the
detectors and then performs whatever function takes place inside the
arithmetic circuit which I think computes the number of times the signal
crosses the threshold value to calculate the pulse rate, but there’s not a
clearly described precise algorithm for what goes on. It’s left for one of
ordinary skill in the art to process the waveforms and, and count the
crossings of the threshold and determine the pulse rate.”). Nonetheless, we
decline Patent Owner’s invitation to import into Aizawa’s disclosure a “key
feature” of individual monitoring that is not identified by Aizawa with any
reasonable clarity. Again, as noted above, Dr. Madisetti provides no further
support for the conclusory position advanced by Patent Owner.
      By contrast, we credit Dr. Kenny’s testimony, which is consistent
with Aizawa’s express disclosure of detecting a pulse wave from “the
plurality of photodetectors” (Ex. 1006 ¶ 27), that:
      connecting multiple photodetectors together in parallel allows
      the current generated by the multiple photodetectors to be added
      to one another, which would subsequently ensure that even if one
      of multiple sensors connected in parallel were to be displaced so
      as to receive no signal, the fact that all the sensors are connected
      in parallel such that their signals are summed means that a signal
      will still be detected, in accordance with Aizawa’s objective.
Ex. 1060 ¶ 62. Moreover, we agree with Dr. Kenny that “there is no
disclosure anywhere in Aizawa to suggest that it is even capable of



                                       36
       Case: 22-1976      Document: 4       Page: 122   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

somehow monitoring the signals of each photodetector, and there is certainly
no need to do so if its sensors are connected in parallel.” Id. Thus,
considering the express disclosure of Aizawa and the competing testimony
of the parties’ experts, we credit that of Dr. Kenny.
      Patent Owner’s second argument—that the proposed modification
would have resulted in increased power consumption—is plainly
contradicted by Mendelson-2003’s disclosure. Table 1 of Mendelson-2003
is reproduced below.




Table 1 includes three rows, each associating a different photodetector
configuration with an estimated battery life. Ex. 1024, 3019. The table
indicates that a configuration consisting of only a near ring of photodetectors
results in 45.8 days of battery life; a configuration consisting of only a far
ring of photodetectors results in 20.3 days of battery life; and a configuration
consisting of both a near ring and a far ring of photodetectors results in
52.5 days of battery life. Id. In describing this table, Mendelson-2003
states, “the considerable differences in the estimated power consumptions
clearly points out the practical advantage gained by using a reflection sensor
comprising a large ring-shaped PD area to perform SpO2 measurements,”
which in this case, was realized by the combination of a near and far ring of
detectors, akin to the modification proposed by Petitioner. Id. Thus, we do
not agree with Patent Owner’s argument that power consumption would



                                       37
        Case: 22-1976      Document: 4       Page: 123    Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

increase if a second ring of detectors were added to Aizawa’s sensor;
Mendelson-2003 plainly suggests the opposite and supports Petitioner’s
contention that the proposed modification would result in a power savings
over a single ring.
       We also do not agree with the argument that a person of ordinary skill
in the art would not make the proposed modification because Aizawa
already discloses a way to improve detection efficiency, e.g., by including
more detectors in a single ring. PO Resp. 60 (citing Ex. 1006 ¶ 32, Fig. 4A;
Ex. 2004 ¶ 107). Aizawa explains that the photodetector arrangement of its
single-ring preferred embodiment “is not limited” and suggests, “[f]or
example,” that “the number of photodetectors 22 may be increased.”
Ex. 1006 ¶ 32. Aizawa does not limit the increase in photodetectors to being
included in only the existing single ring of detectors, i.e., the first set.
Nothing in this disclosure teaches against adding a second set, as proposed
by Petitioner for the well-supported reasons identified in Mendelson-2003
and further discussed by Dr. Kenny.
       Patent Owner’s third argument—that Mendelson-2003 is experimental
and would not provide the alleged benefits—likewise fails. Patent Owner’s
suggestion that Mendelson-2003 teaches using a single large, wide detector
ring that outputs a single signal stream is unfounded. The analysis provided
in Mendelson-2003 explicitly compares a dual-ring arrangement to both a
single near ring and a single far ring. See, e.g., Ex. 1024, Fig. 3, Fig. 4,
Table 1 (all comparing near, far, and near + far arrangements). Mendelson-
2003 explains that the dual-ring arrangement “simulate[s] a single large PD
area” and realizes benefits in LED power requirements. Id. at 3019. That




                                        38
        Case: 22-1976     Document: 4      Page: 124   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

Mendelson-2003 simulates a single ring by using two discrete rings
demonstrates the fallacy of Patent Owner’s argument.
       Finally, we disagree with Patent Owner’s argument that a person of
ordinary skill in the art would not have made the proposed combination
because it “introduces signal processing problems requiring a further
redesign for Aizawa’s sensor” to include a second amplifier to account for
signals of different strengths between the near and far rings. PO Resp. 65–
66. A person of ordinary skill in the art must be presumed to understand
something about the art beyond what is disclosed in the references. See In re
Jacoby, 309 F.2d 513, 516 (CCPA 1962). After all, “[a] person of ordinary
skill is also a person of ordinary creativity, not an automaton.” KSR Int’l
Co. v. Teleflex Inc., 550 U.S. 398, 421 (2007). Neither Patent Owner nor
Dr. Madisetti asserts that adding a second amplifier would be beyond the
level of skill in the art or would introduce any specific problems, beyond its
mere addition. We credit Dr. Kenny’s testimony that a person of ordinary
skill would have recognized that, in order to account for the disparate
currents generated by the two rings, the rings would be separately wired with
separate amplifiers (Ex. 1003 ¶ 97) and that this would have been a routine
and conventional design choice, within the level of ordinary skill in the art
(id. ¶ 94).
       For the foregoing reasons, we are persuaded by Petitioner’s
contentions.

                 vi.    “[f] each of the photodiodes of the first set of
                        photodiodes has a corresponding window that allows
                        light to pass through to the photodiode”
                        and
                        “[j] each of the photodiodes of the second set of


                                      39
       Case: 22-1976      Document: 4       Page: 125   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

                        photodiodes has a corresponding window that allows
                        light to pass through to the photodiode”

      The cited evidence supports Petitioner’s undisputed contention that
Aizawa teaches windows corresponding to each detector of Aizawa, i.e.,
“tapered cavities that provide an opening for each of the detectors (e.g., each
of the photodiodes of the first set of photodiodes) and that serve to increase,
for instance, the concentration of light collected by the detectors, thereby
increasing the signal to noise ratio,” and that a person of ordinary skill in the
art also would have provided such windows for the second set of
photodiodes, suggested by the combination with Mendelson-2003. Pet. 38–
40, 42; see, e.g., Ex. 1006 ¶¶ 23 (“four phototransistors 22”), 24 (“stored in
cavities” and “set back from . . . detection face 23a”), Figs. 1(a)–1(b)
(depicting cavities 23c housing detectors 22); Ex. 1003 ¶¶ 98–99, 103.

                 vii.   “[k] a wall that surrounds at least the first and
                        second sets of photodiodes”

      The cited evidence supports Petitioner’s undisputed contention that
Aizawa discloses holder 23, which includes a wall that surrounds the
photodetectors, as well as other elements. Pet. 42–44; see, e.g., Ex. 1006
¶ 23 (“holder 23 for storing . . . light emitting diode 21 and the
photodetectors 22”), Fig. 1(b) (depicting holder 23 surrounding the
detector).

                viii.   “[l] a cover comprising a protruding convex surface,
                        wherein the protruding convex surface is above all of
                        the photodiodes of the first and second sets of
                        photodiodes, wherein at least a portion of the




                                       40
          Case: 22-1976     Document: 4      Page: 126   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

                          protruding convex surface is rigid, and wherein the
                          cover is above the wall”

Petitioner’s Undisputed Contentions
      Petitioner contends that Aizawa “teaches a light permeable cover in
the form of an acrylic transparent plate 6 . . . that is mounted at the detection
face 23a” of the sensor, i.e., above Aizawa’s photodetectors, to provide
“improved adhesion between the detector and the wrist to ‘further improv[e]
the detection efficiency of a pulse wave.’” Pet. 9–10 (citing Ex. 1006 ¶ 30,
Fig. 1(b); Ex. 1003 ¶¶ 53–54). Patent Owner does not dispute this
contention, and we agree with Petitioner. Aizawa discloses that “acrylic
transparent plate 6 is provided on the detection face 23a of the holder 23 to
improve adhesion to the wrist 10.” Ex. 1014 ¶ 34, Fig. 1(b) (depicting
transparent plate 6 between sensor 2 and wrist 10).
      Petitioner also contends that Ohsaki teaches a wrist-worn sensor that
includes a “translucent board” having a convex surface that contacts the
user’s skin. Pet. 12–13, 22–23. Patent Owner does not dispute this
contention, and we agree with Petitioner. Ohsaki discloses that sensor 1
includes detecting element 2 and sensor body 3, and is “worn on the back
side of the user’s wrist.” Ex. 1014 ¶ 16. Ohsaki discloses that detecting
element 2 includes package 5 and “translucent board 8[,which] is a glass
board which is transparent to light, [and is] attached to the opening of the
package 5. A convex surface is formed on the top of the translucent
board 8.” Id. ¶ 17. As seen in Ohsaki’s Figure 2, translucent board 8 has a
protruding convex surface, and is located above all of the detectors. Id. ¶ 17
(“The translucent board 8 is . . . attached to the opening of the package 5.”),
Fig. 2.



                                        41
        Case: 22-1976      Document: 4       Page: 127   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

       Petitioner also contends that Ohsaki’s Figure 2 depicts the user’s
tissue conforming to the shape of the convex surface of the cover, such that
the convex surface would have been “rigid.” Pet. 45–46. Patent Owner
does not dispute this contention, and we agree with Petitioner. Ohsaki’s
Figure 2 depicts the user’s tissue 4 conforming to the shape of the protruding
convex surface when the sensor is worn by the user. Ex. 1014 ¶ 17 (“The
translucent board 8 is a glass board.”), Fig. 2; see, e.g., Ex. 1003 ¶¶ 107–
108.
Petitioner’s Disputed Contentions
       Petitioner further contends that a person of ordinary skill in the art
would have found it obvious “to modify the sensor’s flat cover [in
Aizawa] . . . to include a lens/protrusion . . . similar to Ohsaki’s translucent
board 8, so as to [1] improve adhesion between the user’s wrist and the
sensor’s surface, [2] improve detection efficiency, and [3] protect the
elements within sensor housing.” Pet. 24–25 (citing, e.g., Ex. 1003 ¶ 78;
Ex. 1014 ¶ 25), 44 (citing, e.g., Ex. 1003 ¶ 105). Petitioner contends that
Ohsaki’s convex surface is in “intimate contact” with the user’s tissue,
which prevents slippage of the sensor and increases signal strength because
“variation of the amount of the reflected light . . . that reaches the light
receiving element 7 is suppressed” and because “disturbance light from the
outside” is prevented from penetrating board 8, as compared to a sensor with
a flat surface. Id. at 22–24 (citing, e.g., Ex. 1003 ¶¶ 76–77; quoting
Ex. 1014 ¶¶ 15, 17, 25).
       Petitioner contends this modification would have been “nothing more
than the use of a known technique to improve similar devices in the same
way,” i.e., “simply improving Aizawa-Mendelson-2003’s transparent plate 6



                                        42
       Case: 22-1976      Document: 4      Page: 128   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

that has a flat surface to improve adhesion to a subject’s skin and reduce
variation in the signals detected by the sensor.” Pet. 25 (citing Ex. 1003
¶ 79). Further according to Petitioner, “the elements of the combined system
would each perform functions they had been known to perform prior to the
combination—Aizawa-Mendelson-2003’s transparent plate 6 would remain
in the same position, performing the same function, but with a convex
surface as taught by Ohsaki.” Id. at 26.
      To illustrate its proposed modification, Petitioner includes two
annotated versions of Aizawa’s Figure 1(b), both of which are reproduced
below. Pet. 25.




Petitioner’s annotated figure on the left depicts Aizawa’s sensor, modified to
include LED B (see supra Section II.D.5.iii) and with a flat “light permeable
cover” (illustrated with blue outline); Petitioner’s annotated figure on the
right depicts Aizawa’s sensor, again modified to include LED B (see supra
Section II.D.5.iii) and with a convex “light permeable cover” (also
illustrated with blue outline). Petitioner contends that, in the combination,
the convex surface is above the wall provided by the holder. Pet. 45 (citing,
e.g., Ex. 1003 ¶ 106).
      Petitioner also identifies Japanese Patent Application 2006-296564 to
Inokawa (Ex. 1007 (Japanese language); Ex. 1008 (English language


                                      43
       Case: 22-1976      Document: 4      Page: 129   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

translation)), which Petitioner contends “provides an additional motivation
and rationale . . . to modify Aizawa to include a cover comprising a
protruding convex surface.” Pet. 26. According to Petitioner, Inokawa
teaches a convex lens that “increase[s] the light-gathering ability of the
LED.” Id. (citing Ex. 1008 ¶ 15, Fig. 2). Petitioner contends that, in view of
Inokawa, a person of ordinary skill in the art would have understood how to
implement Ohsaki’s convex surface in Aizawa. Id. at 27–28 (citing
Ex. 1003 ¶¶ 82–83).
Patent Owner’s Arguments
      Patent Owner argues that a person of ordinary skill in the art would
not have been motivated to modify Aizawa’s sensor to include Ohsaki’s
convex cover. PO Resp. 24–55;5 PO Sur-reply 3–23.
      First, Patent Owner argues that the proposed modification
“fundamentally changes Ohsaki’s structure and eliminates the longitudinal
shape that gives Ohsaki’s translucent board the ability to prevent slipping.”
PO Resp. 25. This argument is premised on Patent Owner’s contention that
Ohsaki’s convex cover must be rectangular, with the cover’s long direction


5
 As an initial matter, Patent Owner observes that Petitioner “[r]eli[es] on a
non-ground reference, Inokawa,” as providing the rationale for the proposed
modification of Aizawa in view of Ohsaki, and as providing implementation
details of the combination. PO Resp. 24 (citing Pet. 26–27); id. at 46–47,
52–55. We discern no error in Petitioner’s identification of Inokawa. The
nature of Petitioner’s reliance on Inokawa in support of this ground is
explained clearly in the Petition, even if Inokawa is not listed as an
additional reference in the identification of the ground. Thus, the Petition
complies with 35 U.S.C. § 312(a)(3) (stating an IPR petition must
“identif[y], in writing and with particularity . . . the grounds on which the
challenge to each claim is based, and the evidence that supports the grounds
for the challenge”).


                                      44
        Case: 22-1976     Document: 4       Page: 130      Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

aligned with the length of the user’s forearm, to avoid interacting with bones
in the wrist and forearm. Id. at 26–28 (citing, e.g., Ex. 2004 ¶¶ 53–57;
Ex. 1014 ¶¶ 6, 19, 23, 24). According to Patent Owner, Ohsaki teaches that
“aligning the sensor’s longitudinal direction with the circumferential
direction of the user’s arm undesirably results in ‘a tendency [for Ohsaki’s
sensor] to slip off.’” Id. at 28 (citing Ex. 1014 ¶ 19).
      Thus, Patent Owner contends that Petitioner’s proposed modification
would “chang[e] Ohsaki’s longitudinal detecting element and rectangular
board into a circular shape[, which] would eliminate the advantages
discussed above” because a circular shape “cannot be placed in any
longitudinal direction and thus cannot coincide with the longitudinal
direction of the user’s wrist.” Id. at 28 (citing Ex. 2004 ¶¶ 57–58). Patent
Owner presents annotated Figures depicting what it contends is Ohsaki’s
disclosed sensor placement as compared to that of the proposed
modification, reproduced below. Id. at 29.




Patent Owner’s annotated Figure on the left depicts a rectangular sensor
placed between a user’s radius and ulna, while Patent Owner’s annotated
Figure on the right depicts a circular sensor placed across a user’s radius and



                                       45
        Case: 22-1976     Document: 4       Page: 131   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

ulna. Based on these annotations, Patent Owner argues that the proposed
“circular shape would press on the user’s arm in all directions and thus
cannot avoid the undesirable interaction with the user’s bone structure,” such
that a skilled artisan “would have understood such a change would eliminate
Ohsaki’s benefit of preventing slipping.” Id. at 31 (citing, e.g., Ex. 2004
¶¶ 57–58), 31 (citing Ex. 2004 ¶¶ 55–62).6
      Second, Patent Owner argues that Ohsaki requires its sensor be placed
on the back of the user’s wrist to achieve any benefits, but that such a
location would have been unsuitable for Aizawa’s sensor. PO Resp. 34.
Specifically, Patent Owner argues that Aizawa’s sensor must be worn on the
palm side of the wrist, close to radial and ulnar arteries, which is the side
opposite from where Ohsaki’s sensor is worn. Id. at 35–40 (citing, e.g.,
Ex. 2004 ¶¶ 67–74). According to Patent Owner, Ohsaki teaches that the
sensor’s convex surface has a tendency to slip when placed on the palm side
of the wrist, i.e., in the location taught by Aizawa. Id. at 40–43 (citing, e.g.,
Ex. 1014 ¶¶ 19, 23, 24; Ex. 2004 ¶¶ 75–81). Thus, Patent Owner argues that
a person of ordinary skill in the art “would not have been motivated to use
Ohsaki’s longitudinal board—designed to be worn on the back side of a
user’s wrist—with Aizawa’s palm-side sensor.” Id. at 43. Similarly, Patent
Owner argues that Aizawa teaches away from the proposed modification
because Aizawa teaches that its flat acrylic plate improves adhesion on the



6
 Patent Owner further argues, “[t]o the extent Petitioner contends a [person
of ordinary skill in the art] would use Ohsaki’s rectangular board on
Aizawa’s circular sensor . . . this argument is unsupported and incorrect.”
PO Resp. 31. We do not read the Petition as making such a contention. We
understand Petitioner to propose, in essence, changing Aizawa’s circular flat
cover into a circular convex cover. See, e.g., Pet. 25.

                                       46
       Case: 22-1976       Document: 4      Page: 132   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

palm side of the wrist, while Ohsaki teaches that its convex board “has a
tendency to slip” on the palm side of the wrist. Id. at 43–46 (citing, e.g.,
Ex. 2004 ¶¶ 82–85).
      Third, Patent Owner argues that a person of ordinary skill in the art
would not have placed Ohsaki’s convex cover over Aizawa’s peripheral
detectors because the convex cover would condense light toward the center
and away from Aizawa’s detectors, which would decrease signal strength.
PO Resp. 46–54 (citing, e.g., Ex. 2004 ¶¶ 86–97). Patent Owner also
contends that Petitioner and Dr. Kenny admitted as much in a related
proceeding. Id. at 47–48 (citing, e.g., Ex. 2019, 45; Ex. 2020, 69–70).
Patent Owner also relies on Figure 14B of the ’194 patent to support its
position. Id. at 48–49 (citing Ex. 1001, 36:3–6, 36:13–15). Additionally,
Patent Owner argues that its position is also supported by Inokawa, which
also uses a convex lens to direct light toward the center but, in Inokawa’s
structure, the light is directed from peripheral emitters toward a central
detector. Id. at 52–54 (citing, e.g., Ex. 1008 ¶¶ 15, 58). In light of the
foregoing, Patent Owner argues that a person of ordinary skill in the art
would have understood that the proposed modification would have
decreased signal strength by directing light away from Aizawa’s peripheral
detectors. Id. at 49–51.
      Fourth and finally, Patent Owner argues that a person of ordinary skill
in the art “would have understood that Aizawa’s flat plate would provide
better protection than a convex surface” because it “would be less prone to
scratches.” Id. at 54–55 (citing Ex. 1008 ¶ 106; Ex. 2004 ¶¶ 98–99).




                                       47
       Case: 22-1976      Document: 4       Page: 133   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

Petitioner’s Reply
      Concerning Patent Owner’s first and second arguments, Petitioner
responds that Ohsaki does not disclose the shape of its protrusion, other than
its convexity as shown in Figures 1 and 2, nor does Ohsaki require a
rectangular shape or placement on the back of the wrist in order to achieve
the disclosed benefits. Pet. Reply 13–20 (citing, e.g., Ex. 1060 ¶¶ 18–30).
Moreover, Petitioner asserts that “even if Ohsaki’s translucent board 8 were
understood to be rectangular, obviousness does not require ‘bodily
incorporation’ of features from one reference into another”; rather, a person
of ordinary skill in the art “would have been fully capable of modifying
Aizawa to feature a light permeable protruding convex cover to obtain the
benefits” taught by Ohsaki. Id. at 16 (citing, e.g., Ex. 1060 ¶ 23). Similarly,
regarding the location of the sensor, Petitioner asserts,
      [E]ven assuming for the sake of argument that a [person of
      ordinary skill in the art] would have understood Aizawa’s sensor
      as being limited to placement on the backside of the wrist, and
      would have understood Ohsaki’s sensor’s “tendency to slip”
      when arranged on the front side as informing consideration of
      Ohsaki’s teachings with respect to Aizawa, that would have
      further motivated the [person of ordinary skill in the art] to
      implement a light permeable convex cover in Aizawa’s sensor,
      to improve detection efficiency of that sensor when placed on the
      palm side.
Id. at 18 (citing, e.g., Ex. 1060 ¶ 27). In other words, Ohsaki’s disclosure
that a convex surface suppresses variation in reflected light would have
motivated an artisan to add such a surface to Aizawa to improve detection
efficiency of that sensor when placed on the palm side. Id. at 18–20.
Moreover, Petitioner replies that the proposed convex surface “would
provide an additional adhesive effect that would reduce the tendency of that



                                       48
       Case: 22-1976      Document: 4        Page: 134   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

plate to slip, among other things since it is well-understood that physically
digging into the skin with a protrusion provides an additional adhesive
effect.” Id. at 20 (citing Ex. 1060 ¶ 30).
      Concerning Patent Owner’s third argument, Petitioner responds that
Patent Owner’s argument about a convex cover directing light to the center
is belied by Ohsaki itself, which uses a convex cover over a non-centrally
located detector. Id. (citing Ex. 1060 ¶ 31); id. at 30–31. According to
Petitioner, Ohsaki demonstrates that even if a convex cover decreased signal
strength (which it disputes), the additional benefit of reduced slippage would
have been recognized by a skilled artisan. Id.
      Further, Petitioner responds that adding a convex cover to Aizawa’s
sensor would not decrease signal strength but, instead, “would improve
Aizawa’s signal-to-noise ratio by causing more light backscattered from
tissue to strike Aizawa’s photodetectors than would have with a flat cover”
because such a cover improves light concentration across the entire lens and
does not direct it only towards the center. Id. at 21–22 (citing, e.g., Ex. 1060
¶¶ 31–34).
      Petitioner asserts that Patent Owner and Dr. Madisetti “ignore[] the
well-known optical principle of reversibility,” by which “a ray going from P
to S will trace the same route as one from S to P” such that “rays that are not
completely absorbed by user tissue will propagate in a reversible manner.”
Pet. Reply 22 (quoting Ex. 1061, 92; citing, e.g., Ex. 1061, 87–92; Ex. 1062,
106–111; Ex. 1060 ¶ 35). When applied to Aizawa’s sensor, Petitioner
contends that any condensing benefit achieved by a convex cover would thus
direct emitted light toward Aizawa’s peripheral detectors. Id. at 23–25
(citing, e.g., Ex. 1060 ¶¶ 35–44). Petitioner explains that this principle of



                                       49
       Case: 22-1976      Document: 4       Page: 135   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

reversibility is recognized in Aizawa. Id. at 25 (citing, e.g., Ex. 1060 ¶¶ 41–
44; citing Ex. 1006 ¶ 33).
      Petitioner also asserts that Patent Owner and Dr. Madisetti overlook
the fact that light rays reflected by body tissue will be scattered and diffuse
and will approach the detectors “from various random directions and
angles.” Pet. Reply 29 (citing, e.g., Ex. 1023, 52, 86, 90; Ex. 1056, 803;
Ex. 1060 ¶¶ 46–49; Ex. 2006, 163:12–164:2). This scattered and diffuse
light, according to Petitioner, means that Ohsaki’s convex cover cannot
focus light to the center of the sensor device, as Patent Owner argues. Id. at
26. Instead, due to the random nature of this scattered light, Petitioner
asserts that a person of ordinary skill in the art would have understood that
“Ohsaki’s convex cover provides a slight refracting effect, such that light
rays that otherwise would have missed the detection area are instead directed
toward that area as they pass through the interface provided by the cover.”
Id. (citing, e.g., Ex. 1060 ¶¶ 48–49). Petitioner applies this understanding to
Aizawa, and asserts that using a cover with a convex protrusion in Aizawa
would “enable backscattered light to be detected within a circular active
detection area surrounding” a central light source. Id.
      Petitioner relies upon the following illustration of this alleged effect.
Pet. Reply 29–30 (citing Ex. 1060 ¶¶ 54–55).




                                       50
         Case: 22-1976      Document: 4     Page: 136   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1




The above illustration depicts backscattered light reflecting off user tissue
and toward a convex board from various angles. Id. at 29. According to
Petitioner, “[t]his pattern of incoming light cannot be focused by a convex
lens towards any single location,” and, instead, “light rays that otherwise
would have missed the active detection area are instead directed toward that
area as they pass through the interface provided by the convex cover.” Id. at
29–30.
      Finally, Petitioner dismisses Patent Owner’s reliance on Figure 14B of
the ’194 patent because it “is not an accurate representation of light that has
been reflected from a tissue measurement site. The light rays (1420) shown
in FIG. 14B are collimated (i.e., parallel to one another), and each light ray’s
path is perpendicular to the detecting surface.” Pet. Reply 28–29 (citing,
e.g., Ex. 1060 ¶¶ 51–53).
      Concerning Patent Owner’s fourth argument, Petitioner responds that
even if a flat surface might be less prone to scratching, that possible
disadvantage would have been weighed against the “known advantages of
applying Ohsaki’s teachings,” and would not negate a motivation to


                                       51
        Case: 22-1976     Document: 4      Page: 137     Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

combine. Id. at 32 (citing, e.g., Ex. 1060 ¶ 60). Moreover, Petitioner argues
that “by choosing a suitable material of the protrusion to be scratch-resistant,
it would have been obvious for a [person of ordinary skill in the art] to
achieve both benefits (light gathering and scratch-resistance) at once.” Id.
Patent Owner’s Sur-reply
      Concerning Patent Owner’s first and second arguments, Patent Owner
reiterates its position that Ohsaki’s purported benefits attach only to a sensor
with a rectangular convex surface that is located on the back of the wrist,
and that “even small changes in its sensor’s orientation or body location
result in ‘a tendency to slip.’” PO Sur-reply 3–14, 6.
      Concerning Patent Owner’s third argument, Patent Owner asserts that
Petitioner’s Reply improperly presents several new theories as compared
with the Petition. Id. at 16 (regarding reversibility), 19 (regarding
refraction).
      Patent Owner argues that Dr. Kenny and Petitioner have not overcome
their admissions that a convex lens directs light toward the center. Id. at 15.
Moreover, Patent Owner argues that Petitioner’s discussion of the principle
of reversibility is “irrelevant” because “Petitioner never explains how the
principle of reversibility could apply to such ‘random’ scattered and
absorbed light” as is present when light interacts with user tissue. Id. at 16–
17. The random nature of backscattered light, in Patent Owner’s view,
“hardly supports Petitioner’s argument that light will necessarily travel the
same paths regardless of whether the LEDs and detectors are reversed,” and
is irrelevant to the central issue presented here of “whether changing
Aizawa’s flat surface to a convex surface results in more light on Aizawa’s
peripherally located detectors.” Id. at 17–18.



                                      52
        Case: 22-1976     Document: 4       Page: 138   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

      Patent Owner also asserts that Petitioner mischaracterizes Patent
Owner’s position, which is not that a cover with a convex protrusion
“focuses all light to a single point” at the center of the sensor as Petitioner
characterizes it. PO Sur-reply 19. Patent Owner’s position, rather, is that
Petitioner has not shown that a person of ordinary skill in the art “would
have been motivated to change Aizawa’s flat surface to a convex surface to
improve signal strength.” Id. In Patent Owner’s view, by arguing that the
convex cover provides only a “slight refracting effect,” Petitioner
undermines its contention that providing such a cover would have improved
detection efficiency. Id. at 20.
      Moreover, Patent Owner argues that Petitioner’s theory regarding the
“slight refracting effect” of a convex protrusion is “unavailing because it
fails to consider the greater decrease in light at the detectors due to light
redirection to a more central location.” Id. at 20. According to Patent
Owner, any light redirected from the sensor’s edge could not make up for
the loss of signal strength from light redirected away from the detectors and
toward the center. Id.
      Concerning Patent Owner’s fourth argument, Patent Owner argues
that Petitioner does not dispute Patent Owner’s position that a flat cover
would be less prone to scratches and offers “no plausible advantages for its
asserted combination.” Id. at 23. Moreover, Patent Owner argues that “[t]he
risk of scratches undermines Petitioner’s argument that a [person of ordinary
skill in the art] would have been motivated to add a convex cover to ‘protect
the elements within the sensor housing.’” Id.




                                       53
       Case: 22-1976      Document: 4       Page: 139   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

Analysis
      As noted above, Petitioner provides three rationales to support its
contention that a person of ordinary skill in the art would have modified
Aizawa’s flat cover to include a protruding convex surface, such as that
taught by Ohsaki, to (1) improve adhesion between the sensor and the user’s
tissue, (2) improve detection efficiency, and (3) protect the elements within
the sensor housing. Pet. 24–25. We conclude all three rationales are
supported by the evidence, as follows.
Rationales 1 and 2
      The evidence of record persuades us that adding a convex protruding
surface, such as that taught by Ohsaki, to Aizawa’s cover would have
improved adhesion between the sensor and the user’s skin, which would
have increased the signal strength of the sensor. Ohsaki teaches as much:
      [T]he convex surface of the translucent board 8 is in intimate
      contact with the surface of the user’s skin. Thereby it is
      prevented that the detecting element 2 slips off the detecting
      position of the user’s wrist 4. If the translucent board 8 has a flat
      surface, the detected pulse wave is adversely affected by the
      movement of the user’s wrist 4 as shown in Fig. 4B. However,
      in the case that the translucent board 8 has a convex surface like
      the present embodiment, the variation of the amount of the
      reflected light which is emitted from the light emitting element 6
      and reaches the light receiving element 7 by being reflected by
      the surface of the user’s skin is suppressed. It is also prevented
      that noise such as disturbance light from the outside penetrates
      the translucent board 8. Therefore the pulse wave can be
      detected without being affected by the movement of the user’s
      wrist 4 as shown in FIG. 4A.
Ex. 1014 ¶ 25 (emphases added); see also id. ¶ 27 (“stably fixed”).
      We credit Dr. Kenny’s testimony that a person of ordinary skill in the
art would have been motivated by such teachings to apply a cover with a


                                       54
         Case: 22-1976    Document: 4       Page: 140   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

convex surface to Aizawa to improve that similar device in the same way
and to yield predictable results, i.e., to resist movement of the sensor on the
user’s wrist. See, e.g., Ex. 1003 ¶¶ 76 (“[T]his contact between the convex
surface and the user’s skin is said to prevent slippage, which increases the
strength of the signals obtainable by Ohsaki’s sensor.”), 78–79. We also
credit Dr. Kenny’s testimony that, in light of these teachings, a person of
ordinary skill in the art would have made such a modification to improve the
pulse sensor’s ability to emit light into, and detect light reflected from, the
user’s wrist, to generate an improved pulse signal. Ex. 1003 ¶¶ 76–78;
Ex. 1060 ¶¶ 13, 29.
        Indeed, Ohsaki expressly compares the performance of a wrist-worn
pulse wave sensor depending on whether translucent board 8 is convex or
flat, and concludes the convex surface results in improved performance over
the flat surface, especially when the user is moving. Ex. 1014, Figs. 4A–4B,
¶¶ 15, 25 (stating that with “a flat surface, the detected pulse wave is
adversely affected by the movement of the user’s wrist 4,” and with “a
convex surface like the present embodiment, the variation of the amount of
the reflected light” collected by the sensor “is suppressed”). Ohsaki also
states that, with a convex surface, “[i]t is also prevented that noise such as
disturbance light from the outside penetrates the translucent board 8.” Id.
¶ 25.
        We also credit Dr. Kenny’s testimony that the proposed modification
would have been within the skill level of an ordinary artisan. For example,
Dr. Kenny testifies:
              [A person of ordinary skill in the art] would have
        combined the teachings of Aizawa-Mendelson-2003 and Ohsaki
        as doing so would have amounted to nothing more than the use


                                       55
       Case: 22-1976     Document: 4        Page: 141   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

      of a known technique to improve similar devices in the same
      way. For instance, [a person of ordinary skill in the art] would
      have recognized that incorporating Ohsaki’s convex surface is
      simply improving Aizawa-Mendelson-2003’s transparent plate 6
      that has a flat surface to improve adhesion to a subject’s skin and
      reduce variation in the signals detected by the sensor.
      Furthermore, the elements of the combined system would each
      perform similar functions they had been known to perform prior
      to the combination.          That is, Aizawa-Mendelson-2003’s
      transparent plate 6 would remain in the same position,
      performing the same function, but with a convex surface as
      taught by Ohsaki.
Ex. 1003 ¶ 79. In light of Ohsaki’s express disclosure of the benefits of a
convex cover, we credit Dr. Kenny’s testimony that a person of ordinary
skill in the art would have been motivated to modify Aizawa as proposed,
and would have had a reasonable expectation of success in doing so.
      We next address Patent Owner’s first through third arguments, each of
which implicates Petitioner’s first and second asserted rationales of
improved adhesion and detection efficiency.
      Patent Owner’s first argument is premised on the notion that Ohsaki’s
benefits only can be realized with a rectangular convex surface, because
such a shape is required to avoid interacting with bones on the back of the
user’s forearm. PO Resp. 25–34. We disagree. Ohsaki does not disclose
the shape of its convex cover, much less require it be rectangular. In fact,
Ohsaki is silent as to the shape of the convex surface. Ohsaki discloses that
sensor 1 includes detecting element 2, which includes package 5 within
which the sensor components are located. Ex. 1014 ¶ 17. Ohsaki’s convex
surface is located on board 8, which is “attached to the opening of the
package 5.” Id. Ohsaki provides no further discussion regarding the shape
of board 8 or its convex protrusion.


                                       56
        Case: 22-1976     Document: 4       Page: 142   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

      We disagree with Patent Owner’s suggestion that the shape of the
convex surface can be inferred to be rectangular from Ohsaki’s Figures 1
and 2. PO Resp. 18–20. Ohsaki does not indicate that these figures are
drawn to scale, or reflect precise dimensions or shapes of the convex
surface. See, e.g., Ex. 1014 ¶ 13 (“schematic diagram”); Pet. Reply 14–15;
Hockerson-Halberstadt, Inc. v. Avia Group Int’l, 222 F.3d 951, 956 (Fed.
Cir. 2000) (“[I]t is well established that patent drawings do not define the
precise proportions of the elements and may not be relied on to show
particular sizes if the specification is completely silent on the issue.”).
      To be clear, Ohsaki describes the shape of detecting element 2 as
rectangular: “[T]he length of the detecting element from the right side to the
left side in FIG. 2 is longer than the length from the upper side to the lower
side.” Ex. 1014 ¶ 19. Ohsaki also describes that detecting element 2 is
aligned longitudinally with the user’s forearm: “[I]t is desirable that the
detecting element 2 is arranged so that its longitudinal direction agrees with
the longitudinal direction of the user’s arm,” to avoid slipping off. Id.; see
also id. ¶ 9 (“The light emitting element and the light receiving element are
arranged in the longitudinal direction of the user’s arm.”).
      In light of this disclosed rectangular shape of detecting element 2, it is
certainly possible that Ohsaki’s convex surface may be similarly shaped.
But, it may not be. Contrary to Patent Owner’s argument, Ohsaki neither
describes nor requires detecting element 2 to have the same shape as the
convex surface of board 8. Accord Pet. Reply. 13–14. We have considered
the testimony of both Dr. Kenny and Dr. Madisetti on this point. Ex. 1060
¶¶ 10, 12, 18–23; Ex. 2004 ¶¶ 36–39 (relying on Ohsaki’s Figures 1–2 to
support the opinion that the convex surface is rectangular). Dr. Madisetti’s



                                       57
       Case: 22-1976     Document: 4       Page: 143   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

reliance on the dimensions of Ohsaki’s figures is unpersuasive. Hockerson-
Halberstadt, 222 F.3d at 956. We credit Dr. Kenny’s testimony that Ohsaki
does not describe its convex surface as rectangular, because this testimony is
most consistent with Ohsaki’s disclosure.
      Further, Patent Owner suggests that the convex surface must be
rectangular, in order to avoid interacting with bones in the user’s forearm.
PO Resp. 26–28; PO Sur-reply 10 (“[A] POSITA would have understood
Ohsaki’s convex board must also have a longitudinal shape oriented up-and-
down the watch-side of the user’s wrist/forearm.”). Although Ohsaki
recognizes that interaction with these bones can cause problems, (see
Ex. 1014 ¶¶ 6, 19), we do not agree that the only way to avoid these bones is
by aligning a rectangular cover with the longitudinal direction of the user’s
forearm. For example, in the annotated Figures provided by Patent Owner,
see PO Resp. 29, we discern that the circular sensor that purports to depict
the proposed modification would also avoid the bones in the forearm if it
were slightly smaller. Patent Owner provides no persuasive explanation to
justify the dimensions it provides in this annotated figure, or to demonstrate
that such a large sensor would have been required. Indeed, we discern that it
would have been within the level of skill of an ordinary artisan to
appropriately size a modified sensor to avoid these well-known anatomical
obstacles. See, e.g., Ex. 1060 ¶ 25 (“The gap between the ulna and radius
bones at the forearm is even greater than the gap between bones at the wrist,
which is already wide enough to easily accommodate a range of sensor sizes
and shapes, including circular shapes.”). “A person of ordinary skill is also
a person of ordinary creativity, not an automaton.” KSR, 550 U.S. at 421.




                                      58
       Case: 22-1976      Document: 4      Page: 144   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

After all, an artisan must be presumed to know something about the art apart
from what the references disclose. See In re Jacoby, 309 F.2d at 516.
      Finally, we do not agree with Patent Owner’s position that Ohsaki’s
advantages apply only to rectangular convex surfaces. As discussed, Patent
Owner has not shown that Ohsaki’s convex surface is rectangular at all.
Moreover, even if Ohsaki’s convex surface is rectangular, when discussing
the benefits associated with a convex cover, Ohsaki does not limit those
benefits to a cover of any particular shape. Instead, Ohsaki explains that
“detecting element 2 is arranged on the user’s wrist 4 so that the convex
surface of the translucent board 8 is in intimate contact with the surface of
the user’s skin. Thereby it is prevented that the detecting element 2 slips off
the detecting position of the user’s wrist 4.” Ex. 1014 ¶ 25; Ex. 1060 ¶¶ 10
(“Ohsaki does not limit its benefits to a rectangular sensor applied to a
particular body location, and a [person of ordinary skill in the art] would not
have understood those benefits as being so limited.”), 12. Thus, we agree
with Petitioner that Ohsaki’s teaching of a convex surface would have
motivated a person of ordinary skill in the art to add such a surface to
Aizawa’s circular-shaped sensor, to improve adhesion as taught by Ohsaki.
Nothing in Ohsaki’s disclosure limits such a benefit to a specific shape of
the convex surface. Ex. 1060 ¶¶ 10–23.
      Moreover, Ohsaki contrasts the ability to properly receive reflected
light with a convex surface as compared to a flat surface and notes that,
      in the case that the translucent board 8 has a convex surface . . .
      the variation of the amount of the reflected light which is emitted
      from the light emitting element 6 and reaches the light receiving
      element 7 by being reflected by the surface of the user’s skin is
      suppressed. It is also prevented that noise such as disturbance
      light from the outside penetrates the translucent board 8.


                                      59
       Case: 22-1976      Document: 4       Page: 145   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

      Therefore the pulse wave can be detected without being affected
      by the movement of the user’s wrist 4 as shown in FIG. 4A.
Ex. 1014 ¶ 25; Ex. 1060 ¶¶ 12–13. Again, we agree with Petitioner that
Ohsaki’s teaching of a convex surface would have motivated a person of
ordinary skill in the art to add such a surface to Aizawa’s sensor, to improve
signal strength, as taught by Ohsaki. Again, nothing in Ohsaki’s disclosure
limits such a benefit to the shape of the convex surface.
      Accordingly, we do not agree that Ohsaki’s disclosed advantages
attach only to a rectangular convex surface, or would have been inapplicable
to the proposed combination of Aizawa and Ohsaki.
      We have considered Patent Owner’s second argument, that Ohsaki’s
benefits are realized only when the sensor and convex surface are placed on
the back of the user’s wrist, which is the opposite side of the wrist taught by
Aizawa. PO Resp. 34–46. We do not agree. As an initial matter, Petitioner
does not propose bodily incorporating the references; Petitioner simply
proposes adding a convex cover to Aizawa’s sensor, without discussing
where Aizawa’s sensor is used. See, e.g., Pet. 24–25. In other words,
Petitioner’s proposed modification does not dictate any particular placement,
whether on the palm side or back side of the wrist.
      To be sure, Ohsaki’s Figures 3A–3B compare the performance of
detecting element 2, including its translucent board 8 having a convex
protrusion, and show better performance when the element is attached to the
back side of the wrist versus the front side of the wrist, when the user is in
motion. See Ex. 1014 ¶¶ 23–24, Figs. 3A–3B. However, we do not agree
that these figures support Dr. Madisetti’s conclusion that “Ohsaki indicates a
convex surface only prevents slipping on the back (i.e., watch) side of the
wrist in a specific orientation, but tends to slip when used in different


                                       60
       Case: 22-1976     Document: 4       Page: 146   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

locations or orientations” such as the palm side of the wrist—particularly in
comparison to a flat surface such as Aizawa’s. Ex. 2004 ¶¶ 67–81. Instead,
Ohsaki acknowledges that, even when the detecting element is located “on
the front [palm] side of the user’s wrist 4, the pulse wave can be detected
well if the user is at rest.” Ex. 1014 ¶ 23 (emphasis added). Thus, Ohsaki
discloses that, in at least some circumstances, a convex surface located on
the front of the user’s wrist achieves benefits. Id. Notably, the claims are
not limited to detection during movement or exercise.
      We credit, instead, Dr. Kenny’s testimony that a person of ordinary
skill in the art would have understood from Ohsaki that a convex protrusion
will help prevent slippage, even in the context of Aizawa’s sensor. See
Ex. 1060 ¶¶ 10–11, 15–16, 24–30. Dr. Kenny acknowledges that
      certain locations present anatomical features that provide for
      easy measurement of large reflected light signals and other
      locations present anatomical features that reduce the amplitude
      of the reflected light signals. Because of this, a [person of
      ordinary skill in the art] would be motivated to search for features
      from other references that can provide improved adhesion,
      improved light gathering, reduced leakage of light from external
      sources, and protection of the elements within the system in order
      to successfully detect a pulse wave signal from many locations.
Id. ¶ 16. We credit Dr. Kenny’s testimony that, in light of Ohsaki’s teaching
of a convex protrusion in “intimate contact with the surface of the user’s
skin,” a skilled artisan would have understood that such a surface “would
have increased adhesion and reduced slippage of Aizawa’s sensor when
placed on either side of a user’s wrist or forearm, and additionally would
have provided associated improvements in signal quality.” Id. ¶ 29.
      Dr. Madisetti testifies that “[b]ased on Aizawa’s teaching that a flat
acrylic plate improves adhesion on the palm side of the wrist, and Ohsaki’s


                                      61
        Case: 22-1976      Document: 4        Page: 147   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

teaching that a convex surface tends to slip on the palm side of the wrist, a
[person of ordinary skill in the art] would have come to the opposite
conclusion from Dr. Kenny: that modifying Aizawa’s flat adhesive plate ‘to
include a lens/protrusion . . . similar to Ohsaki’s translucent board’ would
not ‘improve adhesion.’” Ex. 2004 ¶ 85. We disagree with this reading of
Aizawa. It is true that Aizawa’s plate 6 is illustrated as having a flat surface
(Ex. 1006, Fig. 1(b)), and that Aizawa states the plate “improve[s] adhesion”
(id. ¶ 13). Aizawa further states: “the above belt 7 is fastened such that the
acrylic transparent plate 6 becomes close to the artery 11 of the wrist 10,”
and “[t]hereby, adhesion between the wrist 10 and the pulse rate detector 1 is
improved.” Id. ¶ 26. These disclosures, however, indicate the improved
adhesion is provided by the acrylic material of plate 6, not the shape of the
surface of the plate, which is never specifically addressed. Id. ¶¶ 30, 34
(“Since the acrylic transparent plate 6 is provided . . . adhesion between the
pulse rate detector 1 and the wrist 10 can be improved . . . .”). Aizawa does
not associate this benefit of improved adhesion with the surface shape of the
plate, but rather, with the existence of an acrylic plate to begin with. Thus,
there is no teaching away from using a convex surface to improve the
adhesion of Aizawa’s detector to the user’s wrist.
       We have considered Patent Owner’s third argument that a convex
cover would condense light away from Aizawa’s peripheral detectors, which
Patent Owner alleges would decrease signal strength. PO Resp. 46–54. We
disagree.
       There appears to be no dispute that when emitted light passes through
user tissue, the light diffuses and scatters as it travels. See, e.g., Pet.
Reply 25 (“[R]eflectance-type sensors work by detecting light that has been



                                         62
         Case: 22-1976    Document: 4       Page: 148   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

‘partially reflected, transmitted, absorbed, and scattered by the skin and
other tissues and the blood before it reaches the detector.’ A [person of
ordinary skill in the art] would have understood that light that backscatters
from the measurement site after diffusing through tissue reaches the active
detection area from various random directions and angles.”) (quoting
Ex. 1023, 86); PO Sur-reply 16–17 (“Even Petitioner admits, however, that
tissue randomly scatters and absorbs light rays, which would cause forward
and reverse light paths to be unpredictable and very likely different.”).
        The light thus travels at random angles and directions, and no longer
travels in a collimated and perpendicular manner. Exhibit 1061,7
Figure 4.12, illustrates the difference between diffuse and collimated light,
and is reproduced below:




This figure provides at left a photograph and an illustration showing
incoming collimated light reflecting from a smooth surface, and at right a
photograph and an illustration of incoming collimated light reflecting from a

7
    Eugene Hecht, Optics (2nd ed. 1990).

                                       63
       Case: 22-1976      Document: 4      Page: 149   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

rough surface. See Ex. 1061, 87–88 (original page numbers). The smooth
surface provides specular reflection, in which the reflected light rays are
collimated like the incoming light rays. See id. The rough surface provides
diffuse reflection, in which the reflected light rays travel in random
directions. See id.; see also Ex. 1060 ¶¶ 38–39 (discussing Ex. 1061,
Figure 4.12), 46 (“A [person of ordinary skill in the art] would have
understood that light that backscatters from the measurement site (after
diffusing through tissue) reaches the active detection area from many
random directions and angles.”).
      Dr. Kenny testifies that Aizawa’s sensor “detect[s] light that has been
‘partially reflected, transmitted, absorbed, and scattered by the skin and
other tissues and the blood before it reaches the detector.’” Ex. 1060 ¶ 53
(quoting Ex. 1023, 86). Dr. Kenny further opines that a convex cover, when
added to Aizawa’s sensor with multiple detectors symmetrically arranged
about a central light source, “allows light rays that otherwise would have
missed the detection area to instead be directed toward that area as they pass
through the interface provided by the cover,” thus increasing the light-
gathering ability of Aizawa’s sensor. Id. ¶ 49.
      By contrast Dr. Madisetti testifies that “a convex ‘lens/protrusion’
would direct light away from the detectors and thus result in decreased light
collection and optical signal strength at the peripheral detectors” because it
condenses light towards the center of the sensor and away from the
peripheral detectors. Ex. 2004 ¶¶ 86–87, 90. We have considered this
testimony, however, Dr. Madisetti’s opinions largely are premised upon the
behavior of collimated and perpendicular light as depicted in Figure 14B of
the challenged patent. See id. ¶ 89. Dr. Madisetti does not explain how light



                                      64
       Case: 22-1976      Document: 4      Page: 150   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

would behave when approaching the sensor from various angles, as it would
after being reflected by tissue. Id. ¶¶ 87–90; see also id. ¶¶ 91–97
(addressing motivation and also failing to discuss diffuse, scattered light). In
other words, even if Patent Owner is correct that the ’194 patent’s
Figure 14B depicts light condensing toward the center, this is not dispositive
to the proposed modification, because light reflected by a user’s tissue is
scattered and random, and is not collimated and perpendicular as shown in
Figure 14B. Ex. 1001, Fig. 14B.
      Patent Owner and Dr. Madisetti argue that “Petitioner and Dr. Kenny
both [previously admitted] that a convex cover condenses light towards the
center of the sensor and away from the periphery,” in a different petition
filed against a related patent, i.e., in IPR2020-01520. PO Resp. 47–48;
Ex. 2004 ¶ 87. The cited portions of the Petition and Dr. Kenny’s
declaration from IPR2020-01520 discuss a decrease in the “mean path
length” of a ray of light when it travels through a convex lens rather than
through a flat surface. See, e.g., Ex. 2020 ¶¶ 118–120. We do not agree that
this discussion is inconsistent with Dr. Kenny’s testimony here that, where
light is reflected to the detectors at various random angles and directions,
more light will reach Aizawa’s symmetrically disposed detectors when
travelling through the convex surface than would be reached without such a
surface, because light that might have otherwise missed the detectors now
will be captured. See, e.g., Ex. 1060 ¶¶ 31 (“[A] cover featuring a convex
protrusion would improve Aizawa’s signal-to- noise ratio by causing more
light backscattered from tissue to strike Aizawa’s photodetectors than would
have with a flat cover.”), 34 (“improves ‘light concentration at pretty much
all of the locations under the curvature of the lens”), 46 (“A [person of



                                      65
         Case: 22-1976    Document: 4      Page: 151   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

ordinary skill in the art] would have understood that light which backscatters
from the measurement site after diffusing through tissue reaches the active
detection area from various random directions and angles.”), 49 (“[L]ight
rays that may have otherwise missed the detection area are instead directed
toward that area as they pass through the interface provided by the cover.”);
see generally id. ¶¶ 31–59. We do not discern that the convergence of a
single ray of light toward the center, as discussed in IPR2020-01520, speaks
to the aggregate effect on all light that travels through the convex surface.
        We additionally do not agree with Patent Owner’s argument that
Petitioner’s Reply presents new theories that should have been first
presented in the Petition, to afford Patent Owner an adequate opportunity to
respond. The Petition proposed a specific modification of Aizawa to include
a convex protrusion in the cover, for the purpose of, inter alia, increasing the
light gathering ability of Aizawa’s device. See Pet. 24–25. Patent Owner’s
Response then challenged that contention, with several arguments that
Petitioner’s proposed convex protrusion would not operate in the way the
Petition alleges it would operate. See PO Resp. 46–54. This opened the
door for Petitioner to provide, in the Reply, arguments and evidence
attempting to rebut the contentions in the Patent Owner Response. See
PTAB Consolidated Trial Practice Guide (Nov. 2019) (“Consolidated
Guide”),8 73 (“A party also may submit rebuttal evidence in support of its
reply.”). This is what Petitioner did here. The Reply does not change
Petitioner’s theory for obviousness; rather, the Reply presents more
argument and evidence in support of the same theory for obviousness
presented in the Petition. Compare Pet. 22–28, with Reply 20–31.


8
    Available at https://www.uspto.gov/TrialPracticeGuideConsolidated.

                                      66
       Case: 22-1976      Document: 4         Page: 152   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

Rationale 3
      Petitioner further contends that a person of ordinary skill in the art
would have recognized that a cover with a protruding convex surface, such
as that taught by Ohsaki, would “protect the elements within the sensor
housing” of Aizawa. Pet. 24–25. We are persuaded that adding a convex
cover, such as that taught by Ohsaki, would also protect the sensor’s internal
components in a manner similar to Aizawa’s flat acrylic plate. Ex. 1003
¶ 105; Ex. 1060 ¶ 60; see also Ex. 1008 ¶ 15 (noting that a cover “protect[s]
the LED or PD”).
      We disagree with Patent Owner’s fourth argument that a person of
ordinary skill in the art would not have modified Aizawa as proposed
because a convex cover would be prone to scratches and because other
alternatives existed. Patent Owner does not explain how the potential
presence of scratches on a convex cover would preclude that cover’s ability
to, nonetheless, protect the internal sensor components in Aizawa, as
Petitioner proposes. That a convex cover may be more prone to scratches
than Aizawa’s flat cover is one of numerous tradeoffs that a person of
ordinary skill in the art would consider in determining whether the benefits
of increased adhesion, signal strength, and protection outweigh the potential
for a scratched cover. Medichem, S.A. v. Rolabo, S.L., 437 F.3d 1157, 1165
(Fed. Cir. 2006). Moreover, as Petitioner notes, and Patent Owner does not
dispute, a scratch resistant material could be employed in fabricating the
cover. Pet. Reply 32; PO Sur-reply 23. The record does not support the
premise that the possibility of scratches alone would have dissuaded a
person of ordinary skill in the art from the proposed modification, to achieve
the benefits identified by Petitioner.



                                         67
       Case: 22-1976       Document: 4     Page: 153   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

      For the foregoing reasons, we are persuaded by Petitioner’s
contentions.

                 ix.   “[m] a handheld computing device in wireless
                       communication with the physiological sensor device,
                       wherein the handheld computing device comprises”

Petitioner’s Contentions
      Petitioner contends Aizawa teaches a sensor device that uploads data
to an external display, but notes that Aizawa “is silent about how such data
transmission would be implemented.” Pet. 28 (citing Ex. 1006 ¶¶ 15, 23, 35;
Ex. 1003 ¶ 84). Petitioner contends that Mendelson-2006 teaches that a
body-worn sensor wirelessly communicates data to a body-worn receiver
module, and the receiver module then wirelessly communicates data to a
handheld PDA. Id. at 14, 28–29, 47.9 Petitioner additionally contends that a
person of ordinary skill in the art would have “found it obvious and
straightforward to further modify Aizawa-Mendelson-2003-Ohsaki in view
of Mendelson-2006 to yield a pulse detector that can transmit data to an
external device—i.e., handheld computing device—for monitoring” and “to
enable a convenient and user-friendly interface with Aizawa’s detector
(which does not include a separate display/interface) and the ability to

9
  At pages 47–48, the Petitioner refers to “Mendelson-2003” when
discussing the receiver module and PDA. See, e.g., Pet. 47 (contending that
the modified system “includes Aizawa’s wrist-worn sensor device that is in
communication with Mendelson-2003’s body-worn receiver module (below
left) and PDA (below right)”). The cited disclosures, however, appear in
Mendelson-2006, as Petitioner’s citations confirm. Id. at 47–48 (citing
Ex. 1016). Therefore, it appears these references to “Mendelson-2003” are
inadvertent typographical errors, and that “Mendelson-2006” was intended.
See also id. at 28–29 (referring to Mendelson-2006’s receiver module and
PDA).


                                      68
        Case: 22-1976    Document: 4      Page: 154   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

remotely monitor the user’s physiological parameters.” Pet. 28–29; see, e.g.,
Ex. 1003 ¶¶ 85–86.
Patent Owner’s Arguments
       Patent Owner does not dispute Petitioner’s contentions regarding the
proposed combination with Mendelson-2006 to address this limitation.
Patent Owner does argue, however, that “Mendelson 2006 confirms that
Petitioner’s arguments regarding Mendelson 2003’s two-ring detector
arrangement are meritless.” PO Resp. 67. According to Patent Owner,
Mendelson-2006 confirms that a skilled artisan would have used a single
annular photodetector to reduce power consumption. Id. (citing Ex. 1016, 1,
4, Fig. 2).
Analysis
       We are persuaded by Petitioner’s undisputed contentions regarding
this limitation. We agree that Mendelson-2006 teaches wireless
communication between a sensor and a handheld computing device, i.e., a
PDA. See, e.g., Ex. 1016, 1–2 (describing system), Fig. 1 (sensor attached
to skin), Fig. 3 (PDA). We are persuaded that Petitioner’s stated reasoning
for the proposed modification is sufficiently supported, including by the
unrebutted testimony of Dr. Kenny, who opines that such a modification
would enable a convenient and user-friendly interface with Aizawa’s sensor.
Ex. 1003 ¶ 86; id. ¶¶ 84–86, 109–111.
       We also have considered Patent Owner’s argument as it relates to
limitations [c–e] and [g–i], but we do not agree. As noted above, Petitioner
provides persuasive evidence demonstrating that the proposed combination
would have realized power savings. See, e.g., Ex. 1024, 3019, Table 1.




                                     69
       Case: 22-1976     Document: 4       Page: 155   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

                  x.   “[n] one or more processors configured to wirelessly
                       receive one or more signals from the physiological
                       sensor device, the one or more signals responsive to
                       at least a physiological parameter of the user”

      The cited evidence supports Petitioner’s undisputed contention that, in
the proposed combination, Mendelson-2006’s receiver includes a
microcontroller (processor) that wirelessly receives signals from Aizawa’s
sensor and transmits them to the PDA. Pet. 50; see, e.g., Ex. 1016, 1, 2
(“The information acquired by the Sensor Module is transmitted wirelessly
via an RF link over a short range to a body-worn Receiver Module. The
data processed by the Receiver Module can be transmitted wirelessly to a
PDA.”), 3 (explaining that the PDA “has sufficient computational resources
for the intended application” and “can also serve to temporarily store vital
medical information received from the wearable unit”), Fig. 3 (displaying
SpO2 and HR data); Ex. 1003 ¶¶ 112–113.

                 xi.   “[o] a touch-screen display configured to provide a
                       user interface, wherein: [p] the user interface is
                       configured to display indicia responsive to
                       measurements of the physiological parameter, and [q]
                       an orientation of the user interface is configurable
                       responsive to a user input”

      The cited evidence supports Petitioner’s undisputed contention that, in
the proposed combination, Mendelson-2006 describes a PDA with a
touchscreen display configured to display indicia responsive to
measurements of, e.g., SpO2 and HR. Pet. 51–52; see, e.g., Ex. 1016, 3
(“The use of a PDA . . . also provides a low-cost touch screen interface.”),
Fig. 3 (displaying SpO2 and HR data).




                                      70
       Case: 22-1976     Document: 4       Page: 156   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

      Petitioner acknowledges that “Mendelson-2006 does not explicitly
state that an orientation of the GUI provided by the PDA is configurable
responsive to a user input.” Pet. 52. However, Petitioner contends that a
person of ordinary skill in the art would have understood that the
“‘LabVIEW program’ . . . [and] the ‘Windows CE™’ operating system”
would have “enabled users to dynamically switch the screen orientation
between portrait and landscape modes.” Id. at 53; see, e.g., Ex. 1003
¶¶ 116–118.
      Petitioner further contends that, in light of these teachings, a person of
ordinary skill in the art “would have found it obvious to make an orientation
of the PDA’s user interface configurable responsive to a user input, for the
sake of user convenience.” Pet. 53; see, e.g., Ex. 1003 ¶ 118. Petitioner’s
stated reasoning for the proposed modification is sufficiently supported,
including by the unrebutted testimony of Dr. Kenny, who testifies as to the
convenience of the combination. See, e.g., Ex. 1003 ¶¶ 114–118.

                xii.   “[r] a storage device configured to at least
                       temporarily store at least the measurements of the
                       physiological parameter.”

      The cited evidence supports Petitioner’s undisputed contention that, in
the proposed combination, Mendelson-2006 teaches that the PDA is
configured to store vital medical information received from the wearable
pulse oximeter, and that an ordinarily skilled artisan “would have understood
that the vital medical information would have included measurements of the
physiological parameters obtained by the physiological sensor device
(e.g., HR).” Pet. 54; Ex. 1016, 3 (“The PDA can also serve to temporarily
store vital medical information received from the wearable unit.”); Ex. 1003



                                      71
       Case: 22-1976      Document: 4      Page: 157   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

¶ 120. Thus, Petitioner contends that a person of ordinary skill in the art
“would have configured a storage device of the PDA to at least temporarily
store measurements of physiological parameters (e.g., HR).” Pet. 53; see,
e.g., Ex. 1003 ¶¶ 119–120.

                xiii.   Summary

      For the foregoing reasons, we determine that Petitioner has met its
burden of demonstrating by a preponderance of the evidence that claim 1
would have been obvious over the cited combination of references.

                         6. Dependent Claims 2–18

      Petitioner contends that claims 2–18 would have been obvious based
on the same combination of prior art addressed above. These challenged
claims all depend directly or indirectly from independent claim 1.

                   i.   Dependent Claims 2–12, 14–16, 18

      Petitioner identifies teachings in the prior art references that teach or
suggest the limitations of these claims, and provides persuasive reasoning as
to why the claimed subject matter would have been obvious to one of
ordinary skill in the art. Pet. 54–70, 72–75. Petitioner also supports its
contentions for these claims with the testimony of Dr. Kenny. Ex. 1003
¶¶ 121–146, 150–152, 154.
      Patent Owner does not present any arguments for these claims other
than those we have already considered with respect to independent claim 1.
PO Resp. 68 (“[T]he Petition fails to establish that independent claims 1, 20,
and 30 are obvious in view of the cited references of Ground 1 and therefore




                                      72
       Case: 22-1976      Document: 4      Page: 158   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

fails to establish obviousness of any of the challenged dependent claims.”);
see supra § II.D.5.
      We have considered the evidence and arguments of record and
determine that Petitioner has demonstrated by a preponderance of the
evidence that claims 2–12, 14–16, 18 would have been obvious over the
combined teachings of the cited references and as supported by the
testimony of Dr. Kenny.

                 ii.   Dependent Claims 13 and 17

      Dependent claim 13 ultimately depends from independent claim 1 and
further recites “the protruding convex surface protrudes a height between 1
millimeter and 3 millimeters.” Ex. 1001, 46:49–51.
      Dependent claim 17 ultimately depends from independent claim 1 and
further recites “the protruding convex surface protrudes a height greater than
2 millimeters and less than 3 millimeters.” Id. at 47:1–3.
      Petitioner contends that the sensor rendered obvious by the combined
teachings of Aizawa, Mendelson-2003, Ohsaki, and Mendelson-2006 would
have included a cover with a protruding convex surface. See supra
§ II.D.5.viii. With respect to claim 13, Petitioner contends that a person of
ordinary skill in the art “would have found it obvious that a device designed
to fit on a user’s wrist would be on the order of millimeters,” consistent with
Ohsaki’s disclosure that the device is in “intimate contact” with the user’s
skin. Pet. 70–71 (citing, e.g., Ex. 1003 ¶¶ 148–149). Petitioner also
contends that an ordinarily skilled artisan would have taken user comfort
into account when establishing the dimensions of the device’s convex cover.
Id. With these considerations in mind, Petitioner contends that, “in order to
provide a comfortable cover that prevents slippage, the convex surface


                                      73
         Case: 22-1976     Document: 4       Page: 159    Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

should protrude a height between 1 millimeter and 3 millimeters,” because
“there would have been a finite range of possible protruding heights, and it
would have been obvious to select a protruding height that would have been
comfortable to the user.” Id. (citing, e.g., Ex. 1003 ¶ 149). With respect to
claim 17, Petitioner incorporates its contentions regarding claim 13. Pet. 75;
Ex. 1003 ¶ 153.
       Patent Owner argues that none of the cited references discloses the
claimed height range and that Petitioner relies on hindsight reconstruction.
PO Resp. 59 (citing, e.g., Ex. 2004 ¶¶ 121–125). Patent Owner also
characterizes Dr. Kenny’s testimony as conclusory and unsupported. Id. at
71–72.
       Petitioner is correct that, “[w]hen there are a finite number of
identified, predictable solutions, a person of ordinary skill in the art has good
reason to pursue the known options within his or her technical grasp. If this
leads to the anticipated success, it is likely the product . . . of ordinary skill
and common sense.” KSR, 550 U.S. at 398. Petitioner has shown
sufficiently that only a finite number of solutions existed with respect to the
height of a convex protrusion on a tissue-facing sensor, which would have
met the art-recognized goals of both (1) intimate contact between the
sensor’s surface and the user and (2) user comfort. See, e.g., Ex. 1014 ¶¶ 6,
25. Bearing in mind these considerations, we credit Dr. Kenny’s testimony
that it would have been obvious, “in order to provide a comfortable cover
featuring a protruding convex surface that prevents slippage, [that] the
surface should protrude a height between 1 millimeter and 3 millimeters,” as
recited in claim 13, and which further includes the claimed range of 2 to 3
millimeters as recited in claim 17. Ex. 1003 ¶ 149. Further, the record does



                                        74
       Case: 22-1976      Document: 4       Page: 160    Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

not support that any new and unexpected results were achieved at the
claimed height greater than 2 millimeters and less than 3 millimeters. See,
e.g., Ex. 1001, 23:43–50 (“The height 430 can be from about 0.5 millimeters
to about 3 millimeters, e.g., about 2 millimeters. In an embodiment, the
dimensions 400, 410, and 430 can be selected such that the measurement site
contact area 470 includes an area of about 80 square millimeters, although
larger and smaller areas can be used for different sized tissue for an adult, an
adolescent, or infant, or for other considerations.”).
      We have considered Patent Owner’s argument, and Dr. Madisetti’s
cited testimony. However, it is not dispositive that none of the cited
references teaches the claimed range. PO Resp. 69; Ex. 2004 ¶ 121.
Petitioner relies upon the knowledge, ability, and creativity of a person of
ordinary skill in the art, not the teachings of a specific reference. Notably,
Dr. Madisetti does not dispute Dr. Kenny’s position that there were a finite
number of options available for the height of the convex surface. Ex. 2004
¶¶ 121–125. Therefore, we do not agree that Petitioner’s contentions are
rooted in impermissible hindsight. See, e.g., In re McLaughlin, 443 F.2d
1392, 1395 (CCPA 1971) (“Any judgment on obviousness is in a sense
necessarily a reconstruction based upon hindsight reasoning, but so long as it
takes into account only knowledge which was within the level of ordinary
skill at the time the claimed invention was made and does not include
knowledge gleaned only from applicant’s disclosure, such a reconstruction is
proper.”).
      Accordingly, for the foregoing reasons, we determine that Petitioner
has met its burden of demonstrating by a preponderance of the evidence that




                                       75
       Case: 22-1976     Document: 4       Page: 161   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

claims 13 and 17 would have been obvious over the cited combination of
references.

                          7. Claims 20 and 22–30

      Independent claim 20 consists of limitations that are substantially
similar to elements [a]–[j] and [l]–[m] of claim 1. Compare Ex. 1001, 45:2–
49, with id. at 47:9–36. In asserting that claim 20 would have been obvious
over the combined teachings of Aizawa, Mendelson-2003, Ohsaki, and
Mendelson-2006, Petitioner refers to the contentions made regarding
claim 1. See Pet. 75–76; Ex. 1003 ¶¶ 155–161.
      Dependent claims 22–29 all depend directly or indirectly from
independent claim 20. Petitioner identifies teachings in the prior art
references that teach or suggest the limitations of these claims, and provides
persuasive reasoning as to why the claimed subject matter would have been
obvious to one of ordinary skill in the art. Pet. 76–79. Petitioner also
supports its contentions for these claims with the testimony of Dr. Kenny.
Ex. 1003 ¶¶ 162–181.
      Independent claim 30 includes limitations similar to limitations [a]–[r]
of claim 1, and also includes additional recitations. Id. at 48:38–50:21
(reciting also a “substrate” and certain “preprocessing electronics”). In
asserting that claim 30 would have been obvious over the combined
teachings of Aizawa, Mendelson-2003, Ohsaki, and Mendelson-2006,
Petitioner refers to the contentions made regarding claim 1, as well as claims
depending therefrom. See Pet. 79–82; Ex. 1003 ¶¶ 182–208.
      Patent Owner does not present any argument for these claims other
than those we have already considered with respect to independent claim 1
and dependent claims 13 and 18. PO Resp. 12–72.


                                      76
       Case: 22-1976      Document: 4      Page: 162   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

      For the same reasons discussed above, we determine that Petitioner
has met its burden of demonstrating by a preponderance of the evidence that
claims 20 and 22–30 would have been obvious over the cited combination of
references. See supra II.D.5–6; Ex. 1003 ¶¶ 155–208.

                                8. Summary

      For the foregoing reasons, we determine that Petitioner has met its
burden of demonstrating by a preponderance of the evidence that claims 1–
18, 20, and 22–30 would have been obvious over the cited combination of
references.

             E. Obviousness over the Combined Teachings of
         Aizawa, Mendelson-2003, Ohsaki, Mendelson-2006, and Beyer

      Petitioner contends that claims 19 and 21 of the ’194 patent would
have been obvious over the combined teachings of Aizawa, Mendelson-
2003, Ohsaki, Mendelson-2006, and Beyer. Pet. 82–85.

                       1. Overview of Beyer (Ex. 1019)

      Beyer is a U.S. patent titled “Cellular Phone/PDA Communication
System,” and discloses a “cellular PDA communication system for allowing
a plurality of cellular phone users to monitor each others’ location and
status[ and] to initiate cellular phone calls.” Ex. 1019, code (57). Beyer’s
Figure 1 is reproduced below.




                                      77
       Case: 22-1976      Document: 4       Page: 163   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1




Figure 1 depicts a “cellular phone/PDA and display.” Id. at 7:8–9.

                                  2. Analysis

      Claims 19 and 21 depend directly from independent claims 1 and 20,
respectively, and recite that “the handheld computing device comprises a
mobile phone.” Ex. 1001, 47:6–8, 47:37–39.
      Petitioner contends that claims 19 and 21 would have been obvious
over the combined teachings of Aizawa, Mendelson-2003, Ohsaki,
Mendelson-2006, and Beyer. Pet. 82–85. Petitioner identifies teachings in
the prior art references that teach or suggest the limitations of this claim, and
provides persuasive reasoning as to why the claimed subject matter would
have been obvious to one of ordinary skill in the art. Pet. 82–85; Ex. 1019,
1:6–15, Fig. 1. Petitioner also supports its contentions for this claim with
the testimony of Dr. Kenny. Ex. 1003 ¶¶ 209–212.
      Patent Owner does not present any argument for these claims other
than those we have already considered with respect to independent claim 1.




                                       78
       Case: 22-1976     Document: 4      Page: 164   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

PO Resp. 72 (“Ground 2 does not fix the deficiencies in Ground 1.”); see
supra § II.D.
      We have considered the evidence and arguments of record, including
those directed to claim 1 and addressed above, and we determine that
Petitioner has demonstrated by a preponderance of the evidence that claims
19 and 21 would have been obvious over the combined teachings of Aizawa,
Mendelson-2003, Ohsaki, Mendelson-2006, and Beyer for the reasons
discussed in the Petition and as supported by the testimony of Dr. Kenny.
See, e.g., Pet. 82–85; Ex. 1019, 1:6–15, Fig. 1; Ex. 1003 ¶¶ 209–212.




                                     79
          Case: 22-1976    Document: 4     Page: 165   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

                              III. CONCLUSION

       In summary:10
     Claims      35 U.S.C. § Reference(s)/       Claims      Claims Not
                                Basis            Shown         Shown
                                               Unpatentable Unpatentable
                              Aizawa,
                              Mendelson-
 1–18, 20,                                  1–18, 20, 22–
                     103      2003, Ohsaki,
 22–30                                      30
                              Mendelson-
                              2006
                              Aizawa,
                              Mendelson-
 19, 21              103      2003, Ohsaki, 19, 21
                              Mendelson-
                              2006, Beyer
 Overall                                    1–30
 Outcome


                                 IV. ORDER

       Upon consideration of the record before us, it is:
       ORDERED that claims 1–30 of the ’194 patent have been shown to be
unpatentable; and




10
  Should Patent Owner wish to pursue amendment of the challenged claims
in a reissue or reexamination proceeding subsequent to the issuance of this
decision, we draw Patent Owner’s attention to the April 2019 Notice
Regarding Options for Amendments by Patent Owner Through Reissue or
Reexamination During a Pending AIA Trial Proceeding. See 84 Fed. Reg.
16654 (Apr. 22, 2019). If Patent Owner chooses to file a reissue application
or a request for reexamination of the challenged patent, we remind Patent
Owner of its continuing obligation to notify the Board of any such related
matters in updated mandatory notices. See 37 C.F.R. § 42.8(a)(3), (b)(2).


                                      80
       Case: 22-1976     Document: 4      Page: 166   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

      FURTHER ORDERED that, because this is a final written decision,
parties to the proceeding seeking judicial review of the decision must
comply with the notice and service requirements of 37 C.F.R. § 90.2.




                                     81
      Case: 22-1976    Document: 4    Page: 167   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

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                                 82
      Case: 22-1976   Document: 4        Page: 168   Filed: 08/09/2022
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571-272-7822                                         Entered: April 28, 2022


       UNITED STATES PATENT AND TRADEMARK OFFICE


        BEFORE THE PATENT TRIAL AND APPEAL BOARD


                            APPLE INC.,
                             Petitioner,

                                    v.

                      MASIMO CORPORATION,
                           Patent Owner.


                            IPR2020-01733
                         Patent 10,702,195 B1



Before JOSIAH C. COCKS, ROBERT L. KINDER, and
AMANDA F. WIEKER, Administrative Patent Judges.

WIEKER, Administrative Patent Judge.


                             JUDGMENT
                        Final Written Decision
            Determining All Challenged Claims Unpatentable
                          35 U.S.C. § 318(a)
       Case: 22-1976     Document: 4       Page: 169   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

                            I.   INTRODUCTION

                                 A. Background

      Apple Inc. (“Petitioner”) filed a Petition requesting an inter partes
review of claims 1–17 (“challenged claims”) of U.S. Patent No. 10,702,195
B1 (Ex. 1001, “the ’195 patent”). Paper 2 (“Pet.”). Masimo Corporation
(“Patent Owner”) waived filing a preliminary response. Paper 6 (“PO
Waiver”). We instituted an inter partes review of all challenged claims 1–
17 on all grounds of unpatentability, pursuant to 35 U.S.C. § 314. Paper 7
(“Inst. Dec.”).
      After institution, Patent Owner filed a Response (Paper 15, “PO
Resp.”) to the Petition, Petitioner filed a Reply (Paper 19, “Pet. Reply”), and
Patent Owner filed a Sur-reply (Paper 22, “PO Sur-reply”). An oral hearing
was held on February 9, 2022, and a transcript of the hearing is included in
the record. Paper 32 (“Tr.”).
      We issue this Final Written Decision pursuant to 35 U.S.C. § 318(a)
and 37 C.F.R. § 42.73. For the reasons set forth below, Petitioner has met
its burden of showing, by a preponderance of the evidence, that challenged
claims 1–17 of the ’195 patent are unpatentable.

                             B. Related Matters

      The parties identify the following matters related to the ’195 patent:
      Masimo Corporation v. Apple Inc., Civil Action No. 8:20-cv-00048
(C.D. Cal.);
      Apple Inc. v. Masimo Corporation, IPR2020-01520 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,258,265 B1);




                                       2
       Case: 22-1976    Document: 4       Page: 170   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

      Apple Inc. v. Masimo Corporation, IPR2020-01521 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,292,628 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01523 (PTAB Sept. 9,
2020) (challenging claims of U.S. Patent No. 8,457,703 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01524 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,433,776 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01526 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 6,771,994 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01536 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,588,553 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01537 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,588,553 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01538 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,588,554 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01539 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,588,554 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01713 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,624,564 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01714 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,631,765 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01715 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,631,765 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01716 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,702,194 B1);




                                      3
        Case: 22-1976     Document: 4       Page: 171   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

      Apple Inc. v. Masimo Corporation, IPR2020-01722 (PTAB Oct. 2,
2020) (challenging claims of U.S. Patent No. 10,470,695 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01723 (PTAB Oct. 2,
2020) (challenging claims of U.S. Patent No. 10,470,695 B2); and
      Apple Inc. v. Masimo Corporation, IPR2020-01737 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,709,366 B1).
Pet. 95–96; Paper 3, 3–4.
      Patent Owner further identifies the following pending patent
applications, among other issued and abandoned applications, that claim
priority to, or share a priority claim with, the ’195 patent:
      U.S. Patent Application No. 16/834,538;
      U.S. Patent Application No. 16/449,143; and
      U.S. Patent Application No. 16/805,605.
Paper 3, 1–2.

                              C. The ’195 Patent

      The ’195 patent is titled “Multi-Stream Data Collection System for
Noninvasive Measurement of Blood Constituents,” and issued on July 7,
2020, from U.S. Patent Application No. 16/834,467, filed March 30, 2020.
Ex. 1001, codes (21), (22), (45), (54). The ’195 patent claims priority
through a series of continuation and continuation-in-part applications to
Provisional Application Nos. 61/078,228 and 61/078,207, both filed July 3,
2008. Id. at codes (60), (63).
      The ’195 patent discloses a two-part data collection system including
a noninvasive sensor that communicates with a patient monitor. Id. at 2:49–
51. The sensor includes a sensor housing, an optical source, and several
photodetectors, and is used to measure a blood constituent or analyte, e.g.,


                                        4
       Case: 22-1976     Document: 4       Page: 172   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

oxygen or glucose. Id. at 2:40–46, 3:8–9. The patient monitor includes a
display and a network interface for communicating with a handheld
computing device. Id. at 2:56–59.
      Figure 1 of the ’195 patent is reproduced below.




Figure 1 illustrates a block diagram of data collection system 100 including
sensor 101 and monitor 109. Id. at 11:56–67. Sensor 101 includes optical
emitter 104 and detectors 106. Id. at 12:1–5. Emitters 104 emit light that is
attenuated or reflected by the patient’s tissue at measurement site 102. Id. at
14:11–16. Detectors 106 capture and measure the light attenuated or
reflected from the tissue. Id. In response to the measured light,
detectors 106 output detector signals 107 to monitor 109 through front-end
interface 108. Id. at 14:16–19, 36–42. Sensor 101 also may include tissue
shaper 105, which may be in the form of a convex surface that: (1) reduces




                                       5
       Case: 22-1976     Document: 4       Page: 173   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

the thickness of the patient’s measurement site; and (2) provides more
surface area from which light can be detected. Id. at 11:7–23.
      Monitor 109 includes signal processor 110 and user interface 112. Id.
at 15:27–29. “[S]ignal processor 110 includes processing logic that
determines measurements for desired analytes . . . based on the signals
received from the detectors.” Id. at 15:32–35. User interface 112 presents
the measurements to a user on a display, e.g., a touch-screen display. Id. at
15:57–67. The monitor may be connected to storage device 114 and
network interface 116. Id. at 16:4–22.
      The ’195 patent describes various examples of sensor devices.
Figures 14D and 14F, reproduced below, illustrate detector portions of
sensor devices.




Figure 14D illustrates portions of a detector submount and Figure 14F
illustrates portions of a detector shell. Id. at 6:54–57. As shown in
Figure 14D, multiple detectors 1410c are located within housing 1430 and
under transparent cover 1432, on which protrusion 605b (or partially
cylindrical protrusion 605) is disposed. Id. at 35:51–54, 36:45–52.

                                       6
       Case: 22-1976     Document: 4        Page: 174   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

Figure 14F illustrates a detector shell 306f including detectors 1410c on
substrate 1400c. Id. at 37:25–33. Substrate 1400c is enclosed by shielding
enclosure 1490 and noise shield 1403, which include window 1492a and
window 1492b, respectively, placed above detectors 1410c. Id.
Alternatively, cylindrical housing 1430 may be disposed under noise
shield 1403 and may enclose detectors 1410c. Id. at 37:63–65.
      Figures 4A and 4B, reproduced below, illustrate an alternative
example of a tissue contact area of a sensor device.




Figures 4A and 4B illustrate arrangements of protrusion 405 including
measurement contact area 470. Id. at 23:30–36. “[M]easurement site
contact area 470 can include a surface that molds body tissue of a
measurement site.” Id. “For example, . . . measurement site contact area
470 can be generally curved and/or convex with respect to the measurement
site.” Id. at 23:53–55. The measurement site contact area may include
windows 420–423 that “mimic or approximately mimic a configuration of,
or even house, a plurality of detectors.” Id. at 23:61–24:8.

                            D. Illustrative Claim

      Of the challenged claims, claims 1 and 16 are independent. Claim 1 is
illustrative and is reproduced below.

                                        7
      Case: 22-1976     Document: 4       Page: 175   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

           1. A user-worn physiological measurement device that
     defines a plurality of optical paths, the physiological
     measurement device comprising:
            [a] one or more emitters configured to emit light into tissue
     of a user;
           [b] a first set of photodiodes positioned on a first surface
     and surrounded by a wall that is operably connected to the first
     surface, wherein:
                 [c] the first set of photodiodes comprises at least
           four photodiodes, and
                  [d] the photodiodes of the first set of photodiodes
           are connected to one another in parallel to provide a first
           signal stream;
           [e] a second set of photodiodes positioned on the first
     surface and surrounded by the wall, wherein:
                 [f] the second set of photodiodes comprises at least
           four photodiodes, and
                 [g] the photodiodes of the second set of photodiodes
           are connected to one another in parallel to provide a
           second signal stream; and
            [h] a cover located above the wall and comprising a single
     protruding convex surface configured to be located between
     tissue of the user and the first and second sets of photodiodes
     when the physiological measurement device is worn by the user,
            [i] wherein the physiological measurement device
     provides a plurality of optical paths, wherein each of the optical
     paths:
                  [j] exits an emitter of the one or more emitters,
                  [k] passes through tissue of the user,
                 [l] passes through the single protruding convex
           surface, and
                  [m] arrives at a corresponding photodiode of the at
           least one of the first or second sets of photodiodes, the


                                      8
       Case: 22-1976      Document: 4       Page: 176   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

             corresponding photodiode configured to receive light
             emitted by the emitter after traversal by the light of a
             corresponding optical path of the plurality of optical paths
             and after attenuation of the light by tissue of the user.
Ex. 1001, 44:63–45:34 (bracketed identifiers [a]–[m] added). Independent
claim 16 includes limitations substantially similar to limitations [a]–[h] and
includes additional limitations drawn to “a plurality of windows,”
“preprocessing electronics,” “one or more processors,” a “network
interface,” a “touch-screen display,” and “storage device,” a “strap,” and “a
plurality of optical paths.” Id. at 46:63–48:39.

                           E. Applied References

      Petitioner relies upon the following references:
            Ali et al., U.S. Patent No. 6,584,336 B1, filed March 1, 2000,
      issued June 24, 2003 (Ex. 1046, “Ali”);
            Ohsaki et al., U.S. Patent Application Publication No.
      2001/0056243 A1, filed May 11, 2001, published December 27, 2001
      (Ex. 1014, “Ohsaki”);
            Aizawa, U.S. Patent Application Publication No.
      2002/0188210 A1, filed May 23, 2002, published December 12, 2002
      (Ex. 1006, “Aizawa”);
            Goldsmith et al., U.S. Patent Application Publication No.
      2007/0093786 A1, filed July 31, 2006, published April 26, 2007
      (Ex. 1027, “Goldsmith); and
            Y. Mendelson, et al., “Measurement Site and Photodetector
      Size Considerations in Optimizing Power Consumption of a Wearable
      Reflectance Pulse Oximeter,” Proceedings of the 25th IEEE EMBS
      Annual International Conference, 3016–3019 (2003) (Ex. 1024,
      “Mendelson-2003”).
Pet. 1–2. Petitioner also submits, inter alia, the Declaration of Thomas W.
Kenny, Ph.D. (Ex. 1003) and the Second Declaration of Thomas W. Kenny
(Ex. 1060). Patent Owner submits, inter alia, the Declaration of Vijay K.


                                        9
         Case: 22-1976    Document: 4       Page: 177   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

Madisetti, Ph.D. (Ex. 2004). The parties also provide deposition testimony
from Dr. Kenny and Dr. Madisetti, including from this and other
proceedings. See Exs. 1053–1054, 1056, 1059, 2006–2009, 2026–2027.

                             F. Asserted Grounds

        Petitioner asserts that claims 1–17 are unpatentable based upon the
following grounds (Pet. 1–2):
  Claims Challenged          35 U.S.C. §             References/Basis
                                               Aizawa, Mendelson-2003,
 1–17                            103
                                               Ohsaki, Goldsmith
                                               Aizawa, Mendelson-2003,
 1–17                            103
                                               Ohsaki, Goldsmith, Ali

                               II. DISCUSSION

                            A. Claim Construction

        For petitions filed on or after November 13, 2018, a claim shall be
construed using the same claim construction standard that would be used to
construe the claim in a civil action under 35 U.S.C. § 282(b). 37 C.F.R.
§ 42.100(b) (2019). Petitioner submits that no claim term requires express
construction. Pet. 3. Patent Owner submits that claim terms should be given
their ordinary and customary meaning, consistent with the Specification. PO
Resp. 9.
        We agree that no claim terms require express construction. Nidec
Motor Corp. v. Zhongshan Broad Ocean Motor Co., 868 F.3d 1013, 1017
(Fed. Cir. 2017).

                             B. Principles of Law

        A claim is unpatentable under 35 U.S.C. § 103 if “the differences
between the subject matter sought to be patented and the prior art are such


                                       10
         Case: 22-1976      Document: 4       Page: 178   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

that the subject matter as a whole would have been obvious at the time the
invention was made to a person having ordinary skill in the art to which said
subject matter pertains.” KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 406
(2007). The question of obviousness is resolved on the basis of underlying
factual determinations, including (1) the scope and content of the prior art;
(2) any differences between the claimed subject matter and the prior art;
(3) the level of skill in the art; and (4) objective evidence of non-
obviousness.1 Graham v. John Deere Co., 383 U.S. 1, 17–18 (1966). When
evaluating a combination of teachings, we must also “determine whether
there was an apparent reason to combine the known elements in the fashion
claimed by the patent at issue.” KSR, 550 U.S. at 418 (citing In re Kahn,
441 F.3d 977, 988 (Fed. Cir. 2006)). Whether a combination of prior art
elements would have produced a predictable result weighs in the ultimate
determination of obviousness. Id. at 416–417.
        In an inter partes review, the petitioner must show with particularity
why each challenged claim is unpatentable. Harmonic Inc. v. Avid Tech.,
Inc., 815 F.3d 1356, 1363 (Fed. Cir. 2016); 37 C.F.R. § 42.104(b). The
burden of persuasion never shifts to Patent Owner. Dynamic Drinkware,
LLC v. Nat’l Graphics, Inc., 800 F.3d 1375, 1378 (Fed. Cir. 2015).
        We analyze the challenges presented in the Petition in accordance
with the above-stated principles.

                      C. Level of Ordinary Skill in the Art

        Petitioner identifies the appropriate level of skill in the art as that
possessed by a person having “a Bachelor of Science degree in an academic


1
    Patent Owner does not present objective evidence of non-obviousness.


                                         11
        Case: 22-1976     Document: 4       Page: 179   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

discipline emphasizing the design of electrical, computer, or software
technologies, in combination with training or at least one to two years of
related work experience with capture and processing of data or information.”
Pet. 3 (citing Ex. 1003 ¶¶ 21–22). “Alternatively, the person could have also
had a Master of Science degree in a relevant academic discipline with less
than a year of related work experience in the same discipline.” Id.
      Patent Owner makes several observations regarding Petitioner’s
identified level of skill in the art but, “[f]or this proceeding, [Patent Owner]
nonetheless applies Petitioner’s asserted level of skill.” PO Resp. 9 (citing
Ex. 2004 ¶¶ 30–32).
      We adopt Petitioner’s assessment as set forth above, which appears
consistent with the level of skill reflected in the Specification and prior art.

              D. Obviousness over the Combined Teachings of
               Aizawa, Mendelson-2003, Ohsaki, and Goldsmith

      Petitioner contends that claims 1–17 of the ’195 patent would have
been obvious over the combined teachings of Aizawa, Mendelson-2003,
Ohsaki, and Goldsmith. Pet. 6–85.
                      1. Overview of Aizawa (Ex. 1006)
      Aizawa is a U.S. patent application publication titled “Pulse Wave
Sensor and Pulse Rate Detector,” and discloses a pulse wave sensor that
detects light output from a light emitting diode and reflected from a patient’s
artery. Ex. 1006, codes (54), (57).




                                       12
       Case: 22-1976      Document: 4       Page: 180   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

      Figure 1(a) of Aizawa is reproduced below.




Figure 1(a) is a plan view of a pulse wave sensor. Id. ¶ 23. As shown in
Figure 1(a), pulse wave sensor 2 includes light emitting diode (“LED”) 21,
four photodetectors 22 symmetrically disposed around LED 21, and
holder 23 for storing LED 21 and photodetectors 22. Id. Aizawa discloses
that, “to further improve detection efficiency, . . . the number of the
photodetectors 22 may be increased.” Id. ¶ 32, Fig. 4(a). “The same effect
can be obtained when the number of photodetectors 22 is 1 and a plurality of
light emitting diodes 21 are disposed around the photodetector 22.” Id. ¶ 33.
      Figure 1(b) of Aizawa is reproduced below.




                                       13
        Case: 22-1976     Document: 4       Page: 181   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

Figure 1(b) is a sectional view of the pulse wave sensor. Id. ¶ 23. As shown
in Figure 1(b), pulse wave sensor 2 includes drive detection circuit 24 for
detecting a pulse wave by amplifying the outputs of photodetectors 22. Id.
¶ 23. Arithmetic circuit 3 computes a pulse rate from the detected pulse
wave and transmitter 4 transmits the pulse rate data to an “unshown
display.” Id. The pulse rate detector further includes outer casing 5 for
storing pulse wave sensor 2, acrylic transparent plate 6 mounted to detection
face 23a of holder 23, and attachment belt 7. Id. ¶ 23.
      Aizawa discloses that LED 21 and photodetectors 22 “are stored in
cavities 23b and 23c formed in the detection face 23a” of the pulse wave
sensor. Id. ¶ 24. Detection face 23a “is a contact side between the holder 23
and a wrist 10, respectively, at positions where the light emitting face 21s of
the light emitting diode 21 and the light receiving faces 22s of the
photodetectors 22 are set back from the above detection face 23a.” Id. ¶ 24.
Aizawa discloses that “a subject carries the above pulse rate detector 1 on
the inner side of his/her wrist 10 . . . in such a manner that the light emitting
face 21s of the light emitting diode 21 faces down (on the wrist 10 side).”
Id. ¶ 26. Furthermore, “the above belt 7 is fastened such that the acrylic
transparent plate 6 becomes close to the artery 11 of the wrist 10. Thereby,
adhesion between the wrist 10 and the pulse rate detector 1 is improved.”
Id. ¶¶ 26, 34.
                 2. Overview of Mendelson-2003 (Ex. 1024)
      Mendelson-2003 is a journal article titled “Measurement Site and
Photodetector Size Considerations in Optimizing Power Consumption of a
Wearable Reflectance Pulse Oximeter,” which discusses a pulse oximeter
sensor in which “battery longevity could be extended considerably by



                                       14
         Case: 22-1976   Document: 4       Page: 182   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

employing a wide annularly shaped photodetector ring configuration and
performing SpO2 measurements from the forehead region.” Ex. 1024,
3016.2
      Mendelson-2003 explains that pulse oximetry uses sensors to monitor
oxygen saturation (SpO2), where the sensor typically includes light emitting
diodes (LED) and a silicon photodetector (PD). Id. According to
Mendelson-2003, when designing a pulse oximeter, it is important to offer
“low power management without compromising signal quality.” Id. at 3017.
“However, high brightness LEDs commonly used in pulse oximeters
require[] relatively high current pulses, typically in the range between 100–
200mA. Thus, minimizing the drive currents supplied to the LEDs would
contribute considerably toward the overall power saving in the design of a
more efficient pulse oximeter.” To achieve this goal, Mendelson-2003
discusses previous studies in which
      the driving currents supplied to the LEDs . . . could be lowered
      significantly without compromising the quality of the
      [photoplethysmographic signal] by increasing the overall size of
      the PD . . . . Hence, by maximizing the light collected by the
      sensor, a very low power-consuming sensor could be developed,
      thereby extending the overall battery life of a pulse oximeter
      intended for telemedicine applications.
Id.
      Mendelson-2003 discloses the prototype of such a sensor in Figure 1,
which is reproduced below, and served as the basis for the studies evaluated
in Mendelson-2003.


2
 Petitioner cites to the native page numbers appearing at the top of
Exhibit 1024, rather than the added page numbering at the bottom of the
pages. We follow Petitioner’s numbering scheme.


                                      15
       Case: 22-1976     Document: 4       Page: 183   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1




Figure 1 of Mendelson-2003 depicts a sensor configuration showing the
relative positions of its PDs and LEDs. Id. As shown in Figure l, “six PDs
were positioned in a close inner-ring configuration at a radial distance of
6.0mm from the LEDs. The second set of six PDs spaced equally along an
outer-ring, separated from the LEDs by a radius of 10.0mm.” Id.
Mendelson-2003 also explains that “[e]ach cluster of six PDs were wired in
parallel and connected through a central hub to the common summing input
of a current-to-voltage converter.” Id.
      Mendelson-2003 reports the results of the studies as follows:
             Despite the noticeable differences between the PPG
      signals measured from the wrist and forehead, the data plotted in
      Fig. 3 also revealed that considerable stronger PPGs could be
      obtained by widening the active area of the PD which helps to
      collect a bigger proportion of backscattered light intensity. The
      additional increase, however, depends on the area and relative
      position of the PD with respect to the LEDs. For example,
      utilizing the outer-ring configuration, the overall increase in the
      average amplitudes of the R and IR PPGs measured from the
      forehead region was 23% and 40%, respectively. Similarly, the
      same increase in PD area produced an increase in the PPG signals
      measured from the wrist, but with a proportional higher increase
      of 42% and 73%.
Id. at 3019.




                                      16
       Case: 22-1976      Document: 4     Page: 184   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

                       3. Overview of Ohsaki (Ex. 1014)

      Ohsaki is a U.S. patent application publication titled “Wristwatch-type
Human Pulse Wave Sensor Attached on Back Side of User’s Wrist,” and
discloses an optical sensor for detecting a pulse wave of a human body.
Ex. 1014, code (54), ¶ 3. Figure 1 of Ohsaki is reproduced below.




Figure 1 illustrates a cross-sectional view of pulse wave sensor 1 attached on
the back side of user’s wrist 4. Id. ¶¶ 12, 16. Pulse wave sensor 1 includes
detecting element 2 and sensor body 3. Id. ¶ 16.
      Figure 2 of Ohsaki, reproduced below, illustrates further detail of
detecting element 2.




                                     17
       Case: 22-1976      Document: 4      Page: 185   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

Figure 2 illustrates a mechanism for detecting a pulse wave. Id. ¶ 13.
Detecting element 2 includes package 5, light emitting element 6, light
receiving element 7, and translucent board 8. Id. ¶ 17. Light emitting
element 6 and light receiving element 7 are arranged on circuit board 9
inside package 5. Id. ¶¶ 17, 19.
      “[T]ranslucent board 8 is a glass board which is transparent to light,
and attached to the opening of the package 5. A convex surface is formed
on the top of the translucent board 8.” Id. ¶ 17. “[T]he convex surface of
the translucent board 8 is in intimate contact with the surface of the user’s
skin,” preventing detecting element 2 from slipping off the detecting
position of the user’s wrist. Id. ¶ 25. By preventing the detecting element
from moving, the convex surface suppresses “variation of the amount of the
reflected light which is emitted from the light emitting element 6 and
reaches the light receiving element 7 by being reflected by the surface of the
user’s skin.” Id. Additionally, the convex surface prevents penetration by
“noise such as disturbance light from the outside.” Id.
      Sensor body 3 is connected to detecting element 2 by signal line 13.
Id. ¶ 20. Signal line 13 connects detecting element 2 to drive circuit 11,
microcomputer 12, and a monitor display (not shown). Id. Drive circuit 11
drives light emitting element 6 to emit light toward wrist 4. Id. Detecting
element 2 receives reflected light which is used by microcomputer 12 to
calculate pulse rate. Id. “The monitor display shows the calculated pulse
rate.” Id.

                          4. Goldsmith (Ex. 1027)

      Goldsmith is a U.S. patent application publication titled “Watch
Controller for a Medical Device,” and discloses a watch controller device


                                      18
       Case: 22-1976     Document: 4       Page: 186   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

that communicates with an infusion device to “provid[e] convenient
monitoring and control of the infusion pump device.” Ex. 1027, code (57).
      Goldsmith’s Figure 9A is reproduced below.




Figure 9A is a front view of a combined watch and controller device. Id.
¶ 30. As shown in Figure 9A, watch controller 900 includes housing 905,
transparent member 950, display 910, rear-side cover 960, input
devices 925a–c, 930, and wrist band 940. Id. ¶¶ 85–86, Fig. 9B.
      Goldsmith discloses that the watch controller may interact with one or
more devices, such as infusion pumps or analyte monitors. Id. ¶ 85; see also
id. ¶ 88 (“The analyte sensing device 1060 may be adapted to receive data
from a sensor, such as a transcutaneous sensor.”). Display 910 “may display
at least a portion of whatever information and/or graph is being displayed on
the infusion device display or on the analyte monitor display,” such as, e.g.,
levels of glucose. Id. ¶ 86. Additionally, the watch controller may
communicate with a remote station, e.g., a computer, to allow data
downloading. Id. ¶ 89 (including wireless).


                                      19
        Case: 22-1976     Document: 4       Page: 187   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

                           5. Independent Claim 1

      Petitioner presents undisputed contentions that claim 1 would have
been obvious over the combined teachings of Aizawa, Mendelson-2003,
Ohsaki, and Goldsmith. Pet. 6–85.

                   i.“A user-worn physiological measurement device that
                     defines a plurality of optical paths, the physiological
                     measurement device comprising”

      The cited evidence supports Petitioner’s undisputed contention that
Aizawa discloses a pulse sensor that defines a plurality of optical paths, and
that Goldsmith teaches an analyte sensor that is part of a user-worn
controller device that includes, e.g., a display.3 Pet. 36–37; see, e.g.,
Ex. 1006 ¶¶ 2 (“a pulse wave sensor for detecting the pulse wave of a
subject”), 27 (discussing optical paths), Fig. 1(b) (depicting two optical
paths from emitter 21 to detectors 22 in Aizawa’s sensor); Ex. 1027 ¶¶ 85
(“a watch”), 88 (“analyte sensing device 1060”), Fig. 9A.
      Petitioner further contends that a person of ordinary skill in the art
would have found it obvious to incorporate Aizawa’s sensor “into
Goldsmith’s integrated wrist-worn watch controller device that includes,
among other features, a touch screen, network interface, and storage device”
in order to receive and display data sensed by Aizawa’s sensor. Pet. 30–31;
see, e.g., Ex. 1003 ¶¶ 88–89. Petitioner contends this is consistent with
Aizawa’s disclosure of a transmitter that transmits pulse rate data to a
display. Pet. 29; Ex. 1003 ¶ 86. According to Petitioner, this would have


3
 Whether the preamble is limiting need not be resolved because Petitioner
shows sufficiently that the preamble’s subject matter is satisfied by the prior
art.


                                       20
       Case: 22-1976       Document: 4      Page: 188   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

“enable[d] a user to view and interact with heart rate data during exercise via
the Goldsmith’s touch-screen display, and to enable heart rate data to be
monitored by the user and/or others through any of the devices with which
Goldsmith’s device can communicate.” Pet. 31; see, e.g., Ex. 1003 ¶ 90.
Petitioner asserts this would have been use of a known technique to improve
similar devices in the same way. Pet. 32; see, e.g., Ex. 1003 ¶ 91; see also
Pet. 32–35 (also discussing physical incorporation); see, e.g., Ex. 1003
¶¶ 92–94 (same).
      Patent Owner does not dispute this contention. See PO Resp. 65
(arguing only that Goldsmith does not remedy purported deficiencies,
discussed infra at §§ II.D.5.iii–v). We are persuaded by Petitioner, wherein
the proposed modification is supported by the unrebutted testimony of
Dr. Kenny. See, e.g., Ex. 1003 ¶¶ 86–96; Ex. 1006 ¶¶ 23 (“a transmitter for
transmitting the above pulse rate data to an unshown display”), 35.

                   ii.“[a] one or more emitters configured to emit light into
                      tissue of a user”

      The cited evidence supports Petitioner’s undisputed contention that
Aizawa discloses LED 21 that emits light into a user’s tissue. Pet. 37–38;
see, e.g., Ex. 1006 ¶ 23 (“LED 21 . . . for emitting light having a wavelength
of a near infrared range”), 27 (explaining that light is emitted toward the
wrist), Fig. 1(b) (depicting emitter 21 facing user tissue 10).

                 iii.“[b] a first set of photodiodes positioned on a first
                     surface and surrounded by a wall that is operably
                     connected to the first surface, wherein: [c] the first set of
                     photodiodes comprises at least four photodiodes”
                     and
                     “[e] a second set of photodiodes positioned on the first
                     surface and surrounded by the wall, wherein: [f] the

                                       21
       Case: 22-1976      Document: 4       Page: 189   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

                    second set of photodiodes comprises at least four
                    photodiodes”

Petitioner’s Undisputed Contentions
      Petitioner contends that Aizawa discloses a first set of four
photodiodes that are circularly arranged around a central emitter. Pet. 16–17
(citing, e.g., Ex. 1006 ¶ 23). Petitioner also contends that, in one
embodiment, Aizawa discloses that eight or more detectors may be used to
improve detection efficiency, but does not expressly teach a “second set of
photodiodes,” as claimed. Id. at 17–18 (citing, e.g., Ex. 1006, Fig. 4(a)); see
also Ex. 1003 ¶¶ 68–70.
      Patent Owner does not dispute these contentions, and we agree with
Petitioner. Aizawa discloses a set of “four phototransistors 22” that are
disposed in a single ring around central emitter 21. Ex. 1006 ¶ 23,
Figs. 1(a)–1(b). Aizawa also discloses that “the number of the
photodetectors 22 may be increased” to further improve detection efficiency,
and depicts in Figure 4(a) an embodiment where eight photodetectors 22 are
disposed in a single ring around central emitter 21. Id. ¶ 32.
      Petitioner also contends that Aizawa’s first set of photodiodes are
positioned on the sensor’s first surface and surrounded by a wall that is
operably connected to the surface, as shown below. Pet. 39.




                                       22
       Case: 22-1976      Document: 4       Page: 190   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

Petitioner’s modified and annotated figure depicts Aizawa’s sensor with
Aizawa’s first set of photodiodes 22 (in red shading) positioned on a first
surface (identified as “substrate” with brown shading) and surrounded by a
wall (identified as “wall” with purple shading). Patent Owner does not
dispute these contentions, and we agree with Petitioner. Ex. 1006, Fig. 1(b).
      Moreover, according to Petitioner, Mendelson-2003 teaches a sensor
that uses two rings of photodiodes, which improve light collection
efficiency, permit use of lower brightness LEDs, and reduce power
consumption. Pet. 19; see also Ex. 1003 ¶ 71.
      Patent Owner does not dispute these contentions regarding what
Mendelson-2003 discloses, and we agree with Petitioner. Mendelson-2003
teaches an experimental sensor in which “six PDs [(photodetectors)] were
positioned in a close inner-ring configuration . . . [and a] second set of six
PDs [were] spaced equally along an outer-ring.” Ex. 1024, 3017, Fig. 1
(depicting a prototype sensor with a near ring of photodetectors and a far
ring of photodetectors). Based on experiments using the dual-ring sensor, as
compared to sensors using only a near ring or only a far ring, Mendelson-
2003 states that “considerabl[y] stronger PPGs [photoplethysmographic
signals] could be obtained by widening the active area of the PD which helps
to collect a bigger proportion of backscattered light intensity.” Id. at 3019,
Fig. 3. Mendelson-2003 also states that, “by combining both PD sets to
simulate a single large PD area, it is possible to further reduce the driving
currents of the LEDs without compromising the amplitude or quality of the
detected PPGs.” Id. at 3019, Fig. 4. Finally, Mendelson-2003 teaches that
estimated battery life for the dual-ring sensor, as compared to sensors using
only a near ring or only a far ring, “could be extended considerably.” Id. at



                                       23
       Case: 22-1976      Document: 4      Page: 191   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

3019, Table 1 (battery life of 52.5 days for the dual-ring sensor, compared to
45.8 and 20.3 days for the near ring or far ring sensors, respectively).
Petitioner’s Disputed Contentions
      In view of these teachings, Petitioner contends that a person of
ordinary skill in the art would have found it obvious to modify Aizawa to
include an additional ring of detectors, as taught by Mendelson-2003, (i.e., a
“second set”) to “advance[e] Aizawa’s goal of improving detection
efficiency through increased power savings.” Pet. 18–19 (citing, e.g.,
Ex. 1003 ¶ 70), 38–41 (citing, e.g., Ex. 1003 ¶¶ 98–103), 46–48 (citing, e.g.,
Ex. 1003 ¶¶ 110–112). According to Petitioner, “by using Mendelson-
2003’s power-saving (and thus efficiency-enhancing) PD configuration, the
power consumption of a wrist-based pulse sensing device as in Aizawa can
be reduced through use of a less bright and, hence, lower power-consuming
LED.” Id. at 20–21 (citing, e.g., Ex. 1003 ¶ 73).
      Petitioner provides “[a]n example implementation of adding an
additional ring of detectors to Aizawa, as per Mendelson-2003,” which is
reproduced below.




Pet. 21 (citing, e.g., Ex. 1003 ¶ 74). Petitioner’s modified and annotated
figure depicts Aizawa’s sensor with Aizawa’s first set of photodiodes

                                      24
        Case: 22-1976     Document: 4       Page: 192   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

(depicted as connected by a green ring) and modified to include a second set
of photodiodes as taught by Mendelson-2003 (depicted as connected by a
red ring). Pet. 21, 41, 48. Petitioner contends this would have been the use
of a known solution to improve similar systems in the same way, which
“would have led to predictable results without significantly altering or
hindering the functions performed by Aizawa’s sensor,” especially where
Aizawa itself discloses adding extra detectors to improve light collection
efficiency. Id. at 22 (citing, e.g., Ex. 1003 ¶ 76).
      Petitioner also contends that, as modified, the second set of
photodiodes would be positioned on the sensor’s first surface and
surrounded by a wall that is operably connected to the surface. Pet. 47
(citing, e.g., Ex. 1003 ¶ 111).
Patent Owner’s Arguments
      Patent Owner’s arguments address limitations [b]–[g] together. See
PO Resp. 54–64. As such, Patent Owner’s arguments, the parties’ Reply
and Sur-reply briefing, and our analyses, are presented below in connection
with limitations [d] and [g]. See infra § II.D.5.iv.

                 iv.“[d] the photodiodes of the first set of photodiodes are
                    connected to one another in parallel to provide a first
                    signal stream”
                    and
                    “[g] the photodiodes of the second set of photodiodes are
                    connected to one another in parallel to provide a second
                    signal stream”

Petitioner’s Undisputed Contentions
      Petitioner contends that a signal stream is sent from Aizawa’s set of
photodetectors 23 to drive detection circuit 24, which amplifies the outputs
of the photodetectors. Pet. 17 (citing, e.g., Ex. 1006 ¶ 23; Ex. 1003 ¶ 68).


                                       25
        Case: 22-1976      Document: 4       Page: 193   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

      Patent Owner does not dispute this contention, and we agree with
Petitioner. Aizawa discloses that “drive detection circuit 24 [is] for
detecting a pulse wave by amplifying the outputs of the photodetectors 22.”
Ex. 1006 ¶ 23.
      Petitioner additionally contends that Mendelson-2003 teaches that
each set of photodiodes, i.e., its near ring and far ring, are wired in parallel,
thereby providing a distinct signal stream for each ring. Pet. 19, 42–43, 48
(citing, e.g., Ex. 1024, 3017).
      Patent Owner does not dispute this contention regarding what
Mendelson-2003 discloses, and we agree with Petitioner. Mendelson-2003
teaches that “[e]ach cluster of six PDs were wired in parallel and connected
through a central hub to the common summing input of a current-to-voltage
converter.” Ex. 1024, 3017.
Petitioner’s Disputed Contentions
      In view of these teachings, Petitioner contends that a person of
ordinary skill in the art “would have recognized and/or found it obvious that
the first set of photodiodes [in the modified system of Aizawa and
Mendelson-2003, see supra § II.D.5.iv] are connected to one another in
parallel to provide a first signal stream in the manner claimed,” and “the
second set of photodiodes . . . are connected to one another in parallel to
provide a second signal stream,” as taught by Mendelson-2003. Pet. 40–41
(citing, e.g., Ex. 1003 ¶¶ 104–109), 48 (citing, e.g., Ex. 1003 ¶ 113).
Petitioner contends this “would have led to predictable results without
significantly altering or hindering the functions performed by Aizawa’s
sensor.” Id. at 22 (citing, e.g., Ex. 1003 ¶ 76).




                                        26
       Case: 22-1976       Document: 4      Page: 194   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

      According to Petitioner, this arrangement would have provided known
benefits. Pet. 43–46. For example, Petitioner contends that a person of
ordinary skill in the art “would have known that connecting multiple
photodiodes together in parallel allows the current generated by the multiple
photodiodes in [each] set/ring to be added to one another, thereby resulting
in a larger total current akin to what would be generated from a single, large
detector.” Id. at 42. According to Petitioner, this was “a routine and
conventional design choice.” Id. at 43. Further, “monitoring each signal
stream (from each ring of detectors) separately allows the system to
determine when the sensor device is so severely located that its position
should be adjusted,” and can help detect motion artifacts. Id. at 43–44
(citing Ex. 1003 ¶ 107).
      Petitioner also argues that a person of skill in the art would have
known that “the photodiodes in the far ring (i.e., second set of photodiodes)
would receive reflected light having a lower intensity than that received by
the photodiodes in the near ring (i.e., first set of photodiodes) and would
have been motivated and found it obvious to account for this discrepancy,”
e.g., by “keep[ing] each ring separately wired and connected to its own
amplifier . . . to thereby keep the magnitude of the current signals provided
by each ring approximately the same before being combined and transmitted
to the arithmetic circuit 3.” Id. at 44–46 (citing Ex. 1003 ¶¶ 108–109); id. at
48 (citing Ex. 1003 ¶ 113).
Patent Owner’s Arguments
      Patent Owner disputes Petitioner’s contentions that it would have
been obvious (1) to modify Aizawa to include a second set of at least four
photodiodes, and (2) to wire the photodiodes of the first set in parallel to



                                       27
       Case: 22-1976      Document: 4      Page: 195   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

provide a first signal stream and to wire the photodiodes of the second set in
parallel to provide a second signal stream. PO Resp. 54–64; PO Sur-
reply 23–29.
      First, Patent Owner argues this proposed modification changes
Aizawa’s principle of operation. Specifically, Patent Owner claims that
“Aizawa’s approach monitors different individual detector signals and
calculates pulse rate based on each individual photodetector signal” and, in
contrast to the proposed modification, “does not measure aggregated signals
from detectors connected in parallel.” PO Resp. 55 (citing Ex. 1006 ¶¶ 7,
19, 23, 27–29, 32, 36; Ex. 2004 ¶ 102; Ex. 2026, 76:13–22, 79:22–80:3).
According to Patent Owner, the proposed modification “eliminates Aizawa’s
core feature—the ability to monitor pulse using the output of each
individual detector, which Aizawa indicates avoids displacement problems.”
Id. at 56–57 (citing, e.g., Ex. 2004 ¶¶ 104–105).
      Second, Patent Owner argues this proposed modification would have
resulted in increased power consumption. Id. at 57. According to Patent
Owner, Mendelson-2003 states that its power savings is caused by
“increasing the number of detectors and thus the detector area, not the two-
ring structure.” Id. at 58 (citing Ex. 1024, 2; Ex. 2004 ¶ 106). Moreover,
Patent Owner argues that Aizawa already discloses a way to improve
detection efficiency—by including eight detectors in a single ring. Id. at 58
(citing Ex. 1006 ¶ 32, Fig. 4A; Ex. 2004 ¶ 107). In light of this teaching,
Patent Owner argues that adding a second ring is unfounded and
unnecessary, especially where the second ring of detectors “would receive
substantially lower light intensity requiring greater power consumption to
utilize than additional detectors added to the ‘inner’ ring.” Id. at 58–60



                                      28
       Case: 22-1976      Document: 4        Page: 196   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

(citing, e.g., Ex. 2004 ¶¶ 108–109; Ex. 2026, 55:7–17, 56:6–16, 59:14–60:7,
100:6–101:6, 102:5–17, 112:3–16). “Petitioner never explains why, given
these straightforward options to increase signal strength, a [person of
ordinary skill in the art] would instead add an entire new circle of detectors
farther from the emitter.” Id. at 60.
      Third, Patent Owner argues that Mendelson-2003 provides only an
experimental detector configuration, which would fail to provide the alleged
benefits. Specifically, Patent Owner argues that Mendelson-2003 “uses its
particular configuration for specific experiments comparing light intensity
and LED drive currents for detectors arranged different distances from
central emitters,” and “teaches no benefits for this arrangement in practice.”
Id. at 60–62 (citing Ex. 1024, 4; Ex. 2004 ¶¶ 111–112). To the contrary,
Patent Owner alleges that Mendelson-2003 actually prefers a single detector
ring that outputs a single signal stream: “Mendelson 2003 explains it
‘combin[ed] both PD sets to simulate a single large PD area,’ and notes
‘battery longevity could be extended considerably by employing a wide
annular PD,’ which has a single signal stream—not two different signal
streams from two different parallel-connected rings.” Id. at 61 (citing, e.g.,
Ex. 2026, 87:8–88:1, 91:15–92:7).4 Thus, according to Patent Owner, even



4
  Patent Owner also criticizes the Petition’s discussion of Exhibit 1025 (U.S.
Patent No. 6,801,799 (“Mendelson ’799”). Mendelson ’799, which is not
included in Petitioner’s identification of the asserted ground of
unpatentability. PO Resp. 62–63; PO Sur-reply 28–29. We discern no error
in Petitioner’s identification of Mendelson ’799. The nature of Petitioner’s
reliance on Mendelson ’799 in support of this ground is explained clearly in
the Petition, even if Mendelson ’799 is not listed as an additional reference
in the identification of the ground. Thus, the Petition complies with 35
U.S.C. § 312(a)(3) (stating an IPR petition must “identif[y], in writing and

                                        29
        Case: 22-1976     Document: 4       Page: 197   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

if a skilled artisan would have added a second ring of detectors to Aizawa,
they “would not have kept the first and second ring of detectors separate or
separately amplified the aggregated signals”; instead, they would have
“combin[ed] both PD sets to simulate a single large PD area,” where
“battery longevity could be extended considerably by employing a wide
annular PD.” Id. at 64 (quoting Ex. 1024, 4; citing Ex. 2004 ¶ 116).
      Finally, Patent Owner argues that the proposed combination
“introduces signal processing problems requiring a further redesign for
Aizawa’s sensor” to include a second amplifier to account for signals of
different strengths between the near and far rings. Id. at 63–64 (citing
Ex. 2004 ¶ 115). Patent Owner alleges this demonstrates that a skilled
artisan would not have added a second ring of detectors, as proposed, but
instead would have increased the number of detectors in Aizawa’s single
ring. Id. at 64.
Petitioner’s Reply
      Petitioner replies that Patent Owner mischaracterizes Aizawa’s
principle of operation. Pet. Reply 32–34. Specifically, Petitioner contends
that Aizawa’s detector ring is connected in parallel, or at least that a person
of ordinary skill in the art would have recognized that parallel connection
would have been a known implementation detail, which allows a signal to be
detected even if one of the multiple sensors is displaced on the user. Id. at
33 (citing Ex. 1003 ¶¶ 105–106; Ex. 1060 ¶ 62; Ex. 2026, 72:3–9).
Moreover, Petitioner argues that Aizawa lacks any disclosure of individually
monitoring signals from each photodetector. Id. at 34.


with particularity . . . the grounds on which the challenge to each claim is
based, and the evidence that supports the grounds for the challenge . . . ”).


                                       30
        Case: 22-1976     Document: 4       Page: 198   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

       Petitioner reiterates its position that adding a second ring would
collect a bigger portion of backscattered light, and would motivate the
proposed combination. Id. at 34–35 (citing, e.g., Ex. 1060 ¶¶ 64–66).
Petitioner also disputes that such a modification would increase power,
noting that it is the emitters, not the detectors, that consume most power in
the system. Id. at 35–36 (citing, e.g., Ex. 1060 ¶ 67). Moreover, Petitioner
contends that by widening the detection area with a second ring, the system
would capture additional light which would allow a lower brightness, and
lower power, emitter to be used. Id.
       Petitioner disputes Patent Owner’s characterization of Mendelson-
2003’s as purely experimental, and alleges that Mendelson-2003 makes clear
that employing two rings outputting two signal streams is equivalent to
employing a wider single ring of detectors, and provides associated benefits.
Id. at 36–38 (citing, e.g., Ex. 1060 ¶ 70).
Patent Owner’s Sur-reply
       Patent Owner reiterates its position that Aizawa concerns individual
monitoring, which Patent Owner alleges is a “key feature of Aizawa’s
sensor,” in order to avoid problems associated with sensor displacement. PO
Sur-reply 23–24. Patent Owner also reiterates its positions that the proposed
modified sensor would consume more power, and that Aizawa’s disclosed
embodiment with eight detectors in a single ring would have been preferred.
Id. at 25.
Analysis
       We have considered the parties’ arguments and cited evidence, and
we are persuaded by Petitioner’s contentions. As discussed above, Aizawa
discloses a sensor with a first set of four phototransistors 22 as claimed,



                                       31
       Case: 22-1976      Document: 4         Page: 199   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

which are disposed in a single ring around central emitter 21. Ex. 1006 ¶ 23,
Figs. 1(a)–1(b). Mendelson-2003 teaches a sensor with a dual-ring
configuration, where a first inner ring includes six photodetectors, and a
second outer ring includes an additional six photodetectors. Ex. 1024, 3017,
Fig. 1. Mendelson-2003 also states that by using this dual-ring
configuration to simulate a wide photodetector area, stronger signals could
be obtained, drive currents could be reduced, and battery life could be
extended. Id. at 3019, Fig. 3, Fig. 4.
      In light of these explicit teachings, we are persuaded by Petitioner’s
contention that a person of ordinary skill in the art would have found it
obvious to include a second set of detectors in Aizawa’s sensor, as taught by
Mendelson-2003, to realize the benefits taught by Mendelson-2003, i.e.,
stronger signals with reduced power consumption. Pet. 18–22. We credit
Dr. Kenny’s testimony that this would have been the use of a known
solution—a sensor with dual detector rings as taught by Mendelson-2003—
to improve similar systems—Aizawa’s sensor with one detector ring—in the
same way, which “would have led to predictable results without significantly
altering or hindering the functions performed by Aizawa’s sensor,”
especially where Aizawa itself discloses adding extra detectors to improve
light collection efficiency. Ex. 1003 ¶ 76.
      We also credit Dr. Kenny’s testimony that, as taught by Mendelson-
2003, it would have been obvious to connect the photodetectors of each set
in parallel to provide first and second signal streams, respectively, and that
this would have led to predictable results. Ex. 1003 ¶ 76 (predictable), 93,
104–106 (first set), 113 (second set). Indeed, the two rings taught by
Mendelson-2003 are disclosed as being “wired in parallel and connected



                                         32
        Case: 22-1976     Document: 4      Page: 200   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

through a central hub to the common summing input of a current-to-voltage
converter.” Ex. 1024, 3017. Dr. Kenny explains numerous advantages
associated the parallel connections taught by Mendelson-2003, such as
monitoring for displacement, accounting for motion artifacts, and
compensating for the relative decrease in light that reaches the outer ring,
which cannot be achieved with a single signal stream. Ex. 1003 ¶¶ 107–109.
       We are also persuaded by Petitioner that, as modified, the second set
of photodiodes would be positioned on the sensor’s first surface and
surrounded by a wall that is operably connected to the surface, in the same
manner as the first set are arranged. Pet. 37, 47; Ex. 1003 ¶¶ 99–102, 110–
111.
       We have considered Patent Owner’s arguments but find them to be
misplaced. First, we do not agree that Aizawa discloses the ability to
individually monitor individual detectors as a “key feature” (PO Resp. 54;
PO Sur-reply 24) of its sensor. We discern no persuasive support for this
position in Aizawa. Aizawa does not discuss individual monitoring at all, at
least not clearly, and does not discuss individual monitoring as a solution to
sensor displacement. Rather, Aizawa explains that its sensor includes four
photodetectors 22 and that “reflected light is detected by the plurality of
photodetectors 22.” Ex. 1006 ¶¶ 23, 27. Aizawa also explains that its sensor
includes a “drive detection circuit for detecting a pulse wave by amplifying
the outputs of the photodetectors 22.” Id. ¶ 23. These disclosures indicate
that Aizawa does not monitor each photodetector 22 individually to ascertain
the pulse wave but, rather, utilizes “the outputs” of all of the photodetectors
together.




                                      33
       Case: 22-1976      Document: 4      Page: 201   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

      This understanding is consistent with Aizawa’s disclosure of sensor
displacement. As Patent Owner correctly notes, Aizawa recognizes a
problem with sensor displacement, in which “no output signal can be
obtained” if the sensor’s detectors are placed away from an artery. Id. ¶ 7.
Aizawa solves this problem by avoiding a “linear[]” detector arrangement,
such that “[e]ven when the attachment position of the sensor is dislocated, a
pulse wave can be detected accurately.” Id. ¶ 9. Indeed, Aizawa is clear
that, in its preferred embodiment, it is the disposition of photodetectors 22 in
“a circle concentric to the light emitting diode 21” that enables accurate
pulse detection even when the sensor is dislocated. Id. ¶ 27. Aizawa does
not discuss individual monitoring in relation to sensor dislocation.
      We have examined Patent Owner’s alleged support for the importance
of individual monitoring and find it unavailing. See, e.g., PO Resp. 55–56
(citing Ex. 1006 ¶¶ 7, 19, 23, 27–29, 32, 36; Ex. 2004 ¶ 102; Ex. 2026,
76:13–22, 79:22–80:3). Patent Owner identifies Figure 3, which depicts a
“diagram of a pulse wave which is the output of a photodetector.” Ex. 1006
¶¶ 19 (emphasis added), 28 (“the above photodetector 22”). Patent Owner
seems to place importance on the use of the article “a” or “the”
photodetector, in the singular. PO Resp. 88; PO Sur-reply 23. However, we
discern no significance in the singular use. In discussing this Figure,
Aizawa does not discuss monitoring an individual photodetector, or describe
that as a “key feature”; instead, Aizawa explains that drive detection circuit
24 amplifies the detected pulse wave and transmits it to arithmetic circuit 3,
which compares it to a threshold value to calculate a pulse rate. Ex. 1006
¶ 28. We discern that this discussion of how the circuits process a signal
from “a” (or “the”) photodetector is merely exemplary of the process; Patent



                                      34
       Case: 22-1976      Document: 4       Page: 202   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

Owner has not pointed to any persuasive support for its position that this
somehow indicates a “key feature” of Aizawa is individual monitoring. As
noted above, Aizawa plainly discloses that it is the signals from the plurality
of photodetectors that is used to determine a pulse wave. Id. ¶¶ 23, 27.
Nothing in Figure 3 or paragraph 28 clearly contradicts that disclosure.
      We have considered the cited testimony of Dr. Madisetti, which
Patent Owner relies upon as support for its position, but we find it
unavailing as well. Dr. Madisetti’s testimony includes the same citations
presented by Patent Owner, none of which demonstrates individual
monitoring. Ex. 2004 ¶ 102. Thus, we determine this testimony to be
conclusory and entitled to little weight.
      We do recognize, as did Dr. Kenny during his deposition, that Aizawa
does not provide extensive discussion of the algorithms through which
Aizawa determines a pulse wave. See, e.g., Ex. 2026, 80:8–18 (“It doesn’t
describe the algorithm in detail. It just says amplifies the signals from the
detectors and then performs whatever function takes place inside the
arithmetic circuit which I think computes the number of times the signal
crosses the threshold value to calculate the pulse rate, but there’s not a
clearly described precise algorithm for what goes on. It’s left for one of
ordinary skill in the art to process the waveforms and, and count the
crossings of the threshold and determine the pulse rate.”). Nonetheless, we
decline Patent Owner’s invitation to import into Aizawa’s disclosure a “key
feature” of individual monitoring that is not identified by Aizawa with any
reasonable clarity. Again, as noted above, Dr. Madisetti provides no further
support for the conclusory position advanced by Patent Owner.




                                       35
       Case: 22-1976      Document: 4      Page: 203    Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

      By contrast, we credit Dr. Kenny’s testimony, which is consistent
with Aizawa’s express disclosure of detecting a pulse wave from “the
plurality of photodetectors” (Ex. 1006 ¶ 27), that:
      connecting multiple photodetectors together in parallel allows
      the current generated by the multiple photodetectors to be added
      to one another, which would subsequently ensure that even if one
      of multiple sensors connected in parallel were to be displaced so
      as to receive no signal, the fact that all the sensors are connected
      in parallel such that their signals are summed means that a signal
      will still be detected, in accordance with Aizawa’s objective.
Ex. 1060 ¶ 62. Moreover, we agree with Dr. Kenny that “there is no
disclosure anywhere in Aizawa to suggest that it is even capable of
somehow monitoring the signals of each photodetector, and there is certainly
no need to do so if its sensors are connected in parallel.” Id. Thus,
considering the express disclosure of Aizawa and the competing testimony
of the parties’ experts, we credit that of Dr. Kenny.
      Patent Owner’s second argument—that the proposed modification
would have resulted in increased power consumption—is plainly
contradicted by Mendelson-2003’s disclosure. Table 1 of Mendelson-2003
is reproduced below.




Table 1 includes three rows, each associating a different photodetector
configuration with an estimated battery life. Ex. 1024, 3019. The table
indicates that a configuration consisting of only a near ring of photodetectors


                                      36
        Case: 22-1976      Document: 4       Page: 204    Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

results in 45.8 days of battery life; a configuration consisting of only a far
ring of photodetectors results in 20.3 days of battery life; and a configuration
consisting of both a near ring and a far ring of photodetectors results in 52.5
days of battery life. Id. In describing this table, Mendelson-2003 states,
“the considerable differences in the estimated power consumptions clearly
points out the practical advantage gained by using a reflection sensor
comprising a large ring-shaped PD area to perform SpO2 measurements,”
which in this case, was realized by the combination of a near and far ring of
detectors, akin to the modification proposed by Petitioner. Id. Thus, we do
not agree with Patent Owner’s argument that power consumption would
increase if a second ring of detectors were added to Aizawa’s sensor;
Mendelson-2003 plainly suggests the opposite and supports Petitioner’s
contention that the proposed modification would result in a power savings
over a single ring.
       We also do not agree with the argument that a person of ordinary skill
in the art would not make the proposed modification because Aizawa
already discloses a way to improve detection efficiency, e.g., by including
more detectors in a single ring. PO Resp. 58 (citing Ex. 1006 ¶ 32, Fig. 4A;
Ex. 2004 ¶ 107). Aizawa explains that the photodetector arrangement of its
single-ring preferred embodiment “is not limited” and suggests, “[f]or
example,” that “the number of photodetectors 22 may be increased.”
Ex. 1006 ¶ 32. Aizawa does not limit the increase in photodetectors to being
included in only the existing single ring of detectors, i.e., the first set.
Nothing in this disclosure teaches against adding a second set, as proposed
by Petitioner for the well-supported reasons identified in Mendelson-2003
and further discussed by Dr. Kenny.



                                        37
        Case: 22-1976     Document: 4       Page: 205   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

      Patent Owner’s third argument—that Mendelson-2003 is experimental
and would not provide the alleged benefits—likewise fails. Patent Owner’s
suggestion that Mendelson-2003 teaches using a single large, wide detector
ring that outputs a single signal stream is unfounded. The analysis provided
in Mendelson-2003 explicitly compares a dual-ring arrangement to both a
single near ring and a single far ring. See, e.g., Ex. 1024, Fig. 3, Fig. 4,
Table 1 (all comparing near, far, and near + far arrangements). Mendelson-
2003 explains that the dual-ring arrangement “simulate[s] a single large PD
area” and realizes benefits in LED power requirements. Id. at 3019. That
Mendelson-2003 simulates a single ring by using two discrete rings
demonstrates the fallacy of Patent Owner’s argument.
      Finally, we disagree with Patent Owner’s argument that a person of
ordinary skill in the art would not have made the proposed combination
because it “introduces signal processing problems requiring a further
redesign for Aizawa’s sensor” to include a second amplifier to account for
signals of different strengths between the near and far rings. PO Resp. 63–
64. A person of ordinary skill in the art must be presumed to understand
something about the art beyond what is disclosed in the references. See In re
Jacoby, 309 F.2d 513, 516 (CCPA 1962). After all, “[a] person of ordinary
skill is also a person of ordinary creativity, not an automaton.” KSR Int’l
Co. v. Teleflex Inc., 550 U.S. 398, 421 (2007). Neither Patent Owner nor
Dr. Madisetti assert that adding a second amplifier would be beyond the
level of skill in the art or would introduce any specific problems, beyond its
mere addition. We credit Dr. Kenny’s testimony that a person of ordinary
skill would have recognized that, in order to account for the disparate
currents generated by the two rings, the rings would be separately wired with



                                       38
        Case: 22-1976     Document: 4       Page: 206   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

separate amplifiers (Ex. 1003 ¶ 109) and that this would have been a routine
and conventional design choice, within the level of ordinary skill in the art
(id. ¶ 106).
       For the foregoing reasons, we are persuaded by Petitioner’s
contentions.

                  v.“[h] a cover located above the wall and comprising a
                    single protruding convex surface configured to be
                    located between tissue of the user and the first and
                    second sets of photodiodes when the physiological
                    measurement device is worn by the user”

Petitioner’s Undisputed Contentions
       Petitioner contends that Aizawa “teaches a light permeable cover in
the form of an acrylic transparent plate 6 . . . that is mounted at the detection
face 23a” of the sensor, i.e., between the user’s tissue and Aizawa’s
photodetectors, to provide “improved adhesion between the detector and the
wrist to ‘further improv[e] the detection efficiency of a pulse wave.’”
Pet. 8–9 (citing Ex. 1006 ¶ 30, Fig. 1(b); Ex. 1003 ¶¶ 53–54). Patent Owner
does not dispute this contention, and we agree with Petitioner. Aizawa
discloses that “acrylic transparent plate 6 is provided on the detection face
23a of the holder 23 to improve adhesion to the wrist 10.” Ex. 1006 ¶ 34,
Fig. 1(b) (depicting transparent plate 6 between sensor 2 and wrist 10).
       Petitioner also contends that Ohsaki teaches a wrist-worn sensor that
includes a “translucent board” having a single protruding convex surface
that contacts the user’s skin. Pet. 12, 49. Patent Owner does not dispute this
contention, and we agree with Petitioner. Ohsaki discloses that sensor 1
includes detecting element 2 and sensor body 3, and is “worn on the back
side of the user’s wrist.” Ex. 1014 ¶ 16. Ohsaki discloses that detecting


                                       39
        Case: 22-1976      Document: 4       Page: 207   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

element 2 includes package 5 and “translucent board 8[,which] is a glass
board which is transparent to light, [and is] attached to the opening of the
package 5. A convex surface is formed on the top of the translucent
board 8.” Id. ¶ 17. As seen in Ohsaki’s Figure 2, translucent board 8 has a
protruding convex surface, and is located between the user’s tissue and
Ohsaki’s detecting element. Id. ¶ 17 (“The translucent board 8 is . . .
attached to the opening of the package 5.”), Fig. 2.
Petitioner’s Disputed Contentions
      Petitioner further contends that a person of ordinary skill in the art
would have found it obvious “to modify the sensor’s flat cover [in Aizawa]
. . . to include a lens/protrusion . . . similar to Ohsaki’s translucent board 8,
so as to [1] improve adhesion between the user’s wrist and the sensor’s
surface, [2] improve detection efficiency, and [3] protect the elements within
sensor housing.” Pet. 25 (citing, e.g., Ex. 1003 ¶ 80; Ex. 1014 ¶ 25), 49
(citing, e.g., Ex. 1003 ¶ 114). Petitioner contends that Ohsaki’s convex
surface is in “intimate contact” with the user’s tissue, which prevents
slippage of the sensor and increases signal strength because “variation of the
amount of the reflected light . . . that reaches the light receiving element 7 is
suppressed” and because “disturbance light from the outside” is prevented
from penetrating board 8, as compared to a sensor with a flat surface. Id. at
23–24 (citing, e.g., Ex. 1003 ¶¶ 78–79; quoting Ex. 1014 ¶¶ 15, 17, 25).
      Petitioner contends this modification would have been “nothing more
than the use of a known technique to improve similar devices in the same
way,” i.e., “simply improving Aizawa-Mendelson-2003’s transparent plate 6
that has a flat surface to improve adhesion to a subject’s skin and reduce
variation in the signals detected by the sensor.” Pet. 26 (citing Ex. 1003



                                        40
       Case: 22-1976      Document: 4      Page: 208   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

¶ 81). Further according to Petitioner, “the elements of the combined system
would each perform functions they had been known to perform prior to the
combination—Aizawa-Mendelson-2003’s transparent plate 6 would remain
in the same position, performing the same function, but with a convex
surface as taught by Ohsaki.” Id.
      To illustrate its proposed modification, Petitioner includes two
annotated versions of Aizawa’s Figure 1(b), both of which are reproduced
below. Pet. 26.




Petitioner’s annotated figure on the left depicts Aizawa’s sensor with a
“Cover with flat surface”; Petitioner’s annotated figure on the right depicts
Aizawa’s sensor with a “Cover with protruding convex surface” (both
illustrated with blue outline). Petitioner contends that, in the combination,
the convex surface is above the wall provided by the holder and between the
tissue of the user and the photodiodes. Pet. 49 (citing, e.g., Ex. 1003 ¶ 114)
      Petitioner also identifies Japanese Patent Application 2006-296564 to
Inokawa (Ex. 1007 (Japanese language); Ex. 1008 (English language
translation)), which Petitioner contends “provides an additional motivation
and rationale . . . to modify Aizawa to include a cover comprising a
protruding convex surface.” Pet. 27. According to Petitioner, Inokawa
teaches a convex lens that “increase[s] the light-gathering ability of the
LED.” Id. (citing Ex. 1008 ¶ 15, Fig. 2. Petitioner contends that, in view of


                                      41
       Case: 22-1976     Document: 4       Page: 209   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

Inokawa, a person of ordinary skill in the art would have understood how to
implement Ohsaki’s convex surface in Aizawa. Id. at 27–28 (citing
Ex. 1003 ¶¶ 82–84).
Patent Owner’s Arguments
      Patent Owner argues that a person of ordinary skill in the art would
not have been motivated to modify Aizawa’s sensor to include Ohsaki’s
convex cover. PO Resp. 21–53;5 PO Sur-reply 3–22.
      First, Patent Owner argues that the proposed modification
“fundamentally changes Ohsaki’s structure and eliminates the longitudinal
shape that gives Ohsaki’s translucent board the ability to prevent slipping.”
PO Resp. 23. This argument is premised on Patent Owner’s contention that
Ohsaki’s convex cover must be rectangular, with the cover’s long direction
aligned with the length of the user’s forearm, to avoid interacting with bones
in the wrist and forearm. Id. at 23–26 (citing, e.g., Ex. 2004 ¶¶ 53–57;
Ex. 1014 ¶¶ 6, 19, 23, 24). According to Patent Owner, Ohsaki teaches that
“aligning the sensor’s longitudinal direction with the circumferential




5
 As an initial matter, Patent Owner observes that Petitioner “[r]eli[es] on a
non-ground reference, Inokawa,” as providing the rationale for the proposed
modification of Aizawa in view of Ohsaki, and as providing implementation
details of the combination. RO Resp. 22 (citing Pet. 28); id. at 44–45, 50–
53. We discern no error in Petitioner’s identification of Inokawa. The
nature of Petitioner’s reliance on Inokawa in support of this ground is
explained clearly in the Petition, even if Inokawa is not listed as an
additional reference in the identification of the ground. Thus, the Petition
complies with 35 U.S.C. § 312(a)(3) (stating an IPR petition must
“identif[y], in writing and with particularity . . . the grounds on which the
challenge to each claim is based, and the evidence that supports the grounds
for the challenge”).


                                      42
       Case: 22-1976      Document: 4      Page: 210   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

direction of the user’s arm undesirably results in ‘a tendency [for Ohsaki’s
sensor] to slip off.’” Id. at 25–26 (citing Ex. 1014 ¶ 19).
      Thus, Patent Owner contends that Petitioner’s proposed modification
would “chang[e] Ohsaki’s longitudinal detecting element and rectangular
board into a circular shape[, which] would eliminate the advantages
discussed above” because a circular shape “cannot be placed in any
longitudinal direction and thus cannot coincide with the longitudinal
direction of the user’s wrist.” Id. at 26 (citing Ex. 2004 ¶¶ 57–58). Patent
Owner presents annotated Figures depicting what it contends is Ohsaki’s
disclosed sensor placement as compared to that of the proposed
modification, reproduced below. Id. at 27.




Patent Owner’s annotated Figure on the left depicts a rectangular sensor
placed between a user’s radius and ulna, while Patent Owner’s annotated
Figure on the right depicts a circular sensor placed across a user’s radius and
ulna. Based on these annotations, Patent Owner argues that the proposed
“circular shape would press on the user’s arm in all directions and thus
cannot avoid the undesirable interaction with the user’s bone structure,” such
that a skilled artisan would have understood such a change would eliminate


                                      43
        Case: 22-1976     Document: 4       Page: 211   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

Ohsaki’s benefit of preventing slipping. Id. at 29 (citing, e.g., Ex. 2004
¶¶ 57–58), 29 (citing Ex. 2004 ¶¶ 55–62).6
      Second, Patent Owner argues that Ohsaki requires its sensor be placed
on the back of the user’s wrist to achieve any benefits, but that such a
location would have been unsuitable for Aizawa’s sensor. PO Resp. 32.
Specifically, Patent Owner argues that Aizawa’s sensor must be worn on the
palm side of the wrist, close to radial and ulnar arteries, which is the side
opposite from where Ohsaki’s sensor is worn. Id. at 32–38 (citing, e.g.,
Ex. 2004 ¶¶ 67–74). According to Patent Owner, Ohsaki teaches that the
sensor’s convex surface has a tendency to slip when placed on the palm side
of the wrist, i.e., in the location taught by Aizawa. Id. at 38–41 (citing, e.g.,
Ex. 1014 ¶¶ 19, 23, 24; Ex. 2004 ¶¶ 75–81). Thus, Patent Owner argues that
a person of ordinary skill in the art “would not have been motivated to use
Ohsaki’s longitudinal board—designed to be worn on the back side of a
user’s wrist—with Aizawa’s palm-side sensor.” Id. at 41. Similarly, Patent
Owner argues that Aizawa teaches away from the proposed modification
because Aizawa teaches that its flat acrylic plate improves adhesion on the
palm side of the wrist, while Ohsaki teaches that its convex board “has a
tendency to slip” on the palm side of the wrist. Id. at 41–44 (citing, e.g.,
Ex. 2004 ¶¶ 82–85).




6
 Patent Owner further argues, “[t]o the extent Petitioner contends a [person
of ordinary skill in the art] would use Ohsaki’s rectangular board on
Aizawa’s circular sensor . . . this argument is unsupported and incorrect.”
PO Resp. 30. We do not read the Petition as making such a contention. We
understand Petitioner to propose, in essence, changing Aizawa’s circular flat
cover into a circular convex cover. See, e.g., Pet. 25.

                                       44
        Case: 22-1976     Document: 4       Page: 212   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

      Third, Patent Owner argues that a person of ordinary skill in the art
would not have placed Ohsaki’s convex cover over Aizawa’s peripheral
detectors because the convex cover would condense light toward the center
and away from Aizawa’s detectors, which would decrease signal strength.
PO Resp. 44–52 (citing, e.g., Ex. 2004 ¶¶ 86–97). Patent Owner also
contends that Petitioner and Dr. Kenny admitted as much in a related
proceeding. Id. at 45–46 (citing, e.g., Ex. 2019, 45; Ex. 2020, 69–70).
Patent Owner also relies on Figure 14B of the ’195 patent to support its
position. Id. at 46–47 (citing Ex. 1001, 36:3–6, 36:13–15). Additionally,
Patent Owner argues that its position is also supported by Inokawa, which
also uses a convex lens to direct light toward the center but, in Inokawa’s
structure, the light is directed from peripheral emitters toward a central
detector. Id. at 50–52 (citing, e.g., Ex. 1008 ¶¶ 15, 58). In light of the
foregoing, Patent Owner argues that a person of ordinary skill in the art
would have understood that the proposed modification would have
decreased signal strength by directing light away from Aizawa’s peripheral
detectors. Id. at 52.
      Fourth and finally, Patent Owner argues that a person of ordinary skill
in the art “would have understood that Aizawa’s flat plate would provide
better protection than a convex surface” because it “would be less prone to
scratches.” Id. at 52–53 (citing Ex. 1008 ¶ 106; Ex. 2004 ¶¶ 98–99).
Petitioner’s Reply
      Concerning Patent Owner’s first and second arguments, Petitioner
responds that Ohsaki does not disclose the shape of its protrusion, other than
its convexity as shown in Figures 1 and 2, nor does Ohsaki require a
rectangular shape or placement on the back of the wrist in order to achieve



                                       45
       Case: 22-1976      Document: 4       Page: 213   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

the disclosed benefits. Pet. Reply 13–20 (citing, e.g., Ex. 1060 ¶¶ 18–30).
Moreover, Petitioner asserts that “[e]ven if Ohsaki’s translucent board 8
were understood to be rectangular, obviousness does not require ‘bodily
incorporation’ of features from one reference into another”; rather, a person
of ordinary skill in the art “would have been fully capable of modifying
Aizawa to feature a light permeable protruding convex cover to obtain the
benefits” taught by Ohsaki. Id. at 16 (citing, e.g., Ex. 1060 ¶ 23). Similarly,
regarding the location of the sensor, Petitioner asserts,
      [E]ven assuming for the sake of argument that a [person of
      ordinary skill in the art] would have understood Aizawa’s sensor
      as being limited to placement on the backside of the wrist, and
      would have understood Ohsaki’s sensor’s “tendency to slip”
      when arranged on the front side as informing consideration of
      Ohsaki’s teachings with respect to Aizawa, that would have
      further motivated the [person of ordinary skill in the art] to
      implement a light permeable convex cover in Aizawa’s sensor,
      to improve detection efficiency of that sensor when placed on the
      palm side.
Id. at 18 (citing, e.g., Ex. 1060 ¶ 27). In other words, Ohsaki’s disclosure
that a convex surface suppresses variation in reflected light would have
motivated an artisan to add such a surface to Aizawa to improve detection
efficiency of that sensor when placed on the palm side. Id. at 18–20.
Moreover, Petitioner replies that the proposed convex surface “would
provide an additional adhesive effect that would reduce the tendency of that
plate to slip, since it is well-understood that physically digging into the skin
with a protrusion provides an additional adhesive effect.” Id. at 20 (citing
Ex. 1060 ¶ 30).
      Concerning Patent Owner’s third argument, Petitioner responds that
Patent Owner’s argument about a convex cover directing light to the center



                                       46
       Case: 22-1976      Document: 4       Page: 214   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

is belied by Ohsaki itself, which uses a convex cover over a non-centrally
located detector. Id. (citing Ex. 1060 ¶ 31); id. at 30–31. According to
Petitioner, Ohsaki demonstrates that even if a convex cover decreased signal
strength (which it disputes), the additional benefit of reduced slippage would
have been recognized by a skilled artisan. Id.
      Further, Petitioner responds that adding a convex cover to Aizawa’s
sensor would not decrease signal strength but, instead, “would improve
Aizawa’s signal-to-noise ratio by causing more light backscattered from
tissue to strike Aizawa’s photodetectors than would have with a flat cover”
because such a cover improves light concentration across the entire lens and
does not direct it only towards the center. Pet. 21–22 (citing, e.g., Ex. 1060
¶¶ 31–34).
      Petitioner asserts that Patent Owner and Dr. Madisetti “ignore[] the
well-known optical principle of reversibility,” by which “a ray going from P
to S will trace the same route as one from S to P” such that “rays that are not
completely absorbed by user tissue will propagate in a reversible manner.”
Pet. Reply 23 (quoting Ex. 1061, 92; citing, e.g., Ex. 1061, 87–92; Ex. 1062,
106–111; Ex. 1060 ¶ 35). When applied to Aizawa’s sensor, Petitioner
contends that any condensing benefit achieved by a convex cover would thus
direct emitted light toward Aizawa’s peripheral detectors. Id. at 23–25
(citing, e.g., Ex. 1060 ¶¶ 35–45). Petitioner explains that this principle of
reversibility is recognized in Aizawa. Id. at 25 (citing, e.g., Ex. 1060 ¶¶ 41–
44; citing Ex. 1006 ¶ 33).
      Petitioner also asserts that Patent Owner and Dr. Madisetti overlook
the fact that light rays reflected by body tissue will be scattered and diffuse
and will approach the detectors “from various random directions and



                                       47
        Case: 22-1976     Document: 4       Page: 215   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

angles.” Pet. Reply 25–27 (citing, e.g., Ex. 1023, 52, 86, 90; Ex. 1056, 803;
Ex. 1060 ¶¶ 46–49; Ex. 2006, 163:12–164:2). This scattered and diffuse
light, according to Petitioner, means that Ohsaki’s convex cover cannot
focus light to the center of the sensor device, as Patent Owner argues. Id. at
26. Instead, due to the random nature of this scattered light, Petitioner
asserts that a person of ordinary skill in the art would have understood that
“Ohsaki’s convex cover provides a slight refracting effect, such that light
rays that otherwise would have missed the detection area are instead directed
toward that area as they pass through the interface provided by the cover.”
Id. at 30 (citing, e.g., Ex. 1060 ¶¶ 48–49). Petitioner applies this
understanding to Aizawa, and asserts that using a cover with a convex
protrusion in Aizawa would “enable backscattered light to be detected
within a circular active detection area surrounding” a central light source.
Id. at 26.
       Petitioner relies upon the following illustration of this alleged effect.
Pet. Reply 29–30 (citing Ex. 1060 ¶¶ 54–55).




                                       48
         Case: 22-1976      Document: 4     Page: 216   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

The above illustration depicts backscattered light reflecting off user tissue
and toward a convex board from various angles. Id. at 29. According to
Petitioner, “[t]his pattern of incoming light cannot be focused by a convex
lens towards any single location,” and, instead, “light rays that otherwise
would have missed the active detection area are instead directed toward that
area” as they pass through the interface provided by the convex cover. Id. at
29–30.
      Finally, Petitioner dismisses Patent Owner’s reliance on Figure 14B of
the ’195 patent because it “is not a representation of light that has been
reflected from a tissue measurement site. The light rays (1420) shown in
FIG. 14B are collimated (i.e., parallel to one another), and each light ray’s
path is perpendicular to the detecting surface.” Pet. Reply 27–29 (citing,
e.g., Ex. 1060 ¶¶ 51–53).
      Concerning Patent Owner’s fourth argument, Petitioner responds that
even if a flat surface might be less prone to scratching, that possible
disadvantage would have been weighed against the “known advantages of
applying Ohsaki’s teachings,” and would not negate a motivation to
combine. Id. at 32 (citing, e.g., Ex. 1060 ¶ 60). Moreover, Petitioner argues
that “by choosing a suitable material of the protrusion to be scratch-resistant,
[] it would have been obvious for a [person of ordinary skill in the art] to
achieve both benefits (light gathering and scratch-resistance) at once.” Id.
Patent Owner’s Sur-reply
      Concerning Patent Owner’s first and second arguments, Patent Owner
reiterates its position that Ohsaki’s purported benefits attach only to a sensor
with a rectangular convex surface that is located on the back of the wrist,




                                       49
        Case: 22-1976     Document: 4       Page: 217    Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

and that “even small changes in its sensor’s orientation or body location
result in ‘a tendency to slip.’” PO Sur-reply 3–14, 6.
      Concerning Patent Owner’s third argument, Patent Owner asserts that
Petitioner’s Reply improperly presents several new theories as compared
with the Petition. Id. at 16 (regarding reversibility), 19 (regarding
refraction).
      Patent Owner argues that Dr. Kenny and Petitioner have not overcome
their admissions that a convex lens directs light toward the center. Id. at 15.
Moreover, Patent Owner argues that Petitioner’s discussion of the principle
of reversibility is “irrelevant” because “Petitioner never explains how the
principle of reversibility could apply to such ‘random’ scattered and
absorbed light” as is present when light interacts with user tissue. Id. at 16.
The random nature of backscattered light, in Patent Owner’s view, “hardly
supports Petitioner’s argument that light will necessarily travel the same
paths regardless of whether the LEDs and detectors are reversed,” and is
irrelevant to the central issue presented here of “whether changing Aizawa’s
flat surface to a convex surface results in more light on Aizawa’s
peripherally located detectors.” Id. at 17.
      Patent Owner also asserts that Petitioner mischaracterizes Patent
Owner’s position, which is not that a cover with a convex protrusion
“focuses all light to a single point” at the center of the sensor as Petitioner
characterizes it. PO Sur-reply 19. Patent Owner’s position, rather, is that
Petitioner has not shown that a person of ordinary skill in the art “would
have been motivated to change Aizawa’s flat surface to a convex surface to
improve signal strength.” Id. In Patent Owner’s view, by arguing that the
convex cover provides only a “slight refracting effect,” Petitioner



                                       50
        Case: 22-1976       Document: 4     Page: 218   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

undermines its contention that providing such a cover would have improved
detection efficiency. Id.
      Moreover, Patent Owner argues that Petitioner’s theory regarding the
“slight refracting effect” of a convex protrusion is “unavailing because it
fails to consider the greater decrease in light at the detectors due to light
redirection to a more central location.” Id. According to Patent Owner, any
light redirected from the sensor’s edge could not make up for the loss of
signal strength from light redirected away from the detectors and toward the
center. Id. at 20.
      Concerning Patent Owner’s fourth argument, Patent Owner argues
that Petitioner does not dispute Patent Owner’s position that a flat cover
would be less prone to scratches and offers “no plausible advantages for its
asserted combination.” Id. at 22. Moreover, Patent Owner argues that “the
risk of scratches undermines Petitioner’s argument that a [person of ordinary
skill in the art] would have been motivated to add a convex cover to ‘protect
the elements within the sensor housing.’” Id.
Analysis
      As noted above, Petitioner provides three rationales to support its
contention that a person of ordinary skill in the art would have modified
Aizawa’s flat cover to include a protruding convex surface, such as that
taught by Ohsaki, to (1) improve adhesion between the sensor and the user’s
tissue, (2) improve detection efficiency, and (3) protect the elements within
the sensor housing. Pet. 24–25. We conclude all three rationales are
supported by the evidence, as follows.
Rationales 1 and 2




                                       51
         Case: 22-1976      Document: 4       Page: 219   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

        The evidence of record persuades us that adding a single protruding
convex surface, such as that taught by Ohsaki, to Aizawa’s cover would
have improved adhesion between the sensor and the user’s skin, which
would have increased the signal strength of the sensor. Ohsaki teaches as
much:
        [T]he convex surface of the translucent board 8 is in intimate
        contact with the surface of the user’s skin. Thereby it is
        prevented that the detecting element 2 slips off the detecting
        position of the user’s wrist 4. If the translucent board 8 has a flat
        surface, the detected pulse wave is adversely affected by the
        movement of the user’s wrist 4 as shown in Fig. 4B. However,
        in the case that the translucent board 8 has a convex surface like
        the present embodiment, the variation of the amount of the
        reflected light which is emitted from the light emitting element 6
        and reaches the light receiving element 7 by being reflected by
        the surface of the user’s skin is suppressed. It is also prevented
        that noise such as disturbance light from the outside penetrates
        the translucent board 8. Therefore the pulse wave can be
        detected without being affected by the movement of the user’s
        wrist 4 as shown in FIG. 4A.
Ex. 1014 ¶ 25 (emphases added); see also id. ¶ 27 (“stably fixed”).
        We credit Dr. Kenny’s testimony that a person of ordinary skill in the
art would have been motivated by such teachings to apply a cover with a
convex surface to Aizawa to improve that similar device in the same way,
i.e., to “simply improv[e] Aizawa-Mendelson-2003’s transparent plate 6 that
has a flat surface to improve adhesion to a subject’s skin and reduce
variation in the signals detected by the sensor.” See, e.g., Ex. 1003 ¶ 81; id.
¶¶ 78 (“[T]his contact between the convex surface and the user’s skin is said
to prevent slippage, which increases the strength of the signals obtainable by
Ohsaki’s sensor.”), 78–79. We also credit Dr. Kenny’s testimony that, in
light of these teachings, a person of ordinary skill in the art would have


                                         52
         Case: 22-1976     Document: 4       Page: 220   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

made such a modification to improve the pulse sensor’s ability to emit light
into, and detect light reflected from, the user’s wrist, to generate an
improved pulse signal. Ex. 1003 ¶¶ 77–81; Ex. 1060 ¶¶ 11–13, 29.
        Indeed, Ohsaki expressly compares the performance of a wrist-worn
pulse wave sensor depending on whether translucent board 8 is convex or
flat, and concludes the convex surface results in improved performance over
the flat surface, especially when the user is moving. Ex. 1014, Figs. 4A–4B,
¶¶ 15, 25 (stating that with “a flat surface, the detected pulse wave is
adversely affected by the movement of the user’s wrist 4,” and with “a
convex surface like the present embodiment, the variation of the amount of
the reflected light” collected by the sensor “is suppressed”). Ohsaki also
states that, with a convex surface, “[i]t is also prevented that noise such as
disturbance light from the outside penetrates the translucent board 8.” Id.
¶ 25.
        We also credit Dr. Kenny’s testimony that the proposed modification
would have been within the skill level of an ordinary artisan. For example,
Dr. Kenny testifies:
               [A person of ordinary skill in the art] would have
        combined the teachings of Aizawa-Mendelson-2003 and Ohsaki
        as doing so would have amounted to nothing more than the use
        of a known technique to improve similar devices in the same
        way. For instance, a [person of ordinary skill in the art] would
        have recognized that incorporating Ohsaki’s convex surface is
        simply improving Aizawa-Mendelson-2003’s transparent plate 6
        that has a flat surface to improve adhesion to a subject’s skin and
        reduce variation in the signals detected by the sensor.
        Furthermore, the elements of the combined system would each
        perform similar functions they had been known to perform prior
        to the combination.          That is, Aizawa-Mendelson-2003’s
        transparent plate 6 would remain in the same position,



                                        53
       Case: 22-1976      Document: 4       Page: 221   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

      performing the same function, but with a convex surface as
      taught by Ohsaki.
Ex. 1003 ¶ 81. In light of Ohsaki’s express disclosure of the benefits of a
convex cover, we credit Dr. Kenny’s testimony that a person of ordinary
skill in the art would have been motivated to modify Aizawa as proposed,
and would have had a reasonable expectation of success in doing so.
      We next address Patent Owner’s first through third arguments, each of
which implicates Petitioner’s first and second asserted rationales of
improved adhesion and detection efficiency.
      Patent Owner’s first argument is premised on the notion that Ohsaki’s
benefits only can be realized with a rectangular convex surface, because
such a shape is required to avoid interacting with bones on the back of the
user’s forearm. PO Resp. 23–32. We disagree. Ohsaki does not disclose
the shape of its convex cover, much less require it be rectangular. In fact,
Ohsaki is silent as to the shape of the convex surface. Ohsaki discloses that
sensor 1 includes detecting element 2, which includes package 5 within
which the sensor components are located. Ex. 1014 ¶ 17. Ohsaki’s convex
surface is located on board 8, which is “attached to the opening of the
package 5.” Id. Ohsaki provides no further discussion regarding the shape
of board 8 or its convex protrusion.
      We disagree with Patent Owner’s suggestion that the shape of the
convex surface can be inferred to be rectangular from Ohsaki’s Figures 1
and 2. PO Resp. 17–18. Ohsaki does not indicate that these figures are
drawn to scale, or reflect precise dimensions or shapes of the convex
surface. See, e.g., Ex. 1014 ¶ 13 (“schematic diagram”); Pet. Reply 14–15;
Hockerson-Halberstadt, Inc. v. Avia Group Int’l, 222 F.3d 951, 956 (Fed.
Cir. 2000) (“[I]t is well established that patent drawings do not define the


                                       54
        Case: 22-1976     Document: 4       Page: 222   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

precise proportions of the elements and may not be relied on to show
particular sizes if the specification is completely silent on the issue.”).
      To be clear, Ohsaki describes the shape of detecting element 2 as
rectangular: “[T]he length of the detecting element 2 from the right side to
the left side in FIG. 2 is longer than the length from the upper side to the
lower side.” Ex. 1014 ¶ 19. Ohsaki also describes that detecting element 2
is aligned longitudinally with the user’s forearm: “[I]t is desirable that the
detecting element 2 is arranged so that its longitudinal direction agrees with
the longitudinal direction of the user’s arm,” to avoid slipping off. Id.; see
also id. ¶ 9 (“The light emitting element and the light receiving element are
arranged in the longitudinal direction of the user’s arm.”).
      In light of this disclosed rectangular shape of detecting element 2, it is
certainly possible that Ohsaki’s convex surface may be similarly shaped.
But, it may not be. Contrary to Patent Owner’s argument, Ohsaki neither
describes nor requires detecting element 2 to have the same shape as the
convex surface of board 8. Accord Pet. Reply. 13–14. We have considered
the testimony of both Dr. Kenny and Dr. Madisetti on this point. Ex. 1060
¶¶ 10, 12, 18–23; Ex. 2004 ¶¶ 36–39 (relying on Ohsaki’s Figures 1–2 to
support the opinion that the convex surface is rectangular). Dr. Madisetti’s
reliance on the dimensions of Ohsaki’s figures is unpersuasive. Hockerson-
Halberstadt, 222 F.3d at 956. We credit Dr. Kenny’s testimony that Ohsaki
does not describe its convex surface as rectangular, because this testimony is
most consistent with Ohsaki’s disclosure.
      Further, Patent Owner suggests that the convex surface must be
rectangular, in order to avoid interacting with bones in the user’s forearm.
PO Resp. 24–26; PO Sur-reply 10 (“[A] POSITA would have understood



                                       55
       Case: 22-1976      Document: 4      Page: 223   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

Ohsaki’s convex board must also have a longitudinal shape oriented up-and-
down the watch-side of the user’s wrist/forearm.”). Although Ohsaki
recognizes that interaction with these bones can cause problems, (see
Ex. 1014 ¶¶ 6, 19), we do not agree that the only way to avoid these bones is
by aligning a rectangular cover with the longitudinal direction of the user’s
forearm. For example, in the annotated Figures provided by Patent Owner,
see PO Resp. 27, we discern that the circular sensor that purports to depict
the proposed modification would also avoid the bones in the forearm if it
were slightly smaller. Patent Owner provides no persuasive explanation to
justify the dimensions it provides in this annotated figure, or to demonstrate
that such a large sensor would have been required. Indeed, we discern that it
would have been within the level of skill of an ordinary artisan to
appropriately size a modified sensor to avoid these well-known anatomical
obstacles. “A person of ordinary skill is also a person of ordinary creativity,
not an automaton.” KSR, 550 U.S. at 421. After all, an artisan must be
presumed to know something about the art apart from what the references
disclose. See In re Jacoby, 309 F.2d at 516.
      Finally, we do not agree with Patent Owner’s position that Ohsaki’s
advantages apply only to rectangular convex surfaces. As discussed, Patent
Owner has not shown that Ohsaki’s convex surface is rectangular at all.
Moreover, even if Ohsaki’s convex surface is rectangular, when discussing
the benefits associated with a convex cover, Ohsaki does not limit those
benefits to a cover of any particular shape. Instead, Ohsaki explains that
“detecting element 2 is arranged on the user’s wrist 4 so that the convex
surface of the translucent board 8 is in intimate contact with the surface of
the user’s skin. Thereby it is prevented that the detecting element 2 slips off



                                      56
       Case: 22-1976      Document: 4      Page: 224   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

the detecting position of the user’s wrist 4.” Ex. 1014 ¶ 25; Ex. 1060 ¶¶ 10
(“Ohsaki does not limit its benefits to a rectangular sensor applied to a
particular body location, and a [person of ordinary skill in the art] would not
have understood those benefits as being so limited.”), 12. Thus, we agree
with Petitioner that Ohsaki’s teaching of a convex surface would have
motivated a person of ordinary skill in the art to add such a surface to
Aizawa’s circular-shaped sensor, to improve adhesion as taught by Ohsaki.
Nothing in Ohsaki’s disclosure limits such a benefit to a specific shape of
the convex surface. Ex. 1060 ¶¶ 10–23.
      Moreover, Ohsaki contrasts the ability to properly receive reflected
light with a convex surface as compared to a flat surface and notes that,
      in the case that the translucent board 8 has a convex surface . . .
      the variation of the amount of the reflected light which is emitted
      from the light emitting element 6 and reaches the light receiving
      element 7 by being reflected by the surface of the user’s skin is
      suppressed. It is also prevented that noise such as disturbance
      light from the outside penetrates the translucent board 8.
      Therefore the pulse wave can be detected without being affected
      by the movement of the user’s wrist 4 as shown in FIG. 4A.
Ex. 1014 ¶ 25; Ex. 1060 ¶¶ 12–13. Again, we agree with Petitioner that
Ohsaki’s teaching of a convex surface would have motivated a person of
ordinary skill in the art to add such a surface to Aizawa’s sensor, to improve
signal strength, as taught by Ohsaki. Again, nothing in Ohsaki’s disclosure
limits such a benefit to the shape of the convex surface.
      Accordingly, we do not agree that Ohsaki’s disclosed advantages
attach only to a rectangular convex surface, or would have been inapplicable
to the proposed combination of Aizawa and Ohsaki.
      We have considered Patent Owner’s second argument, that Ohsaki’s
benefits are realized only when the sensor and convex surface are placed on


                                      57
       Case: 22-1976      Document: 4       Page: 225   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

the back of the user’s wrist, which is the opposite side of the wrist taught by
Aizawa. PO Resp. 32–44. We do not agree. As an initial matter, Petitioner
does not propose bodily incorporating the references; Petitioner simply
proposes adding a convex cover to Aizawa’s sensor, without discussing
where Aizawa’s sensor is used. See, e.g., Pet. 25. In other words,
Petitioner’s proposed modification does not dictate any particular placement,
whether on the palm side or back side of the wrist.
      To be sure, Ohsaki’s Figures 3A–3B compare the performance of
detecting element 2, including its translucent board 8 having a convex
protrusion, and show better performance when the element is attached to the
back side of the wrist versus the front side of the wrist, when the user is in
motion. See Ex. 1014 ¶¶ 23–24, Figs. 3A–3B. However, we do not agree
that these figures support Dr. Madisetti’s conclusion that “Ohsaki indicates a
convex surface only prevents slipping on the back (i.e., watch) side of the
wrist in a specific orientation, but tends to slip when used in different
locations or orientations” such as the palm side of the wrist—particularly in
comparison to a flat surface such as Aizawa’s. Ex. 2004 ¶¶ 67–81. Instead,
Ohsaki acknowledges that, even when the detecting element is located “on
the front [palm] side of the user’s wrist 4, the pulse wave can be detected
well if the user is at rest.” Ex. 1014 ¶ 23 (emphasis added). Thus, Ohsaki
discloses that, in at least some circumstances, a convex surface located on
the front of the user’s wrist achieves benefits. Id. Notably, the claims are
not limited to detection during movement or exercise.
      We credit, instead, Dr. Kenny’s testimony that a person of ordinary
skill in the art would have understood from Ohsaki that a convex protrusion
will help prevent slippage, even in the context of Aizawa’s sensor. See



                                       58
       Case: 22-1976      Document: 4       Page: 226   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

Ex. 1060 ¶¶ 10–11, 15–16, 24–30. Dr. Kenny acknowledges that “certain
locations present anatomical features that provide for easy measurement of
large reflected light signals and other locations present anatomical features
that reduce the amplitude of the reflected light signals. Because of this, a
[person of ordinary skill in the art] would be motivated to search for features
from other references that can provide improved adhesion, improved light
gathering, reduced leakage of light from external sources, and protection of
the elements within the system in order to successfully detect a pulse wave
signal from many locations.” Id. ¶ 16. We credit Dr. Kenny’s testimony
that, in light of Ohsaki’s teaching of a convex protrusion in “intimate contact
with the surface of the user’s skin,” a skilled artisan would have understood
that such a surface “would have increased adhesion and reduced slippage of
Aizawa’s sensor when placed on either side of a user’s wrist or forearm, and
additionally would have provided associated improvements in signal
quality.” Id. ¶ 29.
      Dr. Madisetti testifies that “[b]ased on Aizawa’s teaching that a flat
acrylic plate improves adhesion on the palm side of the wrist, and Ohsaki’s
teaching that a convex surface tends to slip on the palm side of the wrist, a
[person of ordinary skill in the art] would have come to the opposite
conclusion from Dr. Kenny: that modifying Aizawa’s [flat adhesive plate]
‘to include a lens/protrusion . . . similar to Ohsaki’s translucent board 8’
would not ‘improve adhesion.’” Ex. 2004 ¶ 85. We disagree with this
reading of Aizawa. It is true that Aizawa’s plate 6 is illustrated as having a
flat surface (Ex. 1006, Fig. 1(b)), and that Aizawa states the plate
“improve[s] adhesion” (id. ¶ 13). Aizawa further states: “the above belt 7 is
fastened such that the acrylic transparent plate 6 becomes close to the



                                       59
          Case: 22-1976    Document: 4        Page: 227   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

artery 11 of the wrist 10,” and “[t]hereby, adhesion between the wrist 10 and
the pulse rate detector 1 is improved.” Id. ¶ 26. These disclosures, however,
indicate the improved adhesion is provided by the acrylic material of plate 6,
not the shape of the surface of the plate, which is never specifically
addressed. Id. ¶¶ 30, 34 (“Since the acrylic transparent plate 6 is
provided . . . adhesion between the pulse rate detector 1 and the wrist 10 can
be improved . . . .”). Aizawa does not associate this benefit of improved
adhesion with the surface shape of the plate, but rather, with the existence of
an acrylic plate to begin with. Thus, there is no teaching away from using a
convex surface to improve the adhesion of Aizawa’s detector to the user’s
wrist.
         We have considered Patent Owner’s third argument that a convex
cover would condense light away from Aizawa’s peripheral detectors, which
Patent Owner alleges would decrease signal strength. PO Resp. 44–52. We
disagree.
         There appears to be no dispute that when emitted light passes through
user tissue, the light diffuses and scatters as it travels. See, e.g., Pet.
Reply 25 (“[R]eflectance-type sensors work by detecting light that has been
‘partially reflected, transmitted, absorbed, and scattered by the skin and
other tissues and the blood before it reaches the detector.’ A [person of
ordinary skill in the art] would have understood that light that backscatters
from the measurement site after diffusing through tissue reaches the active
detection area from various random directions and angles.”) (quoting
Ex. 1023, 86); PO Sur-reply 16–17 (“Petitioner admits that tissue randomly
scatters and absorbs light rays, which would cause forward and reverse light
paths to be unpredictable and very likely different.”).



                                         60
         Case: 22-1976    Document: 4       Page: 228   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

        The light thus travels at random angles and directions, and no longer
travels in a collimated and perpendicular manner. Exhibit 1061,7
Figure 4.12, illustrates the difference between diffuse and collimated light,
and is reproduced below:




This figure provides at left a photograph and an illustration showing
incoming collimated light reflecting from a smooth surface, and at right a
photograph and an illustration of incoming collimated light reflecting from a
rough surface. See Ex. 1061, 87–88 (original page numbers). The smooth
surface provides specular reflection, in which the reflected light rays are
collimated like the incoming light rays. See id. The rough surface provides
diffuse reflection, in which the reflected light rays travel in random
directions. See id.; see also Ex. 1060 ¶¶ 38–39 (discussing Ex. 1061,
Figure 4.12), 46 (“A [person of ordinary skill in the art] would have
understood that light that backscatters from the measurement site after




7
    Eugene Hecht, Optics (2nd ed. 1990).

                                       61
       Case: 22-1976        Document: 4    Page: 229   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

diffusing through tissue reaches the active detection area from many random
directions and angles.”).
      Dr. Kenny testifies that Aizawa’s sensor “detect[s] light that has been
‘partially reflected, transmitted, absorbed, and scattered by the skin and
other tissues and the blood before it reaches the detector.’” Ex. 1060 ¶ 53
(quoting Ex. 1023, 86). Dr. Kenny further opines that a convex cover, when
added to Aizawa’s sensor with multiple detectors symmetrically arranged
about a central light source, allows “light rays that may have otherwise
missed the detection area [to be] instead be directed toward that area as they
pass through the interface provided by the cover,” thus increasing the light-
gathering ability of Aizawa’s sensor. Id. ¶ 49.
      By contrast Dr. Madisetti testifies that “a convex ‘lens/protrusion’
would direct light away from the detectors and thus result in decreased light
collection and optical signal strength at the peripheral detectors” because it
condenses light towards the center of the sensor and away from the
peripheral detectors. Ex. 2004 ¶¶ 86–87, 90. We have considered this
testimony, however, Dr. Madisetti’s opinions largely are premised upon the
behavior of collimated and perpendicular light as depicted in Figure 14B of
the challenged patent. See id. ¶ 89. Dr. Madisetti does not explain how light
would behave when approaching the sensor from various angles, as it would
after being reflected by tissue. Id. ¶¶ 87–90; see also id. ¶¶ 91–97
(addressing motivation and also failing to discuss diffuse, scattered light). In
other words, even if Patent Owner is correct that the ’195 patent’s
Figure 14B depicts light condensing toward the center, this is not dispositive
to the proposed modification, because light reflected by a user’s tissue is




                                      62
       Case: 22-1976      Document: 4      Page: 230   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

scattered and random, and is not collimated and perpendicular as shown in
Figure 14B. Ex. 1001, Fig. 14B.
      Patent Owner and Dr. Madisetti argue that “Petitioner and Dr. Kenny
both [previously admitted] that a convex cover condenses light towards the
center of the sensor and away from the periphery,” in a different petition
filed against a related patent, i.e., in IPR2020-01520. PO Resp. 45–46;
Ex. 2004 ¶ 87. The cited portions of the Petition and Dr. Kenny’s
declaration from IPR2020-01520 discuss a decrease in the “mean path
length” of a ray of light when it travels through a convex lens rather than
through a flat surface. See, e.g., Ex. 2020 ¶¶ 118–120. We do not agree that
this discussion is inconsistent with Dr. Kenny’s testimony here that, where
light is reflected to the detectors at various random angles and directions,
more light will reach Aizawa’s symmetrically disposed detectors when
travelling through the convex surface than would be reached without such a
surface, because light that might have otherwise missed the detectors now
will be captured. See, e.g., Ex. 1060 ¶¶ 31 (“[A] cover featuring a convex
protrusion would improve Aizawa’s signal-to- noise ratio by causing more
light backscattered from tissue to strike Aizawa’s photodetectors than would
have with a flat cover.”), 34 (“improves ‘light concentration at pretty much
all of the locations under the curvature of the lens”), 46 (“A [person of
ordinary skill in the art] would have understood that light which backscatters
from the measurement site after diffusing through tissue reaches the active
detection area from various random directions and angles.”), 49 (“[L]ight
rays that may have otherwise missed the detection area are instead directed
toward that area as they pass through the interface provided by the cover.”);
see generally id. ¶¶ 31–59. We do not discern that the convergence of a



                                      63
         Case: 22-1976     Document: 4       Page: 231   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

single ray of light toward the center, as discussed in IPR2020-01520, speaks
to the aggregate effect on all light that travels through the convex surface.
        We additionally do not agree with Patent Owner’s argument that
Petitioner’s Reply presents new theories that should have been first
presented in the Petition, to afford Patent Owner an adequate opportunity to
respond. The Petition proposed a specific modification of Aizawa to include
a convex protrusion in the cover, for the purpose of, inter alia, increasing the
light gathering ability of Aizawa’s device. See Pet. 25. Patent Owner’s
Response then challenged that contention, with several arguments that
Petitioner’s proposed convex protrusion would not operate in the way the
Petition alleges it would operate. See PO Resp. 44–52. This opened the
door for Petitioner to provide, in the Reply, arguments and evidence
attempting to rebut the contentions in the Patent Owner Response. See
PTAB Consolidated Trial Practice Guide (Nov. 2019) (“Consolidated
Guide”),8 73 (“A party also may submit rebuttal evidence in support of its
reply.”). This is what Petitioner did here. The Reply does not change
Petitioner’s theory for obviousness; rather, the Reply presents more
argument and evidence in support of the same theory for obviousness
presented in the Petition. Compare Pet. 22–28, with Reply 20–31.
Rationale 3
        Petitioner further contends that a person of ordinary skill in the art
would have recognized that a cover with a protruding convex surface, such
as that taught by Ohsaki, would “protect the elements within the sensor
housing” of Aizawa. Pet. 25. We are persuaded that adding a convex cover,
such as that taught by Ohsaki, would also protect the sensor’s internal


8
    Available at https://www.uspto.gov/TrialPracticeGuideConsolidated.

                                        64
       Case: 22-1976      Document: 4         Page: 232   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

components in a manner similar to Aizawa’s flat acrylic plate. Ex. 1003
¶ 80; Ex. 1060 ¶ 60; see also Ex. 1008 ¶ 15 (noting that a cover “protect[s]
the LED or PD”).
      We disagree with Patent Owner’s fourth argument that a person of
ordinary skill in the art would not have modified Aizawa as proposed
because a convex cover would be prone to scratches and because other
alternatives existed. Patent Owner does not explain how the potential
presence of scratches on a convex cover would preclude that cover’s ability
to, nonetheless, protect the internal sensor components in Aizawa, as
Petitioner proposes. That a convex cover may be more prone to scratches
than Aizawa’s flat cover is one of numerous tradeoffs that a person of
ordinary skill in the art would consider in determining whether the benefits
of increased adhesion, signal strength, and protection outweigh the potential
for a scratched cover. Medichem, S.A. v. Rolabo, S.L., 437 F.3d 1157, 1165
(Fed. Cir. 2006). Moreover, as Petitioner notes, and Patent Owner does not
dispute, a scratch resistant material could be employed in fabricating the
cover. Pet. Reply 32; PO Sur-reply 23. The record does not support the
premise that the possibility of scratches alone would have dissuaded a
person of ordinary skill in the art from the proposed modification, to achieve
the benefits identified by Petitioner.
      For the foregoing reasons, we are persuaded by Petitioner’s
contentions.

                 vi.“[i] wherein the physiological measurement device
                    provides a plurality of optical paths, wherein each of the
                    optical paths: [j] exits an emitter of the one or more
                    emitters, [k] passes through tissue of the user, [l] passes
                    through the single protruding convex surface, and [m]
                    arrives at a corresponding photodiode of the at least one

                                         65
       Case: 22-1976      Document: 4      Page: 233   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

                    of the first or second sets of photodiodes, the
                    corresponding photodiode configured to receive light
                    emitted by the emitter after traversal by the light of a
                    corresponding optical path of the plurality of optical
                    paths and after attenuation of the light by tissue of the
                    user.”

      The cited evidence supports Petitioner’s undisputed contention that
Aizawa discloses a plurality of optical paths that exit emitter 21, pass
through tissue 10, pass through the cover’s convex surface (as modified in
light of Ohsaki’s teachings), and arrive at a photodiode of the first or second
set of photodiodes (as modified in light of Mendelson-2003’s teachings),
wherein the photodiode receives the light that travels through the optical
paths and is attenuated by the tissue, as shown in Petitioner’s modified
figure below. Pet. 51.




The annotated figure depicts “different sections of one of the optical paths,”
in which “the optical path (A) exits an emitter, (B) passes through the tissue
of the user, (C) passes through the single protruding convex surface, and
(D) arrives at a corresponding photodiode.” Pet. 51. This contention is



                                      66
       Case: 22-1976      Document: 4       Page: 234   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

consistent with Aizawa’s disclosure and Dr. Kenny’s undisputed testimony.
See, e.g., Ex. 1006 ¶ 27 (“Near infrared radiation output toward the wrist 10
from the light emitting diode 21 is reflected by a red corpuscle running
through the artery 11 of the wrist 10 and this reflected light is detected by
the plurality of photodetectors 22 so as to detect a pulse wave (see FIG.
1(b).”), Fig. 1(b) (depicting two optical paths from emitter 21 to detectors 22
in Aizawa’s sensor); Ex. 1003 ¶¶ 115–117.

                vii.Summary

      For the foregoing reasons, we determine that Petitioner has met its
burden of demonstrating by a preponderance of the evidence that claim 1
would have been obvious over the cited combination of references.

                         6. Dependent Claims 2–15

      Petitioner contends that claims 2–15 would have been obvious based
on the same combination of prior art addressed above. Claims 2–15 depend
directly or indirectly from independent claim 1. Ex. 1001, 45:35–46:62.

                  i.Dependent Claims 2–8 and 10–14

      Petitioner identifies teachings in the prior art references that teach or
suggest the limitations of these claims, and provides persuasive reasoning as
to why the claimed subject matter would have been obvious to one of
ordinary skill in the art. Pet. 51–64, 66–81, 85. Petitioner also supports its
contentions for these claims with the testimony of Dr. Kenny. Ex. 1003
¶¶ 118–135, 139–162, 184–186.
      Patent Owner does not present any arguments for these claims other
than those we have already considered with respect to independent claim 1.



                                       67
       Case: 22-1976      Document: 4       Page: 235   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

PO Resp. 65 (“[T]he Petition fails to establish that independent claims 1 and
16 are obvious in view of the cited references of Ground 1 and therefore
fails to establish obviousness of any of the challenged dependent claims.”);
see supra § II.D.5.
      We have considered the evidence and arguments of record and
determine that Petitioner has demonstrated by a preponderance of the
evidence that 2–8 and 10–14 would have been obvious over the combined
teachings of the cited references and as supported by the testimony of
Dr. Kenny.

                  ii.Dependent Claims 9 and 15

      Dependent claim 9 ultimately depends from independent claim 1 and
further recites the “protruding convex surface protrudes a height between 1
millimeter and 3 millimeters.” Ex. 1001, 46:14–16.
      Dependent claim 15 ultimately depends from independent claim 1 and
further recites the “protruding convex surface protrudes a height greater than
2 millimeters and less than 3 millimeters.” Id. at 46:59–62.
      Petitioner contends that the sensor rendered obvious by the combined
teachings of Aizawa, Mendelson-2003, Ohsaki, and Goldsmith would have
included a cover with a protruding convex surface. See supra § II.D.5.v.
With respect to claim 9, Petitioner contends that a person of ordinary skill in
the art “would have found it obvious that a device designed to fit on a user’s
wrist would be on the order of millimeters,” consistent with Ohsaki’s
disclosure that the device is in “intimate contact” with the user’s skin.
Pet. 64–65 (citing, e.g., Ex. 1003 ¶¶ 136–137). Petitioner also contends that
an ordinarily skilled artisan would have taken user comfort into account
when establishing the dimensions of the device’s convex cover. Id. With


                                       68
         Case: 22-1976     Document: 4       Page: 236   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

these considerations in mind, Petitioner contends that, “in order to provide a
comfortable cover that prevents slippage, the convex surface should protrude
a height between 1 millimeter and 3 millimeters,” because “there would
have been a finite range of possible protruding heights, and it would have
been obvious to select a protruding height that would have been comfortable
to the user.” Id. at 66 (citing, e.g., Ex. 1003 ¶ 138). With respect to
claim 15, Petitioner incorporates its contentions regarding claim 9. Pet. 81;
Ex. 1003 ¶ 163
       Patent Owner argues that none of the cited references discloses the
claimed height range and that Petitioner relies on hindsight reconstruction.
PO Resp. 66 (citing, e.g., Ex. 2004 ¶¶ 120–125). Patent Owner also
characterizes Dr. Kenny’s testimony as conclusory and unsupported. Id. at
68–69.
       Petitioner is correct that, when “there are a finite number of identified,
predictable solutions, a person of ordinary skill in the art has good reason to
pursue the known options within his or her technical grasp. If this leads to
the anticipated success, it is likely the product . . . of ordinary skill and
common sense.” KSR, 550 U.S. at 402. Petitioner has shown sufficiently
that only a finite number of solutions existed with respect to the height of a
convex protrusion on a tissue-facing sensor, which would have met the art-
recognized goals of both (1) intimate contact between the sensor’s surface
and the user and (2) user comfort. See, e.g., Ex. 1014 ¶¶ 6, 25. Bearing in
mind these considerations, we credit Dr. Kenny’s testimony that it would
have been obvious, “in order to provide a comfortable cover featuring a
protruding convex surface that prevents slippage, [that] the




                                        69
       Case: 22-1976      Document: 4       Page: 237    Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

surface should protrude a height between 1 millimeter and 3 millimeters,” as
recited in claim 13, and which further includes the claimed range of 2 to 3
millimeters as recited in claim 17. Ex. 1003 ¶ 138. Further, the record does
not support that any new and unexpected results were achieved at the
claimed height greater than 2 millimeters and less than 3 millimeters. See,
e.g., Ex. 1001, 23:43–50 (“The height 430 can be from about 0.5 millimeters
to about 3 millimeters, e.g., about 2 millimeters. In an embodiment, the
dimensions 400, 410, and 430 can be selected such that the measurement site
contact area 470 includes an area of about 80 square millimeters, although
larger and smaller areas can be used for different sized tissue for an adult, an
adolescent, or infant, or for other considerations.”).
      We have considered Patent Owner’s argument, and Dr. Madisetti’s
cited testimony. However, it is not dispositive that none of the cited
references teaches the claimed range. PO Resp. 66; Ex. 2004 ¶ 121.
Petitioner relies upon the knowledge, ability, and creativity of a person of
ordinary skill in the art, not the teachings of a specific reference. Notably,
Dr. Madisetti does not dispute Dr. Kenny’s position that there were a finite
number of options available for the height of the convex surface. Ex. 2004
¶¶ 121–125. Therefore, we do not agree that Petitioner’s contentions are
rooted in impermissible hindsight. See, e.g., In re McLaughlin, 443 F.2d
1392, 1395 (CCPA 1971) (“Any judgment on obviousness is in a sense
necessarily a reconstruction based upon hindsight reasoning, but so long as it
takes into account only knowledge which was within the level of ordinary
skill at the time the claimed invention was made and does not include
knowledge gleaned only from applicant’s disclosure, such a reconstruction is
proper.”).



                                       70
        Case: 22-1976      Document: 4       Page: 238   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

      Accordingly, for the foregoing reasons, we determine that Petitioner
has met its burden of demonstrating by a preponderance of the evidence that
claims 9 and 15 would have been obvious over the cited combination of
references.

                             7. Claims 16 and 17

      Independent claim 16 includes limitations [a]–[h] and includes
additional limitations drawn to “a plurality of windows,” “preprocessing
electronics,” “one or more processors,” a “network interface,” a “touch-
screen display,” and “storage device,” a “strap,” and “a plurality of optical
paths.” Ex. 1001 46:63–48:39. Dependent claim 17 depends directly from
claim 16 and further recites a “handheld computing device . . . .” Id. at
48:40–44.
      In asserting that claim 16 would have been obvious over the combined
teachings of Aizawa, Mendelson-2003, Ohsaki, and Goldsmith, Petitioner
refers to the contentions made regarding claim 1, as well as claims
depending therefrom. See Pet. 81–84. Regarding claim 17, Petitioner refers
to the contentions made regarding, inter alia, claim 10. Id. at 86. Petitioner
also supports its contentions for these claims with the testimony of
Dr. Kenny. Ex. 1003 ¶¶ 164–186.
      Patent Owner does not present any arguments for these claims other
than those we have already considered with respect to independent claim 1.
PO Resp. 11–65 (addressing claims 1 and 16 together with respect to
Petitioner’s first ground and stating, “the Petition fails to establish that
independent claims 1 and 16 are obvious in view of the cited references of
Ground 1 and therefore fails to establish obviousness of any of the
challenged dependent claims”); see supra § II.D.5.


                                        71
        Case: 22-1976     Document: 4       Page: 239   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

      For the same reasons discussed above, we determine that Petitioner
has met its burden of demonstrating by a preponderance of the evidence that
claims 16 and 17 would have been obvious over the cited combination of
references. See supra II.D.5; Ex. 1003 ¶¶ 164–186.

              E. Obviousness over the Combined Teachings of
              Aizawa, Mendelson-2003, Ohsaki, Goldsmith, and Ali

      Petitioner provides arguments and evidence, including the Kenny
Declaration, in support of Petitioner’s additional ground challenging
claims 1–17 of the ’195 patent. Pet. 86–89; Ex. 1003 ¶¶ 187–191. Because
we have already determined that those claims are unpatentable based on
Aizawa, Mendelson-2003, Ohsaki, and Goldsmith, which is dispositive as to
all challenged claims, we need not reach this additional ground. See SAS
Inst. Inc. v. Iancu, 138 S. Ct. 1348, 1359 (2018) (holding that a petitioner “is
entitled to a final written decision addressing all of the claims it has
challenged”); Boston Sci. Scimed, Inc. v. Cook Grp. Inc., 809 F. App’x 984,
990 (Fed. Cir. 2020) (“[T]he Board need not address issues that are not
necessary to the resolution of the proceeding.”).




                                       72
         Case: 22-1976   Document: 4      Page: 240    Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

                               III. CONCLUSION

        In summary, we determine that a preponderance of the evidence
establishes claims 1–17 of the ’195 patent are unpatentable, as shown in the
following table:9

                                                                   Claims
                                                        Claims        Not
     Claim(s)    35 U.S.C. §       References           Shown       Shown
                                                      Unpatentable Unpaten
                                                                     table
                                Aizawa,
                                Mendelson-2003,
1–17             103                                  1–17
                                Ohsaki,
                                Goldsmith
                                Aizawa,
                                Mendelson-2003,
1–17             10310
                                Ohsaki,
                                Goldsmith, Ali
Overall
                                                      1–17
Outcome




9
  Should Patent Owner wish to pursue amendment of the challenged claims
in a reissue or reexamination proceeding subsequent to the issuance of this
decision, we draw Patent Owner’s attention to the April 2019 Notice
Regarding Options for Amendments by Patent Owner Through Reissue or
Reexamination During a Pending AIA Trial Proceeding. See 84 Fed. Reg.
16,654 (Apr. 22, 2019). If Patent Owner chooses to file a reissue application
or a request for reexamination of the challenged patent, we remind Patent
Owner of its continuing obligation to notify the Board of any such related
matters in updated mandatory notices. See 37 C.F.R. §§ 42.8(a)(3), (b)(2).
10
   As explained above in Section II.E, because we conclude that
claims 1–17 are unpatentable on other grounds, we do not reach the
merits of this ground.

                                     73
       Case: 22-1976     Document: 4       Page: 241     Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

                                 IV. ORDER

      In consideration of the foregoing, it is hereby:
      ORDERED that claims 1–17 of the ’195 patent have been shown to be
unpatentable; and
      FURTHER ORDERED that, because this is a final written decision,
parties to the proceeding seeking judicial review of the decision must
comply with the notice and service requirements of 37 C.F.R. § 90.2.




                                      74
      Case: 22-1976    Document: 4    Page: 242   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

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                                 75
      Case: 22-1976   Document: 4        Page: 243    Filed: 08/09/2022

Trials@uspto.gov                                                Paper 33
571-272-7822                                         Entered: May 4, 2022



       UNITED STATES PATENT AND TRADEMARK OFFICE

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        BEFORE THE PATENT TRIAL AND APPEAL BOARD



                            APPLE INC.,
                             Petitioner,

                                    v.

                      MASIMO CORPORATION,
                           Patent Owner.

                           IPR2020-01737
                         Patent 10,709,366 B1



Before JOSIAH C. COCKS, ROBERT L. KINDER, and
AMANDA F. WIEKER, Administrative Patent Judges.
KINDER, Administrative Patent Judge.



                             JUDGMENT
                        Final Written Decision
            Determining All Challenged Claims Unpatentable
                          35 U.S.C. § 318(a)
          Case: 22-1976   Document: 4       Page: 244   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

                            I.   INTRODUCTION

                                 A. Background
      Apple Inc. (“Petitioner”) filed a Petition requesting an inter partes
review of claims 1–27 (“challenged claims”) of U.S. Patent No. 10,709,366
B1 (Ex. 1001, “the ’366 patent”). Paper 2 (“Pet.”). Masimo Corporation
(“Patent Owner”) waived filing a Preliminary Response. Paper 6. We
instituted an inter partes review of all challenged claims 1–27 on all asserted
grounds of unpatentability, pursuant to 35 U.S.C. § 314. Paper 7 (“Inst.
Dec.”).
      After institution, Patent Owner filed a Response (Paper 15, “PO
Resp.”) to the Petition, Petitioner filed a Reply (Paper 19, “Pet. Reply”), and
Patent Owner filed a Sur-reply (Paper 22, “Sur-reply”). An oral hearing was
held on February 9, 2022, and a transcript of the hearing is included in the
record. Paper 32 (“Tr.”).
      We issue this Final Written Decision pursuant to 35 U.S.C. § 318(a)
and 37 C.F.R. § 42.73. For the reasons set forth below, Petitioner has met
its burden of showing, by a preponderance of the evidence, that challenged
claims 1–27 of the ’366 patent are unpatentable.

                            B. Related Proceedings
      Masimo Corporation v. Apple Inc., Civil Action No. 8:20-cv-00048
(C.D. Cal.) (filed Jan. 9, 2020);
      Apple Inc. v. Masimo Corporation, IPR2020-01520 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,258,265 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01521 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,292,628 B1);


                                        2
       Case: 22-1976    Document: 4       Page: 245   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

      Apple Inc. v. Masimo Corporation, IPR2020-01523 (PTAB Sept. 9,
2020) (challenging claims of U.S. Patent No. 8,457,703 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01524 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,433,776 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01526 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 6,771,994 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01536 (PTAB Aug. 31,
2020) (challenging claims 1–29 of U.S. Patent No. 10,588,553 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01537 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,588,553 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01538 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,588,554 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01539 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,588,554 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01713 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,624,564 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01714 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,631,765 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01715 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,631,765 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01716 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,702,194 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01722 (PTAB Oct. 2,
2020) (challenging claims of U.S. Patent No. 10,470,695 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01723 (PTAB Oct. 2,
2020) (challenging claims of U.S. Patent No. 10,470,695 B2); and

                                      3
        Case: 22-1976      Document: 4       Page: 246   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

      Apple Inc. v. Masimo Corporation, IPR2020-01733 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,702,195 B1).
Pet. 94–95; Paper 3, 1, 3–4.
      Patent Owner further identifies certain pending patent applications, as
well as other issued and abandoned applications, that claim priority to, or
share a priority claim with, the ’366 patent. Paper 3, 1–2.

                               C. The ’366 Patent
      The ’366 patent is titled “Multi-Stream Data Collection System for
Noninvasive Measurement of Blood Constituents,” and issued on July 14,
2020, from U.S. Patent Application No. 16/829,510, filed March 25, 2020.
Ex. 1001, codes (21), (22), (45), (54). The ’366 patent claims priority
through a series of continuation and continuation-in-part applications to
Provisional Application Nos. 61/086,060, 61/086,108, 61/086,063,
61/086,057, each filed August 4, 2008, as well as 61/091,732, filed
August 25, 2008, and 61/078,228 and 61/078,207, both filed July 3, 2008.
Id. at codes (60), (63).
      The ’366 patent discloses a two-part data collection system including
a noninvasive sensor that communicates with a patient monitor. Id. at 2:38–
40. The sensor includes a sensor housing, an optical source, and several
photodetectors, and is used to measure a blood constituent or analyte, e.g.,
oxygen or glucose. Id. at 2:29–37, 2:62–3:12. The patient monitor includes
a display and a network interface for communicating with a handheld
computing device. Id. at 2:42–48.




                                         4
       Case: 22-1976     Document: 4       Page: 247   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

      Figure 1 of the ’366 patent is reproduced below.




Figure 1 illustrates a block diagram of data collection system 100 including
sensor 101 and monitor 109. Id. at 11:51–61. Sensor 101 includes optical
emitter 104 and detectors 106. Id. Emitters 104 emit light that is attenuated
or reflected by the patient’s tissue at measurement site 102. Id. at 11:61–63;
14:4–7. Detectors 106 capture and measure the light attenuated or reflected
from the tissue. Id. at 14:3–10. In response to the measured light, detectors
106 output detector signals 107 to monitor 109 through front-end interface
108. Id. at 14:7–10, 28–33. Sensor 101 also may include tissue shaper 105,
which may be in the form of a convex surface that: (1) reduces the thickness
of the patient’s measurement site; and (2) provides more surface area from
which light can be detected. Id. at 10:61–11:13.
      Monitor 109 includes signal processor 110 and user interface 112. Id.
at 15:16–18. “[S]ignal processor 110 includes processing logic that

                                       5
       Case: 22-1976      Document: 4       Page: 248   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

determines measurements for desired analytes, . . . based on the signals
received from the detectors 106.” Id. at 15:20–24. User interface 112
presents the measurements to a user on a display, e.g., a touch-screen
display. Id. at 15:46–50. The monitor may be connected to storage device
114 and network interface 116. Id. at 15:60–67.
      The ’366 patent describes various examples of sensor devices.
Figures 14D and 14F, reproduced below, illustrate sensor devices.




Figure 14D (left) illustrates portions of a detector submount and Figure 14F
(right) illustrates portions of a detector shell. Id. at 6:44–47. As shown in
Figure 14D, multiple detectors 1410c are located within housing 1430 and
under transparent cover 1432, on which protrusion 605b (or partially
cylindrical protrusion 605) is disposed. Id. at 35:39–43, 36:30–41. Figure
14F illustrates a detector shell 306f including detectors 1410c on substrate
1400c. Id. at 37:9–17. Substrate 1400c is enclosed by shielding enclosure
1490 and noise shield 1403, which include window 1492a and window
1492b, respectively, placed above detectors 1410c. Id. Alternatively,



                                        6
       Case: 22-1976      Document: 4       Page: 249   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

cylindrical housing 1430 may be disposed under noise shield 1403 and may
enclose detectors 1410c. Id. at 37:47–49.
      Figures 4A and 4B, reproduced below, illustrate an alternative
example of a tissue contact area of a sensor device.




Figures 4A and 4B illustrate arrangements of protrusion 405 including
measurement contact area 470. Id. at 23:18–24. “[M]easurement site
contact area 470 can include a surface that molds body tissue of a
measurement site.” Id. “For example, . . . measurement site contact
area 470 can be generally curved and/or convex with respect to the
measurement site.” Id. at 23:41–43. The measurement site contact area may
include windows 420–423 that “mimic or approximately mimic a
configuration of, or even house, a plurality of detectors.” Id. at 23:49–63.

                             D. Illustrative Claim
      Of the challenged claims, claim 1, 14, and 27 are independent. Claim
1 is illustrative and is reproduced below.
            1. A noninvasive physiological parameter measurement
      device adapted to be worn by a wearer, the noninvasive
      physiological parameter measurement device comprising:
             [a] one or more light emitters;
             [b] a substrate having a surface;

                                        7
       Case: 22-1976      Document: 4      Page: 250     Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

            [c] a first set of photodiodes arranged on the surface and
      spaced apart from each other, wherein:
                   [d] the first set of photodiodes comprises at least
             four photodiodes, and
                    [e] the photodiodes of the first set of photodiodes
             are connected to one another in parallel to provide a first
             signal stream responsive to light from at least one of the
             one or more light emitters attenuated by body tissue;
            [f] a second set of photodiodes arranged on the surface and
      spaced apart from each other, wherein:
                   [g] the second set of photodiodes comprises at least
             four photodiodes,
                    [h] the photodiodes of the second set of photodiodes
             are connected to one another in parallel to provide a
             second signal stream responsive to light from at least one
             of the one or more light emitters attenuated by body tissue,
             and
                    [i] at least one of the first signal stream or the second
             signal stream includes information usable to determine a
             physiological parameter of a wearer of the noninvasive
             physiological parameter measurement device;
            [j] a wall extending from the surface and configured to
      surround at least the first and second sets of photodiodes; and
             [k] a cover arranged to cover at least a portion of the
      surface of the substrate, wherein the cover comprises a protrusion
      that extends over all of the photodiodes of the first and second
      sets of photodiodes arranged on the surface, and wherein the
      cover is further configured to cover the wall.
Ex. 1001, 44:57–45:27 (bracketed identifiers [a]–[k] added). Independent
claim 14 includes limitations substantially similar to limitations [a], [c]–[h],
[j], and [k] and includes additional limitations drawn to “one or more
processors configured to: receive information . . . ; [and], process the
information to determine physiological parameter measurement
                                     8
       Case: 22-1976     Document: 4       Page: 251   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

information.” Id. at 46:33–56. Independent Claim 27 contains numerous
limitations, which are integrated from claim 1 (limitations [a]–[k]) as well
as limitations from numerous dependent claims. Id. at 48:1–49:10;
Pet. 81–84.

                           E. Applied References
      Petitioner relies upon the following references:
            Sherman et al., U.S. Patent No. 4,941,236, filed July 6, 1989,
      issued July 17, 1990 (Ex. 1047, “Sherman”);
            Ohsaki et al., U.S. Patent Application Publication No.
      2001/0056243 A1, filed May 11, 2001, published December 27, 2001
      (Ex. 1014, “Ohsaki”);
             Aizawa, U.S. Patent Application Publication No. 2002/0188210
      A1, filed May 23, 2002, published December 12, 2002 (Ex. 1006,
      “Aizawa”);
            Goldsmith et al., U.S. Patent Application Publication
      No. 2007/0093786 A1, filed July 31, 2006, published April 26, 2007
      (Ex. 1027, “Goldsmith); and
            Y. Mendelson, et al., “Measurement Site and Photodetector
      Size Considerations in Optimizing Power Consumption of a Wearable
      Reflectance Pulse Oximeter,” Proceedings of the 25th IEEE EMBS
      Annual International Conference, 3016-3019 (2003) (Ex. 1024,
      “Mendelson-2003”).
Pet. 1–2.
      Petitioner also submits, inter alia, a Declaration of Thomas W.
Kenny, Ph.D. (Ex. 1003) and a Second Declaration of Dr. Kenny (Ex. 1060).
Patent Owner submits, inter alia, a Declaration of Vijay K. Madisetti, Ph.D
(Ex. 2004). The parties also provide deposition testimony from Dr. Kenny
and Dr. Madisetti, including from this proceeding and others. Exs. 1053–
1056, 2006–2009, 2026–2027.

                                       9
       Case: 22-1976       Document: 4        Page: 252    Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

                     F. Asserted Grounds of Unpatentability
      We instituted an inter partes review based on the following grounds.
Inst. Dec. 11, 33.
 Claim(s) Challenged         35 U.S.C. §                  References/Basis
                                                Aizawa, Mendelson-2003,
 1–12 and 14–27                    103
                                                Ohsaki, Goldsmith
                                                Aizawa, Mendelson-2003,
 13                                103
                                                Ohsaki, Goldsmith, Sherman
                             II.    DISCUSSION

                              A. Claim Construction
      For petitions filed on or after November 13, 2018, a claim shall be
construed using the same claim construction standard that would be used to
construe the claim in a civil action under 35 U.S.C. § 282(b). 37 C.F.R.
§ 42.100(b) (2020). Accordingly, we construe the claims according to the
standard set forth in Phillips v. AWH Corp., 415 F.3d 1303 (Fed. Cir. 2005).
Petitioner submits that no claim term requires express construction. Pet. 3.
Patent Owner asserts that the claims should be given their ordinary and
customary meaning, consistent with the specification. PO Resp. 9.
      Based on our analysis of the issues in dispute, we conclude that no
claim terms require express construction. Nidec Motor Corp. v. Zhongshan
Broad Ocean Motor Co. Matal, 868 F.3d 1013, 1017 (Fed. Cir. 2017).

                              B. Principles of Law
      A claim is unpatentable under 35 U.S.C. § 103(a) if “the differences
between the subject matter sought to be patented and the prior art are such
that the subject matter as a whole would have been obvious at the time the
invention was made to a person having ordinary skill in the art to which said
subject matter pertains.” KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 406

                                         10
         Case: 22-1976      Document: 4       Page: 253   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

(2007). The question of obviousness is resolved on the basis of underlying
factual determinations, including (1) the scope and content of the prior art;
(2) any differences between the claimed subject matter and the prior art;
(3) the level of skill in the art; and (4) objective evidence of
nonobviousness. 1 Graham v. John Deere Co., 383 U.S. 1, 17–18 (1966).
When evaluating a combination of teachings, we must also “determine
whether there was an apparent reason to combine the known elements in the
fashion claimed by the patent at issue.” KSR, 550 U.S. at 418 (citing In re
Kahn, 441 F.3d 977, 988 (Fed. Cir. 2006)). Whether a combination of
elements would have produced a predictable result weighs in the ultimate
determination of obviousness. Id. at 416–417.
        In an inter partes review, the petitioner must show with particularity
why each challenged claim is unpatentable. Harmonic Inc. v. Avid Tech.,
Inc., 815 F.3d 1356, 1363 (Fed. Cir. 2016); 37 C.F.R. § 42.104(b). The
burden of persuasion never shifts to Patent Owner. Dynamic Drinkware,
LLC v. Nat’l Graphics, Inc., 800 F.3d 1375, 1378 (Fed. Cir. 2015). To
prevail, Petitioner must support its challenge by a preponderance of the
evidence. 35 U.S.C. § 316(e); 37 C.F.R. § 42.1(d).
        We analyze the challenges presented in the Petition in accordance
with the above-stated principles.

                       C. Level of Ordinary Skill in the Art
        Petitioner identifies the appropriate level of skill in the art as that
possessed by a person having “a Bachelor of Science degree in an academic
discipline emphasizing the design of electrical, computer, or software


1
    The parties have not presented objective evidence of non-obviousness.
                                         11
        Case: 22-1976     Document: 4       Page: 254   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

technologies, in combination with training or at least one to two years of
related work experience with capture and processing of data or information.”
Pet. 3 (citing Ex. 1003 ¶¶ 21–22). “Alternatively, the person could have also
had a Master of Science degree in a relevant academic discipline with less
than a year of related work experience in the same discipline.” Id.
      Patent Owner makes several observations regarding Petitioner’s
identified level of skill in the art but, “[f]or this proceeding, [Patent Owner]
nonetheless applies Petitioner’s asserted level of skill.” PO Resp. 9.
      We adopt Petitioner’s assessment as set forth above, which appears
consistent with the level of skill reflected in the Specification and prior art.

               D. Obviousness over the Combined Teachings of
                Aizawa, Mendelson-2003, Ohsaki, and Goldsmith
      Petitioner contends that claims 1–12 and 14–27 of the ’366 patent
would have been obvious over the combined teachings of Aizawa,
Mendelson-2003, Ohsaki, and Goldsmith. Pet. 10–91; see also Pet. Reply
8–37. 2 Patent Owner disagrees. PO Resp. 8–66; see also Sur-reply 1–29.
      Based on our review of the parties’ arguments and the cited evidence
of record, we determine that Petitioner has met its burden of showing by a
preponderance of the evidence that claims 1–12 and 14–27 are unpatentable.

                        1. Overview of Aizawa (Ex. 1006)

      Aizawa is a U.S. patent application publication titled “Pulse Wave
Sensor and Pulse Rate Detector,” and discloses a pulse wave sensor that




2
 Petitioner’s Reply includes a Table of Contents and an Exhibits list that
spans pages ii–vii, and the substance of the Reply then begins on page 8.
                                       12
       Case: 22-1976      Document: 4       Page: 255   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

detects light output from a light emitting diode and reflected from a patient’s
artery. Ex. 1006, codes (54), (57).
      Figure 1(a) of Aizawa is reproduced below.




Figure 1(a) is a plan view of a pulse wave sensor. Id. ¶ 23. As shown in
Figure 1(a), pulse wave sensor 2 includes light emitting diode (“LED”) 21,
four photodetectors 22 symmetrically disposed around LED 21, and
holder 23 for storing LED 21 and photodetectors 22. Id. Aizawa discloses
that, “to further improve detection efficiency, . . . the number of the
photodetectors 22 may be increased.” Id. ¶ 32, Fig. 4(a). “The same effect
can be obtained when the number of photodetectors 22 is 1 and a plurality of
light emitting diodes 21 are disposed around the photodetector 22.” Id. ¶ 33.




                                       13
        Case: 22-1976     Document: 4       Page: 256   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

      Figure 1(b) of Aizawa is reproduced below.




Figure 1(b) is a sectional view of the pulse wave sensor. Id. ¶ 23. As shown
in Figure 1(b), pulse wave sensor 2 includes drive detection circuit 24 for
detecting a pulse wave by amplifying the outputs of photodetectors 22. Id.
Arithmetic circuit 3 computes a pulse rate from the detected pulse wave and
transmitter 4 transmits the pulse rate data to an “unshown display.” Id. The
pulse rate detector further includes outer casing 5 for storing pulse wave
sensor 2, acrylic transparent plate 6 mounted to detection face 23a of holder
23, and attachment belt 7. Id.
      Aizawa discloses that LED 21 and photodetectors 22 “are stored in
cavities 23b and 23c formed in the detection face 23a” of the pulse wave
sensor. Id. ¶ 24. Detection face 23a “is a contact side between the holder 23
and a wrist 10, respectively, at positions where the light emitting face 21s of
the light emitting diode 21 and the light receiving faces 22s of the
photodetectors 22 are set back from the above detection face 23a.” Id.
Aizawa discloses that “a subject carries the above pulse rate detector 1 on
the inner side of his/her wrist 10 . . . in such a manner that the light emitting
face 21s of the light emitting diode 21 faces down (on the wrist 10 side).”


                                       14
        Case: 22-1976     Document: 4    Page: 257    Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

Id. ¶ 26. Furthermore, “the above belt 7 is fastened such that the acrylic
transparent plate 6 becomes close to the artery 11 of the wrist 10. Thereby,
adhesion between the wrist 10 and the pulse rate detector 1 is improved.”
Id. ¶¶ 26, 34.

                        2. Overview of Mendelson-2003 (Ex. 1024)

      Mendelson-2003 is a journal article titled “Measurement Site and
Photodetector Size Considerations in Optimizing Power Consumption of a
Wearable Reflectance Pulse Oximeter,” which discusses a pulse oximeter
sensor in which “battery longevity could be extended considerably by
employing a wide annularly shaped photodetector ring configuration and
performing SpO2 measurements from the forehead region.” Ex. 1024, 3016.3
      Mendelson-2003 explains that pulse oximetry uses sensors to monitor
oxygen saturation (SpO2), where the sensor typically includes light emitting
diodes (LED) and a silicon photodetector (PD). Id. According to
Mendelson-2003, when designing a pulse oximeter, it is important to offer
“low power management without compromising signal quality.” Id. at 3017.
“However, high brightness LEDs commonly used in pulse oximeters
require[] relatively high current pulses, typically in the range between 100–
200mA. Thus, minimizing the drive currents supplied to the LEDs would
contribute considerably toward the overall power saving in the design of a
more efficient pulse oximeter.” Id. To achieve this goal, Mendelson-2003
discusses previous studies in which
      the driving currents supplied to the LEDs . . . could be lowered
      significantly without compromising the quality of the

3
 We adopt Petitioner’s citation format by referring to the original page
numbering and not Petitioner’s added page numbering at the bottom.
                                    15
       Case: 22-1976     Document: 4       Page: 258   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

      [photoplethysmographic or PPG signals] by increasing the
      overall size of the PD . . . . Hence, by maximizing the light
      collected by the sensor, a very low power-consuming sensor
      could be developed, thereby extending the overall battery life of
      a pulse oximeter intended for telemedicine applications.
Id.
      Mendelson-2003 discloses the prototype of such a sensor in Figure 1,
which is reproduced below, and served as the basis for the studies evaluated
in Mendelson-2003.




Figure 1 of Mendelson-2003 depicts a sensor configuration showing the
relative positions of its PDs and LEDs. Id. As shown in Figure l, “six PDs
were positioned in a close inner-ring configuration at a radial distance of
6.0mm from the LEDs. The second set of six PDs spaced equally along an
outer-ring, separated from the LEDs by a radius of 10.0mm.” Id.
Mendelson-2003 also explains that “[e]ach cluster of six PDs were wired in
parallel and connected through a central hub to the common summing input
of a current-to-voltage converter.” Id.
      Mendelson-2003 reports the results of the studies as follows:
             Despite the noticeable differences between the PPG
      signals measured from the wrist and forehead, the data plotted in
      Fig. 3 also revealed that considerable stronger PPGs could be
      obtained by widening the active area of the PD which helps to
      collect a bigger proportion of backscattered light intensity. The
      additional increase, however, depends on the area and relative
      position of the PD with respect to the LEDs. For example,
                                      16
       Case: 22-1976     Document: 4       Page: 259   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

      utilizing the outer-ring configuration, the overall increase in the
      average amplitudes of the R and IR PPGs measured from the
      forehead region was 23% and 40%, respectively. Similarly, the
      same increase in PD area produced an increase in the PPG signals
      measured from the wrist, but with a proportional higher increase
      of 42% and 73%.
Id. at 3019.

                       3. Overview of Ohsaki (Ex. 1014)

      Ohsaki is a U.S. patent application publication titled “Wristwatch-type
Human Pulse Wave Sensor Attached on Back Side of User’s Wrist,” and
discloses an optical sensor for detecting a pulse wave of a human body.
Ex. 1014, code (54), ¶ 3. Figure 1 of Ohsaki is reproduced below.




Figure 1 illustrates a cross-sectional view of pulse wave sensor 1 attached on
the back side of user’s wrist 4. Id. ¶¶ 12, 16. Pulse wave sensor 1 includes
detecting element 2 and sensor body 3. Id. ¶ 16.




                                      17
       Case: 22-1976      Document: 4      Page: 260   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

      Figure 2 of Ohsaki, reproduced below, illustrates further detail of
detecting element 2.




Figure 2 illustrates a mechanism for detecting a pulse wave. Id. ¶ 13.
Detecting element 2 includes package 5, light emitting element 6, light
receiving element 7, and translucent board 8. Id. ¶ 17. Light emitting
element 6 and light receiving element 7 are arranged on circuit board 9
inside package 5. Id. ¶¶ 17, 19.
      “Translucent board 8 is a glass board which is transparent to light, and
attached to the opening of the package 5. A convex surface is formed on the
top of the translucent board 8.” Id. ¶ 17. “[T]he convex surface of the
translucent board 8 is in intimate contact with the surface of the user’s skin,”
preventing detecting element 2 from slipping off the detecting position of the
user’s wrist. Id. ¶ 25. By preventing the detecting element from moving,
the convex surface suppresses “variation of the amount of the reflected light
which is emitted from the light emitting element 6 and reaches the light
receiving element 7 by being reflected by the surface of the user’s skin.” Id.
Additionally, the convex surface prevents penetration by “noise such as
disturbance light from the outside.” Id.

                                      18
         Case: 22-1976     Document: 4     Page: 261   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

        Sensor body 3 is connected to detecting element 2 by signal line 13.
Id. ¶ 20. Signal line 13 connects detecting element 2 to drive circuit 11,
microcomputer 12, and a monitor display (not shown). Id. Drive circuit 11
drives light emitting element 6 to emit light toward wrist 4. Id. Detecting
element 2 receives reflected light which is used by microcomputer 12 to
calculate pulse rate. Id. “The monitor display shows the calculated pulse
rate.” Id.

                         4. Overview of Goldsmith (Ex. 1027)

        Goldsmith is a U.S. patent application publication titled “Watch
Controller for a Medical Device,” and discloses a watch controller device
that communicates with an infusion device to “provid[e] convenient
monitoring and control of the infusion pump device.” Ex. 1027, codes (54),
(57).
        Goldsmith’s Figure 9A and 9B are reproduced below.




Figure 9A and Figure 9B are respective front and rear views of a combined
watch and controller device. Id. ¶¶ 30–31. As shown in Figure 9A, watch

                                      19
       Case: 22-1976      Document: 4      Page: 262   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

controller 900 includes housing 905, transparent member 950, display 910,
input devices 925a–c, scroll wheel 930, and wrist band 940. Id. ¶¶ 85–86.
Figure 9B shows rear-side cover 960, and a rear view of housing 905, scroll
wheel 930, and wrist band 940. Id.
      Goldsmith discloses the watch controller may interact with one or
more devices, such as infusion pumps or analyte monitors. Id. ¶ 85; see also
id. ¶ 88 (“The analyte sensing device 1060 may be adapted to receive data
from a sensor, such as a transcutaneous sensor.”). Display 910 “may display
at least a portion of whatever information and/or graph is being displayed on
the infusion device display or on the analyte monitor display,” such as, e.g.,
levels of glucose. Id. ¶ 86. The display is customizable in a variety of
configurations including user-customizable backgrounds, languages, sounds,
font (including font size), and wall papers. Id. ¶¶ 102, 104. Additionally,
the watch controller may communicate with a remote station, e.g., a
computer, to allow data downloading. Id. ¶ 89 (including wireless). The
remote station may also include a cellular telephone to be “used as a conduit
for remote monitoring and programming.” Id.

                       5. Independent Claim 1

      Petitioner contends that claim 1 would have been obvious over the
combined teachings of Aizawa, Mendelson-2003, Ohsaki, and Goldsmith.
Pet. 38–53. Below, we set forth how the combination of prior art references
teaches or suggests the claim limitations that are not disputed by the parties.
For those limitations and reasons for combining the references that are
disputed, we examine each of the parties’ contentions and then provide our
analysis.


                                      20
       Case: 22-1976      Document: 4       Page: 263   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

            i.   “A noninvasive physiological parameter measurement
                 device adapted to be worn by a wearer, the noninvasive
                 physiological parameter measurement device comprising”
      The cited evidence supports Petitioner’s undisputed contention that
“Aizawa discloses a pulse sensor that is designed to ‘detect[] the pulse wave
of a subject from light reflected from a red corpuscle in the artery of a wrist
of the subject by irradiating the artery of the wrist,’” and that Goldsmith
teaches an analyte sensor that is part of a user-worn controller device that
includes, e.g., a display. 4 Pet. 33, 39 (quoting Ex. 1006 ¶ 2); see also
Ex. 1006 ¶ 27 (discussing optical path), Fig. 2 (depicting physiological
parameter measurement device worn by a user); Ex. 1027 ¶¶ 85 (“a watch”),
88 (“analyte sensing device 1060”), Fig. 9A; Ex. 1003 ¶ 94.
      Petitioner further contends that a person of ordinary skill in the art
would have found it obvious to incorporate Aizawa’s sensor “into
Goldsmith’s integrated wrist-worn watch controller device that includes,
among other features, a touch screen, network interface, and storage device”
in order to receive and display data sensed by Aizawa’s sensor. Pet. 31–38;
see, e.g., Ex. 1003 ¶¶ 88–89 (“would have enhanced the sensor’s utility and
improved the user’s experience”). According to Petitioner, this would have
“enable[d] a user to view and interact with heart rate data during exercise via
Goldsmith’s touch-screen display, and to enable heart rate data to be
monitored by the user and/or others through any of the devices with which
Goldsmith’s device can communicate.” Pet. 34; see, e.g., Ex. 1003 ¶ 89.



4
 Whether the preamble is limiting need not be resolved because Petitioner
shows sufficiently based on the final record that the recitation in the
preamble is satisfied by the prior art.
                                       21
       Case: 22-1976       Document: 4      Page: 264   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

Petitioner asserts this would have been use of a known technique to improve
similar devices in the same way. Pet. 35; see, e.g., Ex. 1003 ¶ 90; see also
Pet. 35–38 (also discussing physical incorporation); see, e.g., Ex. 1003
¶¶ 90–93 (same).
      Petitioner’s stated reasoning for the proposed modification is
sufficiently supported, including by the unrebutted testimony of Dr. Kenny.
See, e.g., Ex. 1003 ¶¶ 88–94.
           ii.    “[a] one or more light emitters”
                 and
                 “[b] a substrate having a surface”
      The cited evidence supports Petitioner’s undisputed contention that
Aizawa discloses an emitter, LED 21, that emits light that is picked up by
photodetectors. Pet. 40; see, e.g., Ex. 1006 ¶ 23 (“LED 21 . . . for emitting
light having a wavelength of a near infrared range”), 27 (explaining that
light is emitted toward the wrist), Fig. 1(b) (depicting emitter 21 facing user
tissue 10), Fig. 2 (depicting sensor worn on user’s wrist).
      Petitioner persuasively demonstrates that a person of ordinary skill in
the art would have understood that Aizawa’s surface would include a
substrate on which the emitter and detectors are arranged. Pet. 41.
Petitioner relies on annotated Figure 1(b) of Aizawa, reproduced below.




                                       22
       Case: 22-1976      Document: 4       Page: 265   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

Petitioner’s annotated Figure 1(b) shows detectors highlighted in red and a
substrate surface unnumbered but highlighted in brown. Pet. 41. Dr. Kenny
likewise testifies that Aizawa teaches “a substrate having surface (shown in
brown) on which the holder 23 is placed and on which the detectors/
photodiodes are arranged.” Ex. 1003 ¶ 96.

          iii.   “[c] a first set of photodiodes arranged on the surface and
                 spaced apart from each other, wherein: [d] the first set of
                 photodiodes comprises at least four photodiodes”
                 and
                 “[f] a second set of photodiodes arranged on the surface
                 and spaced apart from each other, wherein: [g] the second
                 set of photodiodes comprises at least four photodiodes”
Petitioner’s Undisputed Contentions

      Petitioner contends that Aizawa discloses a first set of four
photodiodes that are circularly arranged around a central emitter. Pet. 18
(citing, e.g., Ex. 1006 ¶ 23). Petitioner also contends that, in one
embodiment, Aizawa discloses that eight or more detectors may be used to
improve detection efficiency, but does not expressly teach a “second set of
photodiodes,” as claimed. Id. at 19–20 (citing, e.g., Ex. 1006, Fig. 4(a)); see
also Ex. 1003 ¶¶ 67–68.
      Patent Owner does not dispute these contentions, and we agree with
Petitioner. Aizawa discloses a set of “four phototransistors 22” that are
disposed in a single ring around central emitter 21. Ex. 1006 ¶ 23,
Figs. 1(a)–1(b). Aizawa also discloses that “the number of the
photodetectors 22 may be increased” to further improve detection efficiency,
and depicts in Figure 4(a) an embodiment where eight photodetectors 22 are
disposed in a single ring around central emitter 21. Id. ¶ 32.


                                       23
       Case: 22-1976      Document: 4       Page: 266   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

      Also according to Petitioner, Mendelson-2003 teaches a sensor that
uses two rings of photodiodes, which improve light collection efficiency,
permit use of lower brightness LEDs, and reduce power consumption.
Pet. 20–21; see also Ex. 1003 ¶¶ 69–70.
      Patent Owner does not dispute these contentions regarding what
Mendelson-2003 discloses, and we agree with Petitioner. Mendelson-2003
teaches an experimental sensor in which “six PDs [(photodetectors)] were
positioned in a close inner-ring configuration . . . [and a] second set of six
PDs [were] spaced equally along an outer-ring.” Ex. 1024, 3017, Fig. 1
(depicting a prototype sensor with a near ring of photodetectors and a far
ring of photodetectors). Based on experiments using the dual-ring sensor, as
compared to sensors using only a near ring or only a far ring, Mendelson-
2003 states that “considerabl[y] stronger PPGs [photoplethysmographic
signals] could be obtained by widening the active area of the PD which helps
to collect a bigger proportion of backscattered light intensity.” Id. at 3019,
Fig. 3. Mendelson-2003 also states that, “by combining both PD sets to
simulate a single large PD area, it is possible to further reduce the driving
currents of the LEDs without compromising the amplitude or quality of the
detected PPGs.” Id. at 3019, Fig. 4. Finally, Mendelson-2003 teaches that
estimated battery life for the dual-ring sensor, as compared to sensors using
only a near ring or only a far ring, “could be extended considerably.” Id. at
3019, Table 1 (battery life of 52.5 days for the dual-ring sensor, compared to
45.8 and 20.3 days for the near ring or far ring sensors, respectively).

Petitioner’s Disputed Contentions

      In view of these teachings, Petitioner contends that a person of
ordinary skill in the art would have found it obvious to modify Aizawa to
                                       24
       Case: 22-1976     Document: 4       Page: 267   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

include an additional ring of detectors, as taught by Mendelson-2003, (i.e., a
“second set”) to “advance[e] Aizawa’s goal of improving detection
efficiency through increased power savings.” Pet. 20–21 (citing, e.g.,
Ex. 1003 ¶ 69), 41–43 (citing, e.g., Ex. 1003 ¶¶ 97–100), 48–50 (citing, e.g.,
Ex. 1003 ¶¶ 107–109). According to Petitioner, “by using Mendelson-
2003’s power-saving (and thus efficiency-enhancing) PD configuration, the
power consumption of a wrist-based pulse sensing device as in Aizawa can
be reduced through use of a less bright and, hence, lower power-consuming
LED.” Id. at 23 (citing, e.g., Ex. 1003 ¶ 72).
      Petitioner provides “[a] n example implementation of adding an
additional ring of detectors to Aizawa, as per Mendelson-2003,” which is
reproduced below.




Pet. 24 (citing, e.g., Ex. 1003 ¶ 73). Petitioner’s modified and annotated
figure depicts Aizawa’s sensor with Aizawa’s first set of photodiodes
(depicted as connected by a green ring) and modified to include a second set
of photodiodes as taught by Mendelson-2003 (depicted as connected by a
red ring). Pet. 23–24, 42–43, 49–50. Petitioner contends this would have
been the use of a known solution to improve similar systems in the same

                                      25
          Case: 22-1976     Document: 4      Page: 268   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

way, which “would have led to predictable [results] without significantly
altering or hindering the functions performed by Aizawa’s sensor,”
especially where Aizawa itself discloses adding extra detectors to improve
light collection efficiency. Id. at 24–25 (citing, e.g., Ex. 1003 ¶ 74).

Patent Owner’s Arguments

         Patent Owner’s arguments address limitations [c]–[e] and [g]–[i]
together. See PO Resp. 19–21, 54–66. As such, Patent Owner’s arguments,
the parties’ Reply and Sur-reply briefing, and our analyses, are presented
below in connection with limitations [e] and [h]. See infra § II.D.5.iv.

             iv.   “[e] the photodiodes of the first set of photodiodes are
                   connected to one another in parallel to provide a first signal
                   stream responsive to light from at least one of the one or
                   more light emitters attenuated by body tissue;”
                   and
                   “[h] the photodiodes of the second set of photodiodes are
                   connected to one another in parallel to provide a second
                   signal stream responsive to light from at least one of the one
                   or more light emitters attenuated by body tissue”
Petitioner’s Undisputed Contentions

         Petitioner contends that a signal stream is sent from Aizawa’s set of
photodetectors 22 to drive detection circuit 24, which amplifies the outputs
of the photodetectors. Pet. 18–19 (citing, e.g., Ex. 1006 ¶ 23; Ex. 1003
¶ 67).
         Patent Owner does not dispute this contention, and we agree with
Petitioner. Aizawa discloses that “drive detection circuit 24 [is] for
detecting a pulse wave by amplifying the outputs of the photodetectors 22.”
Ex. 1006 ¶ 23.


                                        26
        Case: 22-1976      Document: 4       Page: 269   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

      Petitioner additionally contends that Mendelson-2003 teaches that
each set of photodiodes, i.e., its near ring and far ring, are wired in parallel,
thereby providing a distinct signal stream for each ring. Pet. 21, 44–45
(citing, e.g., Ex. 1024, 3017).
      Patent Owner does not dispute this contention regarding what
Mendelson-2003 discloses, and we agree with Petitioner. Mendelson-2003
teaches that “[e]ach cluster of six PDs were wired in parallel and connected
through a central hub to the common summing input of a current-to-voltage
converter.” Ex. 1024, 3017.

Petitioner’s Disputed Contentions

      In view of these teachings, Petitioner contends that a person of
ordinary skill in the art “would have recognized and/or found it obvious that
the first set of photodiodes [in the modified system of Aizawa and
Mendelson-2003, see supra § II.D.5.iii] are connected to one another in
parallel to provide a first signal stream in the manner claimed,” and the
photodiodes in the second/outer ring (i.e., second set of photodiodes) “are
connected to one another in parallel to provide a second signal stream,” as
taught by Mendelson-2003. Pet. 44–45, 50 (citing, e.g., Ex. 1003 ¶¶ 103–
110), 21–22 (citing, e.g., Ex. 1003 ¶ 71). Petitioner contends this “would
have led to predictable results without significantly altering or hindering the
functions performed by Aizawa’s sensor.” Id. at 24–25 (citing, e.g.,
Ex. 1003 ¶ 75).
      According to Petitioner, this arrangement would have provided known
benefits. Pet. 44–48. For example, Petitioner contends that a person of
ordinary skill in the art “would have known that connecting multiple
photodiodes together in parallel allows the current generated by the multiple
                                        27
       Case: 22-1976       Document: 4      Page: 270   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

photodiodes in [each] set/ring to be added to one another, thereby resulting
in a larger total current akin to what would be generated from a single, large
detector.” Id. at 44. According to Petitioner, this was “a routine and
conventional design choice.” Id. at 45. Further, “monitoring each signal
stream (from each ring of detectors) separately allows the system to
determine when the sensor device is so severely located that its position
should be adjusted,” and can help detect motion artifacts. Id. at 45–46
(citing Ex. 1003 ¶ 104).
      Petitioner also argues that a person of skill in the art would have
known that “the photodiodes in the far ring (i.e., second set of photodiodes)
would receive reflected light having a lower intensity than that received by
the photodiodes in the near ring (i.e., first set of photodiodes) and would
have been motivated and found it obvious to account for this discrepancy,”
e.g., by “keep[ing] each ring separately wired and connected to its own
amplifier . . . to thereby keep the magnitude of the current signals provided
by each ring approximately the same before being combined and transmitted
to the arithmetic circuit 3.” Id. at 46–48 (citing Ex. 1003 ¶¶ 105–106); id. at
50 (citing Ex. 1003 ¶ 110).

Patent Owner’s Arguments

      Patent Owner disputes Petitioner’s contentions that it would have
been obvious (1) to modify Aizawa to include a second set of at least four
photodiodes, and (2) to wire the photodiodes of the first set in parallel to
provide a first signal stream and to wire the photodiodes of the second set in
parallel to provide a second signal stream. PO Resp. 54–66; Sur-reply 23–
29.


                                       28
       Case: 22-1976      Document: 4      Page: 271   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

      First, Patent Owner argues this proposed modification changes
Aizawa’s principle of operation. Specifically, Patent Owner claims that
“Aizawa’s approach monitors different individual detector signals and
calculates pulse rate based on each individual photodetector signal” and, in
contrast to the proposed modification, “does not measure aggregated signals
from detectors connected in parallel.” PO Resp. 56 (citing Ex. 1006 ¶¶ 7,
19, 23, 27–29, 32, 36; Ex. 2004 ¶ 102; Ex. 2026, 76:13–22, 79:22–80:3).
According to Patent Owner, the proposed modification “eliminates Aizawa’s
core feature—the ability to monitor pulse using the output of each
individual detector, which Aizawa indicates avoids displacement problems.”
Id. at 57–58 (citing, e.g., Ex. 2004 ¶¶ 104–105).
      Second, Patent Owner argues this proposed modification would have
resulted in increased power consumption. Id. at 58. According to Patent
Owner, Mendelson-2003 states that its power savings is caused by
“increasing the number of detectors and thus the detector area, not the two-
ring structure.” Id. at 58–59 (citing Ex. 1024, 3017; Ex. 2004 ¶ 106).
Moreover, Patent Owner argues that Aizawa already discloses a way to
improve detection efficiency—by including eight detectors in a single ring.
Id. at 59 (citing Ex. 1006 ¶ 32, Fig. 4A; Ex. 2004 ¶ 107). In light of this
teaching, Patent Owner argues that adding a second ring is unfounded and
unnecessary, especially where the second ring of detectors “would receive
substantially lower light intensity requiring greater power consumption to
utilize than additional detectors added to the ‘inner’ ring.” Id. at 59–61
(citing, e.g., Ex. 2004 ¶¶ 108–109; Ex. 2026, 55:7–17, 56:6–16, 59:14–60:7,
100:6–101,6, 102:5–17, 112:3–16). “Petitioner never explains why, given
these straightforward options to increase signal strength, a [person of

                                      29
       Case: 22-1976      Document: 4        Page: 272   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

ordinary skill in the art] would instead add an entire new circle of detectors
farther from the emitter.” Id. at 61.
      Third, Patent Owner argues that Mendelson-2003 provides only an
experimental detector configuration, which would fail to provide the alleged
benefits. Specifically, Patent Owner argues that Mendelson-2003 “uses its
particular configuration for specific experiments comparing light intensity
and LED drive currents for detectors arranged different distances from
central emitters,” and “teaches no benefits for this arrangement in practice.”
Id. at 62–63 (citing Ex. 1024, 3019; Ex. 2004 ¶¶ 111–112). To the contrary,
Patent Owner alleges that Mendelson-2003 actually prefers a single detector
ring that outputs a single signal stream: “Mendelson 2003 explains it
‘combin[ed] both PD sets to simulate a single large PD area,’ and notes
‘battery longevity could be extended considerably by employing a wide
annular PD,’ which has a single signal stream—not two different signal
streams from two different parallel-connected rings.” Id. at 62 (citing, e.g.,
Ex. 2026, 87:8–88:1, 91:15–92:7). 5 Thus, according to Patent Owner, even
if a skilled artisan would have added a second ring of detectors to Aizawa,

5
  Patent Owner also criticizes the Petition’s discussion of another reference,
Mendelson ’799 (Ex. 1025), which is not included in Petitioner’s
identification of the asserted ground of unpatentability. PO Resp. 62–64;
Sur-reply 28–29. We discern no error in Petitioner’s identification of
Mendelson ’799. The nature of Petitioner’s reliance on Mendelson ’799 in
support of this ground is explained clearly in the Petition, even if Mendelson
’799 is not listed as an additional reference in the identification of the
ground. Thus, the Petition complies with 35 U.S.C. § 312(a)(3) (stating an
IPR petition must “identif[y], in writing and with particularity . . . the
grounds on which the challenge to each claim is based, and the evidence that
supports the grounds for the challenge”).


                                        30
        Case: 22-1976     Document: 4       Page: 273   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

they “would not have kept the first and second ring of detectors separate or
separately amplified the aggregated signals”; instead, they would have
“combin[ed] both PD sets to simulate a single large PD area,” where
“battery longevity could be extended considerably by employing a wide
annular PD.” Id. at 65 (quoting Ex. 1024, 3019; citing Ex. 2004 ¶ 116).
      Finally, Patent Owner argues that the proposed combination
“introduces signal processing problems requiring a further redesign for
Aizawa’s sensor” to include a second amplifier to account for signals of
different strengths between the near and far rings. Id. at 64–65 (citing
Ex. 2004 ¶ 115). Patent Owner alleges this demonstrates that a skilled
artisan would not have added a second ring of detectors, as proposed, but
instead would have increased the number of detectors in Aizawa’s single
ring. Id. at 65.

Petitioner’s Reply

      Petitioner replies that Patent Owner mischaracterizes Aizawa’s
principle of operation. Pet. Reply 31–33. Specifically, Petitioner contends
that Aizawa’s detector ring is connected in parallel, or at least that a person
of ordinary skill in the art would have recognized that parallel connection
would have been a known implementation detail, which allows a signal to be
detected even if one of the multiple sensors is displaced on the user. Id. at
32 (citing Ex. 1003 ¶¶ 102–103; Ex. 1060 ¶ 62; Ex. 2026, 72:3–9).
Moreover, Petitioner argues that Aizawa lacks any disclosure of individually
monitoring signals from each photodetector. Id. at 33.
      Petitioner reiterates its position that adding a second ring would
collect a bigger portion of backscattered light, and would motivate the
proposed combination. Id. at 33 (citing, e.g., Ex. 1060 ¶¶ 64–66). Petitioner
                                       31
       Case: 22-1976      Document: 4       Page: 274   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

also disputes that such a modification would increase power, noting that it is
the emitters, not the detectors, that consume most power in the system. Id.
at 34 (citing, e.g., Ex. 1060 ¶ 67). Moreover, Petitioner contends that by
widening the detection area with a second ring, the system would capture
additional light which would allow a lower brightness, and lower power,
emitter to be used. Id. at 24–35.
      Petitioner disputes Patent Owner’s characterization of Mendelson-
2003 as purely experimental, and alleges that Mendelson-2003 makes clear
that employing two rings outputting two signal streams is equivalent to
employing a wider single ring of detectors, and provides associated benefits.
Id. at 35–37 (citing, e.g., Ex. 1060 ¶¶ 70–71).

Patent Owner’s Sur-reply

      Patent Owner reiterates its position that Aizawa concerns individual
monitoring, which Patent Owner alleges is a “key feature of Aizawa’s
sensor,” in order to avoid problems associated with sensor displacement.
Sur-reply 23–25. Patent Owner also reiterates its positions that the proposed
modified sensor would consume more power, and that Aizawa’s disclosed
embodiment with eight detectors in a single ring would have been preferred.
Id. at 25–29.

Analysis

      We have considered the parties’ arguments and cited evidence, and
we are persuaded by Petitioner’s contentions. As discussed above, Aizawa
discloses a sensor with a first set of four phototransistors 22 as claimed,
which are disposed in a single ring around central emitter 21. Ex. 1006 ¶ 23,
Figs. 1(a)–1(b). Mendelson-2003 teaches a sensor with a dual-ring

                                       32
       Case: 22-1976      Document: 4      Page: 275   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

configuration, where a first inner ring includes six photodetectors, and a
second outer ring includes an additional six photodetectors. Ex. 1024, 3017,
Fig. 1. Mendelson-2003 also states that by using this dual-ring
configuration to simulate a wide photodetector area, stronger signals could
be obtained, drive currents could be reduced, and battery life could be
extended. Id. at 3019, Figs. 3, 4.
      In light of these explicit teachings, we are persuaded by Petitioner’s
contention that a person of ordinary skill in the art would have found it
obvious to include a second set of detectors in Aizawa’s sensor, as taught by
Mendelson-2003, to realize the benefits taught by Mendelson-2003, i.e.,
stronger signals with reduced power consumption. Pet. 21–23, 44–46. We
credit Dr. Kenny’s testimony that this would have been the use of a known
solution—a sensor with dual detector rings as taught by Mendelson-2003—
to improve similar systems—Aizawa’s sensor with one detector ring—in the
same way, which “would have led to predictable results without significantly
altering or hindering the functions performed by Aizawa’s sensor,”
especially where Aizawa itself discloses adding extra detectors to improve
light collection efficiency. Ex. 1003 ¶ 75.
      We also credit Dr. Kenny’s testimony that, as taught by Mendelson-
2003, it would have been obvious to connect the photodetectors of each set
in parallel to provide first and second signal streams, respectively, and that
this would have led to predictable results. Ex. 1003 ¶ 74 (predictable), 93–
103 (first set), 110 (second set). Indeed, the two rings taught by Mendelson-
2003 are disclosed as being “wired in parallel and connected through a
central hub to the common summing input of a current-to-voltage
converter.” Ex. 1024, 3017. Dr. Kenny explains numerous advantages

                                      33
       Case: 22-1976      Document: 4      Page: 276   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

associated the parallel connections taught by Mendelson-2003, such as
monitoring for displacement, accounting for motion artifacts, and
compensating for the relative decrease in light that reaches the outer ring,
which cannot be achieved with a single signal stream. Ex. 1003 ¶¶ 101–106.
      We have considered Patent Owner’s arguments but find them to be
misplaced. First, we do not agree that Aizawa discloses the ability to
individually monitor individual detectors as a “key feature” (PO Resp. 55;
Sur-reply 24) of its sensor. We discern no persuasive support for this
position in Aizawa. Aizawa does not discuss individual monitoring at all, at
least not clearly, and does not discuss individual monitoring as a solution to
sensor displacement. Rather, Aizawa explains that its sensor includes four
photodetectors 22 and that “reflected light is detected by the plurality of
photodetectors 22.” Ex. 1006 ¶¶ 23, 27. Aizawa also explains that its sensor
includes a “drive detection circuit 24 for detecting a pulse wave by
amplifying the outputs of the photodetectors 22.” Id. ¶ 23. These
disclosures indicate that Aizawa does not monitor each photodetector 22
individually to ascertain the pulse wave but, rather, utilizes “the outputs” of
all of the photodetectors together.
      This understanding is consistent with Aizawa’s disclosure of sensor
displacement. As Patent Owner correctly notes, Aizawa recognizes a
problem with sensor displacement, in which “no output signal can be
obtained” if the sensor’s detectors are placed away from an artery. Id. ¶ 7.
Aizawa solves this problem by avoiding a “linear[]” detector arrangement,
such that “[e]ven when the attachment position of the sensor is dislocated, a
pulse wave can be detected accurately.” Id. ¶ 9. Indeed, Aizawa is clear
that, in its preferred embodiment, it is the disposition of photodetectors 22 in

                                      34
       Case: 22-1976      Document: 4      Page: 277   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

“a circle concentric to the light emitting diode 21” that enables accurate
pulse detection even when the sensor is dislocated. Id. ¶ 27. Aizawa does
not discuss individual monitoring in relation to sensor dislocation.
      We have examined Patent Owner’s alleged support for the importance
of individual monitoring and find it lacking. See, e.g., PO Resp. 56 (citing
Ex. 1006 ¶¶ 7, 19, 23, 27–29, 32, 36; Ex. 2004 ¶ 102; Ex. 2026, 76:13–22,
79:22–80:3). Patent Owner identifies Figure 3, which depicts a “diagram of
a pulse wave which is the output of a photodetector.” Ex. 1006 ¶¶ 19
(emphasis added), 28 (“the above photodetector 22”). Patent Owner seems
to place importance on the use of the article “a” or “the” photodetector, in
the singular. PO Resp. 56; Sur-reply 24. However, we discern no
significance in the singular use. In discussing this Figure, Aizawa does not
discuss monitoring an individual photodetector, or describe that as a “key
feature”; instead, Aizawa explains that drive detection circuit 24 amplifies
the detected pulse wave and transmits it to arithmetic circuit 3, which
compares it to a threshold value to calculate a pulse rate. Ex. 1006 ¶ 28. We
discern that this discussion of how the circuits process a signal from “a” (or
“the”) photodetector is merely exemplary of the process; Patent Owner has
not pointed to any persuasive support for its position that this somehow
indicates a “key feature” of Aizawa is individual monitoring. As noted
above, Aizawa plainly discloses that it is the signals from the plurality of
photodetectors that is used to determine a pulse wave. Id. ¶¶ 23, 27.
Nothing in Figure 3 or paragraph 28 clearly contradicts that disclosure.
      We have considered the cited testimony of Dr. Madisetti, which
Patent Owner relies upon as support for its position, but we find it lacking as
well. Dr. Madisetti’s testimony includes the same citations presented by

                                      35
        Case: 22-1976      Document: 4        Page: 278   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

Patent Owner, none of which demonstrates individual monitoring. Ex. 2004
¶ 102. Thus, we determine this testimony to be conclusory and entitled to
little weight.
       We do recognize, as did Dr. Kenny during his deposition, that Aizawa
does not provide extensive discussion of the algorithms through which
Aizawa determines a pulse wave. See, e.g., Ex. 2026, 80:8–18 (“It doesn’t
describe the algorithm in detail. It just says amplifies the signals from the
detectors and then performs whatever function takes place inside the
arithmetic circuit. . . . It’s left for one of ordinary skill in the art to process
the waveforms.”). Nonetheless, we decline Patent Owner’s invitation to
import into Aizawa’s disclosure a “key feature” of individual monitoring
that is not identified by Aizawa with any reasonable clarity. Again, as noted
above, Dr. Madisetti provides no further support for the conclusory position
advanced by Patent Owner.
       By contrast, we credit Dr. Kenny’s testimony, which is consistent
with Aizawa’s express disclosure of detecting a pulse wave from “the
plurality of photodetectors” (Ex. 1006 ¶ 27), that:
       connecting multiple photodetectors together in parallel allows
       the current generated by the multiple photodetectors to be added
       to one another, which would subsequently ensure that even if one
       of multiple sensors connected in parallel were to be displaced so
       as to receive no signal, the fact that all the sensors are connected
       in parallel such that their signals are summed means that a signal
       will still be detected, in accordance with Aizawa’s objective.
Ex. 1060 ¶ 62. Moreover, we agree with Dr. Kenny that “there is no
disclosure anywhere in Aizawa to suggest that it is even capable of
somehow monitoring the signals of each photodetector, and there is certainly
no need to do so if its sensors are connected in parallel.” Id. Thus,

                                         36
       Case: 22-1976      Document: 4       Page: 279   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

considering the express disclosure of Aizawa and the competing testimony
of the parties’ experts, we credit that of Dr. Kenny.
      Patent Owner’s second argument—that the proposed modification
would have resulted in increased power consumption—is plainly
contradicted by Mendelson-2003’s disclosure. Table 1 of Mendelson-2003
is reproduced below.




Table 1 includes three rows, each associating a different photodetector
configuration with an estimated battery life. Ex. 1024, 3019. The table
indicates that a configuration consisting of only a near ring of photodetectors
results in 45.8 days of battery life; a configuration consisting of only a far
ring of photodetectors results in 20.3 days of battery life; and a configuration
consisting of both a near ring and a far ring of photodetectors results in 52.5
days of battery life. Id. In describing this table, Mendelson-2003 states,
“the considerable differences in the estimated power consumptions clearly
points out the practical advantage gained by using a reflection sensor
comprising a large ring-shaped PD area to perform SpO2 measurements,”
which in this case, was realized by the combination of a near and far ring of
detectors, akin to the modification proposed by Petitioner. Id. Thus, we do
not agree with Patent Owner’s argument that power consumption would
increase if a second ring of detectors were added to Aizawa’s sensor;
Mendelson-2003 plainly suggests the opposite and supports Petitioner’s

                                       37
        Case: 22-1976      Document: 4       Page: 280    Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

contention that the proposed modification would result in a power savings
over a single ring.
       We also do not agree with the argument that a person of ordinary skill
in the art would not make the proposed modification because Aizawa
already discloses a way to improve detection efficiency, e.g., by including
more detectors in a single ring. PO Resp. 59 (citing Ex. 1006 ¶ 32, Fig. 4A;
Ex. 2004 ¶ 107). Aizawa explains that the photodetector arrangement of its
single-ring preferred embodiment “is not limited” and suggests, “[f]or
example,” that “the number of photodetectors 22 may be increased.”
Ex. 1006 ¶ 32. Aizawa does not limit the increase in photodetectors to being
included in only the existing single ring of detectors, i.e., the first set.
Nothing in this disclosure teaches against adding a second set, as proposed
by Petitioner for the well-supported reasons identified in Mendelson-2003
and further discussed by Dr. Kenny.
       Patent Owner’s third argument—that Mendelson-2003 is experimental
and would not provide the alleged benefits—likewise fails. Patent Owner’s
suggestion that Mendelson-2003 teaches using a single large, wide detector
ring that outputs a single signal stream is unfounded. The analysis provided
in Mendelson-2003 explicitly compares a dual-ring arrangement to both a
single near ring and a single far ring. See, e.g., Ex. 1024, Figs. 3, 4, Table 1
(all comparing near, far, and near + far arrangements). Mendelson-2003
explains that the dual-ring arrangement “simulate[s] a single large PD area”
and realizes benefits in LED power requirements. Id. at 3019. That
Mendelson-2003 simulates a single ring by using two discrete rings
demonstrates the fallacy of Patent Owner’s argument.



                                        38
        Case: 22-1976      Document: 4       Page: 281   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

      Finally, we disagree with Patent Owner’s argument that a person of
ordinary skill in the art would not have made the proposed combination
because it “introduces signal processing problems requiring a further
redesign for Aizawa’s sensor” to include a second amplifier to account for
signals of different strengths between the near and far rings. PO Resp. 64–
65. A person of ordinary skill in the art must be presumed to understand
something about the art beyond what is disclosed in the references. See In re
Jacoby, 309 F.2d 513, 516 (CCPA 1962). After all, “[a] person of ordinary
skill is also a person of ordinary creativity, not an automaton.” KSR, 550
U.S. at 421. Neither Patent Owner nor Dr. Madisetti assert that adding a
second amplifier would be beyond the level of skill in the art or would
introduce any specific problems, beyond its mere addition. We credit
Dr. Kenny’s testimony that a person of ordinary skill would have recognized
that, in order to account for the disparate currents generated by the two rings,
the rings would be separately wired with separate amplifiers (Ex. 1003
¶ 106) and that this would have been a routine and conventional design
choice, within the level of ordinary skill in the art (id. ¶ 103).
      For the foregoing reasons, we are persuaded by Petitioner’s
contentions.

           v.    “[i] at least one of the first signal stream or the second
                 signal stream includes information usable to determine a
                 physiological parameter of a wearer of the noninvasive
                 physiological parameter measurement device;”
      The cited evidence supports Petitioner’s undisputed contention that
Aizawa discloses a signal stream usable to determine at least pulse rate.
Pet. 43–48, 51. Petitioner contends that “Aizawa teaches that a ‘drive
detection circuit 24’ is used for ‘amplifying the outputs [i.e., signal stream]
                                        39
         Case: 22-1976    Document: 4      Page: 282   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

of the photodetectors’ and transmitting the amplified data to the arithmetic
circuit 3, which computes the pulse rate, which is a physiological
parameter.” Pet. 51 (quoting Ex. 1006 ¶¶ 23, 28) (citing Ex. 1003 ¶ 111
(“Because the signal stream from Aizawa’s detectors can be used to
calculate pulse rate, it represents information usable to determine a
physiological parameter of a wearer of the noninvasive physiological
parameter measurement device.”)).

           vi.   “[j] a wall extending from the surface and configured to
                 surround at least the first and second sets of photodiodes;
                 and”
      The cited evidence also supports Petitioner’s undisputed contention
that Aizawa discloses a wall that surrounds the photodiodes, including the
second set as suggested by the combined teachings of Aizawa and
Mendelson-2003. Pet. 51–52; see, e.g., Ex. 1006 ¶ 23 (“holder 23 for
storing” LED 21 and detectors 22), Fig. 1(b) (depicting periphery of holder
23 surrounding the sensor components, including detectors 22, which are
positioned on a surface); Ex. 1003 ¶¶ 100–102, 112. Petitioner contends that
“[t]he outer periphery of Aizawa’s holder 23 provides a circular wall
(purple) that surrounds at least the first and second sets of photodiodes,” and
provides an annotated version of Aizawa’s Figure 1(a), which is reproduced
below.




                                      40
       Case: 22-1976      Document: 4       Page: 283   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1




Petitioner’s modified and annotated Figure 1(a) of Aizawa depicts a wall
(purple) surrounding both the first set of photodiodes and the second set of
photodiodes. Pet. 52. Petitioner likewise contends that the identified wall
extends from the surface of the substrate. Id. These undisputed contentions
are sufficiently supported.

          vii.   “[k] a cover arranged to cover at least a portion of the
                 surface of the substrate, wherein the cover comprises a
                 protrusion that extends over all of the photodiodes of the
                 first and second sets of photodiodes arranged on the
                 surface, and wherein the cover is further configured to cover
                 the wall.”
Petitioner’s Undisputed Contentions

      Petitioner contends that Aizawa “teaches a light permeable cover in
the form of an acrylic transparent plate 6 . . . that is mounted at the detection
face 23a” of the sensor, i.e., above Aizawa’s photodetectors, to provide
“improved adhesion between the detector and the wrist to ‘further improv[e]
the detection efficiency of a pulse wave.’” Pet. 10–11 (citing Ex. 1006
¶ 30, Fig. 1(b); Ex. 1003 ¶¶ 52–53). Patent Owner does not dispute this
contention, and we agree with Petitioner. Aizawa discloses that “acrylic

                                       41
       Case: 22-1976      Document: 4       Page: 284   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

transparent plate 6 is provided on the detection face 23a of the holder 23 to
improve adhesion to the wrist 10.” Ex. 1006 ¶ 34, Fig. 1(b) (depicting
transparent plate 6 between sensor 2 and wrist 10).
      Petitioner also contends that Ohsaki teaches a wrist-worn sensor that
includes a “translucent board” having a convex surface that contacts the
user’s skin to prevent slippage of the sensor. Pet. 14, 26–27 (citing Ex. 1014
¶¶ 9–10). Patent Owner does not dispute this contention, and we agree with
Petitioner. Ohsaki discloses that sensor 1 includes detecting element 2 and
sensor body 3, and is “worn on the back side of the user’s wrist 4.”
Ex. 1014 ¶ 16. Ohsaki discloses that detecting element 2 includes package 5
and “translucent board 8[,which] is a glass board which is transparent to
light, and [is] attached to the opening of the package 5. A convex surface is
formed on the top of the translucent board 8.” Id. ¶ 17. As seen in Ohsaki’s
Figure 2, translucent board 8 has a single protruding convex surface, which
is placed between a user’s tissue and a light receiving element (e.g.,
photodetector) 7 when the sensor is worn. Id. at Fig. 2. As also seen in
Figure 2, the board 8 is operably connected to the walls of sensor package 5.
Id. ¶ 17 (“The translucent board 8 is . . . attached to the opening of the
package 5.”), Fig. 2.

Petitioner’s Disputed Contentions

      Petitioner further contends that a person of ordinary skill in the art
“would have found it obvious to modify Aizawa’s sensor to include a cover
having a protruding convex surface,” so as to (1) improve adhesion between
the user’s wrist and the sensor’s surface, (2) improve detection efficiency,
and (3) protect the elements within sensor housing. Pet. 25–29 (citing, e.g.,
Ex. 1003 ¶¶ 76–80; Ex. 1014 ¶ 25). Petitioner contends that Ohsaki’s
                                       42
        Case: 22-1976      Document: 4        Page: 285   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

convex surface is in “intimate contact” with the user’s skin, which prevents
slippage of the sensor and increases signal strength because “variation of the
amount of the reflected light . . . that reaches the light receiving element 7 is
suppressed” and because “the pulse wave can be detected without being
affected by the movement of the user’s wrist 4,” as compared to a sensor
with a flat surface. Id. at 26–28 (citing, e.g., Ex. 1003 ¶ 78; quoting
Ex. 1014 ¶¶ 15, 17, 25, Figs. 1, 2, 4A, 4B). Accordingly, Petitioner
contends that a person of ordinary skill in the art would have modified
Aizawa’s sensor to include a cover with a protruding convex surface, as
taught by Ohsaki, that is “between a subject’s wrist and a surface of the
sensor.” Pet. 25–29 (citing, e.g., Ex. 1003 ¶¶ 76–80).
       Petitioner contends this modification would have been “nothing more
than the use of a known technique to improve similar devices in the same
way,” i.e., when Ohsaki’s sensor is worn “‘the convex surface of the
translucent board . . . is in intimate contact with the . . . user’s skin’; this
contact . . . prevents slippage, which increases the strength of the signals
obtainable by Ohsaki’s sensor.” Pet. 26–29 (citing Ex. 1003 ¶¶ 77–80).
       To illustrate its proposed modification, Petitioner includes two
annotated versions of Aizawa’s Figure 1(b), both of which are reproduced
below. Pet. 25–29 (citing Ex. 1003 ¶¶ 76–80).




                                         43
        Case: 22-1976     Document: 4       Page: 286   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

Petitioner’s annotated figure on the left depicts Aizawa’s sensor, modified to
include a flat “acrylic transparent plate” (illustrated with blue outline);
Petitioner’s annotated figure on the right depicts Aizawa’s sensor, modified
to include a “cover with protruding convex surface” (illustrated with blue
outline). Pet. 29.

Patent Owner’s Arguments

      Patent Owner argues that a person of ordinary skill in the art would
not have been motivated to modify Aizawa’s sensor to include Ohsaki’s
convex cover. PO Resp. 11–18, 22–54;6 Sur-reply 3–23.
      First, Patent Owner argues “Ohsaki’s rectangular board would be
incompatible with Aizawa’s circular sensor arrangement” and that the
proposed modification “eliminates the longitudinal shape that Ohsaki
specifically identifies as important for the benefit of reducing slipping.” PO
Resp. 23–25 (emphases omitted). This argument is premised on Patent
Owner’s contention that Ohsaki’s convex cover must be rectangular, with
the cover’s long direction aligned with the length of the user’s forearm, to



6
  As an initial matter, Patent Owner observes that Petitioner “[r]eli[es] on a
non-ground reference, Inokawa” (Ex. 1008), as providing the rationale for
the proposed modification of Aizawa in view of Ohsaki, and as providing
implementation details of the combination. PO Resp. 22–23 (citing Pet. 30–
31); id. at 45–46, 51–52. We discern no error in Petitioner’s identification
of Inokawa. The nature of Petitioner’s reliance on Inokawa in support of
this ground is explained clearly in the Petition, even if Inokawa is not listed
as an additional reference in the identification of the ground. Thus, the
Petition complies with 35 U.S.C. § 312(a)(3) (stating an IPR petition must
“identif[y], in writing and with particularity . . . the grounds on which the
challenge to each claim is based, and the evidence that supports the grounds
for the challenge”).
                                       44
       Case: 22-1976     Document: 4       Page: 287   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

avoid interacting with bones in the wrist and forearm. Id. at 25–30 (citing,
e.g., Ex. 2004 ¶¶ 55–62; Ex. 1014 ¶¶ 6, 19, 23–25); see also Sur-reply 3–11.
According to Patent Owner, Ohsaki teaches that “aligning the sensor’s
longitudinal direction with the circumferential direction of the user’s arm
undesirably results in ‘a tendency [for Ohsaki’s sensor] to slip off.’” PO
Resp. 26 (emphasis omitted) (alteration in original) (citing Ex. 1014 ¶ 19).
      Thus, Patent Owner contends that Petitioner’s proposed modification
would “chang[e] Ohsaki’s longitudinal detecting element and rectangular
board into a circular shape,” which “would eliminate the advantages
discussed above” because it “cannot be placed in any longitudinal direction
and thus cannot coincide with the longitudinal direction of the user’s wrist.”
Id. at 27 (emphases omitted) (citing Ex. 2004 ¶¶ 57–58). Patent Owner
presents annotated Figures depicting what it contends is Ohsaki’s disclosed
sensor placement as compared to that of the proposed modification,
reproduced below.




Patent Owner’s annotated Figure on the left depicts a rectangular sensor
placed between a user’s radius and ulna, while Patent Owner’s annotated
Figure on the right depicts a circular sensor placed across a user’s radius and

                                      45
       Case: 22-1976     Document: 4      Page: 288   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

ulna. Based on these annotations, Patent Owner argues that the proposed
“circular shape would press on the user’s arm in all directions and thus
cannot avoid undesirable interaction with the user’s bone structure,” such
that a skilled artisan “would have understood that any such change would
eliminate any benefit of Ohsaki’s board for preventing slipping.” PO
Resp. 28–30 (citing, e.g., Ex. 2004 ¶¶ 55–62).7
      Patent Owner additionally argues that changing Aizawa’s circular
sensor to accommodate Ohsaki’s longitudinal structure “would redirect light
away from some detectors and towards others” and would “disrupt Aizawa’s
sensor’s circular symmetry.” Id. at 30–32. This argument is premised on
Patent Owner’s contention that Ohsaki’s convex cover must be rectangular.
Id. at 30 (citing Ex. 2004 ¶¶ 63–64). According to Patent Owner, “placing
Ohsaki’s rectangular board onto Aizawa’s circular sensor would result in
undesirable asymmetrical pressure and inconsistent contact at the peripheral
edge where Aizawa’s detectors are located,” which would “create air gaps
over some of Aizawa’s peripherally arrayed detectors, but not others, which
could result in degraded optical signals.” Id. at 31–32 (emphasis omitted)
(citing Ex. 2004 ¶¶ 65–66). Thus, Patent Owner argues that a person of
ordinary skill in the art “would not have been motivated to use Ohsaki’s
rectangular board with Aizawa’s circular sensor.” Id. at 32 (citing Ex. 2004
¶¶ 65–66).


7
 Patent Owner further argues, “[t]o the extent Petitioner contends a [person
of ordinary skill in the art] would use Ohsaki’s rectangular board on
Aizawa’s circular sensor . . . that argument is unsupported and incorrect.”
PO Resp. 30. We do not read the Petition as making such a contention. We
understand Petitioner to propose, in essence, changing Aizawa’s circular flat
cover into a circular convex cover. See, e.g., Pet. 28–29.
                                     46
       Case: 22-1976      Document: 4       Page: 289   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

      Second, Patent Owner argues that Ohsaki requires its sensor be placed
on the back of the user’s wrist to achieve any benefits, but that such a
location would have been unsuitable for Aizawa’s sensor. PO Resp. 33.
Specifically, Patent Owner argues that Aizawa’s sensor must be worn on the
palm side of the wrist, close to radial and ulnar arteries, which is the side
opposite from where Ohsaki’s sensor is worn. Id. at 33–42 (citing, e.g.,
Ex. 1006 ¶¶ 2, 7, 9, 26, 27, 36; Ex. 2004 ¶¶ 68–81). According to Patent
Owner, Ohsaki teaches that the sensor’s convex surface has a tendency to
slip when placed on the palm side of the wrist, i.e., in the location taught by
Aizawa. Id. at 39–42 (citing, e.g., Ex. 1014 ¶¶ 19, 23–24; Ex. 2004 ¶¶ 75–
81). Thus, Patent Owner argues that a person of ordinary skill in the art
“would not have been motivated to use Ohsaki’s longitudinal board—
designed to be worn on the back side of a user’s wrist—with Aizawa’s palm-
side sensor.” Id. at 42 (emphases omitted). Similarly, Patent Owner argues
that Aizawa teaches away from the proposed modification because Aizawa
teaches that its flat acrylic plate improves adhesion on the palm side of the
wrist, while Ohsaki teaches that its convex board “has a tendency to slip” on
the palm side of the wrist. Id. at 33–39 (citing, e.g., Ex. 2004 ¶¶ 67–74).
      Third, Patent Owner argues that a person of ordinary skill in the art
would not have placed Ohsaki’s convex cover over Aizawa’s peripheral
detectors because the convex cover would condense light toward the center
and away from Aizawa’s detectors, which would decrease optical signal
strength. PO Resp. 45–53 (citing, e.g., Ex. 2004 ¶¶ 86–97). Patent Owner
also contends that Petitioner and Dr. Kenny admitted as much in a related
proceeding. Id. at 46–47 (citing, e.g., Ex. 2019, 45; Ex. 2020, 69–70).
Patent Owner also relies on Figure 14B of the ’366 patent to support its

                                       47
       Case: 22-1976      Document: 4       Page: 290   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

position. Id. at 47–48 (citing Ex. 1001, 36:3–6, 36:13–15). In light of the
foregoing, Patent Owner argues that a person of ordinary skill in the art
would have understood that the proposed modification would have
decreased signal strength by directing light away from Aizawa’s peripheral
detectors. Id. at 47.
      Fourth and finally, Patent Owner argues that a person of ordinary skill
in the art “would have understood that Aizawa’s flat plate would provide
better protection than a convex surface” because it “would be less prone to
scratches.” Id. at 53–54 (emphasis omitted) (citing Ex. 1008 ¶ 106; Ex.
2004 ¶¶ 98–99).

Petitioner’s Reply

      Concerning Patent Owner’s first and second arguments, Petitioner
responds that Ohsaki does not disclose the shape of its protrusion, other than
its convexity as shown in Figures 1 and 2, nor does Ohsaki require a
rectangular shape or placement on the back of the wrist in order to achieve
the disclosed benefits. Pet. Reply 8–20 (citing, e.g., Ex. 1060 ¶¶ 7–30).
Moreover, Petitioner asserts that “[e]ven if Ohsaki’s translucent board 8
were understood to be rectangular, obviousness does not require ‘bodily
incorporation’ of features from one reference into another”; rather, a person
of ordinary skill in the art “would have been fully capable of modifying
Aizawa to feature a light permeable protruding convex cover to obtain the
benefits” taught by Ohsaki. Id. at 16 (citing, e.g., Ex. 1060 ¶ 23). Similarly,
regarding the location of the sensor, Petitioner asserts,
      [E]ven assuming for the sake of argument that a [person of
      ordinary skill in the art] would have understood Aizawa’s sensor
      as being limited to placement on the backside of the wrist, and
      would have understood Ohsaki’s sensor’s “tendency to slip”
                                       48
       Case: 22-1976      Document: 4       Page: 291   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

      when arranged on the front side as informing consideration of
      Ohsaki’s teachings with respect to Aizawa, that would have
      further motivated the [person of ordinary skill in the art] to
      implement a light permeable convex cover in Aizawa’s sensor,
      to improve detection efficiency of that sensor when placed on the
      palm side.
Id. at 18 (citing, e.g., Ex. 1060 ¶ 27). In other words, Ohsaki’s disclosure
that a convex surface suppresses variation in reflected light would have
motivated an artisan to add such a surface to Aizawa to improve detection
efficiency of that sensor when placed on the palm side. Id. at 18.
      Concerning Patent Owner’s third argument, Petitioner responds that
adding a convex cover to Aizawa’s sensor would not decrease signal
strength but, instead, “would improve Aizawa’s signal-to-noise ratio by
causing more light backscattered from tissue to strike Aizawa’s
photodetectors than would have with a flat cover” because such a cover
improves light concentration across the entire lens and does not direct it only
towards the center. Id. at 20–21 (citing, e.g., Ex. 1060 ¶ 31).
      Petitioner asserts that Patent Owner and Dr. Madisetti “ignore[] the
well-known principle of reversibility,” by which “a ray going from P to S
will trace the same route as one from S to P.” Pet. Reply 22 (emphasis
omitted) (quoting Ex. 1061, 84, 92; Ex. 1062, 101, 110; Ex. 1053, 80:20–
82:20). When applied to Aizawa’s sensor, Petitioner contends that any
condensing benefit achieved by a convex cover would thus direct emitted
light toward Aizawa’s peripheral detectors. Id. at 22–25 (citing, e.g.,
Ex. 1060 ¶¶ 35–45). Indeed, Petitioner contends this core concept of
reversibility is applied in Aizawa. Id. at 25 (citing, e.g., Ex. 1006 ¶ 33; Ex.
1060 ¶¶ 41–44).


                                       49
        Case: 22-1976     Document: 4        Page: 292   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

      Petitioner also asserts that Patent Owner and Dr. Madisetti overlook
the fact that light rays reflected by body tissue will be scattered and diffuse
and will approach the detectors “from various random directions and
angles.” Pet. Reply 25–30 (citing, e.g., Ex. 1060 ¶¶ 46–59; Ex. 1061, 84 Ex.
1062, 101; Ex. 1063, 52, 86, 90; Ex. 1053, 80:20–82:20). This scattered and
diffuse light, according to Petitioner, means that Ohsaki’s convex cover
cannot “focus[] light to the center” of the sensor device, as Patent Owner
argues. Id. at 26. Instead, due to the random nature of this scattered light,
Petitioner asserts that a person of ordinary skill in the art would have
understood that “Ohsaki’s convex cover provides a slight refracting effect,
such that light rays that may have missed the detection area are instead
directed toward that area.” Id. at 26 (citing, e.g., Ex. 1060 ¶¶ 48–49).
Petitioner applies this understanding to Aizawa, and asserts that using a
cover with a convex protrusion in Aizawa would “enable backscattered light
to be detected within a circular active detection area.” Id. (citing, e.g., Ex.
1063, 86, 90).
      Petitioner relies upon the following illustration of this alleged effect.
Pet. Reply 29 (citing Ex. 1060 ¶ 54).




                                        50
       Case: 22-1976      Document: 4       Page: 293   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1




The above illustration depicts backscattered light with Aizawa’s sensor
reflecting off user tissue in various directions, such that it impinges upon the
peripheral detectors from various random angles and directions. Id.
According to Petitioner, this allows the detector to capture “light rays that
otherwise would have missed the active detection area are instead directed
toward that area.” Id. (citing Ex. 1060 ¶ 55).
      Petitioner also dismisses Patent Owner’s reliance on Figure 14B of the
’366 patent because it “is not a representation of light that has been reflected
from a tissue measurement site.” Pet. Reply 28 (citing, e.g., Ex. 1060 ¶¶ 51–
52). According to Petitioner, for example, “[t]he light rays (1420) shown in
FIG. 14B are collimated (i.e., parallel to one another), and each light ray’s
path is perpendicular to the detecting surface.” Id.
      Concerning Patent Owner’s fourth argument, Petitioner responds that
even if a flat surface might be less prone to scratching, that possible
disadvantage would have been weighed against the “known advantages of
applying Ohsaki’s teachings,” and would not negate a motivation to
combine. Id. at 31 (citing, e.g., Ex. 1060 ¶ 60).
                                       51
        Case: 22-1976     Document: 4       Page: 294   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

Patent Owner’s Sur-reply

      Concerning Patent Owner’s first and second arguments, Patent Owner
reiterates its position that Ohsaki’s purported benefits attach only to a sensor
with a rectangular convex surface that is located on the back of the wrist,
and that “even small changes in sensor orientation or measurement location
result in slippage.” Sur-reply 1–14, 8.
      Concerning Patent Owner’s third argument (that the convex cover
would condense light toward the center and away from Aizawa’s detectors),
Patent Owner asserts that Dr. Kenny and Petitioner have not overcome their
admissions that a convex lens directs light toward the center. Id. at 14–16,
19–21. Patent Owner argues that Petitioner’s Reply improperly presents
several new arguments, relying on new evidence, as compared with the
Petition. Id. at 16 (regarding reversibility), 16–19. Moreover, Patent Owner
argues that Petitioner’s discussion of the principle of reversibility is
“irrelevant” because it “assumes conditions that are not present when tissue
scatters and absorbs light.” Id. at 16. The random nature of backscattered
light, in Patent Owner’s view, “hardly supports Petitioner’s argument that
light will necessarily travel the same paths regardless of whether the LEDs
and detectors are reversed,” and is irrelevant to the central issue presented
here of “whether changing Aizawa’s flat surface to a convex surface results
in more light on Aizawa’s peripherally located detectors.” Id. at 17–18.
      Patent Owner also asserts that Petitioner mischaracterizes Patent
Owner’s position, which is not that Ohsaki’s cover with a convex protrusion
“focuses all light to a single point” at the center of the sensor as Petitioner
characterizes it. Sur-reply 19. Patent Owner’s position, rather, is that
Petitioner has not shown that a person of ordinary skill in the art “would

                                       52
       Case: 22-1976      Document: 4       Page: 295   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

have been motivated to change Aizawa’s flat surface to a convex surface to
improve signal strength.” Id. In Patent Owner’s view, by arguing that the
convex cover provides only a “slight refracting effect,” Petitioner
undermines its contention that providing such a cover would have improved
detection efficiency. Id. at 19–20 (emphasis omitted).
      Patent Owner also argues that Petitioner’s contention that a convex
cover allows more light collection generally is a new theory not supported
by Dr. Kenny’s original declaration. Id. at 20. Moreover, Patent Owner
argues that Petitioner’s theory is “unavailing because it fails to consider the
greater decrease in light at the detectors due to light redirection to a more
central location.” Id. (emphasis omitted). According to Patent Owner, any
light redirected from the sensor’s edge could not make up for the loss of
signal strength from light redirected away from the detectors and toward the
center. Id.
      Concerning Patent Owner’s fourth argument, Patent Owner argues
that Petitioner does not dispute Patent Owner’s position that a flat cover
would be less prone to scratches and offers “no plausible advantages for its
asserted combination.” Id. at 23. Moreover, Patent Owner argues that the
risk of scratches undermines Petitioner’s argument of adding a convex cover
to protect the elements within the sensor housing. Id.

Analysis

      As noted above, Petitioner provides three rationales to support its
contention that a person of ordinary skill in the art would have provided “a
light permeable cover with a protruding convex surface,” such as that taught
by Ohsaki, to Aizawa’s sensor: (1) to improve adhesion between the sensor
and the user’s tissue, (2) to improve detection efficiency, and (3) to protect
                                       53
       Case: 22-1976       Document: 4      Page: 296   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

the elements within the sensor housing. Pet. 26–32 (citing, e.g., Ex. 1003
¶¶ 76–84; Ex. 1014 ¶ 25). As further examined below, we determine all
three rationales are supported by the evidence, and further that any single
rationale standing alone would have been sufficient to establish a basis for
the person of ordinary skill in the art to combine the references as proposed.
      Rationales 1 and 2
      The evidence of record persuades us that adding a convex cover, such
as that taught by Ohsaki, would have improved adhesion between the sensor
and the user’s skin, which would have increased the signal strength of the
sensor. Ohsaki teaches as much:
      [T]he convex surface of the translucent board 8 is in intimate
      contact with the surface of the user’s skin. Thereby it is
      prevented that the detecting element 2 slips off the detecting
      position of the user’s wrist 4. If the translucent board 8 has a flat
      surface, the detected pulse wave is adversely affected by the
      movement of the user’s wrist 4 as shown in Fig. 4B. However,
      in the case that the translucent board 8 has a convex surface like
      the present embodiment, the variation of the amount of the
      reflected light which is emitted from the light emitting element 6
      and reaches the light receiving element 7 by being reflected by
      the surface of the user’s skin is suppressed. It is also prevented
      that noise such as disturbance light from the outside penetrates
      the translucent board 8. Therefore the pulse wave can be
      detected without being affected by the movement of the user’s
      wrist 4 as shown in FIG. 4A.
Ex. 1014 ¶ 25 (emphasis added); see also id. ¶ 27 (“detecting element 2 is
stably fixed”).
      We credit Dr. Kenny’s testimony that a person of ordinary skill in the
art would have been motivated by such teachings to apply a cover with a
convex surface to Aizawa to improve that similar device in the same way
and to yield predictable results, i.e., to resist movement of the sensor on the
                                       54
         Case: 22-1976    Document: 4       Page: 297   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

user’s wrist and to suppress variation. See, e.g., Ex. 1003 ¶¶ 77 (“[T]his
contact between the convex surface and the user’s skin is said to prevent
slippage, which increases the strength of the signals obtainable by Ohsaki’s
sensor.”), 79 (One of ordinary skill would have understood that this would
“improve adhesion between the user’s wrist and the sensor’s surface,
improve detection efficiency.”). We find persuasive Dr. Kenny’s
explanation that the person of ordinary skill in the art “would have
understood that a protruding convex cover would reduce the adverse effects
of user movement on signals obtainable by photodetectors which are
positioned to detect light reflected from user tissue.” Ex. 1060 ¶ 13.
        Indeed, Ohsaki expressly compares the performance of a wrist-worn
pulse wave sensor depending on whether translucent board 8 is convex or
flat, and concludes the convex surface results in improved performance over
the flat surface, especially when the user is moving. Ex. 1014, Figs. 4A–4B,
¶¶ 15, 25 (stating that with “a flat surface, the detected pulse wave is
adversely affected by the movement of the user’s wrist 4,” and with “a
convex surface like the present embodiment, the variation of the amount of
the reflected light” collected by the sensor “is suppressed”). Ohsaki also
states that, with a convex surface, “[i]t is also prevented that noise such as
disturbance light from the outside penetrates the translucent board 8.” Id.
¶ 25.
        We also credit Dr. Kenny’s testimony that the proposed modification
would have been within the skill level of an ordinary artisan. For example,
Dr. Kenny testifies that one of ordinary skill would have combined the
teachings of Aizawa and Ohsaki as “doing so would have amounted to
nothing more than the use of a known technique to improve similar devices

                                       55
        Case: 22-1976     Document: 4       Page: 298   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

in the same way” and the combined elements “would each perform similar
functions they had been known to perform prior to the combination.”
Ex. 1003 ¶ 80. In particular, one of ordinary skill would have recognized
that by incorporating Ohsaki’s convex surface, “‘the convex surface of the
translucent board . . . is in intimate contact with the surface of the user’s
skin’; this contact between the convex surface and the user’s skin is said to
prevent slippage, which increases the strength of the signals obtainable by
Ohsaki’s sensor.” Id. ¶ 77 (citing Ex. 1014 ¶¶ 15, 17, 25, Figs. 1, 2, 4A,
4B).
       In light of Ohsaki’s express disclosure of the benefits of a convex cover,
we credit Dr. Kenny’s testimony that a person of ordinary skill in the art would
have been motivated to modify Aizawa as proposed, and would have had a
reasonable expectation of success in doing so.
       We next address Patent Owner’s first through third arguments, each of
which implicates Petitioner’s first and second asserted rationales of
improved adhesion and detection efficiency.
       Patent Owner’s first argument is premised on the notion that Ohsaki’s
benefits only can be realized with a rectangular convex surface, because
such a shape is required to avoid interacting with bones on the back of the
user’s forearm. PO Resp. 11–30. We disagree. Ohsaki does not disclose
the shape of its convex cover, much less require it be rectangular. In fact,
Ohsaki is silent as to the shape of the convex surface. Ohsaki discloses that
sensor 1 includes detecting element 2, which includes package 5 within
which the sensor components are located. Ex. 1014 ¶ 17. Ohsaki’s convex
surface is located on board 8, which is “attached to the opening of the



                                       56
        Case: 22-1976     Document: 4       Page: 299   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

package 5.” Id. Ohsaki provides no further discussion regarding the shape
of board 8 or its convex protrusion.
       We disagree with Patent Owner’s suggestion that the shape of the
convex surface can be inferred to be rectangular from Ohsaki’s Figures 1
and 2. PO Resp. 11–12. Ohsaki does not indicate that these figures are
drawn to scale, or reflect precise dimensions or shapes of the convex
surface. See, e.g., Ex. 1014 ¶ 13 (“schematic diagram”); see also Pet.
Reply 8–16; Hockerson-Halberstadt, Inc. v. Avia Group Int’l, Inc., 222 F.3d
951, 956 (Fed. Cir. 2000) (“[I]t is well established that patent drawings do
not define the precise proportions of the elements and may not be relied on
to show particular sizes if the specification is completely silent on the
issue.”).
       To be clear, Ohsaki describes the shape of detecting element 2 as
rectangular: “[T]he length of the detecting element 2 from the right side to
the left side in FIG. 2 is longer than the length from the upper side to the
lower side.” Ex. 1014 ¶ 19. Ohsaki also describes that detecting element 2
is aligned longitudinally with the user’s forearm: “[I]t is desirable that the
detecting element 2 is arranged so that its longitudinal direction agrees with
the longitudinal direction of the user’s arm,” to avoid slipping off. Id.; see
also id. ¶ 9 (“The light emitting element and the light receiving element are
arranged in the longitudinal direction of the user’s arm.”).
       In light of this disclosed rectangular shape of detecting element 2, it is
certainly possible that Ohsaki’s convex surface may be similarly shaped.
But, it may not be. Contrary to Patent Owner’s argument, Ohsaki neither
describes nor requires detecting element 2 to have the same shape as the
convex surface of board 8. Accord Pet. Reply 13–14 (noting also that

                                       57
       Case: 22-1976     Document: 4       Page: 300   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

“Ohsaki never describes the ‘translucent board 8’ as ‘longitudinal,’ and
nowhere describes ‘translucent board 8’ and ‘detecting element 2’ as having
the same shape.”). We have considered the testimony of both Dr. Kenny
and Dr. Madisetti on this point. Ex. 1060 ¶¶ 8–16; Ex. 2004 ¶¶ 36–39
(relying on Ohsaki’s Figures 1–2 to support his opinion that the convex
surface is rectangular). Dr. Madisetti’s reliance on the dimensions of
Ohsaki’s figures is unpersuasive. Hockerson-Halberstadt, 222 F.3d at 956.
We credit Dr. Kenny’s testimony that Ohsaki does not describe its convex
surface as rectangular, because this testimony is most consistent with
Ohsaki’s disclosure.
      Further, Patent Owner suggests that the convex surface must be
rectangular, in order to avoid interacting with bones in the user’s forearm.
PO Resp. 24–30; Sur-reply 4–8, 10 (“[A] POSITA would have understood
Ohsaki’s convex board must also have a longitudinal shape oriented up-and-
down the watch-side of the user’s wrist/forearm.”). Although Ohsaki
recognizes that interaction with these bones can cause problems, see
Ex. 1014 ¶¶ 6, 19, we do not agree that the only way to avoid these bones is
by aligning a rectangular cover with the longitudinal direction of the user’s
forearm. For example, in the annotated Figures provided by Patent Owner,
see PO Resp. 28, we discern that the circular sensor that purports to depict
the proposed modification would also avoid the bones in the forearm if it
were slightly smaller. Patent Owner provides no persuasive explanation to
justify the dimensions it provides in this annotated figure, or to demonstrate
that such a large sensor would have been required. Indeed, we discern that it
would have been within the level of skill of an ordinary artisan to
appropriately size a modified sensor to avoid these well-known anatomical

                                      58
       Case: 22-1976      Document: 4      Page: 301   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

obstacles. “A person of ordinary skill is also a person of ordinary creativity,
not an automaton.” KSR, 550 U.S. at 421. After all, an artisan must be
presumed to know something about the art apart from what the references
disclose. See Jacoby, 309 F.2d at 516.
      Finally, we do not agree with Patent Owner’s position that Ohsaki’s
advantages apply only to rectangular convex surfaces. As discussed, Patent
Owner has not shown that Ohsaki’s convex surface is rectangular at all.
Moreover, even if Ohsaki’s convex surface is rectangular, when discussing
the benefits associated with a convex cover, Ohsaki does not limit those
benefits to a cover of any particular shape. Instead, Ohsaki explains that
“detecting element 2 is arranged on the user’s wrist 4 so that the convex
surface of the translucent board 8 is in intimate contact with the surface of
the user’s skin,” which prevents the detecting element from slipping off the
detecting position of the user’s wrist. Ex. 1014 ¶ 25; Ex. 1060 ¶ 21. Thus,
we agree with Petitioner that Ohsaki’s teaching of a convex surface would
have motivated a person of ordinary skill in the art to add such a surface to
Aizawa’s circular-shaped sensor, to improve adhesion as taught by Ohsaki.
See, e.g., Pet. 20–23. Nothing in Ohsaki’s disclosure limits such a benefit to
a specific shape of the convex surface. Ex. 1060 ¶¶ 10–11, 14–23.
      Moreover, Ohsaki contrasts the ability to properly receive reflected
light with a convex surface as compared to a flat surface and notes that,
      in the case that the translucent board 8 has a convex surface . . .
      the variation of the amount of the reflected light which is emitted
      from the light emitting element 6 and reaches the light receiving
      element 7 by being reflected by the surface of the user’s skin is
      suppressed. It is also prevented that noise such as disturbance
      light from the outside penetrates the translucent board 8.


                                      59
       Case: 22-1976      Document: 4      Page: 302   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

      Therefore the pulse wave can be detected without being affected
      by the movement of the user’s wrist 4 as shown in FIG. 4A.
Ex. 1014 ¶ 25; Ex. 1060 ¶¶ 12–13. Again, we agree with Petitioner that
Ohsaki’s teaching of a convex surface would have motivated a person of
ordinary skill in the art to add such a surface to Aizawa’s sensor, to improve
signal strength, as taught by Ohsaki. See, e.g., Pet. 26–29. Again, nothing
in Ohsaki’s disclosure limits such a benefit to the shape of the convex
surface. Ex. 1060 ¶¶ 10–11, 18–23.
      Accordingly, we do not agree that Ohsaki’s disclosed advantages
attach only to a rectangular convex surface, or would have been inapplicable
to the proposed combination of Aizawa and Ohsaki.
      We have also considered Patent Owner’s arguments that Petitioner’s
proposed modification would disrupt Aizawa’s “circular symmetry.” See
PO Resp. 30–32. We do not agree for the reasons set forth above. Further,
Petitioner’s proposed modification is not a bodily incorporation. That is,
Petitioner does not propose a bodily incorporation of Ohsaki’s rectangular
board into Aizawa’s circular cover, but only modifying Aizawa only to
include a cover with a convex surface. Pet. Reply 15–16; Pet. 25. Further,
we discern that it would have been within the capability of an ordinarily
skilled artisan to eliminate any gap that would have decreased signal
strength or quality. Ex. 1060 ¶ 23.
      We have considered Patent Owner’s second argument, that Ohsaki’s
benefits are realized only when the sensor and convex surface are placed on
the back of the user’s wrist, which is the opposite side of the wrist taught by
Aizawa. PO Resp. 33–42. We do not agree. As an initial matter, Petitioner
does not propose bodily incorporating the references; Petitioner simply


                                      60
       Case: 22-1976      Document: 4       Page: 303   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

proposes adding a convex cover to Aizawa’s sensor, without discussing
where Aizawa’s sensor is used. See, e.g., Pet. 25. In other words,
Petitioner’s proposed modification does not dictate any particular placement,
whether on the palm side or back side of the wrist.
      To be sure, Ohsaki’s Figures 3A–3B compare the performance of
detecting element 2, including its translucent board 8 having a convex
protrusion, and show better performance when the element is attached to the
back side of the wrist versus the front side of the wrist, when the user is in
motion. See Ex. 1014 ¶¶ 23–24, Figs. 3A–3B. However, we do not agree
that these figures support Dr. Madisetti’s conclusion that “Ohsaki indicates a
convex surface only prevents slipping on the back (i.e., watch) side of the
wrist in a specific orientation, but tends to slip when used in different
locations or orientations” such as the palm side of the wrist—particularly in
comparison to a flat surface such as Aizawa’s. Ex. 2004 ¶¶ 35, 67. Instead,
Ohsaki acknowledges that, even when the detecting element is located “on
the front [palm] side of the user’s wrist 4, the pulse wave can be detected
well if the user is at rest.” Ex. 1014 ¶ 23 (emphasis added). Thus, Ohsaki
discloses that, in at least some circumstances, a convex surface located on
the front of the user’s wrist achieves benefits. Id. Notably, Ohsaki’s claims
are not limited to detection during movement or exercise.
      We credit, instead, Dr. Kenny’s testimony that a person of ordinary
skill in the art would have understood from Ohsaki that a convex protrusion
will help prevent slippage, even in the context of Aizawa’s sensor. See
Ex. 1060 ¶¶ 10–11, 24–30. This is because the convex protrusion
“promot[es] ‘intimate contact with the surface of the user’s skin,’” which
“would have increased adhesion and reduced slippage of Aizawa’s sensor

                                       61
        Case: 22-1976      Document: 4       Page: 304    Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

when placed on either side of a user’s wrist or forearm, and additionally
would have provided associated improvements in signal quality.” Id. ¶¶ 29–
30 (“additional adhesive effect”).
      Dr. Madisetti testifies that
      [b]ased on Aizawa’s teaching that a flat acrylic plate improves
      adhesion on the palm side of the wrist, and Ohsaki’s teaching that
      a convex surface tends to slip on the palm side of the wrist, a
      [person of ordinary skill in the art] would have come to the
      opposite conclusion from Dr. Kenny: that modifying Aizawa’s
      “flat cover . . . to include a lens/protrusion . . . similar to Ohsaki’s
      translucent board” would not “improve adhesion.”

Ex. 2004 ¶ 85; see also id. ¶ 67. We disagree with this reading of Aizawa.
It is true that Aizawa’s plate 6 is illustrated as having a flat surface
(Ex. 1006, Fig. 1(b)), and that Aizawa states the plate “improve[s] adhesion”
(id. ¶ 13). Aizawa further states: “the above belt 7 is fastened such that the
acrylic transparent plate 6 becomes close to the artery 11 of the wrist 10,”
and “[t]hereby, adhesion between the wrist 10 and the pulse rate detector 1 is
improved.” Id. ¶ 26. These disclosures, however, indicate the improved
adhesion is provided by the acrylic material of plate 6, not the shape of the
surface of the plate, which is never specifically addressed. See also id.
¶¶ 30, 34 (“Since the acrylic transparent plate 6 is provided . . . adhesion
between the pulse rate detector 1 and the wrist 10 can be improved.”).
Aizawa does not associate this benefit of improved adhesion with the surface
shape of the plate, but rather, with the existence of an acrylic plate to begin
with. Thus, there is no teaching away from using a convex surface to
improve the adhesion of Aizawa’s detector to the user’s wrist.
      We have considered Patent Owner’s third argument that a convex
cover would condense light away from Aizawa’s peripheral detectors, which

                                        62
         Case: 22-1976     Document: 4        Page: 305   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

Patent Owner alleges would decrease signal strength. PO Resp. 45–53. We
disagree.
        There appears to be no dispute that when emitted light passes through
user tissue, the light diffuses and scatters as it travels. See, e.g., Pet.
Reply 25 (“[R]eflectance-type sensors work by detecting light that has been
‘partially reflected, transmitted, absorbed, and scattered by the skin and
other tissues and the blood before it reaches the detector,” thus, a person of
ordinary skill in the art “would have understood that light that backscatters
from the measurement site after diffusing through tissue reaches the active
detection area from random directions and angles.”) (quoting Ex. 1063, 86);
Sur-reply 16 (“Even Petitioner admits that tissue randomly scatters and
absorbs light rays.”).
        The light thus travels at random angles and directions, and no longer
travels in a collimated and perpendicular manner. Exhibit 1061, 8
Figure 4.12, illustrates the difference between diffuse and collimated light,
and is reproduced below:




8
    Eugene Hecht, Optics (2nd ed. 1990).
                                         63
       Case: 22-1976      Document: 4      Page: 306   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1




This figure provides at left a photograph and an illustration showing
incoming collimated light reflecting from a smooth surface, and at right a
photograph and an illustration of incoming collimated light reflecting from a
rough surface. See Ex. 1061, 87–88 (original page numbers). The smooth
surface provides specular reflection, in which the reflected light rays are
collimated like the incoming light rays. See id. The rough surface provides
diffuse reflection, in which the reflected light rays travel in random
directions. See id.; see also Ex. 1060 ¶ 46 (“A [person of ordinary skill in
the art] would have understood that light which backscatters from the
measurement site after diffusing through tissue reaches the active detection
area provided from various random directions and angles.”).
      Dr. Kenny testifies that Aizawa “detect[s] light that has been ‘partially
reflected, transmitted, absorbed, and scattered by the skin and other tissues
and the blood before it reaches the detector.’” Ex. 1060 ¶ 46 (quoting


                                      64
       Case: 22-1976     Document: 4       Page: 307   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

Ex. 1063, 86). Dr. Kenny further opines that a convex cover, when added to
Aizawa’s sensor with multiple detectors symmetrically arranged about a
central light source, allows light rays that otherwise would have missed the
detection area to instead be directed toward that area as they pass through
the interface provided by the cover, thus increasing the light-gathering
ability of Aizawa’s sensor. Id. ¶¶ 47–49.
      By contrast Dr. Madisetti testifies that “a convex cover condenses
light passing through it towards the center of the sensor and away from the
periphery.” Ex. 2004 ¶ 87; see also id. ¶¶ 82, 86. We have considered this
testimony, however, Dr. Madisetti’s opinions largely are premised upon the
behavior of collimated and perpendicular light as depicted in Figure 14B of
the challenged patent. See id. ¶ 89. Dr. Madisetti does not explain how light
would behave when approaching the sensor from various angles, as it would
after being reflected by tissue. Id. ¶¶ 87–90. In other words, even if Patent
Owner is correct that the ’366 patent’s Figure 14B depicts light condensing
toward the center, this is not dispositive to the proposed modification,
because light reflected by a user’s tissue is scattered and random, and is not
collimated and perpendicular as shown in Figure 14B. Ex. 1001, Fig. 14B.
      Patent Owner and Dr. Madisetti argue that “Petitioner and Dr. Kenny
both admit that a convex cover condenses light towards the center of the
sensor and away from the periphery,” in a different petition filed against a
related patent, i.e., in IPR2020-01520. PO Resp. 46–47; Ex. 2004 ¶¶ 87–88.
The cited portions of the Petition and Dr. Kenny’s declaration from
IPR2020-01520 discuss a decrease in the “mean path length” of a ray of
light when it travels through a convex lens rather than through a flat surface.
See, e.g., Ex. 2020 ¶¶ 118–120. We do not agree that this discussion is

                                      65
         Case: 22-1976    Document: 4      Page: 308   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

inconsistent with Dr. Kenny’s testimony here that, where light is reflected to
the detectors at various random angles and directions, more light will reach
Aizawa’s symmetrically disposed detectors when travelling through the
convex surface than would be reached without such a surface, because light
that might have otherwise missed the detectors now will be captured. See,
e.g., Ex. 1060 ¶¶ 49, 55 (“Ohsaki’s convex cover provides a slight refracting
effect, such that light rays that may have otherwise missed the detection area
are instead directed toward that area”). We do not discern that the
convergence of a single ray of light toward the center, as discussed in
IPR2020-01520, speaks to the aggregate effect on all light that travels
through the convex surface.
        We additionally do not agree with Patent Owner’s argument that
Petitioner’s Reply presents new arguments and evidence that should have
been first presented in the Petition, to afford Patent Owner an adequate
opportunity to respond. See Sur-reply 16–19. The Petition proposed a
specific modification of Aizawa to include a convex protrusion in the cover,
for the purpose of increasing the light gathering ability of Aizawa’s device.
See Pet. 26–29. The Patent Owner Response then challenged that
contention, with several arguments that Petitioner’s proposed convex
protrusion would not operate in the way the Petition alleges it would operate.
See PO Resp. 45–53. This opened the door for Petitioner to provide, in the
Reply, arguments and evidence attempting to rebut the contentions in the
Patent Owner Response. See PTAB Consolidated Trial Practice Guide
(Nov. 2019) (“Consolidated Guide”),9 73 (“A party also may submit rebuttal


9
    Available at https://www.uspto.gov/TrialPracticeGuideConsolidated.
                                      66
         Case: 22-1976     Document: 4       Page: 309   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

evidence in support of its reply.”). This is what Petitioner did here. The
Reply does not change Petitioner’s theory for obviousness; rather, the Reply
presents more argument and evidence in support of the same theory for
obviousness presented in the Petition. Compare Pet. 26–29, with Pet.
Reply 20–30.
        Rationale 3
        Petitioner further contends that a person of ordinary skill in the art
would have recognized that a cover with a protruding convex surface, such
as that taught by Ohsaki, would “protect the elements within the sensor
housing” of Aizawa. Pet. 28. We are persuaded that adding a convex cover,
such as that taught by Ohsaki, would also protect the sensor’s internal
components in a manner similar to Aizawa’s flat acrylic plate. Ex. 1003
¶ 79; see also Ex. 1008 ¶ 15 (noting that a cover “protect[s] the LED or
PD”).
        We disagree with Patent Owner’s fourth argument that a person of
ordinary skill in the art would not have modified Aizawa as proposed
because a convex cover would be prone to scratches and because other
alternatives existed. Patent Owner does not explain how the potential
presence of scratches on a convex cover would preclude that cover’s ability
to, nonetheless, protect the internal sensor components in Aizawa, as
Petitioner proposes. That a convex cover may be more prone to scratches
than Aizawa’s flat cover is one of numerous tradeoffs that a person of
ordinary skill in the art would consider in determining whether the benefits
of increased adhesion, signal strength, and protection outweigh the potential
for a scratched cover. Medichem, S.A. v. Rolabo, S.L., 437 F.3d 1157, 1165
(Fed. Cir. 2006). The totality of the final record does not support that the

                                        67
        Case: 22-1976       Document: 4     Page: 310   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

possibility of scratches alone would have dissuaded a person of ordinary
skill in the art from the proposed modification, to achieve the benefits
identified by Petitioner.
      For the foregoing reasons, we are persuaded by Petitioner’s
contentions.

         viii.   Summary
      For the foregoing reasons, we determine that Petitioner has met its
burden of demonstrating by a preponderance of the evidence that claim 1
would have been obvious over the cited combination of references.

                        6. Dependent Claims 2–12

      Petitioner also contends that claims 2–12 would have been obvious
based on the same combination of prior art addressed above. These
challenged claims all depend directly or indirectly from independent claim 1.
Petitioner identifies teachings in the prior art references that teach the
limitations of these claims, and provides persuasive reasoning as to why the
claimed subject matter would have been obvious to one of ordinary skill in
the art. Pet. 54–75. Petitioner also supports its contentions for these claims
with the testimony of Dr. Kenny. Ex. 1003 ¶¶ 116–148.
      Patent Owner does not present any arguments for these claims other
than those we have already considered with respect to independent claim 1.
PO Resp. 66 (“[T]he Petition fails to establish that independent claims 1, 14,
and 27 are obvious in view of the cited references of Ground 1 and therefore
fails to establish obviousness of any of the challenged dependent claims.”).
      We have considered the evidence and arguments of record and
determine that Petitioner has demonstrated by a preponderance of the

                                       68
       Case: 22-1976      Document: 4       Page: 311   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

evidence that claims 2–12 would have been obvious over the combined
teachings of Aizawa, Mendelson-2003, Ohsaki, and Goldsmith for the
reasons discussed in the Petition and as supported by the testimony of
Dr. Kenny.
      For the foregoing reasons, we determine that Petitioner has met its
burden of demonstrating by a preponderance of the evidence that claims 1–
12 would have been obvious over the cited combination of references.

                       7. Claims 14–27

      Independent claim 14 includes limitations substantially similar to
limitations [a], [c]–[h], [j], and [k] and includes additional limitations drawn
to “one or more processors configured to: receive information . . . ; [and],
process the information to determine physiological parameter measurement
information.” Compare Ex. 1001, 44:57–45:27, with id. at 46:33–56. In
asserting that claim 14 would have been obvious over the combined
teachings of Aizawa, Mendelson-2003, Ohsaki, and Goldsmith, Petitioner
refers to the contentions made regarding claim 1. See Pet. 75–76; Ex. 1003
¶¶ 149–157.
      Dependent claims 15–26 all depend directly or indirectly from
independent claim 14. Petitioner identifies teachings in the prior art
references that teach or suggest the limitations of these claims, and provides
persuasive reasoning as to why the claimed subject matter would have been
obvious to one of ordinary skill in the art. Pet. 76–81. Petitioner also
supports its contentions for these claims with the testimony of Dr. Kenny.
Ex. 1003 ¶¶ 158–181.



                                       69
       Case: 22-1976     Document: 4      Page: 312   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

       Independent Claim 27 contains numerous limitations, which are
integrated from claim 1 (limitations [a]–[k]) as well as limitations from
numerous dependent claims. Id. at 48:1–49:10 (reciting also a “touch-
screen” and certain “preprocessing electronics”). In asserting that
claim 27 would have been obvious over the combined teachings of Aizawa,
Mendelson-2003, Ohsaki, and Goldsmith, Petitioner refers to the contentions
made regarding claim 1, as well as claims depending therefrom. Pet. 81–
84; Ex. 1003 ¶¶ 183–210.
      Patent Owner does not present any arguments for these claims other
than those we have already considered with respect to independent claim 1.
PO Resp. 66 (“[T]he Petition fails to establish that independent claims 1, 14,
and 27 are obvious in view of the cited references of Ground 1 and therefore
fails to establish obviousness of any of the challenged dependent claims.”).
      For the same reasons discussed above, we determine that Petitioner
has met its burden of demonstrating by a preponderance of the evidence that
claims 14–27 would have been obvious over the cited combination of
references and as supported by the testimony of Dr. Kenny. See supra
II.D.5; Ex. 1003 ¶¶ 149–210.

              E. Obviousness over the Combined Teachings of
          Aizawa, Mendelson-2003, Ohsaki, Goldsmith, and Sherman
      Petitioner contends that claim 13 of the ’366 patent would have been
obvious over the combined teachings of Aizawa, Mendelson-2003, Ohsaki,
Goldsmith, and Sherman. Pet. 84–88; see also Pet. Reply 37–38. Patent
Owner disagrees. PO Resp. 66–67; see also Sur-reply 29.




                                     70
       Case: 22-1976     Document: 4      Page: 313   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

      Based on our review of the parties’ arguments and the cited evidence
of record, we determine that Petitioner has met its burden of showing by a
preponderance of the evidence that claim 13 is unpatentable.

                       1. Overview of Sherman (Ex. 1047)
      Sherman is a patent titled “Magnetic Clasp for Wristwatch Strap,” and
it relates to use of magnetizable material embedded in thermoplastic material
with rows of alternating magnetic poles. Ex. 1047, codes (54), (57).
Sherman discloses a magnetic fastening mechanism for “wrist instruments,”
such as wristwatches. Id. at 1:4–10. Sherman’s system provides “an
improved clasp for a flexible strap which eliminates buckles or other types
of protruding members” and is “secured, yet easy to engage when desired.”
Id. at 2:1–11. As shown below in Figure 2 of Sherman, the mechanism
includes a pair of flexible strap ends having “permanently magnetizable
material” of opposite polarities in addition to “mutually nesting uniformly
spaced protuberances and indentations.” Id. at 2:43–62, Fig. 2.




Figure 2 of Sherman depicts an end elevational view showing the wristwatch
and strap with transverse ridges 4a and 5a incorporating magnetic securing
materials. Id.

                                     71
       Case: 22-1976       Document: 4     Page: 314   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

                       2. Dependent Claim 13

      Claim 13 additionally requires “a magnet configured to be used as a
connecting mechanism.” Ex. 1001, 46:31–32. Petitioner contends that it
would have been obvious for a person of ordinary skill in the art to have
modified the sensor system of Aizawa-Ohsaki-Goldsmith to integrate a
magnetic connection as taught by Sherman. Pet. 84–88.

Petitioner’s Contentions

      Petitioner contends that although Goldsmith generally discloses a
fastener, Goldsmith “provides no details describing the fastener,” but that a
person of ordinary skill in the art “would have been motivated to look to
other wearable, wrist worn devices such as Sherman’s, for details regarding
a mechanism for fastening a monitoring device.” Pet. 86 (citing Ex. 1003
¶¶ 211–214). Petitioner contends a person of ordinary skill in the art would
have been motivated to add Sherman’s magnetic connection in order to be
more visually appealing, prevent corners from catching upon clothing, and
to prevent broken connectors or accidental snagging. Id. (citing Ex. 1047,
1:11–24; Ex. 1003 ¶ 212).

Patent Owner’s Contentions

      Patent Owner disputes Petitioner’s contentions. Patent Owner argues
that Petitioner’s proposed combination relies on Sherman solely for its
alleged disclosure of a magnetic connector, but Ohsaki already includes a
series of dedicated belts designed to exert a specific pressure on the user’s
wrist. PO Resp. 67 (citing Ex. 1014 ¶18). Patent Owner alleges that a
person of ordinary skill in the art would have understood that any advantage
from Ohsaki’s convex board would also require Ohsaki’s specific

                                      72
       Case: 22-1976     Document: 4       Page: 315   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

attachment arrangement, which includes belts and a cushion to prevent
movement, yet, Petitioner does not explain how Sherman would have
allowed consistent attachment pressure for its sensor as required by Ohsaki.
Id. (citing Ex. 1014 ¶ 18); see also Sur-reply 29 (“Ohsaki teaches a
specialized attachment mechanism having specific features to “stably fix[]”
the detecting element to the wrist and improve signal-to-noise.”). Thus,
Patent Owner contends that the person of ordinary skill in the art would not
have been motivated to incorporate Sherman’s magnetic attachment
mechanism into Petitioner’s proposed combination. Id. (citing Ex. 2004
¶ 122); see also Sur-reply 29.

Analysis

      We are persuaded by Petitioner’s evidence and argument that a person
of ordinary skill in the art would have been motivated to combine Sherman’s
teaching of a magnetic connection in the existing combination of references.
We find persuasive Dr. Kenny’s testimony that a person of ordinary skill in
the art would have understood from Ohsaki itself that a particular strap is not
required to obtain the benefits of Ohsaki’s convex cover. Ex. 1060 ¶ 72
(noting that “nothing in Ohsaki links the benefits of its convex cover to the
use of any particular type of strap.”). Further, we are persuaded by
Dr. Kenny’s testimony that “[t]he combination involves nothing more than
applying a known technique to fasten two ends of a strap for attaching a
wrist worn device to a user’s arm.” Ex. 1003 ¶ 214. In light of the totality
of the record, including Dr. Kenny’s testimony, we determine that a person
of ordinary skill in the art would have been motivated to employ Sherman’s
magnetic connector because the pressure range required for Ohsaki’s


                                      73
       Case: 22-1976      Document: 4       Page: 316   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

benefits could be achieved by any number of connection fastening
mechanisms.
      Further, Patent Owner’s arguments do not persuasively address
Petitioner’s proposed combination. See Pet. 25–29, 86–88. Ohsaki was
relied upon for its teaching that a convex surface protruding into a user’s
skin will, inter alia, prevent slippage. See id.; see also Ex. 1060 ¶ 11;
Ex. 1014, 25, Figs. 4A, 4B. As discussed above, we found persuasive
Dr. Kenny’s testimony that a person of ordinary skill in the art would have
had reason, in view of that teaching, to modify the Aizawa’s sensor’s flat
cover to include a protrusion, so as to improve adhesion between the user’s
wrist and the sensor’s surface, improve detection efficiency, and protect the
elements within the sensor housing. See Ex. 1003 ¶¶ 76–80. The resulting
sensor features Aizawa’s cover modified in view of Ohsaki, not Ohsaki’s
translucent board. Ex. 1060 ¶ 7. Likewise, Patent Owner does not
effectively rebut Dr. Kenny’s testimony that a person of ordinary skill in the
art would have integrated a magnetic connector in the combination of
references in view of Sherman for reasons related to engagement and user
comfort. See PO Resp. 66–67; Ex. 1003 ¶¶ 213–214 (“because it provided
details of a wrist-worn device fastening mechanism that addresses the
above-noted problems, is easy to engage, and improves user comfort”);
Ex. 1060 ¶ 72.

                       3. Conclusion

      We have considered the evidence and arguments of record, including
those directed to claim 1 and addressed above, and we determine that
Petitioner has demonstrated by a preponderance of the evidence that claim


                                       74
        Case: 22-1976    Document: 4      Page: 317   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

13 would have been obvious over the combined teachings of Aizawa,
Mendelson-2003, Ohsaki, Goldsmith, and Sherman for the reasons discussed
in the Petition and as supported by the testimony of Dr. Kenny. See, e.g.,
Pet. 84–88; Ex. 1047, 1:11–25, Fig. 2; Ex. 1003 ¶¶ 211–216.


                         III.   CONCLUSION

       In summary: 10
     Claims     35 U.S.C. Reference(s)/ Claims Shown           Claims Not
                    §        Basis      Unpatentable             Shown
                                                              Unpatentable
                            Aizawa,
 1–12, 14–27       103      Mendelson-    1–12, 14–27
                            2003, Ohsaki,
                            Goldsmith
                            Aizawa,
      13           103      Mendelson-          13
                            2003, Ohsaki,
                            Goldsmith,
                            Sherman
 Overall                                      1–27
 Outcome




10
  Should Patent Owner wish to pursue amendment of the challenged claims
in a reissue or reexamination proceeding subsequent to the issuance of this
decision, we draw Patent Owner’s attention to the April 2019 Notice
Regarding Options for Amendments by Patent Owner Through Reissue or
Reexamination During a Pending AIA Trial Proceeding. See 84 Fed. Reg.
16654 (Apr. 22, 2019). If Patent Owner chooses to file a reissue application
or a request for reexamination of the challenged patent, we remind Patent
Owner of its continuing obligation to notify the Board of any such related
matters in updated mandatory notices. See 37 C.F.R. § 42.8(a)(3), (b)(2).
                                     75
       Case: 22-1976     Document: 4      Page: 318   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

                             IV.    ORDER

      Upon consideration of the record before us, it is:
      ORDERED that claims 1–27 of the ’366 patent have been shown to be
unpatentable; and,
      FURTHER ORDERED that, because this is a final written decision,
parties to the proceeding seeking judicial review of the decision must
comply with the notice and service requirements of 37 C.F.R. § 90.2.




                                     76
      Case: 22-1976    Document: 4    Page: 319   Filed: 08/09/2022

IPR2020-01737
Patent 10,709,366 B1

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                                 77
      Case: 22-1976    Document: 4        Page: 320   Filed: 08/09/2022
Trials@uspto.gov                                                     Paper 7
571-272-7822                                            Entered: May 5, 2021


       UNITED STATES PATENT AND TRADEMARK OFFICE


        BEFORE THE PATENT TRIAL AND APPEAL BOARD


                             APPLE INC.,
                              Petitioner,

                                     v.

                      MASIMO CORPORATION,
                           Patent Owner.


                           IPR2020-01713
                         Patent 10,624,564 B1



Before JOSIAH C. COCKS, ROBERT L. KINDER, and
AMANDA F. WIEKER, Administrative Patent Judges.
KINDER, Administrative Patent Judge.


                               DECISION
               Granting Institution of Inter Partes Review
                             35 U.S.C. § 314
        Case: 22-1976      Document: 4       Page: 321   Filed: 08/09/2022
IPR2020-01713
Patent 10,624,564 B1

                             I.   INTRODUCTION

                                  A. Background

       Apple Inc. (“Petitioner”) filed a Petition requesting an inter partes
review of claims 1–30 (“challenged claims”) of U.S. Patent No. 10,624,564
B1 (Ex. 1001, “the ’564 patent”). Paper 2 (“Pet.”). Masimo Corporation
(“Patent Owner”) waived filing a preliminary response. Paper 6 (“PO
Waiver”).
       We have authority to determine whether to institute an inter partes
review, under 35 U.S.C. § 314 and 37 C.F.R. § 42.4. An inter partes review
may not be instituted unless it is determined that “the information presented
in the petition filed under section 311 and any response filed under section
313 shows that there is a reasonable likelihood that the petitioner would
prevail with respect to at least 1 of the claims challenged in the petition.”
35 U.S.C. § 314 (2018); see also 37 C.F.R. § 42.4(a) (2020) (“The Board
institutes the trial on behalf of the Director.”).
       For the reasons provided below and based on the record before us, we
determine that Petitioner has demonstrated a reasonable likelihood that
Petitioner would prevail in showing the unpatentability of at least one of the
challenged claims. Accordingly, we institute an inter partes review on all
grounds set forth in the Petition.

                               B. Related Matters
       The parties identify the following matters related to the ’564 patent:
       Masimo Corporation v. Apple Inc., Civil Action No. 8:20-cv-00048
(C.D. Cal.);




                                         2
       Case: 22-1976    Document: 4       Page: 322   Filed: 08/09/2022
IPR2020-01713
Patent 10,624,564 B1

      Apple Inc. v. Masimo Corporation, IPR2020-01520 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,258,265 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01521 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,292,628 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01523 (PTAB Sept. 9,
2020) (challenging claims of U.S. Patent No. 8,457,703 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01524 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,433,776 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01526 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 6,771,994 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01536 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,588,553 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01537 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,588,553 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01538 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,588,554 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01539 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,588,554 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01714 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,631,765 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01715 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,631,765 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01716 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,702,194 B1);




                                      3
        Case: 22-1976     Document: 4       Page: 323   Filed: 08/09/2022
IPR2020-01713
Patent 10,624,564 B1

      Apple Inc. v. Masimo Corporation, IPR2020-01722 (PTAB Oct. 2,
2020) (challenging claims of U.S. Patent No. 10,470,695 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01723 (PTAB Oct. 2,
2020) (challenging claims of U.S. Patent No. 10,470,695 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01733 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,702,195 B1); and
      Apple Inc. v. Masimo Corporation, IPR2020-01737 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,709,366 B1).
Pet. 3; Paper 3, at 1, 3–4.
      Patent Owner further identifies certain issued patent applications, as
well as other pending and abandoned applications, that claim priority to, or
share a priority claim with, the ’564 patent. Paper 3, at 1–2.

                              C. The ’564 Patent
      The ’564 patent is titled “Multi-Stream Data Collection System for
Noninvasive Measurement of Blood Constituents,” and issued on April 21,
2020, from U.S. Patent Application No. 16/725,292, filed December 23,
2019. Ex. 1001, codes (21), (22), (45), (54). The ’564 patent claims priority
through a series of continuation and continuation-in-part applications to
Provisional Application Nos. 61/086,060, 61/086,108, 61/086,063, and
61/086,057, each filed on August 4, 2008, as well as 61/091,732 filed on




                                        4
       Case: 22-1976     Document: 4       Page: 324   Filed: 08/09/2022
IPR2020-01713
Patent 10,624,564 B1

August 25, 2008, and 61/078,228 and 61/078,207 both filed on July 3,
2008.1 Id. at codes (60), (63).
      The ’564 patent discloses a two-part data collection system including
a noninvasive sensor that communicates with a patient monitor. Id. at 2:47–
51. The sensor includes a sensor housing, an optical source, and several
photodetectors, and is used to measure a blood constituent or analyte, e.g.,
oxygen or glucose. Id. at 2:38–46, 3:4–6. The patient monitor includes a
display and a network interface for communicating with a handheld
computing device. Id. at 2:54–57.




1
  The Office has made the prior determination that the application leading to
the ’564 patent is not designated as an “AIA (FITF)” application. See
Ex. 1002 at 102 (Notice of Allowability of March 3, 2020). We determine
that based on this prior determination, and the lack of any contrary evidence
before us, the Petition was not required to be filed more than nine months
after the date of the grant of the patent. See 37 C.F.R. § 42.102(a)(1).
Instead, based on the record before us, 37 C.F.R. § 42.102(a)(2) should
apply, which allows a petition to be filed after “the date of the grant of the
patent.”

                                       5
       Case: 22-1976     Document: 4       Page: 325   Filed: 08/09/2022
IPR2020-01713
Patent 10,624,564 B1

      Figure 1 of the ’564 patent is reproduced below.




Figure 1 illustrates a block diagram of data collection system 100 including
sensor 101 and monitor 109. Id. at 11:56–67. Sensor 101 includes emitter
104 and detectors 106. Id. at 12:1–5. Emitter 104 emits light that is
attenuated or reflected by the patient’s tissue at measurement site 102. Id. at
14:11–16. Detectors 106 capture and measure the light attenuated or
reflected from the tissue. Id. In response to the measured light,
detectors 106 output detector signal 107 to monitor 109 through front-end
interface 108. Id. at 14:16–19, 36–42. Sensor 101 also may include tissue
shaper 105, which may be in the form of a convex surface that: (1) reduces
the thickness of the patient’s measurement site; and (2) provides more
surface area from which light can be detected. Id. at 11:7–23.
      Monitor 109 includes signal processor 110 and user interface 112. Id.
at 15:27–29. “[S]ignal processor 110 includes processing logic that


                                       6
       Case: 22-1976     Document: 4       Page: 326   Filed: 08/09/2022
IPR2020-01713
Patent 10,624,564 B1

determines measurements for desired analytes . . . based on the signals
received from the detectors 106.” Id. at 15:32–35. User interface 112
presents the measurements to a user on a display, e.g., a touch-screen
display. Id. at 15:57–61. In response to user input or device orientation,
user interface 112 can “reorient its display indicia.” Id. at 15:63–67. The
monitor may be connected to storage device 114 and network interface 116.
Id. at 16:4–22. In some embodiments, the monitor, including the display, is
attached to the patient by a strap. Id. at 17:56–59, 18:16–19.
      The ’564 patent describes various examples of sensor devices.
Figures 14D and 14F, reproduced below, illustrate sensor devices.




Figure 14D illustrates a detector submount and Figure 14F illustrates
portions of a detector shell. Id. at 6:54–57. As shown in Figure 14D,
multiple detectors 1410c are located within housing 1430 and under
transparent cover 1432, on which protrusion 605b is disposed. Id. at 36:40–
47. Figure 14F illustrates detector shell 306f including detectors 1410c on
substrate 1400c. Id. at 37:20–21. In some embodiments, the detector shell
includes walls to separate individual photodiode arrays and to “prevent or

                                       7
       Case: 22-1976      Document: 4       Page: 327   Filed: 08/09/2022
IPR2020-01713
Patent 10,624,564 B1

reduce mixing of light signals.” Id. at 22:46–53. Substrate 1400c is
enclosed by shielding enclosure 1490 and noise shield 1403, which include
window 1492a and window 1492b, respectively, placed above detectors
1410c. Id. at 22:20–36.
      Figures 4A and 4B, reproduced below, illustrate an alternative
example of a tissue contact area of a sensor device.




Figures 4A and 4B illustrate arrangements of protrusion 405 including
measurement site contact area 470. Id. at 23:30–36. “[M]easurement site
contact area 470 can include a surface that molds body tissue of a
measurement site.” Id. “For example, the measurement site contact area
470 can be generally curved and/or convex with respect to the measurement
site.” Id. at 23:53–55. The measurement site contact area includes windows
420–423 that “mimic or approximately mimic a configuration of, or even
house, a plurality of detectors.” Id. at 23:61–24:8.

                            D. Illustrative Claim

      Of the challenged claims, claim 1 is independent. Claim 1 is
illustrative and is reproduced below.
           1. A user-worn physiological measurement device
      comprising:


                                        8
       Case: 22-1976      Document: 4       Page: 328   Filed: 08/09/2022
IPR2020-01713
Patent 10,624,564 B1

             [a] one or more emitters configured to emit light into tissue
      of a user;
             [b] at least four detectors arranged on a substrate;
             [c] a cover comprising a protruding convex surface,
      wherein the protruding convex surface extends over all of the at
      least four detectors arranged on the substrate, wherein at least a
      portion of the protruding convex surface is rigid;
            [d] one or more processors configured to: receive one or
      more signals from at least one of the at least four detectors, the
      one or more signals responsive to at least a physiological
      parameter of the user; and process the one or more signals to
      determine measurements of the physiological parameter;
            [e] a network interface configured to communicate with a
      mobile phone;
             [f] a touch-screen display configured to provide a user
      interface,
             [g] wherein: the user interface is configured to display
      indicia responsive to the measurements of the physiological
      parameter, and
            [h] an orientation of the user interface is configurable
      responsive to a user input;
             [i] a wall that surrounds at least the at least four detectors,
      wherein the wall operably connects to the substrate and the
      cover;
             [j] a storage device configured to at least temporarily store
      at least the measurements of the physiological parameter; and
           [k] a strap configured to position the physiological
      measurement device on the user.
Ex. 1001, 44:63–45:29 (bracketed lettering [a]–[k] added).




                                        9
       Case: 22-1976     Document: 4        Page: 329   Filed: 08/09/2022
IPR2020-01713
Patent 10,624,564 B1

                           E. Applied References

      Petitioner relies upon the following references:
            Sherman et al., U.S. Patent No. 4,941,236, filed July 6, 1989,
      issued July 17, 1990 (Ex. 1013, “Sherman”);
            Ali et al., U.S. Patent No. 6,584,336 B1, filed March 1, 2000,
      issued June 24, 2003 (Ex. 1019, “Ali”);
            Ohsaki et al., U.S. Patent Application Publication No.
      2001/0056243 A1, filed May 11, 2001, published December 27, 2001
      (Ex. 1009, “Ohsaki”);
            Aizawa, U.S. Patent Application Publication No.
      2002/0188210 A1, filed May 23, 2002, published December 12, 2002
      (Ex. 1006, “Aizawa”);
           Rantala et al., U.S. Patent No. 6,912,413 B2, filed
      September 12, 2003, issued June 28, 2005 (Ex. 1022, “Rantala”); and
            Goldsmith et al., U.S. Patent Application Publication No.
      2007/0093786 A1, filed July 31, 2006, published April 26, 2007
      (Ex. 1011, “Goldsmith).
Pet. 10.
      Petitioner also submits, inter alia, the Declaration of Thomas W.
Kenny, Ph.D. (Ex. 1003).

                              F. Asserted Grounds

      Petitioner asserts that claims 1–30 are unpatentable based upon the
following grounds (Pet. 9):
 Claim(s) Challenged          35 U.S.C. §            References/Basis
 1–10 and 13–30                  103          Aizawa, Ohsaki, and Goldsmith
                                              Aizawa, Ohsaki, Goldsmith,
 11                              103
                                              and Sherman
                                              Aizawa, Ohsaki, Goldsmith,
 12                              103
                                              and Rantala
                                              Aizawa, Ohsaki, Goldsmith,
 1–10 and 13–30                  103
                                              and Ali
 11                              103          Aizawa, Ohsaki, Goldsmith,

                                       10
          Case: 22-1976     Document: 4      Page: 330   Filed: 08/09/2022
IPR2020-01713
Patent 10,624,564 B1

    Claim(s) Challenged       35 U.S.C. §             References/Basis
                                               Ali, and Sherman
                                               Aizawa, Ohsaki, Goldsmith,
    12                            103
                                               Ali, and Rantala


                                II. DISCUSSION

                             A. Claim Construction

         For petitions filed on or after November 13, 2018, a claim shall be
construed using the same claim construction standard that would be used to
construe the claim in a civil action under 35 U.S.C. § 282(b). 37 C.F.R.
§ 42.100(b) (2020). Accordingly, we construe the claims according to the
standard set forth in Phillips v. AWH Corp., 415 F.3d 1303 (Fed. Cir. 2005).
Based on our analysis of Petitioner’s challenges presented at this stage of the
proceeding, we find that one claim term requires express construction.
         Petitioner raises the issue of the proper scope of the claim term
“processor” to a person of ordinary skill in the art. Pet. 51. Petitioner
submits “[t]he ’564 patent does not define ‘processor,’” but argues that a
person of ordinary skill in the art would understand the term to mean “part
of a computer system that operates on data,” consistent with the definition
provided in Merriam-Webster’s Collegiate Dictionary. 2 Id.; Ex. 1012, 5.
         First, we observe that the claim language provides an understanding
of the functions of the claimed one or more processers, which are
“configured to:” “receive one or more signals” and “process the one or more
signals to determine measurements of the physiological parameter.”



2
 Petitioner adds page numbers 1–6 to Exhibit 1012. We refer to the added
page numbers when citing to Exhibit 1012 in this Decision.

                                        11
       Case: 22-1976      Document: 4      Page: 331   Filed: 08/09/2022
IPR2020-01713
Patent 10,624,564 B1

Ex. 1001, 45:6–12. The Specification describes several distinct processors,
but it also describes a “signal processor” as the device used for processing
signals. See, e.g., id. at 9:50–55, 14:36–42, 15:27–56, 33:36–47. Based on
the current record before us, we adopt Petitioner’s definition of the term
“processor.” See Ex. 1012, 5. This definition is consistent with the general
operation of the signal processor in the ’564 patent, where the signal
processor is described to include “processing logic that determines
measurements . . . based on the signals received from the detectors.”
Ex. 1001, 15:31–35; 15:35–39 (“signal processor 110 can be implemented
using one or more microprocessors or subprocessors . . ., digital signal
processors, application specific integrated circuits (ASICs), field
programmable gate arrays (FPGAs), combinations of the same”).
      We also offer guidance as to the meaning of “an orientation of the
user interface is configurable responsive to a user input” also found in
claim 1. To determine the meaning of the claim limitation “an orientation of
the user interface is configurable responsive to a user input,” we look to the
Specification of the ’564 patent. The Specification states “the user
interface 112 can include a flip screen, a screen that can be moved from one
side to another on the monitor 109, or can include an ability to reorient its
display indicia responsive to user input or device orientation.” Ex. 1001,
15:63–67. Based on the evidence before us, and based on limited discussion
of “orientation” in the ’564 patent, we understand the claim limitation “an
orientation of the user interface is configurable responsive to a user input” to
at least encompass reorienting the display indicia responsive to user input.
      Based on our analysis of the issues in dispute at this stage of the
proceeding, we conclude that no further claim terms require express



                                      12
        Case: 22-1976     Document: 4       Page: 332   Filed: 08/09/2022
IPR2020-01713
Patent 10,624,564 B1

construction at this time. Nidec Motor Corp. v. Zhongshan Broad Ocean
Motor Co. Matal, 868 F.3d 1013, 1017 (Fed. Cir. 2017).

                             B. Principles of Law

      A claim is unpatentable under 35 U.S.C. § 103 if “the differences
between the subject matter sought to be patented and the prior art are such
that the subject matter as a whole would have been obvious at the time the
invention was made to a person having ordinary skill in the art to which said
subject matter pertains.” KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 406
(2007). The question of obviousness is resolved on the basis of underlying
factual determinations, including (1) the scope and content of the prior art;
(2) any differences between the claimed subject matter and the prior art;
(3) the level of skill in the art; and (4) objective evidence of non-
obviousness.3 Graham v. John Deere Co., 383 U.S. 1, 17–18 (1966). When
evaluating a combination of teachings, we must also “determine whether
there was an apparent reason to combine the known elements in the fashion
claimed by the patent at issue.” KSR, 550 U.S. at 418 (citing In re Kahn,
441 F.3d 977, 988 (Fed. Cir. 2006)). Whether a combination of prior art
elements would have produced a predictable result weighs in the ultimate
determination of obviousness. Id. at 416–417.
      In an inter partes review, the petitioner must show with particularity
why each challenged claim is unpatentable. Harmonic Inc. v. Avid Tech.,
Inc., 815 F.3d 1356, 1363 (Fed. Cir. 2016); 37 C.F.R. § 42.104(b). The




3
  Patent Owner does not present objective evidence of non-obviousness at
this stage.

                                       13
        Case: 22-1976      Document: 4       Page: 333   Filed: 08/09/2022
IPR2020-01713
Patent 10,624,564 B1

burden of persuasion never shifts to Patent Owner. Dynamic Drinkware,
LLC v. Nat’l Graphics, Inc., 800 F.3d 1375, 1378 (Fed. Cir. 2015).
      We analyze the challenges presented in the Petition in accordance
with the above-stated principles.

                     C. Level of Ordinary Skill in the Art

      Petitioner identifies the appropriate level of skill in the art as that
possessed by a person having “a Bachelor of Science degree in an academic
discipline emphasizing the design of electrical, computer, or software
technologies, in combination with training or at least one to two years of
related work experience with capture and processing of data or information.”
Pet. 8 (citing Ex. 1003 ¶¶ 21–22). Petitioner also notes that “[a]dditional
education in a relevant field or industry experience may compensate for one
of the other aspects of the [person of ordinary skill in the art]” described
above. Id.
      For purposes of this Decision, we generally adopt Petitioner’s
assessment as set forth above, which appears consistent with the level of
skill reflected in the Specification and prior art.

              D. Obviousness over the Combined Teachings of
                       Aizawa, Ohsaki, and Goldsmith
      Petitioner presents undisputed contentions that claims 1–10 and 13–30
of the ’564 patent would have been obvious over the combined teachings of
Aizawa, Ohsaki, and Goldsmith. Pet. 10–91.
                      1. Overview of Aizawa (Ex. 1006)
      Aizawa is a U.S. patent application publication titled “Pulse Wave
Sensor and Pulse Rate Detector,” and discloses a pulse wave sensor that



                                        14
       Case: 22-1976      Document: 4      Page: 334   Filed: 08/09/2022
IPR2020-01713
Patent 10,624,564 B1

detects light output from a light emitting diode and reflected from a patient’s
artery. Ex. 1006, codes (54), (57).
      Figure 1(a) of Aizawa is reproduced below.




Figure 1(a) is a plan view of a pulse wave sensor. Id. ¶ 23. As shown in
Figure 1(a), pulse wave sensor 2 includes light emitting diode (“LED”) 21,
four photodetectors 22 symmetrically disposed around LED 21, and
holder 23 for storing LED 21 and photodetectors 22. Id. Aizawa discloses
that, “to further improve detection efficiency, . . . the number of the
photodetectors 22 may be increased.” Id. ¶ 32, Fig. 4(a). “The same effect
can be obtained when the number of photodetectors 22 is 1 and a plurality of
light emitting diodes 21 are disposed around the photodetector 22.” Id. ¶ 33.




                                      15
       Case: 22-1976      Document: 4      Page: 335   Filed: 08/09/2022
IPR2020-01713
Patent 10,624,564 B1

      Figure 1(b) of Aizawa is reproduced below.




Figure 1(b) is a sectional view of the pulse wave sensor. Id. ¶ 23. As shown
in Figure 1(b), pulse wave sensor 2 includes drive detection circuit 24 for
detecting a pulse wave by amplifying the outputs of photodetectors 22. Id.
¶ 23. Arithmetic circuit 3 computes a pulse rate from the detected pulse
wave and transmitter 4 transmits the pulse rate data to an “unshown
display.” Id. The pulse rate detector further includes outer casing 5 for
storing pulse wave sensor 2, acrylic transparent plate 6 mounted to detection
face 23a of holder 23, and attachment belt 7. Id.
      Aizawa discloses LED 21 and photodetectors 22 “are stored in
cavities 23b and 23c formed in the detection face 23a” of the pulse wave
sensor. Id. ¶ 24. Detection face 23a “is a contact side between the holder 23
and a wrist 10, respectively, at positions where the light emitting face 21s of
the light emitting diode 21 and the light receiving faces 22s of the
photodetectors 22 are set back from the above detection face 23a.” Id.
Aizawa further discloses that “a subject carries the above pulse rate detector
1 on the inner side of his/her wrist 10 with a belt in such a manner that the
light emitting face 21s of the light emitting diode 21 faces down (on the
wrist 10 side).” Id. ¶ 26. Furthermore, “the above belt 7 is fastened such

                                      16
       Case: 22-1976      Document: 4      Page: 336   Filed: 08/09/2022
IPR2020-01713
Patent 10,624,564 B1

that the acrylic transparent plate 6 becomes close to the artery 11 of the wrist
10. Thereby, adhesion between the wrist 10 and the pulse rate detector 1 is
improved.” Id. ¶¶ 26, 34.

                     2. Overview of Ohsaki (Ex. 1009)
      Ohsaki is a U.S. patent application publication titled “Wristwatch-type
Human Pulse Wave Sensor Attached on Back Side of User’s Wrist,” and
discloses an optical sensor for detecting a pulse wave of a human body.
Ex. 1009, code (54), ¶ 3. Figure 1 of Ohsaki is reproduced below.




Figure 1 illustrates a cross-sectional view of pulse wave sensor 1 attached on
the back side of user’s wrist 4. Id. ¶¶ 12, 16. Pulse wave sensor 1 includes
detecting element 2 and sensor body 3. Id. ¶ 16.




                                      17
       Case: 22-1976      Document: 4      Page: 337   Filed: 08/09/2022
IPR2020-01713
Patent 10,624,564 B1

      Figure 2 of Ohsaki, reproduced below, illustrates further detail of
detecting element 2.




Figure 2 illustrates a mechanism for detecting a pulse wave. Id. ¶ 13.
Detecting element 2 includes package 5, light emitting element 6, light
receiving element 7, and translucent board 8. Id. ¶ 17. Light emitting
element 6 and light receiving element 7 are arranged on circuit board 9
inside package 5. Id.
      “[T]ranslucent board 8 is a glass board which is transparent to light,
and attached to the opening of the package 5. A convex surface is formed
on the top of the translucent board 8.” Id. “[T]he convex surface of the
translucent board 8 is in intimate contact with the surface of the user’s skin,”
preventing detecting element 2 from slipping off the detecting position of the
user’s wrist. Id. ¶ 25. Ohsaki describes that when a translucent board has a
flat surface, the detected pulse wave may be adversely affected by
movement of the user’s wrist. Id. By preventing the detecting element from
slipping, the convex surface suppresses “variation of the amount of the
reflected light which is emitted from the light emitting element 6 and
reaches the light receiving element 7 by being reflected by the surface of the



                                      18
         Case: 22-1976    Document: 4      Page: 338   Filed: 08/09/2022
IPR2020-01713
Patent 10,624,564 B1

user’s skin.” Id. Additionally, the convex surface prevents penetration by
“noise such as disturbance light from the outside.” Id.
        Sensor body 3 is connected to detecting element 2 by signal line 13.
Id. ¶ 20. Signal line 13 connects detecting element 2 to drive circuit 11,
microcomputer 12, and a monitor display (not shown). Id. Drive circuit 11
drives light emitting element 6 to emit light toward wrist 4. Id. Detecting
element 2 receives reflected light which is used by microcomputer 12 to
calculate pulse rate. Id. “The monitor display shows the calculated pulse
rate.” Id.

                    3. Overview of Goldsmith (Ex. 1011)
        Goldsmith is a U.S. patent application publication titled “Watch
Controller for a Medical Device,” and discloses a watch controller device
that communicates with an infusion device to “provid[e] convenient
monitoring and control of the infusion pump device.” Ex. 1011, codes (54),
(57).
        Goldsmith’s Figure 9A and 9B are reproduced below.




                                      19
       Case: 22-1976     Document: 4       Page: 339   Filed: 08/09/2022
IPR2020-01713
Patent 10,624,564 B1

Figure 9A and Figure 9A are respective front and rear views of a combined
watch and controller device. Id. ¶¶ 30–31. As shown in Figure 9A, watch
controller 900 includes housing 905, transparent member 950, display 910,
input devices 925a–c, scroll wheel 930, and wrist band 940. Id. ¶¶ 85–86.
Figure 9B shows rear-side cover 960, and a rear view of housing 905, scroll
wheel 930, and wrist band 940. Id.
      Goldsmith discloses the watch controller may interact with one or
more devices, such as infusion pumps or analyte monitors. Id. ¶ 85; see also
id. ¶ 88 (“The analyte sensing device 1060 may be adapted to receive data
from a sensor, such as a transcutaneous sensor.”). Display 910 “may display
at least a portion of whatever information and/or graph is being displayed on
the infusion device display or on the analyte monitor display,” such as, e.g.,
levels of glucose. Id. ¶ 86. The display is customizable in a variety of
configurations including user-customizable backgrounds, languages, sounds,
font (including font size), and wall papers. Id. ¶¶ 102, 104. Additionally,
the watch controller may communicate with a remote station, e.g., a
computer, to allow data downloading. Id. ¶ 89 (including wireless). The
remote station may also include a cellular telephone to be “used as a conduit
for remote monitoring and programming.” Id.

         4. Independent Claim 1 (Aizawa, Ohsaki, and Goldsmith)

      Petitioner presents undisputed contentions that claim 1 would have
been obvious over the combined teachings of Aizawa, Ohsaki, and
Goldsmith. Pet. 10–63.




                                      20
        Case: 22-1976       Document: 4    Page: 340   Filed: 08/09/2022
IPR2020-01713
Patent 10,624,564 B1

                   i.“[pre] A user-worn physiological measurement device
                     comprising”

      On this record, the cited evidence supports Petitioner’s undisputed
contentions that Aizawa discloses this limitation. Pet. 41–42.
      Figure 2 of Aizawa shows a user wearing a pulse wave sensor on the
inner side of his/her wrist. Ex. 1006 ¶ 0026. Accordingly, Petitioner’s
reliance on Figure 2 of Aizawa and the corresponding disclosure sufficiently
disclose the subject matter of the preamble. 4 See Pet. 42.
      At this stage of the proceeding, Petitioner’s stated reasoning is
sufficiently supported. 5

                  ii.“[a] one or more emitters configured to emit light into
                     tissue of a user”
      On this record, the cited evidence supports Petitioner’s undisputed
contentions that Aizawa discloses a pulse wave sensor including LED 21
that emits light into a user’s tissue. Pet. 42–43; Ex. 1006 ¶ 23 (“LED 21 . . .
for emitting light having a wavelength of a near infrared range”), ¶ 27
(explaining that light is emitted toward the wrist), Fig. 1(b) (depicting

4
  Whether the preamble is limiting need not be resolved at this stage of the
proceeding, because Petitioner shows sufficiently for purposes of institution
that the recitation in the preamble is satisfied by the prior art.
5
  Petitioner further contends that the subject matter of the preamble is taught
by the combination of Aizawa, Ohsaki, and Goldsmith. Pet. 41–42 (arguing
that it would have been obvious to incorporate the pulse wave sensor of
Aizawa (as modified by Ohsaki) into the wrist-worn watch controller device
in Figures 9A and 9B of Goldsmith, to realize a user-worn physiological
measurement device). Because Figure 2 of Aizawa teaches a user-worn
physiological measurement device, further analysis of the combination of
Aizawa, Ohsaki, and Goldsmith is not necessary for this particular claim
limitation.

                                      21
          Case: 22-1976     Document: 4       Page: 341   Filed: 08/09/2022
IPR2020-01713
Patent 10,624,564 B1

LED 21 facing user wrist 10), Fig. 2 (depicting a pulse wave sensor worn on
a user’s wrist).
         At this stage of the proceeding, Petitioner’s stated reasoning is
sufficiently supported.

                   iii.“[b] at least four detectors arranged on a substrate”

         On this record, the cited evidence supports Petitioner’s undisputed
contentions regarding this limitation. Pet. 44–46.
         Petitioner contends that pulse wave sensor depicted in Figure 1(a) of
Aizawa discloses four photodetectors 22. Pet. 44; see e.g., Ex. 1006 ¶ 27
(“[F]our photodetectors 22 are disposed around the light emitting diode
21.”).
         Relying on the cross-section view of Figure 1(b) of the pulse wave
detector of Aizawa, Petitioner further contends photodetectors 22 are
secured on a substrate illustrated in Petitioner’s annotated Figure 1(b).
Pet. 24, 45. Petitioner’s annotated Figure 1(b) of Aizawa is reproduced
below.




Annotated Figure 1(b) depicts a structure, identified by Petitioner with
brown highlight and the added label “Substrate,” arranged in proximity to
photodetectors 22. Pet. 45. Petitioner concedes that Aizawa “does not label

                                         22
        Case: 22-1976     Document: 4       Page: 342   Filed: 08/09/2022
IPR2020-01713
Patent 10,624,564 B1

or describe” a substrate, but contends a person of ordinary skill in the art
(“POSITA”) would have understood that “Aizawa’s photodetectors are
secured to the [physiological measure device] . . . through such [as] a
substrate” depicted in annotated Figure 1(b). Pet. 24. Dr. Thomas W.
Kenny testifies that “[a] POSITA would have understood that the substrate
provides physical support and electrical connectivity and is connected to the
holder 23.” Ex. 1003 ¶ 71; see also Pet. 24 (citing to testimony of Dr.
Kenny). On the current record, Petitioner has sufficiently shown that the
structure identified in annotated Figure 1(b) of Aizawa is a substrate, and
that photodetectors 22 are arranged on the substrate.
       Petitioner further contends that if Aizawa is found not to disclose a
substrate, then Ohsaki teaches this feature. Pet. 25. Similar to the device of
Aizawa, Ohsaki teaches a pulse wave sensor comprising a light emitting
element 6 (e.g., a LED) and a light receiving element (e.g., a photodetector).
Ex. 1009 ¶ 17. “The light emitting element 6 and light receiving element 7
are . . . arranged on the circuit board 9.” Id. Relying on the testimony of
Dr. Kenny, Petitioner contends a POSITA would have modified the pulse
wave sensor of Aizawa to include a substrate, such as circuit board 9 of
Ohsaki, to secure the photodetectors of Aizawa and enable the detectors to
send signals to other elements in the device. Pet. 25 (citing Ex. 1003 ¶¶ 72–
73; Ex. 1006 ¶¶ 2–5, 8–16, 23, 27–29, 32–33, Figs. 1, 2, 3, 4(a); Ex. 1009
¶ 17, Fig. 2).
       At this stage of the proceeding, Petitioner’s stated reasoning is
sufficiently supported, including by the unrebutted testimony of Dr. Kenny.




                                       23
        Case: 22-1976     Document: 4       Page: 343   Filed: 08/09/2022
IPR2020-01713
Patent 10,624,564 B1

                  iv. “[c] a cover comprising a protruding convex surface,
                     wherein the protruding convex surface extends over all
                     of the at least four detectors arranged on the substrate,
                     wherein at least a portion of the protruding convex
                     surface is rigid”

      On this record, the cited evidence supports Petitioner’s undisputed
contentions regarding these limitations. Pet. 19–23, 47–49.
      Petitioner contends the pulse wave sensor depicted in Figure 1(b) of
Aizawa comprises “a flat transparent plate 6 that contacts the user’s wrist.”
Pet. 19; see, e.g., Ex. 1006 ¶ 26 (“[T]he acrylic transparent plate 6 becomes
close to the artery 11 of the wrist 10.”). In Petitioner’s view, the flat plate of
Aizawa is unfavorable, in that it “would have slipped along the user’s wrist,
resulting in variations in the light detected by the photodetectors.” Pet. 20.
      Petitioner proposes modifying the flat acrylic plate of Aizawa, with
the convex translucent board 8 depicted in Figure 2 of Ohsaki. Specifically,
Petitioner relies on Ohsaki’s teaching:
             Ohsaki explains that “if the translucent board 8 has a flat
      surface, the detected pulse wave is adversely affected by the
      movement of the user’s wrist as shown in FIG. 4B,” but that if
      “the translucent board 8 has a convex surface…variation of the
      amount of the reflected light…that reaches the light receiving
      element 7 is suppressed.” APPLE-1009, ¶[0025]. Thus, when a
      protruding convex cover is used, “the pulse wave can be detected
      without being affected by the movement of the user’s wrist 4 as
      shown in FIG. 4A.” Id.

Pet. 21–22 (citing Ex. 1009 ¶ 25); see also Ex. 1009, Fig. 2 (depicting
convex translucent board 8).
      Petitioner’s annotated Figure 1(b) of Aizawa and annotated Figure 2
of Ohsaki are reproduced below.




                                       24
       Case: 22-1976     Document: 4      Page: 344   Filed: 08/09/2022
IPR2020-01713
Patent 10,624,564 B1




Annotated Figure 1(b) of Aizawa (left) depicts acrylic transparent plate 6 (in
which Petitioner equates to the claimed “cover” and highlighted in blue) in
contact with the wrist 10 of a user and annotated Figure 2 of Ohsaki (right)
depicts a translucent board 8 including a convex surface (highlighted in
blue) in contact with a user’s skin. Pet. 20–21. Notably, transparent plate 6
of Aizawa appears flat. Pet. 20.
      Petitioner’s presents a modified Figure 1(b) of Aizawa to demonstrate
the proposed modification to Aizawa based on Ohsaki’s teaching of a
protruding convex surface.




                                     25
       Case: 22-1976     Document: 4       Page: 345   Filed: 08/09/2022
IPR2020-01713
Patent 10,624,564 B1




Modified Figure 1(b) depicts acrylic transparent plate 6 of Aizawa modified
according to the teaching of Ohsaki, to include a “protruding convex
surface” (highlighted in blue). Pet. 23. Petitioner contends that a person of
ordinary skill in the art “would have modified Aizawa’s flat cover to include
a protruding convex surface . . . to improve adhesion between the user’s
wrist and the sensor, improve detection efficiency, and protect the elements
within the housing.” Pet. 22–23 (citing Ex. 1003 ¶¶ 69–70; Ex. 1009 ¶ 25);
see also Pet. 47.
      Aizawa’s flat plate 6 is made of acrylic (Ex. 1006 ¶ 23) and Ohsaki’s
convex translucent board 8 is made of glass (Ex. 1009 ¶ 17). Dr. Kenny
testifies that the protruding convex surface in the Aizawa/Ohsaki pulse wave
sensor (shown in modified Figure 1(b) of Aizawa) “would have had rigidity
to cause the user’s skin to deform and to create friction to prevent slippage
and realized improved adhesion between the user’s wrist and the sensor
device’s surface.” Ex. 1003 ¶ 105; see also Pet. 49. We find persuasive
Petitioner’s stated reasoning for modifying the cover of Aizawa. We also


                                      26
        Case: 22-1976     Document: 4       Page: 346   Filed: 08/09/2022
IPR2020-01713
Patent 10,624,564 B1

find persuasive the unrebutted testimony of Dr. Kenny regarding the cover’s
rigidity.
       Petitioner further contends the convex protruding cover of Aizawa (as
modified by Ohsaki) “would have extended over all of the at least four
detectors arranged on the substrate.” Pet. 49. In support of this contention,
Petitioner provides annotated Figure 1(a) of Aizawa, reproduced below. Id.




Annotated Figure 1(a) depicts the border of the protruding convex surface
(depicted in modified Figure 1(b) of Aizawa) extending over four
photodetectors 22. Pet. 49.
       At this stage of the proceeding, Petitioner’s stated reasoning is
sufficiently supported, including by the unrebutted testimony of Dr. Kenny.




                                       27
       Case: 22-1976      Document: 4       Page: 347   Filed: 08/09/2022
IPR2020-01713
Patent 10,624,564 B1

                  v.“[d] one or more processors configured to: receive one
                    or more signals from at least one of the at least four
                    detectors, the one or more signals responsive to at least a
                    physiological parameter of the user; and process the one
                    or more signals to determine measurements of the
                    physiological parameter”

      On this record, the cited evidence supports Petitioner’s undisputed
contentions regarding these limitations. Pet. 50–52.
      Petitioner contends arithmetic circuit 3 and drive detection circuit 24
in Figure 1(b) of Aizawa equate to the claimed “one or more processors.”
Pet. 51. The drive detection circuit and arithmetic circuit are described
respectively by Aizawa as configured to detect a pulse wave by amplifying
the output of photodetectors 22, and compute a pulse rate from the detected
pulse wave data. Ex. 1006 ¶ 23. Petitioner contends that the term
“processor” should be interpreted to mean “part of computer system that
operates on data,” and that a POSITA would understand the operation of the
drive detection circuit and arithmetic circuit are consistent with this
definition. Pet. 51 (citing Ex. 1003 ¶¶ 107–108). As noted supra at
§(II)(A), we adopt preliminarily Petitioner’s definition of processor.
      Petitioner also contends Goldsmith discloses “a processor that
executes programs to control sensing devices, receives data indicative of a
concentration of an analyte, and displays a representation of at least a
portion of the information received from or displayed by other devices.”
Pet. 51–52 (citing Ex. 1011 ¶ 88, Figs. 6A, 6B, 10). Figure 10 of Goldsmith
depicts a combined watch and controller device. Ex. 1011 ¶ 32. The watch
controller device includes processor 1012, which is “adapted to process data
and commands inputted by the user.” Id. ¶ 88. Dr. Kenny testifies the
controller device is “‘used with any number of…diagnostic devices’ and


                                       28
       Case: 22-1976     Document: 4       Page: 348   Filed: 08/09/2022
IPR2020-01713
Patent 10,624,564 B1

sensors to obtain physiological measurements such as temperature, blood
glucose level, oxygen level, and heart rate.” Ex. 1003 ¶ 109; see also
Ex. 1011 ¶¶ 82, 95. Dr. Kenny appears to suggest that because Goldsmith’s
watch controller device can be configured in a number of diagnostic devices,
the watch controller device can also be used in connection with the pulse
wave sensor of Aizawa (as modified by Ohsaki). Dr. Kenny further testifies
that a POSITA would have found it obvious to incorporate the pulse wave
sensor of Aizawa (as modified by Ohsaki) into the watch controller device
of Goldsmith “such that Goldsmith’s processor would have received signals
from the detectors and would have processed the one or more signals to
determine and display the pulse rate.” Ex. 1003 ¶ 110.
      At this stage of the proceeding, Petitioner’s stated reasoning is
sufficiently supported, including by the unrebutted testimony of Dr. Kenny.

                 vi. “[e] a network interface configured to communicate
                    with a mobile phone”
      On this record, the cited evidence supports Petitioner’s undisputed
contentions regarding this limitation. Pet. 32–35, 53.
      Petitioner contends “Goldsmith teaches communicating with a cellular
phone” (Pet. 32) and “using a transceiver 1018 or a communications
block 595 to facilitate communication with remote stations” (Pet. 33 (citing
Ex. 1011 ¶¶ 17, 89, Fig. 10)). In the embodiment depicted in Figure 10 of
Goldsmith, watch controller device 1010 communicates with a remote
station such as a cellular telephone, which “may be used as a conduit for
remote monitoring.” Ex. 1011 ¶ 89; see also id. ¶¶ 16–17 (describing a
controller device communicating patient data to a nurse, or other designated
person, wirelessly). Communication with the remote station is facilitated by


                                      29
       Case: 22-1976      Document: 4      Page: 349   Filed: 08/09/2022
IPR2020-01713
Patent 10,624,564 B1

transmitter/transceiver 1018. Id. ¶ 88 (“a transmitter/receiver 1018 . . .
transmits such communications”).
      Dr. Kenny testifies that it would have been obvious to a person of
ordinary skill in the art to incorporate the sensor of Aizawa (as modified by
Ohsaki) into the watch controller device of Goldsmith, to provide the sensor
access to the transceiver/transceiver interface of Goldsmith. Ex. 1003 ¶ 85;
see also Pet. 35. Dr. Kenny reasons that this combination “would have been
predictable” because the watch controller device of Goldsmith is
configurable to integrate a sensor, and the combination would provide,
among other things, a “means for the user and/or user’s family doctor, or
emergency services to conveniently receive user health data.” Ex. 1003
¶¶ 85–86; see also Pet. 35.
      At this stage of the proceeding, Petitioner’s stated reasoning is
sufficiently supported, including by the unrebutted testimony of Dr. Kenny.

                vii.“[f] a touch-screen display configured to provide a user
                    interface, [g]wherein: the user interface is configured to
                    display indicia responsive to the measurements of the
                    physiological parameter, and [h] an orientation of the
                    user interface is configurable responsive to a user input”

      On this record, the cited evidence supports Petitioner’s undisputed
contentions regarding these limitations. Pet. 39–41, 53–59.
      Petitioner contends that the pulse wave sensor of Aizawa (as modified
by Ohsaki and Goldsmith) “would have included a touch-screen display
configured to provide a user interface.” Pet. 53. Both Aizawa and Ohsaki
disclose displaying the physiological data of a user on a display. Ex. 1006
¶ 35 (“[T]he pulse rate data is transmitted to the display.”); Ex. 1009 ¶ 20
(“The monitor display shows the calculated pulse rate.”). Dr. Kenny


                                      30
       Case: 22-1976     Document: 4       Page: 350   Filed: 08/09/2022
IPR2020-01713
Patent 10,624,564 B1

testifies “that a static, non-touch display would have been inconvenient to
the user relative to the touch-screen display that Goldsmith discloses” and
that “it would have been obvious to a POSITA to incorporate the Aizawa-
Ohsaki sensor into Goldsmith’s [watch controller device].” Ex. 1003 ¶¶ 94–
97 (describing the ability for a user to zoom in/out on a graph on a
touchscreen display, as compared to the inability to zoom in/out on a non-
touchscreen display); see also Pet. 39–40.
      Figure 9A of Goldsmith depicts display 910 of a watch controller
device. The display may receive data directly from a sensor transmitter on a
patient’s skin. Ex. 1011 ¶ 87; see also Pet. 54. Goldsmith further discloses
configuring the watch controller device with a touchscreen. Ex. 1011 ¶ 93.
Petitioner contends that the displays of Aizawa and Ohsaki are similar to the
display of Goldsmith, in that they display sensor data. Pet. 53–54
(discussing displaying sensor data on the Goldsmith display and pulse rate
data on the Aizawa and Ohsaki displays). In view of the disclosure of
Goldsmith, Petitioner proposes integrating the pulse wave sensor of Aizawa
(as modified by Ohsaki) into the watch controller device of Goldsmith, so
that the modified sensor can transmit data to Goldsmith’s touchscreen.
Pet. 41. Petitioner reasons a “POSITA would have understood that
integrating the Aizawa-Ohsaki sensor into Goldsmith’s [watch controller
device] . . . would improve the user experience by providing navigation and
other options realizable through the touchscreen’s user interface.” Id.;
Ex. 1003 ¶ 97.
      Petitioner further contends that the orientation of the touchscreen
display user interface in the combination of Aizawa, Ohsaki, and Goldsmith
would have beeen configurable based on user input. Pet. 55. To support this



                                      31
       Case: 22-1976      Document: 4       Page: 351   Filed: 08/09/2022
IPR2020-01713
Patent 10,624,564 B1

contention, Petitioner cites to portions of Goldsmith that disclose
configuring display 910 of the watch controller device in Figure 9A with
customizable display settings (i.e., background, sounds, fonts, wallpaper)
and configurable graphics (i.e., large font sizes). Pet. 56 (citing Ex. 1011
¶¶ 102, 104); see also Ex. 1011 ¶¶ 102, 104 (describing customizable
display options). Petitioner also points to the description of the infusion
pump device depicted in the embodiment in Figure 2 of Goldsmith, and
contends a person of ordinary skill in the art would have understood that
Goldsmith’s “display can be configured in various different ways to allow
the interface to be consistent with the user’s preferences and to correct the
presentation of information that could be incorrect due to the scaling of
graphs of incorrect resolutions.” Pet. 55–56 (citing Ex. 1011 ¶ 49).
      Goldsmith discloses customizing the display of the watch controller
device with settings such as larger font sizes for vision-impaired users or
various backgrounds and wallpapers. Ex. 1011 ¶¶ 102, 104. It appears that
Petitioner equates the selectable font sizes disclosed by Goldsmith with
configuring the orientation of the user interface as required by the claim.
Pet. 56 (reasoning that a POSITA would find it obvious to “improve the font
size of text” as taught by Goldsmith). At this stage of the proceeding, this
interpretation is consistent with our understood meaning of the term
“orientation,” because the display text (i.e., indicia) of Goldsmith is altered
in size (i.e., reoriented). Our current determination is based on the record
currently before us, including our claim interpretation discussed supra.
      Dr. Kenny testifies, a person of ordinary skill in the art would have
understood “the ability to configure display graphics would have included
configuring the orientation of the [watch controller device] display’s user



                                       32
        Case: 22-1976     Document: 4       Page: 352   Filed: 08/09/2022
IPR2020-01713
Patent 10,624,564 B1

interface based on user input” (Ex. 1003 ¶ 120), and cites to additional
references 6 that are not part of this basis for the challenge for claim 1 (the
combination of Aizawa, Ohsaki, and Goldsmith) (id. ¶¶ 121–122; see also
Pet. 56–58).
      At this stage of the proceeding, Petitioner’s stated reasoning is
sufficiently supported, including by the unrebutted testimony of Dr. Kenny.

                viii.“[i] a wall that surrounds at least the at least four
                     detectors, wherein the wall operably connects to the
                     substrate and the cover”
      On this record, the cited evidence supports Petitioner’s undisputed
contentions regarding this limitation. Pet. 59–60.
      Petitioner equates the outer surface of holder 23 in Figure 1(b) of
Aizawa to the claimed “wall.” Pet. 59–60. To illustrate the wall in relation
to the photodetectors, substrate, and cover, Petitioner provides annotated
Figures 1(a) and 1(b) of Aizawa, reproduced below. Pet. 60–61.




6
 Petitioner cites additional references King (Ex. 1018) and Ali (Ex. 1019).
Pet 56–58. This Decision will address arguments relevant to Ali below, but
King is not relied upon as the basis for any of Petitioner’s challenges. See
Pet. 9 (listing the challenges).

                                       33
       Case: 22-1976      Document: 4       Page: 353   Filed: 08/09/2022
IPR2020-01713
Patent 10,624,564 B1

Annotated Figure 1(a) (left) depicts a plan view of the pulse wave sensor,
where holder 23 (shown as a green circle) surrounds four photodetectors 22,
and annotated Figure 1(b) (right) depicts a cross-section view of the pulse
wave sensor, where holder 23 surrounds photodetectors 22. Dr. Kenny
testifies that the portion of the holder highlighted in green in annotated
Figure 1(b) “connects to the substrate and the cover.” Ex. 1003 ¶ 125.
      At this stage of the proceeding, Petitioner’s stated reasoning is
sufficiently supported, including by the unrebutted testimony of Dr. Kenny.

                 ix.“[j] a storage device configured to at least temporarily
                    store at least the measurements of the physiological
                    parameter; and”

      On this record, the cited evidence supports Petitioner’s undisputed
contentions regarding this limitation. Pet. 36–38, 61.
      Aizawa discloses detecting a pulse wave and computing a pulse rate
based on the detected pulse wave. Ex. 1006 ¶ 28; Pet. 36. Dr. Kenny
testifies that “[w]hile Aizawa does not explicitly describe using a storing
device to perform computations, a POSITA would have understood that
performing such computations and related operations such as displaying the
determined pulse rate, would have involved using a storage device to store
pulse rate measurement data.” Ex. 1003 ¶ 87; Pet. 36.
      The watch controller device in Figure 10 of Goldsmith includes
memory 1014 for storing data or controller programs. Ex. 1011 ¶ 91.
Dr. Kenny testifies to the obviousness of incorporating the pulse wave
sensor of Aizawa (as modified by Ohsaki) into the watch controller device
of Goldsmith, such that the incorporated sensor is configured to store data in
a memory, to later be reproduced for display or transmission. Ex. 1003



                                       34
        Case: 22-1976     Document: 4       Page: 354   Filed: 08/09/2022
IPR2020-01713
Patent 10,624,564 B1

¶¶ 88–90. Dr. Kenny also testifies “it would have been obvious to a
POSITA to incorporate the Aizawa-Ohsaki sensor into Goldsmith’s [watch
controller device] such that the sensor would have access to a storage device,
such as the memory shown in Goldsmith’s FIGS. 8 and 10, to store pulse
rate data,” and that the combination of Aizawa, Ohsaki, and Goldsmith
“would have been predictable . . . because Goldsmith’s [watch controller
device] is configured to integrate a characteristic determining device such as
the Aizawa-Ohsaki sensor.” Ex. 1003 ¶¶ 90–91; see also Ex. 1011 ¶¶ 87, 95
(describing a sensor in contact with a patient’s skin and measuring a
patient’s heart rate).
       At this stage of the proceeding, Petitioner’s stated reasoning is
sufficiently supported, including by the unrebutted testimony of Dr. Kenny.

                   x.“[k] a strap configured to position the physiological
                     measurement device on the user.”

       On this record, the cited evidence supports Petitioner’s undisputed
contentions regarding this limitation. Pet. 61–63.
       Petitioner contends the pulse wave sensor of Aizawa (as modified by
Ohsaki and Goldsmith) would have included wrist band 940 depicted in
Figures 9A and 9B of Goldsmith. Pet. 61 (“Goldsmith discloses a strap . . .
and the [Aizawa, Ohsaki, Goldsmith physiological measurement device]
would have included that strap.”); see also Ex. 1011 ¶ 85 (“The watch
controller device 900 may include a wrist band 940 so that a user may wear
the watch controller device 900 on his/her wrist.”).
       At this stage of the proceeding, Petitioner’s stated reasoning is
sufficiently supported.




                                       35
         Case: 22-1976    Document: 4       Page: 355   Filed: 08/09/2022
IPR2020-01713
Patent 10,624,564 B1

                  xi.Summary

        For the foregoing reasons, we are persuaded that Petitioner’s cited
evidence and reasoning demonstrates a reasonable likelihood that Petitioner
would prevail in its contentions regarding claim 1.

                          5. Claims 2–10 and 13–30

        Petitioner presents undisputed contentions that dependent claims 2–10
and 13–30, which depend directly or indirectly from independent claim 1,
are unpatentable over the combined teachings of Aizawa, Ohsaki, and
Goldsmith (Pet. 64–91), and provides arguments explaining how the
references teach the limitations of these claims. Pet. 64–91; Ex. 1003
¶¶ 129–170.
        Patent Owner does not offer, at this stage, any arguments addressing
Petitioner’s substantive showing. See PO Waiver. We have reviewed these
arguments and the cited evidence, and we determine Petitioner has
demonstrated a reasonable likelihood of prevailing as to these contentions.
        Moreover, as discussed in detail above, Petitioner has demonstrated a
reasonable likelihood of prevailing on the challenge to claim 1 over the
combined teachings of Aizawa, Ohsaki, and Goldsmith. Therefore, pursuant
to USPTO policy implementing the decision in SAS Inst., Inc. v. Iancu, 138
S. Ct. 1348 (2018) (“SAS”), we institute as to all claims challenged in the
petition and on all grounds in the petition. See PTAB Consolidated Trial
Practice Guide (Nov. 2019) (“Consolidated Guide”),7 5–6, 64.




7
    Available at https://www.uspto.gov/TrialPracticeGuideConsolidated.

                                       36
        Case: 22-1976      Document: 4       Page: 356   Filed: 08/09/2022
IPR2020-01713
Patent 10,624,564 B1

     E. Obviousness over the Combined Teachings of Aizawa, Ohsaki,
                             Goldsmith, and Ali

      Petitioner challenges the patentability of claims 1–10 and 13–30 based
on the combination of Aizawa, Ohsaki, Goldsmith, and Ali. Pet. 9, 99–102.
Ali is relied upon to teach limitation [1h] which reads: “an orientation of the
user interface is configurable responsive to a user input.” Petitioner
contends that remaining claim limitations [1a]–[1g] and [1i]–[1k] are
unpatentable for the same reasons raised with respect to the challenge of
claim 1 based on the combination of Aizawa, Ohsaki, and Goldsmith.
Pet. 99 (“Prior art mappings and arguments for all claim features other than
[1h] in Ground 4 are the same as in Ground 1.”).

                               1. Overview of Ali
      Ali is a U.S. patent titled “Universal/Upgrading Pulse Oximeter,” and
discloses a portable pulse oximeter unit for measuring a patient’s oxygen
saturation or other related physiological parameters. Ex. 1019, codes (54),
(57). The portable unit includes a display configured to display an image
that is “rotatable, either manually . . . or as a function of orientation.” Id. at
code (57). Figures 8B and 8C of Ali are reproduced below.




                                        37
       Case: 22-1976      Document: 4      Page: 357   Filed: 08/09/2022
IPR2020-01713
Patent 10,624,564 B1




Figure 8B (left) depicts the display of the portable pulse oximeter in portrait
mode, and Figure 8C (right) depicts the display of the portable oximeter in
landscape mode. Id. at 11:62–64. The portrait mode and landscape mode
are determined by a gravity-activated tilt sensor or a display mode key. Id.
at 11:64–12:7.

       2. Independent Claim 1 (Aizawa, Ohsaki, Goldsmith, and Ali)
      Petitioner presents undisputed contentions that claim 1 would have
been obvious over the combined teachings of Aizawa, Ohsaki, Goldsmith,
and Ali. Pet. 99–102.

                  i.[1a]–[1g] and [1i]–[1k]

      On this record, the cited evidence supports Petitioner’s undisputed
contentions regarding these limitations. Pet. 41–54, 59–63.
       Petitioner contends claim limitations [1a]–[1g] and [1i]–[1k] are
unpatentable for the same reasons raised with respect to Petitioner’s

                                      38
       Case: 22-1976      Document: 4      Page: 358   Filed: 08/09/2022
IPR2020-01713
Patent 10,624,564 B1

challenge based on Aizawa, Ohsaki, and Goldsmith. Pet. 99. The ground
based on Aizawa, Ohsaki, and Goldsmith is addressed supra at
§§ (II)(D)(4)(i)–(ix). At this stage of the proceeding, Petitioner’s stated
reasoning with respect to these limitations, and the basis for combining
Aizawa, Ohsaki, and Goldsmith, is sufficiently supported, including by the
unrebutted testimony of Dr. Kenny.

                  ii.“[h] an orientation of the user interface is configurable
                     responsive to a user input”
      On this record, the cited evidence supports Petitioner’s undisputed
contentions regarding this limitation and the rationale for combining Ali
with Aizawa, Ohsaki, and Goldsmith. Pet. 99–102.
      As noted in our analysis above, Petitioner proposes integrating the
pulse wave sensor of Aizawa (as modified by Ohsaki) into the watch
controller device of Goldsmith, so that the modified sensor can transmit data
to Goldsmith’s touchscreen. Pet. 41. Goldsmith notes a problem in
displaying images as a result of the display of a controller device and
infusion pump having two different resolutions. Ex. 1011 ¶ 49.
Acknowledging the image display problem described in Goldsmith,
Petitioner contends images displayed on the touchscreen user interface of the
pulse wave sensor of Aizawa (as modified by Ohsaki and Goldsmith) “can
be incorrect due to screen formatting, scaling, and resolution issues.”
Pet. 101 (citing Ex. 1011 ¶ 49). Goldsmith further discloses that its display
is customizable with different backgrounds, fonts, wallpapers, or font sizes.
Ex. 1011 ¶¶ 102, 104.
      Figures 8B and 8C of Ali disclose a portable pulse oximeter that
displays images, such as pulse rate data, in portrait mode or alternatively in


                                      39
       Case: 22-1976     Document: 4       Page: 359   Filed: 08/09/2022
IPR2020-01713
Patent 10,624,564 B1

landscape mode. Ex. 1019, 11:62–64, 12:8–12. Petitioner contends “to
address problems in displaying graphs and text as described in Goldsmith, a
POSITA would have included Ali’s capability to select user interface
orientation through a user input such that the user may have greater control
over the display and enjoy an improved viewing experience.” Pet. 101–102.
Dr. Kenny testifies:
             Implementing Ali’s capability to select user interface
      orientation in [Aizawa, Ohsaki, and Goldsmith’s physiological
      measurement device] would have been predictable at least
      because it would have involved incorporating a feature that was
      simple to implement and known in the industry. For instance,
      Ali concedes that its user interface orientation selection feature
      can easily be implemented through a software program for
      modifying the display of information. . . . Furthermore, this
      combination would have addressed a known issue in
      Goldsmith’s user interface, and would require nothing more than
      applying a known technique, as described by Ali.

Ex. 1003 ¶ 184; also see Pet. 102 (citing Ex. 1003).
      At this stage of the proceeding, Petitioner’s stated reasoning is
sufficiently supported, including by the unrebutted testimony of Dr. Kenny.

                iii. Summary
      For the foregoing reasons, we are persuaded that Petitioner’s cited
evidence and reasoning demonstrates a reasonable likelihood that Petitioner
would prevail in its contentions regarding claim 1 as obvious over Aizawa,
Ohsaki, Goldsmith, and Ali.

                  F. Remaining Grounds of Obviousness

      As discussed in detail above, Petitioner has demonstrated a reasonable
likelihood of prevailing on the challenge to claim 1 as having been obvious


                                      40
       Case: 22-1976      Document: 4       Page: 360   Filed: 08/09/2022
IPR2020-01713
Patent 10,624,564 B1

over Aizawa, Ohsaki, and Goldsmith and also having been obvious over
Aizawa, Ohsaki, Goldsmith, and Ali. Therefore, pursuant to USPTO policy
implementing the decision in SAS, we institute as to all claims challenged in
the Petition and on all grounds in the Petition. See Consolidated Guide, 5–6,
64.

                             III. CONCLUSION

      The Supreme Court held that a final written decision under 35 U.S.C.
§ 318(a) must decide the patentability of all claims challenged in the
petition. See SAS, 138 S. Ct. 1348. After considering the evidence and
arguments presented in the Petition, we determine that Petitioner has
demonstrated a reasonable likelihood of success in proving that at least
claim 1 of the ’564 patent is unpatentable. Accordingly, we institute an inter
partes review of all claims and all grounds set forth in the Petition.8
      At this stage of the proceeding, we have not made a final
determination as to the patentability of any challenged claim or as to the
construction of any claim term.




8
  The Petition addresses the Board’s discretion under 35 U.S.C. §§ 314(a)
and 325(d). See Pet. 103–108. Patent Owner does not argue that we should
exercise discretion to deny institution of inter partes review. See PO
Waiver. Accordingly, we do not consider exercising discretion to deny
institution of inter partes review under 35 U.S.C. §§ 314(a) and 325(d) any
further.

                                       41
         Case: 22-1976    Document: 4         Page: 361   Filed: 08/09/2022
IPR2020-01713
Patent 10,624,564 B1

                                  IV. ORDER

       In consideration of the foregoing, it is hereby:
       ORDERED that, pursuant to 35 U.S.C. § 314(a), an inter partes
review of claims 1–30 of the ’564 patent is instituted with respect to all
grounds set forth in the Petition; and
       FURTHER ORDERED that, pursuant to 35 U.S.C. § 314(c) and
37 C.F.R. § 42.4(b), inter partes review of the ’564 patent shall commence
on the entry date of this Order, and notice is hereby given of the institution
of a trial.




                                         42
      Case: 22-1976    Document: 4    Page: 362   Filed: 08/09/2022
IPR2020-01713
Patent 10,624,564 B1

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                                 43
      Case: 22-1976    Document: 4        Page: 363   Filed: 08/09/2022
Trials@uspto.gov                                                     Paper 7
571-272-7822                                            Entered: May 5, 2021


       UNITED STATES PATENT AND TRADEMARK OFFICE


        BEFORE THE PATENT TRIAL AND APPEAL BOARD


                             APPLE INC.,
                              Petitioner,

                                     v.

                      MASIMO CORPORATION,
                           Patent Owner.


                           IPR2020-01716
                         Patent 10,702,194 B1



Before JOSIAH C. COCKS, ROBERT L. KINDER, and
AMANDA F. WIEKER, Administrative Patent Judges.
WIEKER, Administrative Patent Judge.


                               DECISION
               Granting Institution of Inter Partes Review
                   35 U.S.C. § 314, 37 C.F.R. § 42.4
        Case: 22-1976      Document: 4        Page: 364   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

                             I.   INTRODUCTION

                                  A. Background

      Apple Inc. (“Petitioner”) filed a Petition requesting an inter partes
review of claims 1–30 (“challenged claims”) of U.S. Patent No. 10,702,194
B1 (Ex. 1001, “the ’194 patent”). Paper 2 (“Pet.”). Masimo Corporation
(“Patent Owner”) waived filing a preliminary response. Paper 6 (“PO
Waiver”).
      We have authority to determine whether to institute an inter partes
review, under 35 U.S.C. § 314 and 37 C.F.R. § 42.4. An inter partes review
may not be instituted unless it is determined that “the information presented
in the petition filed under section 311 and any response filed under section
313 shows that there is a reasonable likelihood that the petitioner would
prevail with respect to at least 1 of the claims challenged in the petition.”
35 U.S.C. § 314 (2018); see also 37 C.F.R. § 42.4(a) (“The Board institutes
the trial on behalf of the Director.”).
      For the reasons provided below and based on the record before us, we
determine that Petitioner has demonstrated a reasonable likelihood that
Petitioner would prevail in showing the unpatentability of at least one of the
challenged claims. Accordingly, we institute an inter partes review on all
grounds set forth in the Petition.

                              B. Related Matters
      The parties identify the following matters related to the ’194 patent:
      Masimo Corporation v. Apple Inc., Civil Action No. 8:20-cv-00048
(C.D. Cal.);




                                          2
       Case: 22-1976    Document: 4       Page: 365   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

      Apple Inc. v. Masimo Corporation, IPR2020-01520 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,258,265 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01521 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,292,628 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01523 (PTAB Sept. 9,
2020) (challenging claims of U.S. Patent No. 8,457,703 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01524 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,433,776 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01526 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 6,771,994 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01536 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,588,553 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01537 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,588,553 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01538 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,588,554 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01539 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,588,554 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01713 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,624,564 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01714 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,631,765 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01715 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,631,765 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01722 (PTAB Oct. 2,
2020) (challenging claims of U.S. Patent No. 10,470,695 B2);



                                      3
        Case: 22-1976     Document: 4       Page: 366   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

      Apple Inc. v. Masimo Corporation, IPR2020-01723 (PTAB Oct. 2,
2020) (challenging claims of U.S. Patent No. 10,470,695 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01733 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,702,195 B1); and
      Apple Inc. v. Masimo Corporation, IPR2020-01737 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,709,366 B1).
Pet. 91; Paper 3, 1–4.
      Patent Owner further identifies the following pending patent
applications, among other issued and abandoned applications, that claim
priority to, or share a priority claim with, the ’194 patent:
      U.S. Patent Application No. 16/834,538;
      U.S. Patent Application No. 16/449,143; and
      U.S. Patent Application No. 16/805,605.
Paper 3, 1–2.

                              C. The ’194 Patent
      The ’194 patent is titled “Multi-Stream Data Collection System for
Noninvasive Measurement of Blood Constituents,” and issued on July 7,
2020, from U.S. Patent Application No. 16/829,536, filed March 25, 2020.
Ex. 1001, codes (21), (22), (45), (54). The ’194 patent claims priority
through a series of continuation and continuation-in-part applications to




                                        4
        Case: 22-1976     Document: 4       Page: 367   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

Provisional Application Nos. 61/078,228 and 61/078,207, both filed July 3,
2008. 1 Id. at codes (60), (63).
      The ’194 patent discloses a two-part data collection system including
a noninvasive sensor that communicates with a patient monitor. Id. at 2:49–
51. The sensor includes a sensor housing, an optical source, and several
photodetectors, and is used to measure a blood constituent or analyte, e.g.,
oxygen or glucose. Id. at 2:40–46, 3:8–9. The patient monitor includes a
display and a network interface for communicating with a handheld
computing device. Id. at 2:56–59.
      Figure 1 of the ’194 patent is reproduced below.




1
  The Office has made the prior determination that the application leading to
the ’194 patent should be examined under the pre-AIA first to invent
provisions. See Ex. 1002, 199 (Apr. 10, 2020, Decision Granting Request
for Prioritized Examination listing “AIA (FITF) Status” as “No”). We
determine that based on this prior determination, and the lack of any
contrary evidence before us, the Petition was not required to be filed more
than nine months after the date of the grant of the patent. See 37 C.F.R.
§ 42.102(a)(1). Instead, based on the record before us, 37 C.F.R.
§ 42.102(a)(2) should apply, which allows a petition to be filed after “the
date of the grant of the patent.”


                                        5
       Case: 22-1976     Document: 4       Page: 368   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

Figure 1 illustrates a block diagram of data collection system 100 including
sensor 101 and monitor 109. Id. at 11:56–67. Sensor 101 includes optical
emitter 104 and detectors 106. Id. at 12:1–5. Emitters 104 emit light that is
attenuated or reflected by the patient’s tissue at measurement site 102. Id. at
14:11–16. Detectors 106 capture and measure the light attenuated or
reflected from the tissue. Id. In response to the measured light,
detectors 106 output detector signals 107 to monitor 109 through front-end
interface 108. Id. at 14:16–19, 36–42. Sensor 101 also may include tissue
shaper 105, which may be in the form of a convex surface that: (1) reduces
the thickness of the patient’s measurement site; and (2) provides more
surface area from which light can be detected. Id. at 11:7–23.
      Monitor 109 includes signal processor 110 and user interface 112. Id.
at 15:27–29. “[S]ignal processor 110 includes processing logic that
determines measurements for desired analytes . . . based on the signals
received from the detectors.” Id. at 15:32–35. User interface 112 presents
the measurements to a user on a display, e.g., a touch-screen display. Id. at
15:57–67. The monitor may be connected to storage device 114 and
network interface 116. Id. at 16:4–22.
      The ’194 patent describes various examples of sensor devices.
Figures 14D and 14F, reproduced below, illustrate sensor devices.




                                       6
       Case: 22-1976     Document: 4       Page: 369   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

Figure 14D illustrates portions of a detector submount and Figure 14F
illustrates portions of a detector shell. Id. at 6:54–57. As shown in
Figure 14D, multiple detectors 1410c are located within housing 1430 and
under transparent cover 1432, on which protrusion 605b (or partially
cylindrical protrusion 605) is disposed. Id. at 35:51–54, 36:45–52.
Figure 14F illustrates a detector shell 306f including detectors 1410c on
substrate 1400c. Id. at 37:25–33. Substrate 1400c is enclosed by shielding
enclosure 1490 and noise shield 1403, which include window 1492a and
window 1492b, respectively, placed above detectors 1410c. Id.
Alternatively, cylindrical housing 1430 may be disposed under noise
shield 1403 and may enclose detectors 1410c. Id. at 37:63–65.
      Figures 4A and 4B, reproduced below, illustrate an alternative
example of a tissue contact area of a sensor device.




Figures 4A and 4B illustrate arrangements of protrusion 405 including
measurement contact area 470. Id. at 23:30–36. “[M]easurement site
contact area 470 can include a surface that molds body tissue of a
measurement site.” Id. “For example, . . . measurement site contact area
470 can be generally curved and/or convex with respect to the measurement
site.” Id. at 23:53–55. The measurement site contact area may include



                                       7
       Case: 22-1976      Document: 4       Page: 370   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

windows 420–423 that “mimic or approximately mimic a configuration of,
or even house, a plurality of detectors.” Id. at 23:61–24:8.

                            D. Illustrative Claim

      Of the challenged claims, claims 1, 20, and 30 are independent.
Claim 1 is illustrative and is reproduced below.
             1. A physiological measurement system comprising:
             [a] a physiological sensor device comprising:
                     [b] one or more emitters configured to emit light
             into tissue of a user;
                   [c] a first set of photodiodes, wherein:
                          [d] the first set of photodiodes comprises at
                   least four photodiodes,
                         [e] the photodiodes of the first set of
                   photodiodes are connected to one another in parallel
                   to provide a first signal stream, and
                         [f] each of the photodiodes of the first set of
                   photodiodes has a corresponding window that
                   allows light to pass through to the photodiode;
                   [g] a second set of photodiodes, wherein:
                          [h] the second set of photodiodes comprises
                   at least four photodiodes,
                         [i] the photodiodes of the second set of
                   photodiodes are connected to one another in parallel
                   to provide a second signal stream, and
                         [j] each of the photodiodes of the second set
                   of photodiodes has a corresponding window that
                   allows light to pass through to the photodiode;
                    [k] a wall that surrounds at least the first and second
             sets of photodiodes; and



                                        8
       Case: 22-1976      Document: 4       Page: 371   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

                     [l] a cover comprising a protruding convex surface,
             wherein the protruding convex surface is above all of the
             photodiodes of the first and second sets of photodiodes,
             wherein at least a portion of the protruding convex surface
             is rigid, and wherein the cover is above the wall; and
            [m] a handheld computing device in wireless
      communication with the physiological sensor device, wherein
      the handheld computing device comprises:
                   [n] one or more processors configured to wirelessly
             receive one or more signals from the physiological sensor
             device, the one or more signals responsive to at least a
             physiological parameter of the user;
                    [o] a touch-screen display configured to provide a
             user interface, wherein:
                           [p] the user interface is configured to display
                    indicia responsive to measurements of the
                    physiological parameter, and
                          [q] an orientation of the user interface is
                    configurable responsive to a user input; and
             [r] a storage device configured to at least temporarily store
      at least the measurements of the physiological parameter.
Ex. 1001, 45:2–49 (bracketed identifiers [a]–[r] added). Independent
claim 20 includes limitations substantially similar to limitations [a]–[j] and
[l]–[m] of claim 1. Id. at 47:9–36. Independent claim 30 includes
limitations similar to limitations [a]–[r] of claim 1, and also includes
additional recitations. Id. at 48:38–50:21 (reciting also a “substrate” and
certain “preprocessing electronics”).

                            E. Applied References
      Petitioner relies upon the following references:
            Beyer, Jr., U.S. Patent No. 7,031,728 B2, filed Sept. 21, 2004,
      issued Apr. 18, 2006 (Ex. 1019, “Beyer”);


                                        9
          Case: 22-1976   Document: 4      Page: 372   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

            Ohsaki et al., U.S. Patent Application Publication No.
      2001/0056243 A1, filed May 11, 2001, published December 27, 2001
      (Ex. 1014, “Ohsaki”);
            Aizawa, U.S. Patent Application Publication No.
      2002/0188210 A1, filed May 23, 2002, published December 12, 2002
      (Ex. 1006, “Aizawa”);
            Y. Mendelson, et al., “Measurement Site and Photodetector
      Size Considerations in Optimizing Power Consumption of a Wearable
      Reflectance Pulse Oximeter,” Proceedings of the 25th IEEE EMBS
      Annual International Conference, 3016-3019 (2003) (Ex. 1024,
      “Mendelson-2003”); and
            Y. Mendelson et al., “A Wearable Reflectance Pulse Oximeter
      for Remote Physiological Monitoring,” Proceedings of the 28th IEEE
      EMBS Annual International Conference, 912–915 (2006) (Ex. 1010,
      “Mendelson-2006”).
Pet. 2. Petitioner also submits, inter alia, the Declaration of Thomas W.
Kenny, Ph.D. (Ex. 1003).

                            F. Asserted Grounds
      Petitioner asserts that claims 1–30 are unpatentable based upon the
following grounds (Pet. 1–2):
 Claims Challenged          35 U.S.C. §            References/Basis
                                             Aizawa, Mendelson-2003,
 1–18, 20, 22–30                103
                                             Ohsaki, Mendelson-2006
                                             Aizawa, Mendelson-2003,
 19, 21                         103
                                             Ohsaki, Mendelson-2006, Beyer


                             II. DISCUSSION
                           A. Claim Construction

      For petitions filed on or after November 13, 2018, a claim shall be
construed using the same claim construction standard that would be used to
construe the claim in a civil action under 35 U.S.C. § 282(b). 37 C.F.R.

                                      10
        Case: 22-1976     Document: 4       Page: 373   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

§ 42.100(b) (2019). Petitioner submits that no claim term requires express
construction. Pet. 3.
      Based on our analysis of the issues in dispute at this stage of the
proceeding, we agree that no claim terms require express construction at this
time. Nidec Motor Corp. v. Zhongshan Broad Ocean Motor Co., 868 F.3d
1013, 1017 (Fed. Cir. 2017).

                             B. Principles of Law
      A claim is unpatentable under 35 U.S.C. § 103 if “the differences
between the subject matter sought to be patented and the prior art are such
that the subject matter as a whole would have been obvious at the time the
invention was made to a person having ordinary skill in the art to which said
subject matter pertains.” KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 406
(2007). The question of obviousness is resolved on the basis of underlying
factual determinations, including (1) the scope and content of the prior art;
(2) any differences between the claimed subject matter and the prior art;
(3) the level of skill in the art; and (4) objective evidence of non-
obviousness. 2 Graham v. John Deere Co., 383 U.S. 1, 17–18 (1966). When
evaluating a combination of teachings, we must also “determine whether
there was an apparent reason to combine the known elements in the fashion
claimed by the patent at issue.” KSR, 550 U.S. at 418 (citing In re Kahn,
441 F.3d 977, 988 (Fed. Cir. 2006)). Whether a combination of prior art
elements would have produced a predictable result weighs in the ultimate
determination of obviousness. Id. at 416–417.



2
  Patent Owner does not present objective evidence of non-obviousness at
this stage.

                                       11
        Case: 22-1976      Document: 4       Page: 374   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

      In an inter partes review, the petitioner must show with particularity
why each challenged claim is unpatentable. Harmonic Inc. v. Avid Tech.,
Inc., 815 F.3d 1356, 1363 (Fed. Cir. 2016); 37 C.F.R. § 42.104(b). The
burden of persuasion never shifts to Patent Owner. Dynamic Drinkware,
LLC v. Nat’l Graphics, Inc., 800 F.3d 1375, 1378 (Fed. Cir. 2015).
      We analyze the challenges presented in the Petition in accordance
with the above-stated principles.

                     C. Level of Ordinary Skill in the Art

      Petitioner identifies the appropriate level of skill in the art as that
possessed by a person having “a Bachelor of Science degree in an academic
discipline emphasizing the design of electrical, computer, or software
technologies, in combination with training or at least one to two years of
related work experience with capture and processing of data or information.”
Pet. 3 (citing Ex. 1003 ¶¶ 20–21). “Alternatively, the person could have also
had a Master of Science degree in a relevant academic discipline with less
than a year of related work experience in the same discipline.” Id.
      For purposes of this Decision, we generally adopt Petitioner’s
assessment as set forth above, which appears consistent with the level of
skill reflected in the Specification and prior art.

              D. Obviousness over the Combined Teachings of
             Aizawa, Mendelson-2003, Ohsaki, and Mendelson-2006

      Petitioner presents undisputed contentions that claims 1–18, 20, and
22–30 of the ’194 patent would have been obvious over the combined
teachings of Aizawa, Mendelson-2003, Ohsaki, and Mendelson-2006.
Pet. 7–82.



                                        12
       Case: 22-1976      Document: 4       Page: 375   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

                     1. Overview of Aizawa (Ex. 1006)
      Aizawa is a U.S. patent application publication titled “Pulse Wave
Sensor and Pulse Rate Detector,” and discloses a pulse wave sensor that
detects light output from a light emitting diode and reflected from a patient’s
artery. Ex. 1006, codes (54), (57).
      Figure 1(a) of Aizawa is reproduced below.




Figure 1(a) is a plan view of a pulse wave sensor. Id. ¶ 23. As shown in
Figure 1(a), pulse wave sensor 2 includes light emitting diode (“LED”) 21,
four photodetectors 22 symmetrically disposed around LED 21, and
holder 23 for storing LED 21 and photodetectors 22. Id. Aizawa discloses
that, “to further improve detection efficiency, . . . the number of the
photodetectors 22 may be increased.” Id. ¶ 32, Fig. 4(a). “The same effect
can be obtained when the number of photodetectors 22 is 1 and a plurality of
light emitting diodes 21 are disposed around the photodetector 22.” Id. ¶ 33.




                                       13
        Case: 22-1976     Document: 4       Page: 376   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

      Figure 1(b) of Aizawa is reproduced below.




Figure 1(b) is a sectional view of the pulse wave sensor. Id. ¶ 23. As shown
in Figure 1(b), pulse wave sensor 2 includes drive detection circuit 24 for
detecting a pulse wave by amplifying the outputs of photodetectors 22. Id.
¶ 23. Arithmetic circuit 3 computes a pulse rate from the detected pulse
wave and transmitter 4 transmits the pulse rate data to an “unshown
display.” Id. The pulse rate detector further includes outer casing 5 for
storing pulse wave sensor 2, acrylic transparent plate 6 mounted to detection
face 23a of holder 23, and attachment belt 7. Id. ¶ 23.
      Aizawa discloses that LED 21 and photodetectors 22 “are stored in
cavities 23b and 23c formed in the detection face 23a” of the pulse wave
sensor. Id. ¶ 24. Detection face 23a “is a contact side between the holder 23
and a wrist 10, respectively, at positions where the light emitting face 21s of
the light emitting diode 21 and the light receiving faces 22s of the
photodetectors 22 are set back from the above detection face 23a.” Id. ¶ 24.
Aizawa discloses that “a subject carries the above pulse rate detector 1 on
the inner side of his/her wrist 10 . . . in such a manner that the light emitting
face 21s of the light emitting diode 21 faces down (on the wrist 10 side).”
Id. ¶ 26. Furthermore, “the above belt 7 is fastened such that the acrylic

                                       14
          Case: 22-1976   Document: 4      Page: 377   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

transparent plate 6 becomes close to the artery 11 of the wrist 10. Thereby,
adhesion between the wrist 10 and the pulse rate detector 1 is improved.”
Id. ¶¶ 26, 34.
                  2. Overview of Mendelson-2003 (Ex. 1024)
      Mendelson-2003 is a journal article titled “Measurement Site and
Photodetector Size Considerations in Optimizing Power Consumption of a
Wearable Reflectance Pulse Oximeter,” which discusses a pulse oximeter
sensor in which “battery longevity could be extended considerably by
employing a wide annularly shaped photodetector ring configuration and
performing SpO2 measurements from the forehead region.” Ex. 1024,
3016. 3
      Mendelson-2003 explains that pulse oximetry uses sensors to monitor
oxygen saturation (SpO2), where the sensor typically includes light emitting
diodes (LED) and a silicon photodetector (PD). Id. According to
Mendelson-2003, when designing a pulse oximeter, it is important to offer
“low power management without compromising signal quality.” Id. at 3017.
“However, high brightness LEDs commonly used in pulse oximeters
require[] relatively high current pulses, typically in the range between 100–
200mA. Thus, minimizing the drive currents supplied to the LEDs would
contribute considerably toward the overall power saving in the design of a
more efficient pulse oximeter.” To achieve this goal, Mendelson-2003
discusses previous studies in which
      the driving currents supplied to the LEDs . . . could be lowered
      significantly without compromising the quality of the


3
 Petitioner cites to the native page numbers appearing at the top of
Exhibit 1024, rather than the added page numbering at the bottom of the
pages. We follow Petitioner’s numbering scheme.

                                      15
       Case: 22-1976     Document: 4       Page: 378   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

      [photoplethysmographic signal] by increasing the overall size of
      the PD . . . . Hence, by maximizing the light collected by the
      sensor, a very low power-consuming sensor could be developed,
      thereby extending the overall battery life of a pulse oximeter
      intended for telemedicine applications.
Id.
      Mendelson-2003 discloses the prototype of such a sensor in Figure 1,
which is reproduced below, and served as the basis for the studies evaluated
in Mendelson-2003.




Figure 1 of Mendelson-2003 depicts a sensor configuration showing the
relative positions of its PDs and LEDs. Id. As shown in Figure l, “six PDs
were positioned in a close inner-ring configuration at a radial distance of
6.0mm from the LEDs. The second set of six PDs spaced equally along an
outer-ring, separated from the LEDs by a radius of 10.0mm.” Id.
Mendelson-2003 also explains that “[e]ach cluster of six PDs were wired in
parallel and connected through a central hub to the common summing input
of a current-to-voltage converter.” Id.
      Mendelson-2003 reports the results of the studies as follows:
             Despite the noticeable differences between the PPG
      signals measured from the wrist and forehead, the data plotted in
      Fig. 3 also revealed that considerable stronger PPGs could be
      obtained by widening the active area of the PD which helps to
      collect a bigger proportion of backscattered light intensity. The
      additional increase, however, depends on the area and relative
      position of the PD with respect to the LEDs. For example,


                                      16
       Case: 22-1976     Document: 4       Page: 379   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

      utilizing the outer-ring configuration, the overall increase in the
      average amplitudes of the R and IR PPGs measured from the
      forehead region was 23% and 40%, respectively. Similarly, the
      same increase in PD area produced an increase in the PPG signals
      measured from the wrist, but with a proportional higher increase
      of 42% and 73%.
Id. at 3019.

                     3. Overview of Ohsaki (Ex. 1014)

      Ohsaki is a U.S. patent application publication titled “Wristwatch-type
Human Pulse Wave Sensor Attached on Back Side of User’s Wrist,” and
discloses an optical sensor for detecting a pulse wave of a human body.
Ex. 1014, code (54), ¶ 3. Figure 1 of Ohsaki is reproduced below.




Figure 1 illustrates a cross-sectional view of pulse wave sensor 1 attached on
the back side of user’s wrist 4. Id. ¶¶ 12, 16. Pulse wave sensor 1 includes
detecting element 2 and sensor body 3. Id. ¶ 16.




                                      17
       Case: 22-1976      Document: 4      Page: 380   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

      Figure 2 of Ohsaki, reproduced below, illustrates further detail of
detecting element 2.




Figure 2 illustrates a mechanism for detecting a pulse wave. Id. ¶ 13.
Detecting element 2 includes package 5, light emitting element 6, light
receiving element 7, and translucent board 8. Id. ¶ 17. Light emitting
element 6 and light receiving element 7 are arranged on circuit board 9
inside package 5. Id. ¶¶ 17, 19.
      “[T]ranslucent board 8 is a glass board which is transparent to light,
and attached to the opening of the package 5. A convex surface is formed
on the top of the translucent board 8.” Id. ¶ 17. “[T]he convex surface of
the translucent board 8 is in intimate contact with the surface of the user’s
skin,” preventing detecting element 2 from slipping off the detecting
position of the user’s wrist. Id. ¶ 25. By preventing the detecting element
from moving, the convex surface suppresses “variation of the amount of the
reflected light which is emitted from the light emitting element 6 and
reaches the light receiving element 7 by being reflected by the surface of the
user’s skin.” Id. Additionally, the convex surface prevents penetration by
“noise such as disturbance light from the outside.” Id.



                                      18
       Case: 22-1976      Document: 4      Page: 381   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

      Sensor body 3 is connected to detecting element 2 by signal line 13.
Id. ¶ 20. Signal line 13 connects detecting element 2 to drive circuit 11,
microcomputer 12, and a monitor display (not shown). Id. Drive circuit 11
drives light emitting element 6 to emit light toward wrist 4. Id. Detecting
element 2 receives reflected light which is used by microcomputer 12 to
calculate pulse rate. Id. “The monitor display shows the calculated pulse
rate.” Id.

                       4. Mendelson-2006 (Ex. 1016)

      Mendelson-2006 is a journal article titled “A Wearable Reflectance
Pulse Oximeter for Remote Physiological Monitoring,” and discloses a
wireless wearable pulse oximeter connected to a personal digital assistant
(“PDA”). Ex. 1016, 1. 4
      Figure 1 of Mendelson-2006 is reproduced below.




Figure 1 illustrates a sensor module attached to the skin (top), and a
photograph of a disassembled sensor module and receiver module (bottom).



4
 Petitioner cites to the page numbers added to Exhibit 1010, rather than the
native page numbering that accompanies the article. See, e.g., Pet. 20–22.
We follow Petitioner’s numbering scheme.

                                      19
        Case: 22-1976      Document: 4       Page: 382   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

The sensor module includes an optical transducer, a stack of round printed
circuit boards, and a coin cell battery. Id. at 2.
      Figure 2 of Mendelson-2006 is reproduced below.




Figure 2 depicts a system block diagram of the wearable, wireless, pulse
oximeter including the sensor module (top) and the receiver module
(bottom). Id. The sensor module includes at least one light-emitting diode
(“LED”), a photodetector, signal processing circuitry, an embedded
microcontroller, and an RF transceiver. Id. at 1–2. Mendelson-2006
discloses that a concentric array of discrete photodetectors could be used to
increase the amount of backscattered light detected by a reflectance type
pulse oximeter sensor. Id. at 4. The receiver module includes an embedded
microcontroller, an RF transceiver for communicating with the sensor
module, and a wireless module for communicating with the PDA. Id. at 2.
      As a PDA for use with the system, Mendelson-2006 discloses “the HP
iPAQ h4150 PDA because it can support both 802.11b and Bluetooth™
wireless communication” and “has sufficient computational resources.” Id.
at 3. Mendelson further discloses that



                                        20
       Case: 22-1976     Document: 4       Page: 383   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

      [t]he use of a PDA as a local terminal also provides a low-cost
      touch screen interface. The user-friendly touch screen of the
      PDA offers additional flexibility. It enables multiple controls to
      occupy the same physical space and the controls appear only
      when needed. Additionally, a touch screen reduces development
      cost and time, because no external hardware is required. . . . The
      PDA can also serve to temporarily store vital medical
      information received from the wearable unit.
Id.
      The PDA is shown in Figure 3 of Mendelson-2006, reproduced below.




Figure 3 illustrates a sample PDA and its graphical user interface (“GUI”).
Id. Mendelson-2006 explains that the GUI allows the user to interact with
the wearable system. Id. “The GUI was configured to present the input and
output information to the user and allows easy activation of various
functions.” Id. “The GUI also displays the subject’s vital signs, activity
level, body orientation, and a scrollable PPG waveform that is transmitted by
the wearable device.” Id. For example, the GUI displays numerical oxygen
saturation (“SpO2”) and heart rate (“HR”) values. Id.

                          5. Independent Claim 1

      Petitioner presents undisputed contentions that claim 1 would have
been obvious over the combined teachings of Aizawa, Mendelson-2003,
Ohsaki, and Mendelson-2006. Pet. 30–54.




                                      21
       Case: 22-1976       Document: 4       Page: 384   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

                    i. “A physiological measurement system comprising”

      On this record, the cited evidence supports Petitioner’s undisputed
contention that Aizawa discloses a pulse sensor.5 Pet. 30; see, e.g., Ex. 1006
¶ 2 (disclosing “a pulse wave sensor for detecting the pulse wave of a
subject”).

                   ii.“[a] a physiological sensor device comprising”
      On this record, the cited evidence supports Petitioner’s undisputed
contention that Aizawa discloses a physiological sensor device including a
pulse rate detector. Pet. 30–31; see, e.g., Ex. 1006 ¶ 23 (pulse wave
sensor 2), Figs. 1(a)–(b) (depicting pulse wave sensor 2), Fig. 2 (depicting
sensor worn on user’s wrist.

                   iii.“[b] one or more emitters configured to emit light into
                       tissue of a user”
      On this record, the cited evidence supports Petitioner’s undisputed
contention that Aizawa discloses LED 21 that emits light into a user’s tissue.
Pet. 31; see, e.g., Ex. 1006 ¶ 23 (“LED 21 . . . for emitting light having a
wavelength of a near infrared range”), Fig. 1(b) (depicting emitter 21 facing
user tissue 10).

                   iv.“[c] a first set of photodiodes, wherein: [d] the first set
                      of photodiodes comprises at least four photodiodes”
                      and
                      “[g] a second set of photodiodes, wherein: [h] the



5
  Whether the preamble is limiting need not be resolved at this stage of the
proceeding because Petitioner shows sufficiently for purposes of institution
that the recitation in the preamble is satisfied by the prior art.

                                        22
        Case: 22-1976     Document: 4      Page: 385   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

                     second set of photodiodes comprises at least four
                     photodiodes”

       On this record, the cited evidence supports Petitioner’s undisputed
contentions regarding this limitation. Pet. 16–22, 32–40, 40–42.
Specifically, Petitioner contends that Aizawa discloses a first set of four
photodiodes that are circularly arranged around a central emitter. Id. at 16;
see, e.g., Ex. 1006 ¶ 23 (“four phototransistors 22”), Figs. 1(a)–1(b)
(depicting detectors 22 surrounding LED 21). Petitioner contends that
Aizawa teaches that eight or more detectors may be used to improve
detection efficiency, but does not expressly teach a “second set of
photodiodes,” as claimed. Pet. 17; see, e.g., Ex. 1006 ¶ 32 (“the number of
the photodetectors 22 may be increased”), Fig. 4(a).
       According to Petitioner, Mendelson-2003 teaches two rings of
photodiodes, which improve light collection efficiency, permit use of lower
brightness LEDs, and reduce power consumption. Pet. 18–19; see, e.g.,
Ex. 1024, 3017 (“[S]ix PDs [(photodetectors)] were positioned in a close
inner-ring configuration . . . The second set of six PDs [were] spaced equally
along an outer-ring.”), 3019 (explaining that “considerabl[y] stronger
[photoplethysmographic signals] could be obtained by widening the active
area of the PD which helps to collect a bigger proportion of backscattered
light intensity”).
       In view of these teachings, Petitioner contends, with reference to the
modified and annotated figures reproduced below, that a person of ordinary
skill in the art would have found it obvious to modify Aizawa to include an
additional ring of detectors (a “second set”) to “advance[e] Aizawa’s goal of
improving detection efficiency through increased power savings as taught by
Mendelson-2003.” Pet. 17–21, 32; see, e.g., Ex. 1003 ¶¶ 68, 71–73.

                                      23
       Case: 22-1976     Document: 4       Page: 386   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1




Petitioner’s modified and annotated figure depicts Aizawa’s sensor with
Aizawa’s first set of photodiodes (depicted as connected by a green ring)
and modified to include a second set of photodiodes as taught by
Mendelson-2003 (depicted as connected by a red ring). Pet. 20–21, 33, 41.
Petitioner contends this would have been the use of a known solution to
improve similar systems in the same way. Id. at 21; Ex. 1003 ¶ 74.
      At this stage of the proceeding, Petitioner’s stated reasoning for the
proposed modification is sufficiently supported, including by the unrebutted
testimony of Dr. Kenny. See, e.g., Ex. 1003 ¶¶ 66–74, 90–91, 100–101.

                 v.“[e] the photodiodes of the first set of photodiodes are
                   connected to one another in parallel to provide a first
                   signal stream”
                   and
                   “[i] the photodiodes of the second set of photodiodes are
                   connected to one another in parallel to provide a second
                   signal stream”
      On this record, the cited evidence supports Petitioner’s undisputed
contention that Mendelson-2003 discloses that each set of photodiodes are
connected in parallel to provide signal streams. Pet. 34–35; Ex. 1024, 3017
(“Each cluster of six PDs were wired in parallel and connected through a


                                      24
       Case: 22-1976      Document: 4       Page: 387   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

central hub to the common summing input of a current-to-voltage
converter.”); see also Pet. 33–38 (additional contentions); Ex. 1003 ¶¶ 92–
97, 102.

                 vi.“[f] each of the photodiodes of the first set of
                    photodiodes has a corresponding window that allows
                    light to pass through to the photodiode”
                    and
                    “[j] each of the photodiodes of the second set of
                    photodiodes has a corresponding window that allows
                    light to pass through to the photodiode”
      On this record, the cited evidence supports Petitioner’s undisputed
contentions that Aizawa teaches windows, i.e., “tapered cavities that provide
an opening for each of the detectors (e.g., each of the photodiodes of the first
set of photodiodes) and that serve to increase, for instance, the concentration
of light collected by the detectors, thereby increasing the signal to noise
ratio,” and that a person of ordinary skill in the art would have provided such
windows for the second set of photodiodes, suggested by the combination
with Mendelson-2003. Pet. 38–40, 42; see, e.g., Ex. 1006 ¶¶ 23 (“four
phototransistors 22”), 24 (“stored in cavities” and “set back from . . .
detection face 23a”), Figs. 1(a)–1(b) (depicting cavities 23c housing
detectors 22); Ex. 1003 ¶¶ 98–99, 103.

                vii.“[k] a wall that surrounds at least the first and second
                    sets of photodiodes”
      On this record, the cited evidence supports Petitioner’s undisputed
contention that Aizawa discloses holder 23, which includes a wall that
surrounds the photodetectors, as well as other elements. Pet. 42–44; see,
e.g., Ex. 1006 ¶ 23 (“holder 23 for storing . . . light emitting diode 21 and the



                                       25
        Case: 22-1976     Document: 4       Page: 388   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

photodetectors 22”), Fig. 1(b) (depicting holder 23 surrounding the
detector).

                viii.“[l] a cover comprising a protruding convex surface,
                     wherein the protruding convex surface is above all of the
                     photodiodes of the first and second sets of photodiodes,
                     wherein at least a portion of the protruding convex
                     surface is rigid, and wherein the cover is above the wall”

      On this record, the cited evidence supports Petitioner’s undisputed
contentions regarding this limitation. Pet. 22–28, 44–47. Specifically,
Petitioner contends that Aizawa “teaches a light permeable cover in the form
of an acrylic transparent plate 6 . . . that is mounted at the detection face
23a” of the sensor, i.e., above Aizawa’s photodetectors. Id. at 9–10;
Ex. 1006 ¶ 34 (“[A]crylic transparent plate 6 is provided on the detection
face 23a of the holder 23 to improve adhesion to the wrist 10.”), Fig. 1(b)
(depicting flat, transparent plate 6 between sensor 2 and wrist 10). Petitioner
also contends that Ohsaki teaches a wrist-worn sensor that includes a
“translucent board” having a convex surface that contacts the user’s skin to
prevent slippage of the sensor. Pet. 12–13, 22–23; see, e.g., Ex. 1014 ¶¶ 16
(“worn on the back side of the user’s wrist”), 17 (“convex surface”), 25
(“intimate contact” prevents slippage), Figs. 1–2 (depicting convex
translucent board 8 between tissue and detector). Petitioner also contends
that Ohsaki’s Figure 2 depicts the user’s tissue conforming to the shape of
the convex surface of the cover, such that the convex surface would have
been understood to be rigid. Pet. 46–47; see, e.g., Ex. 1003 ¶¶ 107–108.
      Petitioner further contends, with reference to the modified and
annotated figures reproduced below, that a person of ordinary skill in the art
“would have found it obvious to modify [Aizawa’s] sensor’s flat cover (left)


                                       26
        Case: 22-1976     Document: 4       Page: 389   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

to include a lens/protrusion (right), similar to Ohsaki’s translucent board 8,
so as to improve adhesion between the user’s wrist and the sensor’s surface,
improve detection efficiency, and protect the elements within the sensor
housing.” Pet. 24–25, 44–45 (similar); Ex. 1003 ¶¶ 75, 78–79, 82–83, 105.




Petitioner’s modified and annotated figures depict Aizawa’s sensor as shown
in Figure 1(b), modified to include a convex cover. Id. at 24–25, 44–45; see,
e.g., Ex. 1014 ¶¶ 18 (explaining that outside disturbance light is prevented
from penetrating the translucent board because “the surface of the
translucent board 8 is in intimate contact with the surface of the user’s
skin”), 25 (“[T]he convex surface . . . is in intimate contact with the surface
of the user’s skin. Thereby it is prevented that the detecting element 2 slips
off the detecting position of the user’s wrist . . . . [Due to the] convex surface
. . . the variation of the amount of the reflected light which is emitted from
the light emitting element 6 and reaches the light receiving element 7 by
being reflected by the surface of the user’s skin is suppressed [and] [i]t is
also prevented that noise such as disturbance light from the outside
penetrates the translucent board 8. Therefore the pulse wave can be detected
without being affected.”); Ex. 1003 ¶¶ 75, 78–79, 82–83, 105. Petitioner
contends that, in the combination, the cover is “above” the wall provided by
holder 23. Pet. 45.



                                       27
       Case: 22-1976     Document: 4       Page: 390   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

      Petitioner also contends that combining these teachings “would have
amounted to nothing more than the use of a known technique to improve
similar devices in the same way.” Pet. 25; see, e.g., Ex. 1003 ¶ 79.
Petitioner contends that “the elements of the combined system would each
perform similar functions they had been known to perform prior to the
combination—Aizawa-Mendelson-2003’s transparent plate 6 would remain
in the same position, performing the same function, but with a convex
surface as taught by Ohsaki.” Pet. 25–26.
      At this stage of the proceeding, Petitioner’s stated reasoning for the
proposed modification is sufficiently supported, including by the unrebutted
testimony of Dr. Kenny. See, e.g., Ex. 1003 ¶¶ 75–83, 105–108.

                 ix.“[m] a handheld computing device in wireless
                    communication with the physiological sensor device,
                    wherein the handheld computing device comprises”
      On this record, the cited evidence supports Petitioner’s undisputed
contentions regarding this limitation. Pet. 28–29, 47–49. Specifically,
Petitioner contends the combination of, inter alia, Aizawa and Mendelson-
2006 teaches that Aizawa’s sensor device is in wireless communication with
Mendelson-2006’s body worn receiver module and PDA. Id. at 47; 6 see,


6
  At pages 47–48, the Petitioner refers to “Mendelson-2003” when
discussing the receiver module and PDA. See, e.g., Pet. 47 (contending that
the modified system “includes Aizawa’s wrist-worn sensor device that is in
communication with Mendelson-2003’s body-worn receiver module (below
left) and PDA (below right)”). The cited disclosures, however, appear in
Mendelson-2006, as Petitioner’s citations confirm. Id. at 47–48 (citing
Ex. 1016). Therefore, it appears these references to “Mendelson-2003” are
inadvertent typographical errors, and that “Mendelson-2006” was intended.
See also id. at 28–29 (referring to Mendelson-2006’s receiver module and
PDA).

                                      28
       Case: 22-1976     Document: 4       Page: 391   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

e.g., Ex. 1016, 1–2 (describing system), Fig. 1 (sensor attached to skin),
Fig. 3 (PDA). Petitioner contends that a person of ordinary skill in the art
would have “found it obvious and straightforward to further modify Aizawa-
Mendelson-2003-Ohsaki in view of Mendelson-2006 to yield a pulse
detector that can transmit data to an external device—i.e., handheld
computing device—for monitoring” and “to enable a convenient and user-
friendly interface with Aizawa’s detector (which does not include a separate
display/interface) and the ability to remotely monitor the user’s
physiological parameters.” Pet. 28–29; see, e.g., Ex. 1003 ¶¶ 85–86.
      At this stage of the proceeding, Petitioner’s stated reasoning for the
proposed modification is sufficiently supported, including by the unrebutted
testimony of Dr. Kenny. See, e.g., Ex. 1003 ¶¶ 84–86, 109–111.

                  x.“[n] one or more processors configured to wirelessly
                    receive one or more signals from the physiological
                    sensor device, the one or more signals responsive to at
                    least a physiological parameter of the user”
      On this record, the cited evidence supports Petitioner’s undisputed
contention that Mendelson-2006’s receiver includes a microcontroller
(processor) that wirelessly receives signals from Aizawa’s sensor and
transmits them to the PDA. Pet. 50; see, e.g., Ex. 1016, 1, 2 (“The
information acquired by the Sensor Module is transmitted wirelessly via an
RF link over a short range to a body-worn Receiver Module. The data
processed by the Receiver Module can be transmitted wirelessly to a
PDA.”), 3 (explaining that the PDA “has sufficient computational resources
for the intended application” and “can also serve to temporarily store vital
medical information received from the wearable unit”), Fig. 3 (displaying
SpO2 and HR data); Ex. 1003 ¶ 112.


                                      29
       Case: 22-1976     Document: 4       Page: 392   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

      At this stage of the proceeding, Petitioner’s stated reasoning for the
proposed modification is sufficiently supported, including by the unrebutted
testimony of Dr. Kenny. Ex. 1003 ¶¶ 112–113.

                 xi.“[o] a touch-screen display configured to provide a user
                    interface, wherein: [p] the user interface is configured to
                    display indicia responsive to measurements of the
                    physiological parameter, and [q] an orientation of the
                    user interface is configurable responsive to a user input”

      On this record, the cited evidence supports Petitioner’s undisputed
contention that Mendelson-2006 describes a PDA with a touchscreen display
configured to display indicia responsive to measurements of, e.g., SpO2 and
HR. Pet. 51–52; see, e.g., Ex. 1016, 3 (“The use of a PDA . . . also provides
a low-cost touch screen interface.”), Fig. 3 (displaying SpO2 and HR data).
      Petitioner acknowledges that “Mendelson-2006 does not explicitly
state that an orientation of the GUI provided by the PDA is configurable
responsive to a user input.” Pet. 52. However, Petitioner contends that a
person of ordinary skill in the art would have understood that the
“‘LabVIEW program’ . . . [and] the ‘Windows CE™’ operating system”
would have “enabled users to dynamically switch the screen orientation
between portrait and landscape modes.” Id. at 53; see, e.g., Ex. 1003
¶¶ 116–118.
      Petitioner further contends that, in light of these teachings, a person of
ordinary skill in the art “would have found it obvious to make an orientation
of the PDA’s user interface configurable responsive to a user input, for the
sake of user convenience.” Pet. 53; see, e.g., Ex. 1003 ¶ 118.




                                      30
       Case: 22-1976      Document: 4      Page: 393   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

      At this stage of the proceeding, Petitioner’s stated reasoning for the
proposed modification is sufficiently supported, including by the unrebutted
testimony of Dr. Kenny. See, e.g., Ex. 1003 ¶¶ 114–118.

                xii.“[r] a storage device configured to at least temporarily
                    store at least the measurements of the physiological
                    parameter.”

      On this record, the cited evidence supports Petitioner’s undisputed
contention that Mendelson-2006 teaches that the PDA is configured to store
vital medical information received from the wearable pulse oximeter, and
that an ordinarily skilled artisan “would have understood that the vital
medical information would have included measurements of the
physiological parameters obtained by the physiological sensor device
(e.g., HR).” Pet. 54; Ex. 1016, 3 (“The PDA can also serve to temporarily
store vital medical information received from the wearable unit.”); Ex. 1003
¶ 120. Thus, Petitioner contends that a person of ordinary skill in the art
“would have configured a storage device of the PDA to at least temporarily
store measurements of physiological parameters (e.g., HR).” Pet. 53; see,
e.g., Ex. 1003 ¶ 119.
      At this stage of the proceeding, Petitioner’s stated reasoning for the
proposed modification is sufficiently supported, including by the unrebutted
testimony of Dr. Kenny. See, e.g., Ex. 1003 ¶¶ 119–120.

                xiii.Summary

      For the foregoing reasons, we are persuaded that Petitioner’s cited
evidence and reasoning demonstrates a reasonable likelihood that Petitioner
would prevail in its contentions regarding claim 1.



                                      31
       Case: 22-1976      Document: 4       Page: 394   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

                          6. Independent Claim 20

      Independent claim 20 consists of limitations that are substantially
similar to elements [a]–[j] and [l]–[m] of claim 1. Compare Ex. 1001, 45:2–
49, with id. at 47:9–36. In asserting that claim 20 also would have been
obvious over the combined teachings of Aizawa, Mendelson-2003, Ohsaki,
and Mendelson-2006, Petitioner refers to the same arguments presented as to
claim 1. See Pet. 75–76; Ex. 1003 ¶¶ 155–161. For the same reasons
discussed above, we are persuaded that Petitioner’s cited evidence and
reasoning demonstrates a reasonable likelihood that Petitioner would prevail
in its contentions regarding claim 20. See supra II.D.5.i–v, vii–viii.

                         7. Claims 2–18 and 22–30
      Petitioner presents undisputed contentions that independent claim 30,
and dependent claims 2–18 and 22–29, which depend directly or indirectly
from independent claim 1 or 20, are unpatentable over the combined
teachings of Aizawa, Mendelson-2003, Ohsaki, and Mendelson-2006, and
provides arguments explaining how the references teach the limitations of
these claims. Pet. 54–75, 76–82; Ex. 1003 ¶¶ 121–154, 162–208. Patent
Owner does not offer, at this stage, any arguments addressing Petitioner’s
substantive showing. PO Waiver. We have reviewed these arguments and
the cited evidence, and we determine Petitioner has demonstrated a
reasonable likelihood of prevailing as to these contentions.
      Moreover, as discussed in detail above, Petitioner has demonstrated a
reasonable likelihood of prevailing on the challenge to claims 1 and 20.
Therefore, pursuant to USPTO policy implementing the decision in SAS
Inst., Inc. v. Iancu, 138 S. Ct. 1348 (2018) (“SAS”), we institute as to all
claims challenged in the petition and on all grounds in the petition. See

                                       32
        Case: 22-1976      Document: 4      Page: 395   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

PTAB Consolidated Trial Practice Guide (Nov. 2019) (“Consolidated
Guide”),7 5–6, 64.

                            E. Additional Ground

      Petitioner provides arguments and evidence, including the Kenny
Declaration, in support of Petitioner’s additional ground challenging
dependent claim 19 and 21 of the ’194 patent. Pet. 82–85; Ex. 1003 ¶¶ 209–
212. Patent Owner does not offer, at this stage, any arguments addressing
Petitioner’s substantive showing. PO Waiver. We have reviewed these
arguments and the cited evidence, and we determine Petitioner has
demonstrated a reasonable likelihood of prevailing as to these contentions.
We institute review of all of these challenges. See SAS; Consolidated
Practice Guide, 5–6, 64.

                              III. CONCLUSION
      The Supreme Court held that a final written decision under 35 U.S.C.
§ 318(a) must decide the patentability of all claims challenged in the
petition. See SAS, 138 S. Ct. 1348. After considering the evidence and
arguments presented in the Petition, we determine that Petitioner has
demonstrated a reasonable likelihood of success in proving that at least
claims 1 and 20 of the ’194 patent are unpatentable. Accordingly, we
institute an inter partes review of all claims and all grounds set forth in the
Petition.8


7
  Available at https://www.uspto.gov/TrialPracticeGuideConsolidated.
8
 The Petition addresses the Board’s discretion under 35 U.S.C. §§ 314(a)
and 325(d). See Pet. 85–90. Patent Owner does not argue that we should
exercise discretion to deny institution of inter partes review. See PO
Waiver. Accordingly, we do not consider exercising discretion to deny

                                       33
         Case: 22-1976    Document: 4         Page: 396   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

       At this stage of the proceeding, we have not made a final
determination as to the patentability of any challenged claim or as to the
construction of any claim term.

                                  IV. ORDER
       In consideration of the foregoing, it is hereby:
       ORDERED that, pursuant to 35 U.S.C. § 314(a), an inter partes
review of claims 1–30 of the ’194 patent is instituted with respect to all
grounds set forth in the Petition; and
       FURTHER ORDERED that, pursuant to 35 U.S.C. § 314(c) and
37 C.F.R. § 42.4(b), inter partes review of the ’194 patent shall commence
on the entry date of this Order, and notice is hereby given of the institution
of a trial.




institution of inter partes review under 35 U.S.C. §§ 314(a) and 325(d) any
further.

                                         34
      Case: 22-1976    Document: 4    Page: 397   Filed: 08/09/2022
IPR2020-01716
Patent 10,702,194 B1

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                                 35
      Case: 22-1976    Document: 4        Page: 398   Filed: 08/09/2022
Trials@uspto.gov                                                     Paper 7
571-272-7822                                            Entered: May 5, 2021


       UNITED STATES PATENT AND TRADEMARK OFFICE


        BEFORE THE PATENT TRIAL AND APPEAL BOARD


                             APPLE INC.,
                              Petitioner,

                                     v.

                      MASIMO CORPORATION,
                           Patent Owner.


                           IPR2020-01733
                         Patent 10,702,195 B1



Before JOSIAH C. COCKS, ROBERT L. KINDER, and
AMANDA F. WIEKER, Administrative Patent Judges.
WIEKER, Administrative Patent Judge.


                               DECISION
               Granting Institution of Inter Partes Review
                   35 U.S.C. § 314, 37 C.F.R. § 42.4
        Case: 22-1976      Document: 4        Page: 399   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

                             I.   INTRODUCTION

                                  A. Background

      Apple Inc. (“Petitioner”) filed a Petition requesting an inter partes
review of claims 1–17 (“challenged claims”) of U.S. Patent No. 10,702,195
B1 (Ex. 1001, “the ’195 patent”). Paper 2 (“Pet.”). Masimo Corporation
(“Patent Owner”) waived filing a preliminary response. Paper 6 (“PO
Waiver”).
      We have authority to determine whether to institute an inter partes
review, under 35 U.S.C. § 314 and 37 C.F.R. § 42.4. An inter partes review
may not be instituted unless it is determined that “the information presented
in the petition filed under section 311 and any response filed under section
313 shows that there is a reasonable likelihood that the petitioner would
prevail with respect to at least 1 of the claims challenged in the petition.”
35 U.S.C. § 314 (2018); see also 37 C.F.R. § 42.4(a) (“The Board institutes
the trial on behalf of the Director.”).
      For the reasons provided below and based on the record before us, we
determine that Petitioner has demonstrated a reasonable likelihood that
Petitioner would prevail in showing the unpatentability of at least one of the
challenged claims. Accordingly, we institute an inter partes review on all
grounds set forth in the Petition.

                              B. Related Matters
      The parties identify the following matters related to the ’195 patent:
      Masimo Corporation v. Apple Inc., Civil Action No. 8:20-cv-00048
(C.D. Cal.);




                                          2
       Case: 22-1976    Document: 4       Page: 400   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

      Apple Inc. v. Masimo Corporation, IPR2020-01520 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,258,265 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01521 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,292,628 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01523 (PTAB Sept. 9,
2020) (challenging claims of U.S. Patent No. 8,457,703 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01524 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,433,776 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01526 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 6,771,994 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01536 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,588,553 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01537 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,588,553 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01538 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,588,554 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01539 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,588,554 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01713 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,624,564 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01714 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,631,765 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01715 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,631,765 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01716 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,702,194 B1);



                                      3
        Case: 22-1976     Document: 4       Page: 401   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1



      Apple Inc. v. Masimo Corporation, IPR2020-01722 (PTAB Oct. 2,
2020) (challenging claims of U.S. Patent No. 10,470,695 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01723 (PTAB Oct. 2,
2020) (challenging claims of U.S. Patent No. 10,470,695 B2); and
      Apple Inc. v. Masimo Corporation, IPR2020-01737 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,709,366 B1).
Pet. 95–96; Paper 3, 3–4.
      Patent Owner further identifies the following pending patent
applications, among other issued and abandoned applications, that claim
priority to, or share a priority claim with, the ’195 patent:
      U.S. Patent Application No. 16/834,538;
      U.S. Patent Application No. 16/449,143; and
      U.S. Patent Application No. 16/805,605.
Paper 3, 1–2.

                              C. The ’195 Patent

      The ’195 patent is titled “Multi-Stream Data Collection System for
Noninvasive Measurement of Blood Constituents,” and issued on July 7,
2020, from U.S. Patent Application No. 16/834,467, filed March 30, 2020.
Ex. 1001, codes (21), (22), (45), (54). The ’195 patent claims priority
through a series of continuation and continuation-in-part applications to
Provisional Application Nos. 61/078,228 and 61/078,207, both filed July 3,
2008. 1 Id. at codes (60), (63).


1
  The Office has made the prior determination that the application leading to
the ’195 patent should be examined under the pre-AIA first to invent
provisions. See Ex. 1002, 199 (Apr. 10, 2020, Decision Granting Request

                                        4
       Case: 22-1976     Document: 4       Page: 402   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

      The ’195 patent discloses a two-part data collection system including
a noninvasive sensor that communicates with a patient monitor. Id. at 2:49–
51. The sensor includes a sensor housing, an optical source, and several
photodetectors, and is used to measure a blood constituent or analyte, e.g.,
oxygen or glucose. Id. at 2:40–46, 3:8–9. The patient monitor includes a
display and a network interface for communicating with a handheld
computing device. Id. at 2:56–59.
      Figure 1 of the ’195 patent is reproduced below.




for Prioritized Examination listing “AIA (FITF) Status” as “No”). We
determine that based on this prior determination, and the lack of any
contrary evidence before us, the Petition was not required to be filed more
than nine months after the date of the grant of the patent. See 37 C.F.R.
§ 42.102(a)(1). Instead, based on the record before us, 37 C.F.R.
§ 42.102(a)(2) should apply, which allows a petition to be filed after “the
date of the grant of the patent.”

                                       5
       Case: 22-1976     Document: 4       Page: 403   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

Figure 1 illustrates a block diagram of data collection system 100 including
sensor 101 and monitor 109. Id. at 11:56–67. Sensor 101 includes optical
emitter 104 and detectors 106. Id. at 12:1–5. Emitters 104 emit light that is
attenuated or reflected by the patient’s tissue at measurement site 102. Id. at
14:11–16. Detectors 106 capture and measure the light attenuated or
reflected from the tissue. Id. In response to the measured light,
detectors 106 output detector signals 107 to monitor 109 through front-end
interface 108. Id. at 14:16–19, 36–42. Sensor 101 also may include tissue
shaper 105, which may be in the form of a convex surface that: (1) reduces
the thickness of the patient’s measurement site; and (2) provides more
surface area from which light can be detected. Id. at 11:7–23.
      Monitor 109 includes signal processor 110 and user interface 112. Id.
at 15:27–29. “[S]ignal processor 110 includes processing logic that
determines measurements for desired analytes . . . based on the signals
received from the detectors.” Id. at 15:32–35. User interface 112 presents
the measurements to a user on a display, e.g., a touch-screen display. Id. at
15:57–67. The monitor may be connected to storage device 114 and
network interface 116. Id. at 16:4–22.
      The ’195 patent describes various examples of sensor devices.
Figures 14D and 14F, reproduced below, illustrate sensor devices.




                                       6
       Case: 22-1976     Document: 4       Page: 404   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1




Figure 14D illustrates portions of a detector submount and Figure 14F
illustrates portions of a detector shell. Id. at 6:54–57. As shown in
Figure 14D, multiple detectors 1410c are located within housing 1430 and
under transparent cover 1432, on which protrusion 605b (or partially
cylindrical protrusion 605) is disposed. Id. at 35:51–54, 36:45–52.
Figure 14F illustrates a detector shell 306f including detectors 1410c on
substrate 1400c. Id. at 37:25–33. Substrate 1400c is enclosed by shielding
enclosure 1490 and noise shield 1403, which include window 1492a and
window 1492b, respectively, placed above detectors 1410c. Id.
Alternatively, cylindrical housing 1430 may be disposed under noise
shield 1403 and may enclose detectors 1410c. Id. at 37:63–65.
      Figures 4A and 4B, reproduced below, illustrate an alternative
example of a tissue contact area of a sensor device.




                                       7
       Case: 22-1976     Document: 4        Page: 405   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1




Figures 4A and 4B illustrate arrangements of protrusion 405 including
measurement contact area 470. Id. at 23:30–36. “[M]easurement site
contact area 470 can include a surface that molds body tissue of a
measurement site.” Id. “For example, . . . measurement site contact area
470 can be generally curved and/or convex with respect to the measurement
site.” Id. at 23:53–55. The measurement site contact area may include
windows 420–423 that “mimic or approximately mimic a configuration of,
or even house, a plurality of detectors.” Id. at 23:61–24:8.

                            D. Illustrative Claim

      Of the challenged claims, claims 1 and 16 are independent. Claim 1 is
illustrative and is reproduced below.
            1. A user-worn physiological measurement device that
      defines a plurality of optical paths, the physiological
      measurement device comprising:
             [a] one or more emitters configured to emit light into tissue
      of a user;
            [b] a first set of photodiodes positioned on a first surface
      and surrounded by a wall that is operably connected to the first
      surface, wherein:
                   [c] the first set of photodiodes comprises at least
             four photodiodes, and

                                        8
       Case: 22-1976     Document: 4       Page: 406   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

                    [d] the photodiodes of the first set of photodiodes
             are connected to one another in parallel to provide a first
             signal stream;
            [e] a second set of photodiodes positioned on the first
      surface and surrounded by the wall, wherein:
                   [f] the second set of photodiodes comprises at least
             four photodiodes, and
                   [g] the photodiodes of the second set of photodiodes
             are connected to one another in parallel to provide a
             second signal stream; and
             [h] a cover located above the wall and comprising a single
      protruding convex surface configured to be located between
      tissue of the user and the first and second sets of photodiodes
      when the physiological measurement device is worn by the user,
             [i] wherein the physiological measurement device
      provides a plurality of optical paths, wherein each of the optical
      paths:
                   [j] exits an emitter of the one or more emitters,
                   [k] passes through tissue of the user,
                   [l] passes through the single protruding convex
             surface, and
                    [m] arrives at a corresponding photodiode of the at
             least one of the first or second sets of photodiodes, the
             corresponding photodiode configured to receive light
             emitted by the emitter after traversal by the light of a
             corresponding optical path of the plurality of optical paths
             and after attenuation of the light by tissue of the user.
Ex. 1001, 44:63–45:34 (bracketed identifiers [a]–[m] added). Independent
claim 16 includes limitations substantially similar to limitations [a]–[h] and
includes additional limitations drawn to “a plurality of windows,”
“preprocessing electronics,” “one or more processors,” a “network




                                       9
         Case: 22-1976     Document: 4      Page: 407   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

interface,” a “touch-screen display,” and “storage device,” a “strap,” and “a
plurality of optical paths.” Id. at 46:63–48:39.

                            E. Applied References

        Petitioner relies upon the following references:
              Ali et al., U.S. Patent No. 6,584,336 B1, filed March 1, 2000,
        issued June 24, 2003 (Ex. 1046, “Ali”);
              Ohsaki et al., U.S. Patent Application Publication No.
        2001/0056243 A1, filed May 11, 2001, published December 27, 2001
        (Ex. 1014, “Ohsaki”);
              Aizawa, U.S. Patent Application Publication No.
        2002/0188210 A1, filed May 23, 2002, published December 12, 2002
        (Ex. 1006, “Aizawa”);
              Goldsmith et al., U.S. Patent Application Publication No.
        2007/0093786 A1, filed July 31, 2006, published April 26, 2007
        (Ex. 1027, “Goldsmith); and
              Y. Mendelson, et al., “Measurement Site and Photodetector
        Size Considerations in Optimizing Power Consumption of a Wearable
        Reflectance Pulse Oximeter,” Proceedings of the 25th IEEE EMBS
        Annual International Conference, 3016-3019 (2003) (Ex. 1024,
        “Mendelson-2003”).
Pet. 1–2. Petitioner also submits, inter alia, the Declaration of Thomas W.
Kenny, Ph.D. (Ex. 1003).

                             F. Asserted Grounds

        Petitioner asserts that claims 1–17 are unpatentable based upon the
following grounds (Pet. 1–2):
  Claims Challenged          35 U.S.C. §            References/Basis
                                              Aizawa, Mendelson-2003,
 1–17                            103
                                              Ohsaki, Goldsmith
                                              Aizawa, Mendelson-2003,
 1–17                            103
                                              Ohsaki, Goldsmith, Ali



                                       10
        Case: 22-1976     Document: 4       Page: 408   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

                               II. DISCUSSION

                            A. Claim Construction

      For petitions filed on or after November 13, 2018, a claim shall be
construed using the same claim construction standard that would be used to
construe the claim in a civil action under 35 U.S.C. § 282(b). 37 C.F.R.
§ 42.100(b) (2019). Petitioner submits that no claim term requires express
construction. Pet. 3.
      Based on our analysis of the issues in dispute at this stage of the
proceeding, we agree that no claim terms require express construction at this
time. Nidec Motor Corp. v. Zhongshan Broad Ocean Motor Co., 868 F.3d
1013, 1017 (Fed. Cir. 2017).

                             B. Principles of Law

      A claim is unpatentable under 35 U.S.C. § 103 if “the differences
between the subject matter sought to be patented and the prior art are such
that the subject matter as a whole would have been obvious at the time the
invention was made to a person having ordinary skill in the art to which said
subject matter pertains.” KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 406
(2007). The question of obviousness is resolved on the basis of underlying
factual determinations, including (1) the scope and content of the prior art;
(2) any differences between the claimed subject matter and the prior art;
(3) the level of skill in the art; and (4) objective evidence of non-
obviousness. 2 Graham v. John Deere Co., 383 U.S. 1, 17–18 (1966). When
evaluating a combination of teachings, we must also “determine whether


2
  Patent Owner does not present objective evidence of non-obviousness at
this stage.

                                       11
        Case: 22-1976      Document: 4       Page: 409   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

there was an apparent reason to combine the known elements in the fashion
claimed by the patent at issue.” KSR, 550 U.S. at 418 (citing In re Kahn,
441 F.3d 977, 988 (Fed. Cir. 2006)). Whether a combination of prior art
elements would have produced a predictable result weighs in the ultimate
determination of obviousness. Id. at 416–417.
      In an inter partes review, the petitioner must show with particularity
why each challenged claim is unpatentable. Harmonic Inc. v. Avid Tech.,
Inc., 815 F.3d 1356, 1363 (Fed. Cir. 2016); 37 C.F.R. § 42.104(b). The
burden of persuasion never shifts to Patent Owner. Dynamic Drinkware,
LLC v. Nat’l Graphics, Inc., 800 F.3d 1375, 1378 (Fed. Cir. 2015).
      We analyze the challenges presented in the Petition in accordance
with the above-stated principles.

                     C. Level of Ordinary Skill in the Art
      Petitioner identifies the appropriate level of skill in the art as that
possessed by a person having “a Bachelor of Science degree in an academic
discipline emphasizing the design of electrical, computer, or software
technologies, in combination with training or at least one to two years of
related work experience with capture and processing of data or information.”
Pet. 3 (citing Ex. 1003 ¶¶ 21–22). “Alternatively, the person could have also
had a Master of Science degree in a relevant academic discipline with less
than a year of related work experience in the same discipline.” Id.
      For purposes of this Decision, we generally adopt Petitioner’s
assessment as set forth above, which appears consistent with the level of
skill reflected in the Specification and prior art.




                                        12
       Case: 22-1976      Document: 4       Page: 410   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

              D. Obviousness over the Combined Teachings of
               Aizawa, Mendelson-2003, Ohsaki, and Goldsmith

      Petitioner presents undisputed contentions that claims 1–17 of the
’195 patent would have been obvious over the combined teachings of
Aizawa, Mendelson-2003, Ohsaki, and Goldsmith. Pet. 6–85.
                     1. Overview of Aizawa (Ex. 1006)
      Aizawa is a U.S. patent application publication titled “Pulse Wave
Sensor and Pulse Rate Detector,” and discloses a pulse wave sensor that
detects light output from a light emitting diode and reflected from a patient’s
artery. Ex. 1006, codes (54), (57).
      Figure 1(a) of Aizawa is reproduced below.




Figure 1(a) is a plan view of a pulse wave sensor. Id. ¶ 23. As shown in
Figure 1(a), pulse wave sensor 2 includes light emitting diode (“LED”) 21,
four photodetectors 22 symmetrically disposed around LED 21, and
holder 23 for storing LED 21 and photodetectors 22. Id. Aizawa discloses
that, “to further improve detection efficiency, . . . the number of the
photodetectors 22 may be increased.” Id. ¶ 32, Fig. 4(a). “The same effect
can be obtained when the number of photodetectors 22 is 1 and a plurality of
light emitting diodes 21 are disposed around the photodetector 22.” Id. ¶ 33.


                                       13
        Case: 22-1976     Document: 4       Page: 411   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

      Figure 1(b) of Aizawa is reproduced below.




Figure 1(b) is a sectional view of the pulse wave sensor. Id. ¶ 23. As shown
in Figure 1(b), pulse wave sensor 2 includes drive detection circuit 24 for
detecting a pulse wave by amplifying the outputs of photodetectors 22. Id.
¶ 23. Arithmetic circuit 3 computes a pulse rate from the detected pulse
wave and transmitter 4 transmits the pulse rate data to an “unshown
display.” Id. The pulse rate detector further includes outer casing 5 for
storing pulse wave sensor 2, acrylic transparent plate 6 mounted to detection
face 23a of holder 23, and attachment belt 7. Id. ¶ 23.
      Aizawa discloses that LED 21 and photodetectors 22 “are stored in
cavities 23b and 23c formed in the detection face 23a” of the pulse wave
sensor. Id. ¶ 24. Detection face 23a “is a contact side between the holder 23
and a wrist 10, respectively, at positions where the light emitting face 21s of
the light emitting diode 21 and the light receiving faces 22s of the
photodetectors 22 are set back from the above detection face 23a.” Id. ¶ 24.
Aizawa discloses that “a subject carries the above pulse rate detector 1 on
the inner side of his/her wrist 10 . . . in such a manner that the light emitting
face 21s of the light emitting diode 21 faces down (on the wrist 10 side).”
Id. ¶ 26. Furthermore, “the above belt 7 is fastened such that the acrylic

                                       14
          Case: 22-1976   Document: 4      Page: 412   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

transparent plate 6 becomes close to the artery 11 of the wrist 10. Thereby,
adhesion between the wrist 10 and the pulse rate detector 1 is improved.”
Id. ¶¶ 26, 34.
                  2. Overview of Mendelson-2003 (Ex. 1024)
      Mendelson-2003 is a journal article titled “Measurement Site and
Photodetector Size Considerations in Optimizing Power Consumption of a
Wearable Reflectance Pulse Oximeter,” which discusses a pulse oximeter
sensor in which “battery longevity could be extended considerably by
employing a wide annularly shaped photodetector ring configuration and
performing SpO2 measurements from the forehead region.” Ex. 1024,
3016. 3
      Mendelson-2003 explains that pulse oximetry uses sensors to monitor
oxygen saturation (SpO2), where the sensor typically includes light emitting
diodes (LED) and a silicon photodetector (PD). Id. According to
Mendelson-2003, when designing a pulse oximeter, it is important to offer
“low power management without compromising signal quality.” Id. at 3017.
“However, high brightness LEDs commonly used in pulse oximeters
require[] relatively high current pulses, typically in the range between 100–
200mA. Thus, minimizing the drive currents supplied to the LEDs would
contribute considerably toward the overall power saving in the design of a
more efficient pulse oximeter.” To achieve this goal, Mendelson-2003
discusses previous studies in which
      the driving currents supplied to the LEDs . . . could be lowered
      significantly without compromising the quality of the


3
 Petitioner cites to the native page numbers appearing at the top of
Exhibit 1024, rather than the added page numbering at the bottom of the
pages. We follow Petitioner’s numbering scheme.

                                      15
       Case: 22-1976     Document: 4       Page: 413   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

      [photoplethysmographic signal] by increasing the overall size of
      the PD . . . . Hence, by maximizing the light collected by the
      sensor, a very low power-consuming sensor could be developed,
      thereby extending the overall battery life of a pulse oximeter
      intended for telemedicine applications.
Id.
      Mendelson-2003 discloses the prototype of such a sensor in Figure 1,
which is reproduced below, and served as the basis for the studies evaluated
in Mendelson-2003.




Figure 1 of Mendelson-2003 depicts a sensor configuration showing the
relative positions of its PDs and LEDs. Id. As shown in Figure l, “six PDs
were positioned in a close inner-ring configuration at a radial distance of
6.0mm from the LEDs. The second set of six PDs spaced equally along an
outer-ring, separated from the LEDs by a radius of 10.0mm.” Id.
Mendelson-2003 also explains that “[e]ach cluster of six PDs were wired in
parallel and connected through a central hub to the common summing input
of a current-to-voltage converter.” Id.
      Mendelson-2003 reports the results of the studies as follows:
             Despite the noticeable differences between the PPG
      signals measured from the wrist and forehead, the data plotted in
      Fig. 3 also revealed that considerable stronger PPGs could be
      obtained by widening the active area of the PD which helps to
      collect a bigger proportion of backscattered light intensity. The
      additional increase, however, depends on the area and relative
      position of the PD with respect to the LEDs. For example,


                                      16
       Case: 22-1976     Document: 4       Page: 414   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

      utilizing the outer-ring configuration, the overall increase in the
      average amplitudes of the R and IR PPGs measured from the
      forehead region was 23% and 40%, respectively. Similarly, the
      same increase in PD area produced an increase in the PPG signals
      measured from the wrist, but with a proportional higher increase
      of 42% and 73%.
Id. at 3019.

                     3. Overview of Ohsaki (Ex. 1014)

      Ohsaki is a U.S. patent application publication titled “Wristwatch-type
Human Pulse Wave Sensor Attached on Back Side of User’s Wrist,” and
discloses an optical sensor for detecting a pulse wave of a human body.
Ex. 1014, code (54), ¶ 3. Figure 1 of Ohsaki is reproduced below.




Figure 1 illustrates a cross-sectional view of pulse wave sensor 1 attached on
the back side of user’s wrist 4. Id. ¶¶ 12, 16. Pulse wave sensor 1 includes
detecting element 2 and sensor body 3. Id. ¶ 16.




                                      17
       Case: 22-1976      Document: 4      Page: 415   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

      Figure 2 of Ohsaki, reproduced below, illustrates further detail of
detecting element 2.




Figure 2 illustrates a mechanism for detecting a pulse wave. Id. ¶ 13.
Detecting element 2 includes package 5, light emitting element 6, light
receiving element 7, and translucent board 8. Id. ¶ 17. Light emitting
element 6 and light receiving element 7 are arranged on circuit board 9
inside package 5. Id. ¶¶ 17, 19.
      “[T]ranslucent board 8 is a glass board which is transparent to light,
and attached to the opening of the package 5. A convex surface is formed
on the top of the translucent board 8.” Id. ¶ 17. “[T]he convex surface of
the translucent board 8 is in intimate contact with the surface of the user’s
skin,” preventing detecting element 2 from slipping off the detecting
position of the user’s wrist. Id. ¶ 25. By preventing the detecting element
from moving, the convex surface suppresses “variation of the amount of the
reflected light which is emitted from the light emitting element 6 and
reaches the light receiving element 7 by being reflected by the surface of the
user’s skin.” Id. Additionally, the convex surface prevents penetration by
“noise such as disturbance light from the outside.” Id.



                                      18
       Case: 22-1976     Document: 4       Page: 416   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

      Sensor body 3 is connected to detecting element 2 by signal line 13.
Id. ¶ 20. Signal line 13 connects detecting element 2 to drive circuit 11,
microcomputer 12, and a monitor display (not shown). Id. Drive circuit 11
drives light emitting element 6 to emit light toward wrist 4. Id. Detecting
element 2 receives reflected light which is used by microcomputer 12 to
calculate pulse rate. Id. “The monitor display shows the calculated pulse
rate.” Id.

                          4. Goldsmith (Ex. 1027)

      Goldsmith is a U.S. patent application publication titled “Watch
Controller for a Medical Device,” and discloses a watch controller device
that communicates with an infusion device to “provid[e] convenient
monitoring and control of the infusion pump device.” Ex. 1027, code (57).
      Goldsmith’s Figure 9A is reproduced below.




Figure 9A is a front view of a combined watch and controller device. Id.
¶ 30. As shown in Figure 9A, watch controller 900 includes housing 905,



                                      19
       Case: 22-1976      Document: 4      Page: 417   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

transparent member 950, display 910, rear-side cover 960, input
devices 925a–c, 930, and wrist band 940. Id. ¶¶ 85–86, Fig. 9B.
      Goldsmith discloses that the watch controller may interact with one or
more devices, such as infusion pumps or analyte monitors. Id. ¶ 85; see also
id. ¶ 88 (“The analyte sensing device 1060 may be adapted to receive data
from a sensor, such as a transcutaneous sensor.”). Display 910 “may display
at least a portion of whatever information and/or graph is being displayed on
the infusion device display or on the analyte monitor display,” such as, e.g.,
levels of glucose. Id. ¶ 86. Additionally, the watch controller may
communicate with a remote station, e.g., a computer, to allow data
downloading. Id. ¶ 89 (including wireless).

                           5. Independent Claim 1
      Petitioner presents undisputed contentions that claim 1 would have
been obvious over the combined teachings of Aizawa, Mendelson-2003,
Ohsaki, and Goldsmith. Pet. 6–85.

                  i.“A user-worn physiological measurement device that
                    defines a plurality of optical paths, the physiological
                    measurement device comprising”

      On this record, the cited evidence supports Petitioner’s undisputed
contention that Aizawa discloses a pulse sensor that defines a plurality of
optical paths, and that Goldsmith teaches an analyte sensor that is part of a
user-worn controller device that includes, e.g., a display. 4 Pet. 36–37; see,
e.g., Ex. 1006 ¶¶ 2 (disclosing “a pulse wave sensor for detecting the pulse


4
  Whether the preamble is limiting need not be resolved at this stage of the
proceeding because Petitioner shows sufficiently for purposes of institution
that the recitation in the preamble is satisfied by the prior art.

                                      20
       Case: 22-1976      Document: 4      Page: 418   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

wave of a subject”), 27 (discussing optical path), Fig. 1(b) (depicting two
optical paths from emitter 21 to detectors 22 in Aizawa’s sensor); Ex. 1027
¶¶ 85 (“a watch”), 88 (“analyte sensing device 1060”), Fig. 9A.
      Petitioner further contends that a person of ordinary skill in the art
would have found it obvious to incorporate Aizawa’s sensor “into
Goldsmith’s integrated wrist-worn watch controller device that includes,
among other features, a touch screen, network interface, and storage device”
in order to receive and display data sensed by Aizawa’s sensor. Pet. 30–31;
see, e.g., Ex. 1003 ¶¶ 88–89. Petitioner contends this is consistent with
Aizawa’s disclosure of a transmitter that transmits pulse rate data to a
display. Pet. 29; see, e.g., Ex. 1006 ¶¶ 23 (disclosing “a transmitter for
transmitting the above pulse rate data to an unshown display”), 35 (“[P]ulse
rate data is transmitted to the display or the device for computing the amount
of motion load.”); Ex. 1003 ¶ 86. According to Petitioner, this would have
“enable[d] a user to view and interact with heart rate data during exercise via
the Goldsmith’s touch-screen display, and to enable heart rate data to be
monitored by the user and/or others through any of the devices with which
Goldsmith’s device can communicate.” Pet. 31; see, e.g., Ex. 1003 ¶ 90.
Petitioner asserts this would have been use of a known technique to improve
similar devices in the same way. Pet. 32; see, e.g., Ex. 1003 ¶ 91; see also
Pet. 32–35 (also discussing physical incorporation); see, e.g., Ex. 1003
¶¶ 92–94 (same).
      At this stage of the proceeding, Petitioner’s stated reasoning for the
proposed modification is sufficiently supported, including by the unrebutted
testimony of Dr. Kenny. See, e.g., Ex. 1003 ¶¶ 86–96.




                                      21
          Case: 22-1976    Document: 4       Page: 419   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

                   ii.“[a] one or more emitters configured to emit light into
                      tissue of a user”

      On this record, the cited evidence supports Petitioner’s undisputed
contention that Aizawa discloses that its sensor includes LED 21 that emits
light into a user’s tissue. Pet. 37–38; see, e.g., Ex. 1006 ¶ 23 (“LED 21 . . .
for emitting light having a wavelength of a near infrared range”), 27
(explaining that light is emitted toward the wrist), Fig. 1(b) (depicting
emitter 21 facing user tissue 10). Fig. 2 (depicting sensor worn on user’s
wrist).

                  iii.“[b] a first set of photodiodes positioned on a first
                      surface and surrounded by a wall that is operably
                      connected to the first surface, wherein: [c] the first set of
                      photodiodes comprises at least four photodiodes”
                      and
                      “[e] a second set of photodiodes positioned on the first
                      surface and surrounded by the wall, wherein: [f] the
                      second set of photodiodes comprises at least four
                      photodiodes”

      On this record, the cited evidence supports Petitioner’s undisputed
contentions regarding this limitation. Pet. 16–22, 38–41, 46–48.
Specifically, Petitioner contends that Aizawa discloses a first set of four
photodiodes that are circularly arranged around a central emitter. Id. at 16–
17; see, e.g., Ex. 1006 ¶ 23 (“four phototransistors 22”), Figs. 1(a)–1(b)
(depicting detectors 22 surrounding LED 21). Petitioner contends that
Aizawa teaches that eight or more detectors may be used to improve
detection efficiency, but does not expressly teach a “second set of
photodiodes,” as claimed. Pet. 17–18; see, e.g., Ex. 1006 ¶ 32 (“the number
of the photodetectors 22 may be increased”), Fig. 4(a).



                                        22
        Case: 22-1976     Document: 4      Page: 420   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

       According to Petitioner, Mendelson-2003 teaches two rings of
photodiodes, which improve light collection efficiency, permit use of lower
brightness LEDs, and reduce power consumption. Pet. 19; see, e.g.,
Ex. 1024, 3017 (“[S]ix PDs [(photodetectors)] were positioned in a close
inner-ring configuration . . . The second set of six PDs [were] spaced equally
along an outer-ring.”), 3019 (explaining that “considerabl[y] stronger
[photoplethysmographic signals] could be obtained by widening the active
area of the PD which helps to collect a bigger proportion of backscattered
light intensity”).
       In view of these teachings, Petitioner contends, with reference to the
modified and annotated figure reproduced below, that a person of ordinary
skill in the art would have found it obvious to modify Aizawa to include an
additional ring of detectors (a “second set”) because this would have been
“the use of known solutions to improve similar systems and methods in the
same way,” and would have led to benefits “in terms of achieving ‘power
savings in the design of a more efficient’ pulse sensing device,” wherein
“the power consumption of a wrist-based pulse sensing device as in Aizawa
can be reduced through use of a less bright and, hence, lower power-
consuming LED.” Pet. 20–22; Ex. 1003 ¶¶ 70, 73–74, 76.




                                      23
       Case: 22-1976     Document: 4       Page: 421   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

Petitioner’s modified and annotated figure depicts Aizawa’s sensor with
Aizawa’s first set of photodiodes (depicted as connected by a green ring)
and modified to include a second set of photodiodes as taught by
Mendelson-2003 (depicted as connected by a red ring). Pet. 21, 39, 46.
      At this stage of the proceeding, Petitioner’s stated reasoning for the
proposed modification is sufficiently supported, including by the unrebutted
testimony of Dr. Kenny. See, e.g., Ex. 1003 ¶¶ 68–76, 98–103, 110–112.
      On this record, the cited evidence also supports Petitioner’s contention
that Aizawa discloses a wall that surrounds the photodiodes, including the
second set as suggested by the combined teachings of Aizawa and
Mendelson-2003, and which is operably connected to the surface of the
sensor on which the photodiodes are positioned. Pet. 39–40; see, e.g.,
Ex. 1006 ¶ 23 (“holder 23 for storing” LED 21 and detectors 22), Fig. 1(b)
(depicting periphery of holder 23 surrounding the sensor components,
including detectors 22, which are positioned on a surface); Ex. 1003 ¶¶ 100–
102, 111.

                iv. “[d] the photodiodes of the first set of photodiodes are
                   connected to one another in parallel to provide a first
                   signal stream”
                   and
                   “[g] the photodiodes of the second set of photodiodes are
                   connected to one another in parallel to provide a second
                   signal stream”

      On this record, the cited evidence supports Petitioner’s undisputed
contention that Mendelson-2003 discloses that each set of photodiodes are
connected in parallel to provide signal streams. Pet. 42–43, 48; Ex. 1024,
3017 (“Each cluster of six PDs were wired in parallel and connected through
a central hub to the common summing input of a current-to-voltage


                                      24
        Case: 22-1976     Document: 4       Page: 422   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

converter.”); see also Pet. 41–46 (additional contentions); Ex. 1003 ¶¶ 106,
113.

                  v.“[h] a cover located above the wall and comprising a
                    single protruding convex surface configured to be
                    located between tissue of the user and the first and
                    second sets of photodiodes when the physiological
                    measurement device is worn by the user”

       On this record, the cited evidence supports Petitioner’s undisputed
contentions regarding this limitation. Pet. 22–28, 49. Specifically,
Petitioner contends that Aizawa “teaches a light permeable cover in the form
of an acrylic transparent plate 6 . . . that is mounted at the detection face
23a” of the sensor, i.e., between the tissue of a user and the photodetectors.
Id. at 8–9; Ex. 1006 ¶ 34 (“[A]crylic transparent plate 6 is provided on the
detection face 23a of the holder 23 to improve adhesion to the wrist 10.”),
Fig. 1(b) (depicting flat, transparent plate 6 between sensor 2 and wrist 10).
Petitioner also contends that Ohsaki teaches a wrist-worn sensor that
includes a “translucent board” having a convex surface that contacts the
user’s skin to prevent slippage of the sensor. Pet. 11–12, 23; see, e.g.,
Ex. 1014 ¶¶ 16 (“worn on the back side of the user’s wrist”), 17 (“convex
surface”), 25 (“intimate contact” prevents slippage), Figs. 1–2 (depicting
convex translucent board 8 between tissue and detector).
       Petitioner further contends, with reference to the modified and
annotated figures reproduced below, that a person of ordinary skill in the art
“would have found it obvious to modify [Aizawa’s] sensor’s flat cover (left)
to include a lens/protrusion (right), similar to Ohsaki’s translucent board 8,
so as to improve adhesion between the user’s wrist and the sensor’s surface,




                                       25
        Case: 22-1976      Document: 4       Page: 423   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

improve detection efficiency, and protect the elements within the sensor
housing.” Pet. 25–26; see, e.g., Ex. 1003 ¶¶ 77, 80.




Petitioner’s modified and annotated figures depict Aizawa’s sensor as shown
in Figure 1(b), modified to include a convex cover. Id. at 26; see, e.g.,
Ex. 1014 ¶¶ 18 (explaining that outside disturbance light is prevented from
penetrating the translucent board because “the surface of the translucent
board 8 is in intimate contact with the surface of the user’s skin”), 25
(“[T]he convex surface . . . is in intimate contact with the surface of the
user’s skin. Thereby it is prevented that the detecting element 2 slips off the
detecting position of the user’s wrist . . . . [Due to the] convex surface . . .
the variation of the amount of the reflected light which is emitted from the
light emitting element 6 and reaches the light receiving element 7 by being
reflected by the surface of the user’s skin is suppressed [and] [i]t is also
prevented that noise such as disturbance light from the outside penetrates the
translucent board 8. Therefore the pulse wave can be detected without being
affected.”); Ex. 1003 ¶¶ 77, 80; see also Pet. 26–29 (discussing further
motivation and reasoning). Petitioner contends that, in the combination, the
cover is “above” the wall provided by holder 23. Pet. 49; Ex. 1003 ¶ 114.
      Petitioner also contends that combining these teachings “would have
amounted to nothing more than the use of a known technique to improve
similar devices in the same way.” Pet. 26; see, e.g., Ex. 1003 ¶ 81.


                                        26
       Case: 22-1976      Document: 4      Page: 424   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

Petitioner contends that “the elements of the combined system would each
perform similar functions they had been known to perform prior to the
combination—Aizawa-Mendelson-2003’s transparent plate 6 would remain
in the same position, performing the same function, but with a convex
surface as taught by Ohsaki.” Pet. 26.
      At this stage of the proceeding, Petitioner’s stated reasoning for the
proposed modification is sufficiently supported, including by the unrebutted
testimony of Dr. Kenny. See, e.g., Ex. 1003 ¶¶ 77–85, 114.

                 vi.“[i] wherein the physiological measurement device
                    provides a plurality of optical paths, wherein each of the
                    optical paths: [j] exits an emitter of the one or more
                    emitters, [k] passes through tissue of the user, [l] passes
                    through the single protruding convex surface, and [m]
                    arrives at a corresponding photodiode of the at least one
                    of the first or second sets of photodiodes, the
                    corresponding photodiode configured to receive light
                    emitted by the emitter after traversal by the light of a
                    corresponding optical path of the plurality of optical
                    paths and after attenuation of the light by tissue of the
                    user.”

      On this record, the cited evidence supports Petitioner’s undisputed
contention that Aizawa discloses a plurality of optical paths that exit
emitter 21, pass through tissue 10, pass through the cover’s convex surface
(as modified in light of Ohsaki’s teachings), and arrive at a photodiode of
the first or second set of photodiodes (as modified in light of Mendelson-
2003’s teachings), wherein the photodiode receives the light that travels
through the optical paths and is attenuated by the tissue, as shown in
Petitioner’s modified figure below. Pet. 51; see, e.g., Ex. 1006 ¶ 27 (“Near
infrared radiation output toward the wrist 10 from the light emitting diode 21



                                      27
       Case: 22-1976      Document: 4       Page: 425   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

is reflected by a red corpuscle running through the artery 11 of the wrist 10
and this reflected light is detected by the plurality of photodetectors 22 so as
to detect a pulse wave (see FIG. 1(b).”), Fig. 1(b) (depicting two optical
paths from emitter 21 to detectors 22 in Aizawa’s sensor).




The annotated figure depicts “different sections of one of the optical paths,”
in which “the optical path (A) exits an emitter, (B) passes through the tissue
of the user, (C) passes through the single protruding convex surface, and
(D) arrives at a corresponding photodiode.” Pet. 51; see, e.g., Ex. 1003
¶¶ 115–117.

                vii.Summary

      For the foregoing reasons, we are persuaded that Petitioner’s cited
evidence and reasoning demonstrates a reasonable likelihood that Petitioner
would prevail in its contentions regarding claim 1.

                               6. Claims 2–17

      Petitioner presents undisputed contentions that independent claim 16,
and dependent claims 2–15 and 17, which depend directly or indirectly from

                                       28
          Case: 22-1976    Document: 4      Page: 426   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

independent claim 1 or 16, are unpatentable over the combined teachings of
Aizawa, Mendelson-2003, Ohsaki, and Goldsmith, and provides arguments
explaining how the references teach the limitations of these claims. Pet. 51–
85; Ex. 1003 ¶¶ 118–186. Patent Owner does not offer, at this stage, any
arguments addressing Petitioner’s substantive showing. PO Waiver. We
have reviewed these arguments and the cited evidence, and we determine
Petitioner has demonstrated a reasonable likelihood of prevailing as to these
contentions.
         Moreover, as discussed in detail above, Petitioner has demonstrated a
reasonable likelihood of prevailing on the challenge to claim 1. Therefore,
pursuant to USPTO policy implementing the decision in SAS Inst., Inc. v.
Iancu, 138 S. Ct. 1348 (2018) (“SAS”), we institute as to all claims
challenged in the petition and on all grounds in the petition. See PTAB
Consolidated Trial Practice Guide (Nov. 2019) (“Consolidated Guide”),5 5–
6, 64.

                             E. Additional Ground

         Petitioner provides arguments and evidence, including the Kenny
Declaration, in support of Petitioner’s additional ground challenging
dependent claims of the ’195 patent. Pet. 86–89; 6 Ex. 1003 ¶¶ 187–191.



5
  Available at https://www.uspto.gov/TrialPracticeGuideConsolidated.
6
  Petitioner asserts this ground applies to all of claims 1–17 (Pet. 86),
however, Petitioner presents contentions regarding only dependent claim 10
(id. at 88–89 (presenting contentions “[t]o the extent that Patent Owner
argues that Aizawa-Mendelson-2003-Ohsaki-Goldsmith does not render
[10g] obvious”). As such, we understand this challenge to apply to claim 10
and the claims that depend from it, i.e., claims 11–15. See Ex. 1003 ¶ 187
(“just for element [10g]”).

                                       29
        Case: 22-1976     Document: 4       Page: 427   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

Patent Owner does not offer, at this stage, any arguments addressing
Petitioner’s substantive showing. PO Waiver. We have reviewed these
arguments and the cited evidence, and we determine Petitioner has
demonstrated a reasonable likelihood of prevailing as to these contentions.
We institute review of all of these challenges. See SAS, 138 S. Ct. 1348;
Consolidated Practice Guide, 5–6, 64.

                              III. CONCLUSION
      The Supreme Court held that a final written decision under 35 U.S.C.
§ 318(a) must decide the patentability of all claims challenged in the
petition. See SAS, 138 S. Ct. 1348. After considering the evidence and
arguments presented in the Petition, we determine that Petitioner has
demonstrated a reasonable likelihood of success in proving that at least
claims 1 and 16 of the ’195 patent are unpatentable. Accordingly, we
institute an inter partes review of all claims and all grounds set forth in the
Petition.7
      At this stage of the proceeding, we have not made a final
determination as to the patentability of any challenged claim or as to the
construction of any claim term.




7
  The Petition addresses the Board’s discretion under 35 U.S.C. §§ 314(a)
and 325(d). See Pet. 89–94. Patent Owner does not argue that we should
exercise discretion to deny institution of inter partes review. See PO
Waiver. Accordingly, we do not consider exercising discretion to deny
institution of inter partes review under 35 U.S.C. §§ 314(a) and 325(d) any
further.

                                       30
         Case: 22-1976    Document: 4         Page: 428   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

                                  IV. ORDER

       In consideration of the foregoing, it is hereby:
       ORDERED that, pursuant to 35 U.S.C. § 314(a), an inter partes
review of claims 1–17 of the ’195 patent is instituted with respect to all
grounds set forth in the Petition; and
       FURTHER ORDERED that, pursuant to 35 U.S.C. § 314(c) and
37 C.F.R. § 42.4(b), inter partes review of the ’195 patent shall commence
on the entry date of this Order, and notice is hereby given of the institution
of a trial.




                                         31
      Case: 22-1976    Document: 4    Page: 429   Filed: 08/09/2022
IPR2020-01733
Patent 10,702,195 B1

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                                 32
      Case: 22-1976    Document: 4        Page: 430   Filed: 08/09/2022
Trials@uspto.gov                                                     Paper 7
571-272-7822                                           Entered: May 12, 2021


       UNITED STATES PATENT AND TRADEMARK OFFICE


        BEFORE THE PATENT TRIAL AND APPEAL BOARD


                             APPLE INC.,
                              Petitioner,
                                     v.
                      MASIMO CORPORATION,
                           Patent Owner.


                           IPR2020-01737
                         Patent 10,709,366 B1



Before JOSIAH C. COCKS, ROBERT L. KINDER, and
AMANDA F. WIEKER, Administrative Patent Judges.
KINDER, Administrative Patent Judge.


                               DECISION
               Granting Institution of Inter Partes Review
                            35 U.S.C. § 314
        Case: 22-1976      Document: 4       Page: 431   Filed: 08/09/2022
IPR2020-01737
Patent 10,709,366 B1

                             I. INTRODUCTION
                                A. Background
      Apple Inc. (“Petitioner”) filed a Petition requesting an inter partes
review of claims 1–27 (“challenged claims”) of U.S. Patent No. 10,709,366
B1 (Ex. 1001, “the ’366 patent”). Paper 2 (“Pet.”). Masimo Corporation
(“Patent Owner”) waived filing a preliminary response. Paper 6 (“PO
Waiver”).
      We have authority to determine whether to institute an inter partes
review, under 35 U.S.C. § 314 and 37 C.F.R. § 42.4. An inter partes review
may not be instituted unless it is determined that “the information presented
in the petition filed under section 311 and any response filed under section
313 shows that there is a reasonable likelihood that the petitioner would
prevail with respect to at least 1 of the claims challenged in the petition.”
35 U.S.C. § 314 (2018); see also 37 C.F.R. § 42.4(a) (2020) (“The Board
institutes the trial on behalf of the Director.”).
      For the reasons provided below and based on the record before us, we
determine that Petitioner has demonstrated a reasonable likelihood that
Petitioner would prevail in showing the unpatentability of at least one of the
challenged claims. Accordingly, we institute an inter partes review on all
grounds set forth in the Petition.

                              B. Related Matters
      The parties identify the following matters related to the ’366 patent:
      Masimo Corporation v. Apple Inc., Civil Action No. 8:20-cv-00048
(C.D. Cal.);




                                         2
       Case: 22-1976    Document: 4       Page: 432   Filed: 08/09/2022
IPR2020-01737
Patent 10,709,366 B1

      Apple Inc. v. Masimo Corporation, IPR2020-01520 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,258,265 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01521 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,292,628 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01523 (PTAB Sept. 9,
2020) (challenging claims of U.S. Patent No. 8,457,703 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01524 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,433,776 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01526 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 6,771,994 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01536 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,588,553 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01537 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,588,553 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01538 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,588,554 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01539 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,588,554 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01713 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,624,564 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01714 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,631,765 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01715 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,631,765 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01716 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,702,194 B1);



                                      3
       Case: 22-1976      Document: 4       Page: 433   Filed: 08/09/2022
IPR2020-01737
Patent 10,709,366 B1

      Apple Inc. v. Masimo Corporation, IPR2020-01722 (PTAB Oct. 2,
2020) (challenging claims of U.S. Patent No. 10,470,695 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01723 (PTAB Oct. 2,
2020) (challenging claims of U.S. Patent No. 10,470,695 B2); and
      Apple Inc. v. Masimo Corporation, IPR2020-01733 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,702,195 B1).
Pet. 94–95; Paper 3, 3–4.
      Patent Owner further identifies the following pending patent
applications, among other issued and abandoned applications, that claim
priority to, or share a priority claim with, the ’366 patent:
      U.S. Patent Application No. 16/834,538;
      U.S. Patent Application No. 16/449,143; and
      U.S. Patent Application No. 16/805,605.
Paper 3, 1–2.

                              C. The ’366 Patent
      The ’366 patent is titled “Multi-Stream Data Collection System for
Noninvasive Measurement of Blood Constituents,” and issued on July 14,
2020, from U.S. Patent Application No. 16/829,510, filed March 25, 2020.
Ex. 1001, codes (21), (22), (45), (54). The ’366 patent claims priority
through a series of continuation and continuation-in-part applications to
Provisional Application Nos. 61/086,060, 61/086,108, 61/086,063,
61/086,057, each filed August 4, 2008, as well as 61/091,732 filed




                                        4
       Case: 22-1976       Document: 4       Page: 434   Filed: 08/09/2022
IPR2020-01737
Patent 10,709,366 B1

August 25, 2008, and 61/078,228 and 61/078,207, both filed July 3, 2008. 1
Id. at codes (60), (63).
      The ’366 patent discloses a two-part data collection system including
a noninvasive sensor that communicates with a patient monitor. Id. at 2:38–
40. The sensor includes a sensor housing, an optical source, and several
photodetectors, and is used to measure a blood constituent or analyte, e.g.,
oxygen or glucose. Id. at 2:29–37, 2:62–3:12. The patient monitor includes
a display and a network interface for communicating with a handheld
computing device. Id. at 2:42–48.




1
  The Office has made the prior determination that the application leading to
the ’366 patent should be examined under the pre-AIA first to invent
provisions. See Ex. 1002, 199 (Apr. 10, 2020 Decision Granting Request for
Prioritized Examination, marking “No” for “AIA (FITF) Status”). We
determine that based on this prior determination, and the lack of any
contrary evidence before us, the Petition was not required to be filed more
than nine months after the date of the grant of the patent. See 37 C.F.R.
§ 42.102(a)(1). Instead, based on the record before us, 37 C.F.R.
§ 42.102(a)(2) should apply, which allows a petition to be filed after “the
date of the grant of the patent.”


                                         5
       Case: 22-1976     Document: 4       Page: 435   Filed: 08/09/2022
IPR2020-01737
Patent 10,709,366 B1

      Figure 1 of the ’366 patent is reproduced below.




Figure 1 illustrates a block diagram of data collection system 100 including
sensor 101 and monitor 109. Id. at 11:51–61. Sensor 101 includes optical
emitter 104 and detectors 106. Id. Emitters 104 emit light that is attenuated
or reflected by the patient’s tissue at measurement site 102. Id. at 11:61–63;
14:4–7. Detectors 106 capture and measure the light attenuated or reflected
from the tissue. Id. at 14:3–10. In response to the measured light,
detectors 106 output detector signals 107 to monitor 109 through front-end
interface 108. Id. at 14:7–10, 28–33. Sensor 101 also may include tissue
shaper 105, which may be in the form of a convex surface that: (1) reduces
the thickness of the patient’s measurement site; and (2) provides more
surface area from which light can be detected. Id. at 10:61–11:13.
      Monitor 109 includes signal processor 110 and user interface 112. Id.
at 15:16–18. “[S]ignal processor 110 includes processing logic that


                                       6
       Case: 22-1976      Document: 4       Page: 436   Filed: 08/09/2022
IPR2020-01737
Patent 10,709,366 B1

determines measurements for desired analytes, . . . based on the signals
received from the detectors 106.” Id. at 15:20–24. User interface 112
presents the measurements to a user on a display, e.g., a touch-screen
display. Id. at 15:46–50. The monitor may be connected to storage
device 114 and network interface 116. Id. at 15:60–67.
      The ’366 patent describes various examples of sensor devices.
Figures 14D and 14F, reproduced below, illustrate sensor devices.




Figure 14D (left) illustrates portions of a detector submount and Figure 14F
(right) illustrates portions of a detector shell. Id. at 6:44–47. As shown in
Figure 14D, multiple detectors 1410c are located within housing 1430 and
under transparent cover 1432, on which protrusion 605b (or partially
cylindrical protrusion 605) is disposed. Id. at 35:39–43, 36:30–41.
Figure 14F illustrates a detector shell 306f including detectors 1410c on
substrate 1400c. Id. at 37:9–17. Substrate 1400c is enclosed by shielding
enclosure 1490 and noise shield 1403, which include window 1492a and
window 1492b, respectively, placed above detectors 1410c. Id.



                                        7
       Case: 22-1976     Document: 4       Page: 437   Filed: 08/09/2022
IPR2020-01737
Patent 10,709,366 B1

Alternatively, cylindrical housing 1430 may be disposed under noise
shield 1403 and may enclose detectors 1410c. Id. at 37:47–49.
      Figures 4A and 4B, reproduced below, illustrate an alternative
example of a tissue contact area of a sensor device.




Figures 4A and 4B illustrate arrangements of protrusion 405 including
measurement contact area 470. Id. at 23:18–24. “[M]easurement site
contact area 470 can include a surface that molds body tissue of a
measurement site.” Id. “For example, . . . measurement site contact
area 470 can be generally curved and/or convex with respect to the
measurement site.” Id. at 23:41–43. The measurement site contact area may
include windows 420–423 that “mimic or approximately mimic a
configuration of, or even house, a plurality of detectors.” Id. at 23:49–63.

                            D. Illustrative Claim
      Of the challenged claims, claims 1, 14, and 27 are independent.
Claim 1 is illustrative and is reproduced below.
            1. A noninvasive physiological parameter measurement
      device adapted to be worn by a wearer, the noninvasive
      physiological parameter measurement device comprising:
             [a] one or more light emitters;


                                       8
       Case: 22-1976      Document: 4       Page: 438    Filed: 08/09/2022
IPR2020-01737
Patent 10,709,366 B1

             [b] a substrate having a surface;
            [c] a first set of photodiodes arranged on the surface and
      spaced apart from each other, wherein:
                   [d] the first set of photodiodes comprises at least
             four photodiodes, and
                    [e] the photodiodes of the first set of photodiodes
             are connected to one another in parallel to provide a first
             signal stream responsive to light from at least one of the
             one or more light emitters attenuated by body tissue;
            [f] a second set of photodiodes arranged on the surface and
      spaced apart from each other, wherein:
                   [g] the second set of photodiodes comprises at least
             four photodiodes,
                    [h] the photodiodes of the second set of photodiodes
             are connected to one another in parallel to provide a
             second signal stream responsive to light from at least one
             of the one or more light emitters attenuated by body tissue,
             and
                    [i] at least one of the first signal stream or the second
             signal stream includes information usable to determine a
             physiological parameter of a wearer of the noninvasive
             physiological parameter measurement device;
            [j] a wall extending from the surface and configured to
      surround at least the first and second sets of photodiodes; and
             [k] a cover arranged to cover at least a portion of the
      surface of the substrate, wherein the cover comprises a protrusion
      that extends over all of the photodiodes of the first and second
      sets of photodiodes arranged on the surface, and wherein the
      cover is further configured to cover the wall.
Ex. 1001, 44:57–45:27 (bracketed identifiers [a]–[k] added). Independent
claim 14 includes limitations substantially similar to limitations [a], [c]–[h],
[j], and [k] and includes additional limitations drawn to “one or more
processors configured to: receive information . . . ; [and], process the

                                        9
       Case: 22-1976     Document: 4        Page: 439   Filed: 08/09/2022
IPR2020-01737
Patent 10,709,366 B1

information to determine physiological parameter measurement
information.” Id. at 46:33–56. Independent Claim 27 contains numerous
limitations, which are integrated from claim 1 (limitations [a]–[k]) as well
as limitations from numerous dependent claims. Id. at 48:1–49:10;
Pet. 81–84.

                           E. Applied References
      Petitioner relies upon the following references:
            Sherman et al., U.S. Patent No. 4,941,236, filed July 9, 1989,
      issued July 17, 1990 (Ex. 1047, “Sherman”);
            Ohsaki et al., U.S. Patent Application Publication No.
      2001/0056243 A1, filed May 11, 2001, published December 27, 2001
      (Ex. 1014, “Ohsaki”);
            Aizawa, U.S. Patent Application Publication No.
      2002/0188210 A1, filed May 23, 2002, published December 12, 2002
      (Ex. 1006, “Aizawa”);
            Goldsmith et al., U.S. Patent Application Publication No.
      2007/0093786 A1, filed July 31, 2006, published April 26, 2007
      (Ex. 1027, “Goldsmith); and
            Y. Mendelson, et al., “Measurement Site and Photodetector
      Size Considerations in Optimizing Power Consumption of a Wearable
      Reflectance Pulse Oximeter,” Proceedings of the 25th IEEE EMBS
      Annual International Conference, 3016-3019 (2003) (Ex. 1024,
      “Mendelson-2003”).
Pet. 1–2. Petitioner also submits, inter alia, the Declaration of Thomas W.
Kenny, Ph.D. (Ex. 1003).




                                       10
       Case: 22-1976     Document: 4        Page: 440   Filed: 08/09/2022
IPR2020-01737
Patent 10,709,366 B1

                           F. Asserted Grounds
      Petitioner asserts that claims 1–27 are unpatentable based upon the
following grounds (Pet. 1–2):
 Claim(s) Challenged       35 U.S.C. §             Reference(s)/Basis
                                              Aizawa, Mendelson-2003,
 1–12, 14–27                    103
                                              Ohsaki, Goldsmith
                                              Aizawa, Mendelson-2003,
 13                             103
                                              Ohsaki, Goldsmith, Sherman


                             II. DISCUSSION
                          A. Claim Construction
      For petitions filed on or after November 13, 2018, a claim shall be
construed using the same claim construction standard that would be used to
construe the claim in a civil action under 35 U.S.C. § 282(b). 37 C.F.R.
§ 42.100(b) (2020). Petitioner submits that no claim term requires express
construction. Pet. 3.
      Based on our analysis of the issues in dispute at this stage of the
proceeding, we agree that no claim terms require express construction at this
time. Nidec Motor Corp. v. Zhongshan Broad Ocean Motor Co. Matal, 868
F.3d 1013, 1017 (Fed. Cir. 2017).

                            B. Principles of Law
      A claim is unpatentable under 35 U.S.C. § 103 if “the differences
between the subject matter sought to be patented and the prior art are such
that the subject matter as a whole would have been obvious at the time the
invention was made to a person having ordinary skill in the art to which said
subject matter pertains.” KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 406


                                       11
       Case: 22-1976      Document: 4        Page: 441   Filed: 08/09/2022
IPR2020-01737
Patent 10,709,366 B1

(2007). The question of obviousness is resolved on the basis of underlying
factual determinations, including (1) the scope and content of the prior art;
(2) any differences between the claimed subject matter and the prior art;
(3) the level of skill in the art; and (4) objective evidence of non-
obviousness. 2 Graham v. John Deere Co., 383 U.S. 1, 17–18 (1966). When
evaluating a combination of teachings, we must also “determine whether
there was an apparent reason to combine the known elements in the fashion
claimed by the patent at issue.” KSR, 550 U.S. at 418 (citing In re Kahn,
441 F.3d 977, 988 (Fed. Cir. 2006)). Whether a combination of prior art
elements would have produced a predictable result weighs in the ultimate
determination of obviousness. Id. at 416–417.
      In an inter partes review, the petitioner must show with particularity
why each challenged claim is unpatentable. Harmonic Inc. v. Avid Tech.,
Inc., 815 F.3d 1356, 1363 (Fed. Cir. 2016); 37 C.F.R. § 42.104(b). The
burden of persuasion never shifts to Patent Owner. Dynamic Drinkware,
LLC v. Nat’l Graphics, Inc., 800 F.3d 1375, 1378 (Fed. Cir. 2015).
      We analyze the challenges presented in the Petition in accordance
with the above-stated principles.

                     C. Level of Ordinary Skill in the Art
      Petitioner identifies the appropriate level of skill in the art as that
possessed by a person having “a Bachelor of Science degree in an academic
discipline emphasizing the design of electrical, computer, or software
technologies, in combination with training or at least one to two years of



2
  Patent Owner does not present objective evidence of non-obviousness at
this stage.

                                        12
        Case: 22-1976     Document: 4        Page: 442   Filed: 08/09/2022
IPR2020-01737
Patent 10,709,366 B1

related work experience with capture and processing of data or information.”
Pet. 3 (citing Ex. 1003 ¶¶ 21–22). “Alternatively, the person could have also
had a Master of Science degree in a relevant academic discipline with less
than a year of related work experience in the same discipline.” Id.
      For purposes of this Decision, we generally adopt Petitioner’s
assessment as set forth above, which appears consistent with the level of
skill reflected in the Specification and prior art.

              D. Obviousness over the Combined Teachings of
               Aizawa, Mendelson-2003, Ohsaki, and Goldsmith
      Petitioner presents undisputed contentions that claims 1–12 and 14–27
of the ’366 patent would have been obvious over the combined teachings of
Aizawa, Mendelson-2003, Ohsaki, and Goldsmith. Pet. 8–84.
                      1. Overview of Aizawa (Ex. 1006)
      Aizawa is a U.S. patent application publication titled “Pulse Wave
Sensor and Pulse Rate Detector,” and discloses a pulse wave sensor that
detects light output from a light emitting diode and reflected from a patient’s
artery. Ex. 1006, codes (54), (57).




                                        13
       Case: 22-1976      Document: 4        Page: 443   Filed: 08/09/2022
IPR2020-01737
Patent 10,709,366 B1

      Figure 1(a) of Aizawa is reproduced below.




Figure 1(a) is a plan view of a pulse wave sensor. Id. ¶ 23. As shown in
Figure 1(a), pulse wave sensor 2 includes light emitting diode (“LED”) 21,
four photodetectors 22 symmetrically disposed around LED 21, and
holder 23 for storing LED 21 and photodetectors 22. Id. Aizawa discloses
that, “to further improve detection efficiency, . . . the number of the
photodetectors 22 may be increased.” Id. ¶ 32, Fig. 4(a). “The same effect
can be obtained when the number of photodetectors 22 is 1 and a plurality of
light emitting diodes 21 are disposed around the photodetector 22.” Id. ¶ 33.




                                        14
       Case: 22-1976      Document: 4        Page: 444   Filed: 08/09/2022
IPR2020-01737
Patent 10,709,366 B1

      Figure 1(b) of Aizawa is reproduced below.




Figure 1(b) is a sectional view of the pulse wave sensor. Id. ¶ 23. As shown
in Figure 1(b), pulse wave sensor 2 includes drive detection circuit 24 for
detecting a pulse wave by amplifying the outputs of photodetectors 22. Id.
¶ 23. Arithmetic circuit 3 computes a pulse rate from the detected pulse
wave and transmitter 4 transmits the pulse rate data to an “unshown
display.” Id. The pulse rate detector further includes outer casing 5 for
storing pulse wave sensor 2, acrylic transparent plate 6 mounted to detection
face 23a of holder 23, and attachment belt 7. Id.
      Aizawa discloses that LED 21 and photodetectors 22 “are stored in
cavities 23b and 23c formed in the detection face 23a” of the pulse wave
sensor. Id. ¶ 24. Detection face 23a “is a contact side between the holder 23
and a wrist 10, respectively, at positions where the light emitting face 21s of
the light emitting diode 21 and the light receiving faces 22s of the
photodetectors 22 are set back from the above detection face 23a.” Id.
Aizawa discloses that “a subject carries the above pulse rate detector 1 on
the inner side of his/her wrist 10 . . . in such a manner that the light emitting
face 21s of the light emitting diode 21 faces down (on the wrist 10 side).”

                                        15
          Case: 22-1976   Document: 4        Page: 445   Filed: 08/09/2022
IPR2020-01737
Patent 10,709,366 B1

Id. ¶ 26. Furthermore, “the above belt 7 is fastened such that the acrylic
transparent plate 6 becomes close to the artery 11 of the wrist 10. Thereby,
adhesion between the wrist 10 and the pulse rate detector 1 is improved.”
Id. ¶¶ 26, 34.
                 2. Overview of Mendelson-2003 (Ex. 1024)
      Mendelson-2003 is a journal article titled “Measurement Site and
Photodetector Size Considerations in Optimizing Power Consumption of a
Wearable Reflectance Pulse Oximeter,” which discusses a pulse oximeter
sensor in which “battery longevity could be extended considerably by
employing a wide annularly shaped photodetector ring configuration and
performing SpO2 measurements from the forehead region.” Ex. 1024,
3016. 3
      Mendelson-2003 explains that pulse oximetry uses sensors to monitor
oxygen saturation (SpO2), where the sensor typically includes light emitting
diodes (LED) and a silicon photodetector (PD). Id. According to
Mendelson-2003, when designing a pulse oximeter, it is important to offer
“low power management without compromising signal quality.” Id. at 3017.
“However, high brightness LEDs commonly used in pulse oximeters
require[] relatively high current pulses, typically in the range between 100–
200mA. Thus, minimizing the drive currents supplied to the LEDs would
contribute considerably toward the overall power saving in the design of a
more efficient pulse oximeter.” To achieve this goal, Mendelson-2003
discusses previous studies in which
      the driving currents supplied to the LEDs . . . could be lowered
      significantly without compromising the quality of the

3
 We adopt Petitioner’s citation format by referring to the original page
numbering and not Petitioner’s added page numbering at the bottom.

                                        16
       Case: 22-1976     Document: 4        Page: 446   Filed: 08/09/2022
IPR2020-01737
Patent 10,709,366 B1

      [photoplethysmographic or PPG signals] by increasing the
      overall size of the PD . . . . Hence, by maximizing the light
      collected by the sensor, a very low power-consuming sensor
      could be developed, thereby extending the overall battery life of
      a pulse oximeter intended for telemedicine applications.
Id.
      Mendelson-2003 discloses the prototype of such a sensor in Figure 1,
which is reproduced below, and served as the basis for the studies evaluated
in Mendelson-2003.




Figure 1 of Mendelson-2003 depicts a sensor configuration showing the
relative positions of its PDs and LEDs. Id. As shown in Figure l, “six PDs
were positioned in a close inner-ring configuration at a radial distance of
6.0mm from the LEDs. The second set of six PDs spaced equally along an
outer-ring, separated from the LEDs by a radius of 10.0mm.” Id.
Mendelson-2003 also explains that “[e]ach cluster of six PDs were wired in
parallel and connected through a central hub to the common summing input
of a current-to-voltage converter.” Id.
      Mendelson-2003 reports the results of the studies as follows:
             Despite the noticeable differences between the PPG
      signals measured from the wrist and forehead, the data plotted in
      Fig. 3 also revealed that considerable stronger PPGs could be
      obtained by widening the active area of the PD which helps to
      collect a bigger proportion of backscattered light intensity. The
      additional increase, however, depends on the area and relative
      position of the PD with respect to the LEDs. For example,


                                       17
       Case: 22-1976     Document: 4        Page: 447   Filed: 08/09/2022
IPR2020-01737
Patent 10,709,366 B1

      utilizing the outer-ring configuration, the overall increase in the
      average amplitudes of the R and IR PPGs measured from the
      forehead region was 23% and 40%, respectively. Similarly, the
      same increase in PD area produced an increase in the PPG signals
      measured from the wrist, but with a proportional higher increase
      of 42% and 73%.
Id. at 3019.

                     3. Overview of Ohsaki (Ex. 1014)
      Ohsaki is a U.S. patent application publication titled “Wristwatch-type
Human Pulse Wave Sensor Attached on Back Side of User’s Wrist,” and
discloses an optical sensor for detecting a pulse wave of a human body.
Ex. 1014, code (54), ¶ 3. Figure 1 of Ohsaki is reproduced below.




Figure 1 illustrates a cross-sectional view of pulse wave sensor 1 attached on
the back side of user’s wrist 4. Id. ¶¶ 12, 16. Pulse wave sensor 1 includes
detecting element 2 and sensor body 3. Id. ¶ 16.




                                       18
       Case: 22-1976      Document: 4        Page: 448   Filed: 08/09/2022
IPR2020-01737
Patent 10,709,366 B1

      Figure 2 of Ohsaki, reproduced below, illustrates further detail of
detecting element 2.




Figure 2 illustrates a mechanism for detecting a pulse wave. Id. ¶ 13.
Detecting element 2 includes package 5, light emitting element 6, light
receiving element 7, and translucent board 8. Id. ¶ 17. Light emitting
element 6 and light receiving element 7 are arranged on circuit board 9
inside package 5. Id. ¶¶ 17, 19.
      “[T]ranslucent board 8 is a glass board which is transparent to light,
and attached to the opening of the package 5. A convex surface is formed
on the top of the translucent board 8.” Id. ¶ 17. “[T]he convex surface of
the translucent board 8 is in intimate contact with the surface of the user’s
skin,” preventing detecting element 2 from slipping off the detecting
position of the user’s wrist 4. Id. ¶ 25. By preventing the detecting element
from moving, the convex surface suppresses “variation of the amount of the
reflected light which is emitted from the light emitting element 6 and
reaches the light receiving element 7 by being reflected by the surface of the
user’s skin.” Id. Additionally, the convex surface prevents penetration by
“noise such as disturbance light from the outside.” Id.


                                        19
       Case: 22-1976     Document: 4        Page: 449   Filed: 08/09/2022
IPR2020-01737
Patent 10,709,366 B1

      Sensor body 3 is connected to detecting element 2 by signal line 13.
Id. ¶ 20. Signal line 13 connects detecting element 2 to drive circuit 11,
microcomputer 12, and a monitor display (not shown). Id. Drive circuit 11
drives light emitting element 6 to emit light toward wrist 4. Id. Detecting
element 2 receives reflected light which is used by microcomputer 12 to
calculate pulse rate. Id. “The monitor display shows the calculated pulse
rate.” Id.

                          4. Goldsmith (Ex. 1027)
      Goldsmith is a U.S. patent application publication titled “Watch
Controller for a Medical Device,” and discloses a watch controller device
that communicates with an infusion device to “provid[e] convenient
monitoring and control of the infusion pump device.” Ex. 1027, code (57).
      Goldsmith’s Figure 9A is reproduced below.




Figure 9A is a front view of a combined watch and controller device. Id.
¶ 30. As shown in Figure 9A, watch controller 900 includes housing 905,



                                       20
       Case: 22-1976      Document: 4        Page: 450   Filed: 08/09/2022
IPR2020-01737
Patent 10,709,366 B1

transparent member 950, display 910, rear-side cover 960, input
devices 925a–c, 930, and wrist band 940. Id. ¶¶ 85–86, Fig. 9B.
      Goldsmith discloses that the watch controller may interact with one or
more devices, such as infusion pumps or analyte monitors. Id. ¶ 85; see also
id. ¶ 88 (“The analyte sensing device 1060 may be adapted to receive data
from a sensor, such as a transcutaneous sensor.”). Display 910 “may display
at least a portion of whatever information and/or graph is being displayed on
the infusion device display or on the analyte monitor display,” such as, e.g.,
levels of glucose. Id. ¶ 86. Additionally, the watch controller may
communicate with a remote station, e.g., a computer, to allow data
downloading. Id. ¶ 89 (including wireless).

                           5. Independent Claim 1

      Petitioner presents undisputed contentions that claim 1 would have
been obvious over the combined teachings of Aizawa, Mendelson-2003,
Ohsaki, and Goldsmith. Pet. 38–53. Petitioner’s showing includes
persuasive reasoning, on the current record, for combining the references in
the manners proposed. Pet. 18–38.

                   i.“A noninvasive physiological parameter measurement
                     device adapted to be worn by a wearer, the noninvasive
                     physiological parameter measurement device
                     comprising”
      On this record, the cited evidence supports Petitioner’s undisputed
contention that “Aizawa discloses a pulse sensor that is designed to ‘detect[]
the pulse wave of a subject from light reflected from a red corpuscle in the
artery of a wrist of the subject by irradiating the artery of the wrist,’” and
that Goldsmith teaches an analyte sensor that is part of a user-worn


                                        21
         Case: 22-1976     Document: 4        Page: 451   Filed: 08/09/2022
IPR2020-01737
Patent 10,709,366 B1

controller device that includes, e.g., a display. 4 Pet. 39 (quoting Ex. 1006
¶ 2); see also Ex. 1006 ¶ 27 (discussing optical path), Fig. 2 (depicting
physiological parameter measurement device worn by a user); Ex. 1027
¶¶ 85 (“a watch”), 88 (“analyte sensing device 1060”), Fig. 9A; Ex. 1003
¶ 94.
        Petitioner further contends that a person of ordinary skill in the art
would have found it obvious to incorporate Aizawa’s sensor “into
Goldsmith’s integrated wrist-worn watch controller device that includes,
among other features, a touch screen, network interface, and storage device”
in order to receive and display data sensed by Aizawa’s sensor. Pet. 31–34;
see, e.g., Ex. 1003 ¶¶ 88–89 (“would have enhanced the sensor’s utility and
improved the user’s experience”). According to Petitioner, this would have
“enable[d] a user to view and interact with heart rate data during exercise via
the Goldsmith’s touch-screen display, and to enable heart rate data to be
monitored by the user and/or others through any of the devices with which
Goldsmith’s device can communicate.” Pet. 34; see, e.g., Ex. 1003 ¶ 89.
Petitioner asserts this would have been use of a known technique to improve
similar devices in the same way. Pet. 35; see, e.g., Ex. 1003 ¶ 90; see also
Pet. 35–38 (also discussing physical incorporation); see, e.g., Ex. 1003
¶¶ 90–93 (same).
        At this stage of the proceeding, Petitioner’s stated reasoning for the
proposed modification is sufficiently supported, including by the unrebutted
testimony of Dr. Kenny. See, e.g., Ex. 1003 ¶¶ 88–94.



4
  Whether the preamble is limiting need not be resolved at this stage of the
proceeding because Petitioner shows sufficiently for purposes of institution
that the recitation in the preamble is satisfied by the prior art.

                                         22
        Case: 22-1976     Document: 4        Page: 452   Filed: 08/09/2022
IPR2020-01737
Patent 10,709,366 B1

                 ii.“[a] one or more light emitters”
                    and
                    “[b] a substrate having a surface”
      On this record, the cited evidence supports Petitioner’s undisputed
contention that Aizawa discloses that its sensor includes LED 21 that emits
light that is picked up by photodetectors. Pet. 40; see, e.g., Ex. 1006 ¶ 23
(“LED 21 . . . for emitting light having a wavelength of a near infrared
range”), 27 (explaining that light is emitted toward the wrist), Fig. 1(b)
(depicting emitter 21 facing user tissue 10), Fig. 2 (depicting sensor worn on
user’s wrist).
      Petitioner sufficiently shows on this record that a person of ordinary
skill in the art would have understood that Aizawa’s surface would include a
substrate on which the detectors are arranged. Pet. 41. Petitioner relies on
annotated Figure 1(b) of Aizawa, reproduced below.




Petitioner’s annotated Figure 1(b) shows detectors highlighted in red and a
substrate surface unnumbered but highlighted in brown. Pet. 41. Dr. Kenny
likewise testifies that Aizawa teaches “a substrate having surface (shown in
brown) on which the holder 23 is placed and on which the detectors/
photodiodes are arranged.” Ex. 1003 ¶ 96.



                                        23
        Case: 22-1976        Document: 4        Page: 453   Filed: 08/09/2022
IPR2020-01737
Patent 10,709,366 B1

                     iii.[c] a first set of photodiodes arranged on the surface and
                         spaced apart from each other, wherein: [d] the first set
                         of photodiodes comprises at least four photodiodes, and”

                       “[f] a second set of photodiodes arranged on the surface
                       and spaced apart from each other, wherein: [g] the
                       second set of photodiodes comprises at least four
                       photodiodes,”
       On this record, the cited evidence supports Petitioner’s undisputed
contentions regarding this limitation. Pet. 18–25, 38–50. Specifically,
Petitioner contends that Aizawa discloses a first set of four photodiodes that
are circularly arranged around a central emitter. Id. at 18–19; see, e.g.,
Ex. 1006 ¶ 23 (“four phototransistors 22”), Figs. 1(a)–1(b) (depicting
detectors 22 surrounding LED 21). Petitioner contends that Aizawa teaches
that eight or more detectors may be used to improve detection efficiency, but
does not expressly teach a “second set of photodiodes,” as claimed. Pet. 20–
21; see, e.g., Ex. 1006 ¶ 32 (“the number of the photodetectors 22 may be
increased”), Fig. 4(a).
       According to Petitioner, Mendelson-2003 teaches two rings of
photodiodes, which improve light collection efficiency, permit use of lower
brightness LEDs, and reduce power consumption. Pet. 21–22; see, e.g.,
Ex. 1024, 3017 (“[S]ix PDs [(photodetectors)] were positioned in a close
inner-ring configuration . . . The second set of six PDs [were] spaced equally
along an outer-ring.”), 3019 (explaining that “considerabl[y] stronger
[photoplethysmographic signals] could be obtained by widening the active
area of the PD which helps to collect a bigger proportion of backscattered
light intensity”).
       In view of these teachings, Petitioner contends, with reference to the
modified and annotated figure reproduced below, that a person of ordinary

                                           24
       Case: 22-1976     Document: 4        Page: 454   Filed: 08/09/2022
IPR2020-01737
Patent 10,709,366 B1

skill in the art would have found it obvious to modify Aizawa to include an
additional ring of detectors (a “second set”) because this would have been
“the use of known solutions to improve similar systems and methods in the
same way,” and would have led to benefits “in terms of achieving ‘power
savings in the design of a more efficient’ pulse sensing device,” wherein
“the power consumption of a wrist-based pulse sensing device as in Aizawa
can be reduced through use of a less bright and, hence, lower power-
consuming LED.” Pet. 23–25; Ex. 1003 ¶¶ 72, 74–75.




Petitioner’s modified and annotated figure depicts Aizawa’s sensor with
Aizawa’s first set of photodiodes (depicted as connected by a green ring)
and modified to include a second set of photodiodes as taught by
Mendelson-2003 (depicted as connected by a red ring). Pet. 23–24, 42, 49.
      At this stage of the proceeding, Petitioner’s stated reasoning for the
proposed modification is sufficiently supported, including by the unrebutted
testimony of Dr. Kenny. See, e.g., Ex. 1003 ¶¶ 72, 74–75, 97–100, 107–109.

                iv.“[e] the photodiodes of the first set of photodiodes are
                   connected to one another in parallel to provide a first
                   signal stream responsive to light from at least one of the
                   one or more light emitters attenuated by body tissue;”
                   and

                                       25
       Case: 22-1976      Document: 4        Page: 455   Filed: 08/09/2022
IPR2020-01737
Patent 10,709,366 B1

                    “[h] the photodiodes of the second set of photodiodes are
                    connected to one another in parallel to provide a second
                    signal stream responsive to light from at least one of the
                    one or more light emitters attenuated by body tissue”
      On this record, the cited evidence supports Petitioner’s undisputed
contention that Mendelson-2003 discloses that each set of photodiodes are
connected in parallel to provide a first signal stream and a second signal
stream. Pet. 43–48, 50; Ex. 1024, 3017 (“Each cluster of six PDs were
wired in parallel and connected through a central hub to the common
summing input of a current-to-voltage converter.”); see also Pet. 41–46
(additional contentions); Ex. 1003 ¶¶ 101–106, 110.
      Dr. Kenny testifies that a person of ordinary skill in the art would
have known that connecting multiple photodiodes together in parallel allows
the current generated by the multiple photodiodes in the first set to be added
to one another, thereby resulting in a larger total current akin to what would
be generated from a single, large detector. Id. ¶ 102. Further, Dr. Kenny
testifies that in light of Mendelson-2003’s teaching that each cluster of six
photodiodes may be wired in parallel and connected through a central hub, a
person of ordinary skill in the art would have found that wiring two rings of
photodiodes such that each ring of detectors were wired in parallel to be a
routine and conventional design choice. Id. ¶ 103 (“Mendelson-2003, whose
sensitivity-enhancing photodiode arrangement configuration is being used to
modify Aizawa, expressly teaches that the photodiodes in each of the two
sets (i.e., rings) of photodiodes are connected to one another in parallel,
thereby providing a distinct signal stream for each set/ring.”).
      Petitioner contends that a person of ordinary skill in the art would
have recognized that there can be multiple benefits to separately transmitting


                                        26
       Case: 22-1976      Document: 4        Page: 456   Filed: 08/09/2022
IPR2020-01737
Patent 10,709,366 B1

signal streams from the near and far detectors. Pet. 45. Petitioner contends
a person of ordinary skill in the art would have recognized that “monitoring
each signal stream (from each ring of detectors) separately allows the system
to determine when the sensor device is so severely located that its position
should be adjusted.” Pet. 45–46 (citing Ex. 1003 ¶ 104; Ex. 1025, 13:19–
30). Petitioner further contends that in the modified Aizawa-Mendelson-
2003 system, the inner ring is likely to produce far greater currents
compared to the outer ring. Pet. 47. Thus, in certain implementations, it
would have been beneficial to keep each ring separately wired and
connected to its own amplifier to thereby keep the magnitude of the current
signals provided by each ring approximately the same before being
combined and transmitted to the arithmetic circuit. Pet. 47–48; Ex. 1003
¶ 106 (explaining that “if all the photodiodes in both the first and second
rings in the modified Aizawa’s sensor device are connected together in
parallel . . . signals detected by the near/first sets of detectors may drown out
the weaker signals coming from the far/second sets of detectors”).
      At this stage of the proceeding, Petitioner’s stated reasoning for the
proposed modification is sufficiently supported, including by the unrebutted
testimony of Dr. Kenny. See, e.g., Ex. 1003 ¶¶ 101–110.

                  v. “[i] at least one of the first signal stream or the second
                    signal stream includes information usable to determine a
                    physiological parameter of a wearer of the noninvasive
                    physiological parameter measurement device;”
      On this record, the cited evidence supports Petitioner’s undisputed
contention that Aizawa discloses a signal stream usable to determine at least
pulse rate. Pet. 43–48, 51. Petitioner contends that “Aizawa teaches that a
‘drive detection circuit 24’ is used for ‘amplifying the outputs [i.e., signal

                                        27
         Case: 22-1976   Document: 4        Page: 457   Filed: 08/09/2022
IPR2020-01737
Patent 10,709,366 B1

stream] of the photodetectors’ and transmitting the amplified data to the
arithmetic circuit 3, which computes the pulse rate, which is a physiological
parameter.” Pet. 51 (quoting Ex. 1006 ¶¶ 23, 28) (citing Ex. 1003 ¶ 111
(“Because the signal stream from Aizawa’s detectors can be used to
calculate pulse rate, it represents information usable to determine a
physiological parameter of a wearer of the noninvasive physiological
parameter measurement device.”)).

                 vi.“[j] a wall extending from the surface and configured to
                    surround at least the first and second sets of
                    photodiodes; and”
      On this record, the cited evidence also supports Petitioner’s contention
that Aizawa discloses a wall that surrounds the photodiodes, including the
second set as suggested by the combined teachings of Aizawa and
Mendelson-2003. Pet. 51–52; see, e.g., Ex. 1006 ¶ 23 (“holder 23 for
storing” LED 21 and detectors 22), Fig. 1(b) (depicting periphery of holder
23 surrounding the sensor components, including detectors 22, which are
positioned on a surface); Ex. 1003 ¶¶ 100–102, 112. Petitioner contends that
“[t]he outer periphery of Aizawa’s holder 23 provides a circular wall
(purple) that surrounds at least the first and second sets of photodiodes,” and
provides an annotated version of Aizawa’s Figure 1(a), which is reproduced
below.




                                       28
       Case: 22-1976      Document: 4        Page: 458   Filed: 08/09/2022
IPR2020-01737
Patent 10,709,366 B1




Petitioner’s modified and annotated Figure 1(a) of Aizawa depicts a wall
(purple) surrounding both the first set of photodiodes and the second set of
photodiodes. Pet. 52. Petitioner likewise contends that the identified wall
extends from the surface of the substrate. Id.

                 vii.“[k] a cover arranged to cover at least a portion of the
                     surface of the substrate, wherein the cover comprises a
                     protrusion that extends over all of the photodiodes of the
                     first and second sets of photodiodes arranged on the
                     surface, and wherein the cover is further configured to
                     cover the wall.”
      On this record, the cited evidence supports Petitioner’s undisputed
contentions regarding this limitation. Pet. 25–31, 52–53. Specifically,
Petitioner contends that Aizawa “teaches a light permeable cover in the form
of an acrylic transparent plate 6 . . . that is mounted at the detection face
23a” of the sensor, i.e., between the tissue of a user and the photodetectors.
Pet. 10–11; Ex. 1003 ¶ 52; Ex. 1006 ¶ 34 (“[A]crylic transparent plate 6 is
provided on the detection face 23a of the holder 23 to improve adhesion to
the wrist 10.”), Fig. 1(b) (depicting flat, transparent plate 6 between sensor 2
and wrist 10). Petitioner also contends that Ohsaki teaches a wrist-worn
sensor that includes a “translucent board” having a convex surface that

                                        29
       Case: 22-1976      Document: 4        Page: 459   Filed: 08/09/2022
IPR2020-01737
Patent 10,709,366 B1

contacts the user’s skin to prevent slippage of the sensor. Pet. 14, 26–27;
see, e.g., Ex. 1014 ¶¶ 16 (“worn on the back side of the user’s wrist”), 17
(“convex surface”), 25 (“intimate contact” prevents slippage), Figs. 1–2
(depicting convex translucent board 8 between user’s tissue and detector).
      Petitioner further contends, with reference to the modified and
annotated figures reproduced below, that a person of ordinary skill in the art
“would have found it obvious to modify [Aizawa’s] sensor’s flat cover (left)
to include a lens/protrusion (right), similar to Ohsaki’s translucent board 8,
so as to improve adhesion between the user’s wrist and the sensor’s surface,
improve detection efficiency, and protect the elements within the sensor
housing.” Pet. 28–29; see, e.g., Ex. 1003 ¶¶ 79–80.




Petitioner’s modified and annotated figures depict Aizawa’s sensor as shown
in Figure 1(b), modified to include a convex cover. Pet. 29; see, e.g.,
Ex. 1014 ¶¶ 18 (explaining that outside disturbance light is prevented from
penetrating the translucent board because “the surface of the translucent
board 8 is in intimate contact with the surface of the user’s skin”), 25 (“[Due
to the] convex surface . . . the variation of the amount of the reflected light
which is emitted from the light emitting element 6 and reaches the light
receiving element 7 by being reflected by the surface of the user’s skin is
suppressed [and] [i]t is also prevented that noise such as disturbance light
from the outside penetrates the translucent board 8. Therefore, the pulse


                                        30
       Case: 22-1976     Document: 4        Page: 460   Filed: 08/09/2022
IPR2020-01737
Patent 10,709,366 B1

wave can be detected without being affected.”); Ex. 1003 ¶¶ 77, 80; see also
Pet. 26–29 (discussing further motivation and reasoning). Petitioner
contends that, in the combination, the cover would extend over all of the
photodiodes. Pet. 53; Ex. 1003 ¶¶ 114–115.
      Petitioner also contends that combining these teachings “would have
amounted to nothing more than the use of a known technique to improve
similar devices in the same way.” Pet. 29; see, e.g., Ex. 1003 ¶ 80.
Petitioner contends that “the elements of the combined system would each
perform similar functions they had been known to perform prior to the
combination—Aizawa-Mendelson-2003’s transparent plate 6 would remain
in the same position, performing the same function, but with a convex
surface as taught by Ohsaki.” Pet. 29.
      At this stage of the proceeding, Petitioner’s stated reasoning for the
proposed modification is sufficiently supported, including by the unrebutted
testimony of Dr. Kenny. See, e.g., Ex. 1003 ¶¶ 52, 77–80, 114–115.

               viii. Summary
      For the foregoing reasons, we are persuaded that Petitioner’s cited
evidence and reasoning demonstrates a reasonable likelihood that Petitioner
would prevail in its contentions regarding claim 1.

                        6. Claims 2–12 and 14–27
      Petitioner presents undisputed contentions that independent claims 14
and 27, and dependent claims 2–12 and 15–26, which depend directly or
indirectly from independent claim 1 or 14, are unpatentable over the
combined teachings of Aizawa, Mendelson-2003, Ohsaki, and Goldsmith,
and provides arguments explaining how the references teach the limitations


                                       31
         Case: 22-1976    Document: 4        Page: 461   Filed: 08/09/2022
IPR2020-01737
Patent 10,709,366 B1

of these claims. Pet. 54–84; Ex. 1003 ¶¶ 116–210. Patent Owner does not
offer, at this stage, any arguments addressing Petitioner’s substantive
showing. See PO Waiver. Claim 14 is similar to claim 1, but further adds
limitations related to “one or more processors.” Ex. 1001, 46:33–56; see
also Pet. 75–76. For reasons substantially similar to those discussed
regarding claim 1, we find Petitioner’s contentions regarding claim 14
persuasive based on the current record. Pet. 75–76; Ex. 1003 ¶¶ 149–157.
        As discussed in detail above, Petitioner has demonstrated a reasonable
likelihood of prevailing on the challenge as to claims 1 and 14. Therefore,
we institute as to all claims challenged in the petition and on all grounds in
the petition. See PTAB Consolidated Trial Practice Guide (Nov. 2019)
(“Consolidated Guide”), 5 5–6, 64.

                            E. Additional Ground
        Petitioner provides arguments and evidence, including the Kenny
Declaration, in support of Petitioner’s additional ground challenging
dependent claim 13 of the ’366 patent. Pet. 84–88; Ex. 1003 ¶¶ 211–216.
Patent Owner does not offer, at this stage, any arguments addressing
Petitioner’s substantive showing. PO Waiver. We have reviewed these
arguments and the cited evidence, and we determine Petitioner has
demonstrated a reasonable likelihood of prevailing as to this contention. We
institute review of claim 13 based on this ground. See SAS, 138 S. Ct. 1348;
Consolidated Practice Guide, 5–6, 64.




5
    Available at https://www.uspto.gov/TrialPracticeGuideConsolidated.

                                        32
         Case: 22-1976    Document: 4         Page: 462   Filed: 08/09/2022
IPR2020-01737
Patent 10,709,366 B1

                             III. CONCLUSION
       The Supreme Court held that a final written decision under 35 U.S.C.
§ 318(a) must decide the patentability of all claims challenged in the
petition. See SAS, 138 S. Ct. 1348. After considering the evidence and
arguments presented in the Petition, we determine that Petitioner has
demonstrated a reasonable likelihood of success in proving that at least
claims 1 and 14 of the ’366 patent are unpatentable. Accordingly, we
institute an inter partes review of all claims and all grounds set forth in the
Petition. 6
       At this stage of the proceeding, we have not made a final
determination as to the patentability of any challenged claim or as to the
construction of any claim term.

                                  IV. ORDER
       In consideration of the foregoing, it is hereby:
       ORDERED that, pursuant to 35 U.S.C. § 314(a), an inter partes
review of claims 1–27 of the ’366 patent is instituted with respect to all
grounds set forth in the Petition; and
       FURTHER ORDERED that, pursuant to 35 U.S.C. § 314(c) and
37 C.F.R. § 42.4(b), inter partes review of the ’366 patent shall commence
on the entry date of this Order, and notice is hereby given of the institution
of a trial.

6
  The Petition addresses the Board’s discretion under 35 U.S.C. §§ 314(a)
and 325(d). See Pet. 88–93. Patent Owner does not argue that we should
exercise discretion to deny institution of inter partes review. See PO
Waiver. Accordingly, we do not consider exercising discretion to deny
institution of inter partes review under 35 U.S.C. §§ 314(a) and 325(d) any
further.

                                         33
      Case: 22-1976    Document: 4        Page: 463   Filed: 08/09/2022
IPR2020-01737
Patent 10,709,366 B1

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                                     34
        Case: 22-1976   Document: 4        Page: 464   Filed: 08/09/2022




                                                              Filed June 28, 2022

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         UNITED STATES PATENT AND TRADEMARK OFFICE


          BEFORE THE PATENT TRIAL AND APPEAL BOARD


                              APPLE INC.
                               Petitioner,

                                      v.

                        MASIMO CORPORATION,
                             Patent Owner.


                            IPR2020-01713
                         U.S. Patent 10,624,564


           PATENT OWNER’S NOTICE OF APPEAL TO
    THE U.S. COURT OF APPEALS FOR THE FEDERAL CIRCUIT
          Case: 22-1976     Document: 4       Page: 465   Filed: 08/09/2022




      Pursuant to 28 U.S.C. § 1295(a)(4)(A), 35 U.S.C. §§ 141(c), 142, and 319,

37 C.F.R. §§ 90.2(a) and 90.3, and Rule 4(a) of the Federal Rules of Appellate

Procedure, Patent Owner Masimo Corporation (“Masimo”) hereby appeals to the

United States Court of Appeals for the Federal Circuit from the Judgment – Final

Written Decision (Paper 31) entered on May 2, 2022 (Attachment A) and from all

underlying orders, decisions, rulings, and opinions that are adverse to Masimo

related thereto and included therein, including those within the Decision Granting

Institution of Inter Partes Review, entered May 5, 2021 (Paper 7).            Masimo

appeals the Patent Trial and Appeal Board’s determination that claims 1-30 of U.S.

Patent 10,624,564 are unpatentable, and all other findings and determinations,

including but not limited to claim construction, as well as all other issues decided

adverse to Masimo’s position or as to which Masimo is dissatisfied in IPR2020-

01713 involving Patent 10,624,564.

      Masimo is concurrently providing true and correct copies of this Notice of

Appeal, along with the required fees, to the Director of the United States Patent

and Trademark Office and the Clerk of the United States Court of Appeals for the

Federal Circuit.




                                        -1-
         Case: 22-1976   Document: 4     Page: 466   Filed: 08/09/2022




                             Respectfully submitted,

                             KNOBBE, MARTENS, OLSON & BEAR, LLP

Dated: June 28, 2022         /Jarom Kesler/
                             Jarom D. Kesler (Reg. No. 57,046)

                             Attorney for Patent Owner
                             Masimo Corporation




                                   -2-
          Case: 22-1976     Document: 4     Page: 467   Filed: 08/09/2022




                          CERTIFICATE OF SERVICE

      I hereby certify that the original of this Notice of Appeal was filed via

U.S.P.S. Priority Mail Express on June 28, 2022 with the Director of the United

States Patent and Trademark Office at the address below:

Office of the Solicitor
United States Patent and Trademark Office
Mail Stop 8, P.O. Box 1450
Alexandria, Virginia 22313-1450

      A copy of this Notice of Appeal is being filed and served on June 28, 2022

as follows:

To the USPTO Patent Trial and Appeal Board:
Patent Trial and Appeal Board
Madison Building East
600 Dulany Street
Alexandria, VA 22313

(via PTABe2e – as authorized by the Board)

To the U.S. Court of Appeals for the Federal Circuit:
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           Case: 22-1976    Document: 4       Page: 468   Filed: 08/09/2022




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Dated: June 28, 2022                   /Jarom Kesler/
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        Case: 22-1976   Document: 4        Page: 469   Filed: 08/09/2022




                                                              Filed June 28, 2022

On behalf of:
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By: Jarom D. Kesler (Reg. No. 57,046)
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         UNITED STATES PATENT AND TRADEMARK OFFICE


         BEFORE THE PATENT TRIAL AND APPEAL BOARD


                              APPLE INC.
                               Petitioner,

                                      v.

                        MASIMO CORPORATION,
                             Patent Owner.


                            IPR2020-01716
                         U.S. Patent 10,702,194


           PATENT OWNER’S NOTICE OF APPEAL TO
    THE U.S. COURT OF APPEALS FOR THE FEDERAL CIRCUIT
          Case: 22-1976     Document: 4       Page: 470   Filed: 08/09/2022




      Pursuant to 28 U.S.C. § 1295(a)(4)(A), 35 U.S.C. §§ 141(c), 142, and 319,

37 C.F.R. §§ 90.2(a) and 90.3, and Rule 4(a) of the Federal Rules of Appellate

Procedure, Patent Owner Masimo Corporation (“Masimo”) hereby appeals to the

United States Court of Appeals for the Federal Circuit from the Judgment – Final

Written Decision (Paper 35) entered on April 28, 2022 (Attachment A) and from

all underlying orders, decisions, rulings, and opinions that are adverse to Masimo

related thereto and included therein, including those within the Decision Granting

Institution of Inter Partes Review, entered May 5, 2021 (Paper 7).            Masimo

appeals the Patent Trial and Appeal Board’s determination that claims 1-30 of U.S.

Patent 10,702,194 are unpatentable, and all other findings and determinations,

including but not limited to claim construction, as well as all other issues decided

adverse to Masimo’s position or as to which Masimo is dissatisfied in IPR2020-

01716 involving Patent 10,702,194.

      Masimo is concurrently providing true and correct copies of this Notice of

Appeal, along with the required fees, to the Director of the United States Patent

and Trademark Office and the Clerk of the United States Court of Appeals for the

Federal Circuit.




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         Case: 22-1976   Document: 4     Page: 471   Filed: 08/09/2022




                             Respectfully submitted,

                             KNOBBE, MARTENS, OLSON & BEAR, LLP

Dated: June 28, 2022         /Jarom Kesler/
                             Jarom D. Kesler (Reg. No. 57,046)

                             Attorney for Patent Owner
                             Masimo Corporation




                                   -2-
           Case: 22-1976     Document: 4    Page: 472   Filed: 08/09/2022




                           CERTIFICATE OF SERVICE

      I hereby certify that the original of this Notice of Appeal was filed via

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States Patent and Trademark Office at the address below:

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United States Patent and Trademark Office
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Patent Trial and Appeal Board
Madison Building East
600 Dulany Street
Alexandria, VA 22313

(via PTABe2e – as authorized by the Board)

To the U.S. Court of Appeals for the Federal Circuit:
Clerk of Court
U.S. Court of Appeals for the Federal Circuit
717 Madison Place, N.W.
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(via CM/ECF – with filing fee)

Counsel for Petitioner Apple, Inc.
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           Case: 22-1976    Document: 4       Page: 473   Filed: 08/09/2022




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(via email pursuant to 37 C.F.R. § 42.6(e))



Dated: June 28, 2022                   /Jarom Kesler/
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                                       Attorney for Patent Owner
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        Case: 22-1976   Document: 4        Page: 474   Filed: 08/09/2022




                                                              Filed June 28, 2022

On behalf of:
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By: Jarom D. Kesler (Reg. No. 57,046)
     Stephen W. Larson (Reg. No. 69,133)
     Stephen C. Jensen (Reg. No. 35,556)
     Joseph R. Re (Reg. No. 31,291)
     Jacob L. Peterson (Reg. No. 65,096)
     KNOBBE, MARTENS, OLSON & BEAR, LLP
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         UNITED STATES PATENT AND TRADEMARK OFFICE


         BEFORE THE PATENT TRIAL AND APPEAL BOARD


                              APPLE INC.
                               Petitioner,

                                      v.

                        MASIMO CORPORATION,
                             Patent Owner.


                            IPR2020-01733
                         U.S. Patent 10,702,195


           PATENT OWNER’S NOTICE OF APPEAL TO
    THE U.S. COURT OF APPEALS FOR THE FEDERAL CIRCUIT
          Case: 22-1976     Document: 4       Page: 475   Filed: 08/09/2022




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Institution of Inter Partes Review, entered May 5, 2021 (Paper 7).            Masimo

appeals the Patent Trial and Appeal Board’s determination that claims 1-17 of U.S.

Patent 10,702,195 are unpatentable, and all other findings and determinations,

including but not limited to claim construction, as well as all other issues decided

adverse to Masimo’s position or as to which Masimo is dissatisfied in IPR2020-

01733 involving Patent 10,702,195.

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and Trademark Office and the Clerk of the United States Court of Appeals for the

Federal Circuit.




                                        -1-
         Case: 22-1976   Document: 4     Page: 476   Filed: 08/09/2022




                             Respectfully submitted,

                             KNOBBE, MARTENS, OLSON & BEAR, LLP

Dated: June 28, 2022         /Jarom Kesler/
                             Jarom D. Kesler (Reg. No. 57,046)

                             Attorney for Patent Owner
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                                   -2-
          Case: 22-1976     Document: 4     Page: 477   Filed: 08/09/2022




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(via CM/ECF – with filing fee)

Counsel for Petitioner Apple, Inc.
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(via email pursuant to 37 C.F.R. § 42.6(e))



Dated: June 28, 2022                   /Jarom Kesler /
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        Case: 22-1976   Document: 4        Page: 479   Filed: 08/09/2022




                                                              Filed June 28, 2022

On behalf of:
     Patent Owner Masimo Corporation
By: Jarom D. Kesler (Reg. No. 57,046)
     Stephen W. Larson (Reg. No. 69,133)
     Stephen C. Jensen (Reg. No. 35,556)
     Joseph R. Re (Reg. No. 31,291)
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         UNITED STATES PATENT AND TRADEMARK OFFICE


         BEFORE THE PATENT TRIAL AND APPEAL BOARD


                              APPLE INC.
                               Petitioner,

                                      v.

                        MASIMO CORPORATION,
                             Patent Owner.


                            IPR2020-01737
                         U.S. Patent 10,709,366


           PATENT OWNER’S NOTICE OF APPEAL TO
    THE U.S. COURT OF APPEALS FOR THE FEDERAL CIRCUIT
          Case: 22-1976     Document: 4       Page: 480   Filed: 08/09/2022




      Pursuant to 28 U.S.C. § 1295(a)(4)(A), 35 U.S.C. §§ 141(c), 142, and 319,

37 C.F.R. §§ 90.2(a) and 90.3, and Rule 4(a) of the Federal Rules of Appellate

Procedure, Patent Owner Masimo Corporation (“Masimo”) hereby appeals to the

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Written Decision (Paper 33) entered on May 4, 2022 (Attachment A) and from all

underlying orders, decisions, rulings, and opinions that are adverse to Masimo

related thereto and included therein, including those within the Decision Granting

Institution of Inter Partes Review, entered May 12, 2021 (Paper 7). Masimo

appeals the Patent Trial and Appeal Board’s determination that claims 1-27 of U.S.

Patent 10,709,366 are unpatentable, and all other findings and determinations,

including but not limited to claim construction, as well as all other issues decided

adverse to Masimo’s position or as to which Masimo is dissatisfied in IPR2020-

01737 involving Patent 10,709,366.

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Appeal, along with the required fees, to the Director of the United States Patent

and Trademark Office and the Clerk of the United States Court of Appeals for the

Federal Circuit.




                                        -1-
         Case: 22-1976   Document: 4     Page: 481   Filed: 08/09/2022




                             Respectfully submitted,

                             KNOBBE, MARTENS, OLSON & BEAR, LLP

Dated: June 28, 2022         /Jarom Kesler/
                             Jarom D. Kesler (Reg. No. 57,046)

                             Attorney for Patent Owner
                             Masimo Corporation




                                   -2-
          Case: 22-1976     Document: 4     Page: 482   Filed: 08/09/2022




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(via CM/ECF – with filing fee)

Counsel for Petitioner Apple, Inc.
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(via email pursuant to 37 C.F.R. § 42.6(e))



Dated: June 28, 2022                   /Jarom Kesler/
                                       Jarom D. Kesler (Reg. No. 57,046)

                                       Attorney for Patent Owner
                                       Masimo Corporation
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